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20 Sept. 15, 2020   Special Master’s Letter Requesting Additional         780-781
                    Information from Counsel
21 Oct. 13, 2020    Special Master’s Email Granting Claimant Extension    782-783
22 Nov. 20, 2020    Counsel Response to Special Master’s Sept. 15, 2020   784-797
                    Letter
23 Dec. 7, 2020     Final Decision Letter                                 798-800
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                                                 U.S. Victims of State Spon�ored Terrorism Fund
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                                                                                          Applicatior ,.Form
                                                                                            0MB No. 1123-0013
                                                                                            Expires 12/31/2019

Instructions:

        Please completettie questions included in this Application Form (the "Application Form") as your submission for
compensation from the U.S. Victim·s of State Sponsored Terrorism Fund (the "Fund"). If you wish to submit a claim to
the Fund, you must either complete this Application Form or submit an Application Form electronically by visiting
www.usvsst.com. Only one application may be submitted for each claim and only the Personal Representative may
submit a claim for a deceased Victim.

When completing this Application Form, you must:

       •       Print your answers using black or blue ink.
       •       Submit your answers in English.
       •       Submit the signed Signature Page with your completed Application Form.
       •       Submit required documentation with your completed Application Form.

The Fund keeps all documents you submit with your Application Form. Please make copies for your records of any
documents you submit, including a copy of your completed Application Form.

Filing Deadline:

        A claim based on a final judgment obtained on or after July 14, 2016 must be submitted no later than 90 days
after the date of obtaining the final judgment.

Required Documentation Checklist:

        A document checklist is provided with this form (Part VI of the Application Form) to assist you in gathering and
submitting the document(s) needed to process your claim.

Submitting Your Application Form:

       Your completed Application Form may be mailed to the Claims Administrator via first-class or overnight mail,
postage prepaid, addressed as follows:

               By regular mail:                                                                         By overnight mail:
               U.S. Victims of State Sponsored Terrorism Fund                                           U.S. Victims of State Sponsored Terrorism Fund
               c/o GCG                                                                                  c/o GCG
               PO Box 10299                                                                             5151 Blazer Parkway, Ste A
               Dublin, OH 43017-5899                                                                    Dublin, OH 43017

         A n Application Form may also be submitted as an email attachment to info@usvsst.com or faxed toll free to
·(855) 409-7130. If you are outside the United States, the toll fax number is (614) 553-1426.

        It is very important that you keep the Fund informed of any changes in your mailing address, telephone number,
or email address because this is the information that the Fund will'use to contact you about your claim.

         If you need assistance completing this Application Form, or have any questions, please call our toll-free helpline
at (855) 720-6966. If you are calling from outside the United States, please call collect at (614) 553-1013.


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                 U.S. Department of Justice
                                                                                                                  P.O. Box 10299
                 U.S. Victims of State Sponsored Terrorism Fund
                                                                                                          Dublin, OH 43017-5899

December 28, 2017                                                                             *P-VTF$F-ELJC*

VIA FIRST CLASS MAIL
VTF0201118928


*VTF0201118928*
AMIR M HEKMATI
C/O EMILY PEARSON GRIM
GILBERT LLP
1100 NEW YORK AVE. NW SUITE 700
WASHINGTON, DC 20005


Claim No: 1226

Dear Applicant:

        You submitted an Application Form to the U.S. Victims of State Sponsored Terrorism Fund ("USVSST
Fund"). Based on all the information submitted for your claim, the USVSST Fund has determined your claim to
be eligible in the following amount:

                Eligible Compensatory Damages: $31,748,179.00
                Less Offset for Sources Other Than This Fund: $0.00
                TOTAL ELIGIBLE CLAIM AMOUNT: $31,748,179.001

        The USVSST Fund determined your total eligible claim amount in accordance with the requirements of
the Justice for U.S. Victims of State Sponsored Terrorism Act.

       Although the USVSST Fund has determined that your claim is eligible, please note that there is no
guarantee that you will receive the total eligible claim amount. Rather, the amount of your first payment
will be calculated after the USVSST Fund determines the amount of funds available from which to pay
claims and after any statutory limitations are applied to the total eligible claim amount shown above.
You will be notified about the exact amount of your first payment after the Special Master authorizes the
next distribution in January 2019.

       Please note that in accordance with the requirements of the USVSST Fund and the Justice for U.S.
Victims of State Sponsored Terrorism Act, you must inform the USVSST Fund of any new compensation from
any source other than this Fund that you receive, or are scheduled or entitled to receive.

       If you believe your total eligible claim amount was not properly decided or contains an error, you may
submit a detailed explanation to the USVSST Fund in writing within 3 days of receipt of this letter, referencing
your Claim Number, in one of the following ways:

                    As an email attachment to info@usvsst.com
                    By facsimile to (614) 553-1426
                    By overnight courier to U.S. Victims of State Sponsored Terrorism Fund, c/o GCG,
                    5151 Blazer Parkway, Dublin, OH 43017-5899

____________________________________________
1   The total eligible claim amount represents the amount outstanding and unpaid on your eligible claim amount.

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       U.S. Victims of State Sponsored Terrorism Fund                                                      2
       Claim No: 1226




       Please visit the USVSST Fund's website at www.usvsst.com for additional detailed information. If you
have any questions, please feel free to call the U.S. Victims of State Sponsored Terrorism Fund's toll-free
helpline at (855) 720-6966. If you are calling from outside of the United States, please call (614) 553-1013.
Every effort will be made to respond to your inquiries as soon as possible.


                                                          Sincerely,




                                                          Kenneth R. Feinberg
                                                          Special Master
                                                          U.S. Victims of State Sponsored Terrorism Fund




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                U.S. Department of Justice
                                                                                               P.O. Box 10299
                U.S. Victims of State Sponsored Terrorism Fund
                                                                                       Dublin, OH 43017-5899

December 13, 2018                                                               *P-VTF$F-STAN*

VIA ELECTRONIC MAIL
VTF0201580551


*VTF0201580551*
AMIR M HEKMATI
C/O EMILY PEARSON GRIM
GILBERT LLP
1100 NEW YORK AVE. NW SUITE 700
WASHINGTON, DC 20005


Claim No: 1226
Dear Applicant:
       The Special Master has reviewed and approved your claim for compensation from the U.S. Victims of
State Sponsored Terrorism Fund (the "USVSST Fund"). The allocated payment amount for this distribution is
$839,100.85. Additional information about how the USVSST Fund calculated eligible claimants' award
amounts can be found in the "USVSST Fund Payment Calculation Explanation" and the frequently asked
questions ("FAQs"), available on the USVSST Fund's website at www.usvsst.com.
       In order to receive your payment, you must complete the "Direct Deposit - ACH Payment Form"
available on the USVSST Fund's website at the Payment Information tab, if you have not already done so. For
more information, see the direct deposit FAQs, also available on the Payment Information tab.
       Please note that in accordance with the requirements of the USVSST Fund and the Justice for U.S.
Victims of State Sponsored Terrorism Act, you must inform the USVSST Fund of any compensation from any
source other than this Fund not previously disclosed.
       If you have questions, you may contact the USVSST Fund, referencing your Claim Number shown
above, in one of the following ways:
                 By telephone to the USVSST Fund's toll-free helpline at (855) 720-6966. If you are calling
                 from outside of the United States, please call (614) 553-1013.
                 By email to info@usvsst.com
                 By facsimile to (614) 553-1426
                 By U.S. mail to U.S. Victims of State Sponsored Terrorism Fund, c/o GCG, P.O. Box 10299,
                 Dublin, OH 43017-5899
                 By overnight courier to U.S. Victims of State Sponsored Terrorism Fund, c/o GCG,
                 5151 Blazer Parkway, Dublin, OH 43017-5899
        Every effort will be made to respond to your inquiries as soon as possible.
                                                             Sincerely,



                                                             Kenneth R. Feinberg
                                                             Special Master
                                                             U.S. Victims of State Sponsored Terrorism Fund
                                                                                              DA167
      Case 1:19-cv-01766-RAH Document 38-1 Filed 03/12/21 Page 170 of 802


From:                  Gilbert, Scott D
To:                    Ken Feinberg
Cc:                    Lee, Jane (CRM)
Subject:               Re: Amir Hekmati -- USVSST Fund
Date:                  Thursday, June 6, 2019 9:33:21 PM
Attachments:           image002.png
                       image204319.png


Thanks, Ken. Nice to meet you, Jane; we will contact you and perhaps you can point us in the right
direction.

sdg




Scott D. Gilbert         ​




gilberts@gilbertlegal.com
O 202.772.2277
C 202.669.2966
 ​1100 New York Ave, NW
​Suite 700
  ​Washington, DC 20005
 GilbertLegal.com
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received this communication by error, please notify the sender immediately and destroy this email and its attachments, and all copies
thereof, without further distributing or copying them.


From: Kenneth Feinberg <KFeinberg@feinberglawoffices.com>
Date: Thursday, June 6, 2019 at 6:02 PM
To: Scott Gilbert <gilberts@gilbertlegal.com>
Cc: "Jane K Lee (jane.lee3@usdoj.gov)" <jane.lee3@usdoj.gov>
Subject: RE: Amir Hekmati -- USVSST Fund

Scott,

My friend, check with Jane Lee. Her contact info:




She has replaced me on at least an interim basis and I am including her as well on this email
response.

I hope all is well. As you may be aware, Peter Angelos is not doing well and is quite frail. Time waits
for no man.



                                                                                                                            DA168
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Ken




From: Gilbert, Scott D [mailto:gilberts@gilbertlegal.com]
Sent: Thursday, June 06, 2019 5:54 PM
To: Ken Feinberg
Subject: Amir Hekmati -- USVSST Fund

Ken,

I hope all is well. I am writing to ask if you can direct us to the appropriate person at the USVSST
Fund to obtain some explanation of the status of the processing of Amir Hekmati’s 2019 payment.
We know many other claimants who have received their payments, and we have called the Fund
numerous times, simply to be told that Amir’s payment is being processed. Given Amir’s issues and
current status, this payment, although a fraction of his allowed claim, is material to his well-being
and recovery. I appreciate it.

sdg




Scott D. Gilbert       ​




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C 202.669.2966

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​Suite 700
  ​Washington, DC 20005
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                                                                                                                 DA169
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From:                  Abrishami, Monique
To:                    Lee, Jane (CRM)
Subject:               RE: Amir Hekmati - USVSST Fund - follow up to email between Scott Gilbert and Kenneth Feinberg
Date:                  Thursday, June 20, 2019 11:51:05 AM
Attachments:           image001.png
                       image064357.png


Thank you, Jane.




Monique Abrishami               ​




abrishamim@gilbertlegal.com
O 202.772.2255
 ​1100 New York Ave, NW
​Suite 700
  ​Washington, DC 20005
 GilbertLegal.com
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received this communication by error, please notify the sender immediately and destroy this email and its attachments, and all copies
thereof, without further distributing or copying them.


From: Lee, Jane (CRM) <Jane.Lee3@usdoj.gov>
Sent: Thursday, June 20, 2019 9:25 AM
To: Abrishami, Monique <abrishamim@gilbertlegal.com>
Subject: RE: Amir Hekmati - USVSST Fund - follow up to email between Scott Gilbert and Kenneth
Feinberg

Hi Monique,

The Acting Special Master, Deb Connor, is also the Chief of MLARS.

Thank you,

Jane



From: Abrishami, Monique [mailto:abrishamim@gilbertlegal.com]
Sent: Wednesday, June 19, 2019 2:05 PM
To: Lee, Jane (CRM) <Jane.Lee@CRM.USDOJ.GOV>
Subject: RE: Amir Hekmati - USVSST Fund - follow up to email between Scott Gilbert and Kenneth
Feinberg

Apologies, I meant to say MLARS!




                                                                                                                            DA170
     Case 1:19-cv-01766-RAH Document 38-1 Filed 03/12/21 Page 173 of 802




Monique Abrishami             ​




abrishamim@gilbertlegal.com
O 202.772.2255

 ​1100 New York Ave, NW
​Suite 700
  ​Washington, DC 20005
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From: Abrishami, Monique
Sent: Wednesday, June 19, 2019 12:14 PM
To: Lee, Jane (CRM) <Jane.Lee3@usdoj.gov>; Gilbert, Scott D <gilberts@gilbertlegal.com>
Subject: RE: Amir Hekmati - USVSST Fund - follow up to email between Scott Gilbert and Kenneth
Feinberg

Thank you, Jane – much appreciated. May I ask which Fraud Section supervisors are overseeing the
USVSST claims?


From: Lee, Jane (CRM) <Jane.Lee3@usdoj.gov>
Sent: Wednesday, June 19, 2019 11:08 AM
To: Abrishami, Monique <abrishamim@gilbertlegal.com>; Gilbert, Scott D
<gilberts@gilbertlegal.com>
Subject: RE: Amir Hekmati - USVSST Fund - follow up to email between Scott Gilbert and Kenneth
Feinberg

Hi Monique,

I have relayed your inquiry to my supervisors. I do not have any updates to share with you regarding
the status of your client’s claim. When there is more information, we will let you know.

Thank you,
Jane   



From: Abrishami, Monique [mailto:abrishamim@gilbertlegal.com]
Sent: Tuesday, June 18, 2019 3:44 PM
To: Lee, Jane (CRM) <Jane.Lee@CRM.USDOJ.GOV>; Gilbert, Scott D <gilberts@gilbertlegal.com>
Subject: RE: Amir Hekmati - USVSST Fund - follow up to email between Scott Gilbert and Kenneth
Feinberg

Jane,



                                                                                                                 DA171
     Case 1:19-cv-01766-RAH Document 38-1 Filed 03/12/21 Page 174 of 802


I hope you had a great trip! Just wanted to circle back on this when you have a moment—do you
have any time for a call tomorrow, or is there someone else we could speak to about Amir’s award?
Thanks!

Thanks,
Monique




Monique Abrishami             ​




abrishamim@gilbertlegal.com
O 202.772.2255

 ​1100 New York Ave, NW
​Suite 700
  ​Washington, DC 20005
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recipient or have received this communication by error, please notify the sender immediately and destroy this email and its
attachments, and all copies thereof, without further distributing or copying them.

From: Abrishami, Monique
Sent: Friday, June 7, 2019 1:32 PM
To: Lee, Jane (CRM) <Jane.Lee3@usdoj.gov>; Gilbert, Scott D <gilberts@gilbertlegal.com>
Subject: RE: Amir Hekmati - USVSST Fund - follow up to email between Scott Gilbert and Kenneth
Feinberg

Thank you so much, Jane. Safe travels.


From: Lee, Jane (CRM) <Jane.Lee3@usdoj.gov>
Sent: Friday, June 7, 2019 1:17 PM
To: Abrishami, Monique <abrishamim@gilbertlegal.com>; Gilbert, Scott D
<gilberts@gilbertlegal.com>
Subject: Re: Amir Hekmati - USVSST Fund - follow up to email between Scott Gilbert and Kenneth
Feinberg

Monique and Scott:

I am in receipt of your emails. I am currently on travel (on my way to the airport) and will not
have any access. I will circle back after I return on June 18, but one of my DOJ colleagues
may be reaching out in the interim.

Thank you,
Jane

On Jun 7, 2019, at 9:58 AM, Abrishami, Monique <abrishamim@gilbertlegal.com> wrote:



                                                                                                                 DA172
Case 1:19-cv-01766-RAH Document 38-1 Filed 03/12/21 Page 175 of 802


 Ms. Lee,

 I write to follow up on a June 6 communication between Scott Gilbert and Kenneth
 Feinberg regarding our client, Amir Hekmati (Claim No. 1226). Amir was awarded
 $839,100.85 from the Fund on December 13, 2008, and he hasn’t been paid yet. He’s
 suffering a great deal from the after-effects of his years of captivity and torture, and
 the payment is necessary to his recovery efforts. We know that others have been paid,
 and we have called and emailed the Fund hotline several times, but all we’re hearing is
 the general statement that payments are being processed. Could you please direct me
 to someone who can explain the status of the processing of his payment? Thank you
 so much.

 Best,
 Monique Abrishami




 Monique Abrishami              ​




 abrishamim@gilbertlegal.com
 O 202.772.2255

   ​1100 New York Ave, NW
  ​ uite 700
   S
 ​Washington, DC 20005
   GilbertLegal.com
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 named recipient or have received this communication by error, please notify the sender immediately and
 destroy this email and its attachments, and all copies thereof, without further distributing or copying them.

 <Claim No. 1226.pdf>




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                U.S. Department of Justice
                                                                                               P.O. Box 10299
                U.S. Victims of State Sponsored Terrorism Fund
                                                                                       Dublin, OH 43017-5899

December 13, 2018                                                               *P-VTF$F-STAN*

VIA ELECTRONIC MAIL
VTF0201580551


*VTF0201580551*
AMIR M HEKMATI
C/O EMILY PEARSON GRIM
GILBERT LLP
1100 NEW YORK AVE. NW SUITE 700
WASHINGTON, DC 20005


Claim No: 1226
Dear Applicant:
       The Special Master has reviewed and approved your claim for compensation from the U.S. Victims of
State Sponsored Terrorism Fund (the "USVSST Fund"). The allocated payment amount for this distribution is
$839,100.85. Additional information about how the USVSST Fund calculated eligible claimants' award
amounts can be found in the "USVSST Fund Payment Calculation Explanation" and the frequently asked
questions ("FAQs"), available on the USVSST Fund's website at www.usvsst.com.
       In order to receive your payment, you must complete the "Direct Deposit - ACH Payment Form"
available on the USVSST Fund's website at the Payment Information tab, if you have not already done so. For
more information, see the direct deposit FAQs, also available on the Payment Information tab.
       Please note that in accordance with the requirements of the USVSST Fund and the Justice for U.S.
Victims of State Sponsored Terrorism Act, you must inform the USVSST Fund of any compensation from any
source other than this Fund not previously disclosed.
       If you have questions, you may contact the USVSST Fund, referencing your Claim Number shown
above, in one of the following ways:
                 By telephone to the USVSST Fund's toll-free helpline at (855) 720-6966. If you are calling
                 from outside of the United States, please call (614) 553-1013.
                 By email to info@usvsst.com
                 By facsimile to (614) 553-1426
                 By U.S. mail to U.S. Victims of State Sponsored Terrorism Fund, c/o GCG, P.O. Box 10299,
                 Dublin, OH 43017-5899
                 By overnight courier to U.S. Victims of State Sponsored Terrorism Fund, c/o GCG,
                 5151 Blazer Parkway, Dublin, OH 43017-5899
        Every effort will be made to respond to your inquiries as soon as possible.
                                                             Sincerely,



                                                             Kenneth R. Feinberg
                                                             Special Master
                                                             U.S. Victims of State Sponsored Terrorism Fund
                                                                                              DA178
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                U.S. Department of Justice
                                                                                               P.O. Box 10299
                U.S. Victims of State Sponsored Terrorism Fund
                                                                                       Dublin, OH 43017-5899

December 13, 2018                                                               *P-VTF$F-STAN*

VIA ELECTRONIC MAIL
VTF0201580551


*VTF0201580551*
AMIR M HEKMATI
C/O EMILY PEARSON GRIM
GILBERT LLP
1100 NEW YORK AVE. NW SUITE 700
WASHINGTON, DC 20005


Claim No: 1226
Dear Applicant:
       The Special Master has reviewed and approved your claim for compensation from the U.S. Victims of
State Sponsored Terrorism Fund (the "USVSST Fund"). The allocated payment amount for this distribution is
$839,100.85. Additional information about how the USVSST Fund calculated eligible claimants' award
amounts can be found in the "USVSST Fund Payment Calculation Explanation" and the frequently asked
questions ("FAQs"), available on the USVSST Fund's website at www.usvsst.com.
       In order to receive your payment, you must complete the "Direct Deposit - ACH Payment Form"
available on the USVSST Fund's website at the Payment Information tab, if you have not already done so. For
more information, see the direct deposit FAQs, also available on the Payment Information tab.
       Please note that in accordance with the requirements of the USVSST Fund and the Justice for U.S.
Victims of State Sponsored Terrorism Act, you must inform the USVSST Fund of any compensation from any
source other than this Fund not previously disclosed.
       If you have questions, you may contact the USVSST Fund, referencing your Claim Number shown
above, in one of the following ways:
                 By telephone to the USVSST Fund's toll-free helpline at (855) 720-6966. If you are calling
                 from outside of the United States, please call (614) 553-1013.
                 By email to info@usvsst.com
                 By facsimile to (614) 553-1426
                 By U.S. mail to U.S. Victims of State Sponsored Terrorism Fund, c/o GCG, P.O. Box 10299,
                 Dublin, OH 43017-5899
                 By overnight courier to U.S. Victims of State Sponsored Terrorism Fund, c/o GCG,
                 5151 Blazer Parkway, Dublin, OH 43017-5899
        Every effort will be made to respond to your inquiries as soon as possible.
                                                             Sincerely,



                                                             Kenneth R. Feinberg
                                                             Special Master
                                                             U.S. Victims of State Sponsored Terrorism Fund
                                                                                              DA183
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         U.S. Department of Justice                                              P.O. Box 10299
         U.S. Victims of State Sponsored Terrorism Fund                  Dublin, OH 43017-5899


July 30, 2019

VIA ELECTRONIC MAIL

AMIR M HEKMATI
C/O MONIQUE ABRISHAMI
GILBERT LLP
1100 NEW YORK AVE. NW SUITE 700
WASHINGTON, DC 20005

Claim No: 1226

Dear Ms. Abrishami:

       The U.S. Victims of State Sponsored Terrorism Fund (“USVSST Fund”) and the
Department of Justice (“Department”) have received your letters to Interim Special
Master Deborah L. Connor and Assistant Attorney General Brian A. Benczkowski, dated
June 20, 2019 and July 16, 2019, respectively, regarding the payment status of the
above-referenced claim. The USVSST Fund and the Department also acknowledge your
June 20, 2019 voicemail to Interim Special Master Connor as well as your emails to the
claims administrator on July 11, 2019 and July 19, 2019, inquiring whether the USVSST
Fund is still issuing payments.

        The USVSST Fund has previously responded to your earlier inquiries, including
your June 2019 communications with USVSST Fund attorney Jane Lee and emails with
the claims administrator.

       No further information regarding the claim is available to provide to you at this
time. The USVSST Fund will contact you if this changes.

                                      Sincerely,




                                      Deborah L. Connor
                                      Interim Special Master
                                      U.S. Victims of State Sponsored Terrorism Fund




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                                                                DA187
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October 24, 2019

VIA ELECTRONIC and FIRST CLASS MAIL

AMIR M HEKMATI
C/O SCOTT D. GILBERT
GILBERT LLP
1100 NEW YORK AVE. NW SUITE 700
WASHINGTON, DC 20005

Claim No: 1226

Dear Mr. Gilbert:

        The U.S. Department of Justice (“Department”) is in receipt of your letter dated
October 11, 2019. This letter serves to inform you and your client, Amir Hekmati, that
the Department intends to seek reconsideration of the prior eligibility determination and
approval of Mr. Hekmati’s claim dated December 13, 2018, and therefore has suspended
any further action on the payment to Mr. Hekmati from the United States Victims of State
Sponsored Terrorism Fund. The matter will be referred for reconsideration to Mr.
Kenneth R. Feinberg, who made the original determination on your claim. Mr. Feinberg
will examine whether the conditions for compensation and payment under the applicable
statute and procedures have been satisfied. The Department is in the process of retaining
Mr. Feinberg, on a limited basis, for this purpose. Once he is again in place as Special
Master, the Department expects to proceed with reconsideration as expeditiously as
possible. You will receive notice of any further decision once the review process has
been completed and, if the claim is not approved, will have an opportunity to request a
hearing. See 34 U.S.C. § 20144(b)(4). We appreciate your patience and hope to resolve
this matter as soon as possible.


                                     Sincerely,




                                     Deborah L. Connor
                                     Interim Special Master
                                     U.S. Victims of State Sponsored Terrorism Fund




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           PRXQWDLQV RQ RQH VLGH ZLWK D KLJKZD\ RQ WKH RWKHU VLGH (YLQ 3ULVRQ ZDV
           VXUURXQGHG E\ D WZHQW\  PHWHU WDOO ZDOO WKDW KDG D WHQ  PHWHU
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           UHSRUWHG WKDW KH ZDV WDNHQ WR D KRVSLWDO >LQ FRQWH[W XQGHUVWRRG WR PHDQ D
           KRVSLWDO LQ 7HKUDQ@ +H LQGLFDWHG WKDW 7HKUDQ ZDV VR VDWXUDWHG ZLWK FDPHUDV
           DQG VHFXULW\ WKDW HYHQ LI KH PDQDJHG WR EULHIO\ HVFDSH WKHUH ZRXOG EH
           QRZKHUH WR JR 'XULQJ KLV WULS WR WKH KRVSLWDO +(.0$7, SXUFKDVHG VQDFNV
           IRU ,UDQLDQ VROGLHUV KH LQWHUDFWHG ZLWK ZKR UHSRUWHGO\ DUH QRW SDLG DQG
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           WR $O 4DHGD SULVRQHUV +H VWDWHG WKDW WKUHH  SULVRQHUV IURP WKLV ZDUG
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           PHPEHUV DW (YLQ 3ULVRQ ZLWK IHOORZ SULVRQHUV GRLQJ PRVW RI WKH ZRUN +H
           VWDWHG WKDW WKHUH ZHUH DERXW  SULVRQHUV LQ (YLQ 3ULVRQ

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           ZHUH EHOLHYHG WR EH PRQLWRUHG 6RPH SULVRQHUV KDG FHOO SKRQHV VPXJJOHG LQ
           WR WKH SULVRQ VRPHWLPHV E\ LQGLYLGXDOV FRPLQJ WR WKH SULVRQ IRU FRQMXJDO
           YLVLWV +(.0$7, LQGLFDWHG WKDW PDQ\ RU DOO SULVRQHUV FRXOG KDYH FRQMXJDO
           YLVLWV DQG WKDW DGGLWLRQDO FRQMXJDO YLVLWV FRXOG EH HDUQHG E\ ZRUNLQJ MREV
           ZLWKLQ WKH SULVRQ

            8)282 5HJDUGLQJ LQWHUURJDWLRQV +(.0$7, HVWLPDWHG WKDW KH ZDV
           LQWHUURJDWHG DSSUR[LPDWHO\ WZHQW\  WLPHV GXULQJ KLV LPSULVRQPHQW +H
           GLG QRW NQRZ LI WKH LQWHUURJDWLRQV ZHUH UHFRUGHG DV KH ZDV EOLQG IROGHG
           DQGRU IDFLQJ D ZDOO ZKHQ WKH LQWHUURJDWLRQV ZHUH FRQGXFWHG 7KH
           LQWHUURJDWLRQV WRRN SODFH LQ D VRXQG SURRI URRP WKDW +(.0$7, FRPSDUHG WR D
           UHFRUGLQJ URRP DERXW WKH VL]H RI WKH URRP LQ ZKLFK WKH LQVWDQW LQWHUYLHZ

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           URRP URXJKO\ HVWLPDWHG WR EH  [  @ $V SDUW RI WKH LQWHUURJDWLRQ
           SURFHVV +(.0$7, ZDV IRUFHG WR ZULWH RXW KLV ELRJUDSK\ WZR VHSDUDWH WLPHV

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           ZDV RIIHUHG DQG DFFHSWHG D ERWWOH RI ZDWHU

            8)282 +(.0$7, GHVFULEHG RQH RI KLV FHOOV DW (YLQ 3ULVRQ DV KDYLQJ YHU\
           WKLFN ZDOOV D ORZ URRI QR ZLQGRZ DQG D OLWWOH RSHQLQJ FRYHUHG E\ D
           SHUIRUDWHG PHWDO FRYHU WR DOORZ IRU YHQWLODWLRQ 7KH GRRU WR WKH FHOO ZDV
           YHU\ KHDY\ ZLWK D WLQ\ ODWFK 7KH GRRU RQO\ KDG D PHFKDQLFDO KDQGOH RQ WKH
           RXWVLGH ZKLFK ZDV RSHUDWHG E\ WXUQLQJ FRXQWHU FORFNZLVH 7KH GRRU
           UHSRUWHGO\ RSHQHG RXWZDUGV IURP WKH FHOO

            8)282 +(.0$7, UHOD\HG LQIRUPDWLRQ KH KDG DFTXLUHG DOOHJLQJ WKDW D
           VDQGZLFK VHOOHU ZKR ZRUNHG RXWVLGH RI WKH ,VUDHOL (PEDVV\ LQ 7XUNH\ ZDV
           DFWXDOO\ D VSRWWHU IRU WKH ,5*& >,VODPLF 5HYROXWLRQDU\ *XDUG &RUSV@ +H
           DOVR LQGLFDWHG WKDW RI DERXW  SULVRQHUV LQ :DUG  ZKR ZHUH LPSULVRQHG
           IRU ZRUNLQJ IRU D IRUHLJQ JRYHUQPHQW >LQ FRQWH[W XQGHUVWRRG WR PHDQ DV D
           VS\@  ZHUH DFFXVHG RI ZRUNLQJ IRU WKH 8QLWHG 6WDWHV DQG  ZHUH DFFXVHG
           RI ZRUNLQJ IRU ,VUDHO 6RPH RI WKHVH SULVRQHUV WROG +(.0$7, WKDW WKH\ KDG
           FRQWDFWHG WKH &,$ WKURXJK WKH &,$ ZHEVLWH 7KH &,$ ZRXOG WKHQ DUUDQJH IRU
           WKHP WR WUDYHO WR D WKLUG FRXQWU\ LQ WKH 0LGGOH (DVW RU HOVHZKHUH
           SUHVXPDEO\ IRU D PHHWLQJ +(.0$7, LQGLFDWHG WKDW WKH SULVRQHUV WROG KLP
           WKDW ZKHQ WKH\ ZHUH DUUHVWHG E\ ,UDQLDQ RIILFLDOV WKH\ ZHUH FRQIURQWHG
           ZLWK WKH QDPHV RI WKHLU &,$ KDQGOLQJ RIILFHUV DQG ZLWK HPDLOV EHWZHHQ
           WKHPVHOYHV DQG WKH KDQGOLQJ RIILFHUV 6RPH RI WKHVH SULVRQHUV LQGLFDWHG
           WKDW WKUHH \HDUV KDG SDVVHG EHWZHHQ ZKHQ WKH\ KDG ODVW FRQWDFWHG WKH &,$
           DQG ZKHQ WKH\ ZHUH DUUHVWHG

            8)282 5HJDUGLQJ WKH WLPH SHULRG ZKHQ +(.0$7, ZRUNHG DV DQ LQWHOOLJHQFH
           DQDO\VW IRU WKH 86 *RYHUQPHQW LQ $IJKDQLVWDQ +(.0$7, ZDV DVNHG LI KH HYHU
           DFFHVVHG FODVVLILHG UHSRUWLQJ UHJDUGLQJ ,UDQ +(.0$7, UHIXVHG WR DQVZHU
           WKLV TXHVWLRQ LQVWHDG +(.0$7, LQGLFDWHG WKDW WKH )%, FRXOG ILQG RXW WKDW
           LQIRUPDWLRQ IRU LWVHOI E\ SXOOLQJ WKH ORJ LQIRUPDWLRQ :KHQ DVNHG LI KH KDG
           HYHU UHDG SDSHU FRSLHV RI FODVVLILHG UHSRUWLQJ RQ ,UDQ +(.0$7, DYRLGHG WKH
           TXHVWLRQ LQVWHDG VD\LQJ WKDW KH KDG D 76 >7RS 6HFUHW@ FOHDUDQFH
           LQFOXGLQJ 6, 7. DQG *DPPD DFFHVVHV +H VWDWHG WKDW KH KDG EHHQ WDVNHG DV
           DQ LQWHOOLJHQFH DQDO\VW WR VWXG\ PHVVDJLQJ +(.0$7, LQGLFDWHG WKDW KLV
           VXSHULRUV GLG QRW NQRZ ZKDW KH ZDV DFWXDOO\ VXSSRVHG WR GR DQG WKDW LW IHOW
           OLNH WKH\ ZHUH ZDVWLQJ KLV WLPH ZKLFK ZDV SDUW RI ZK\ KH TXLW WKH MRE
           DIWHU MXVW D IHZ PRQWKV +H LQGLFDWHG WKDW KH KDG ZRUNHG RQ RQH RU PRUH
           SURMHFWV UHODWHG WR FHOO WRZHUV LQ $IJKDQLVWDQ DQG 7DOLEDQ WDUJHWLQJ +H


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                             ,QWHUYLHZ RI $0,5 +(.0$7,
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           VWDWHG WKDW WKHUH ZDV QR RYHUVLJKW RYHU ZKDW KH ZDV VXSSRVHG WR GR DQG WKDW
           KH GLG QRW XQGHUVWDQG ZKDW WKH PLVVLRQ ZDV

            8)282 +(.0$7, UHMHFWHG WKH SURSRVLWLRQ WKDW KH PLJKW KDYH EHHQ WDUJHWHG
           EHFDXVH KH KDG DFFHVV WR FODVVLILHG LQIRUPDWLRQ RQ ,UDQ +H VWDWHG WKDW KH
           KDG EHHQ WDUJHWHG EHFDXVH KH ZDV D 0DULQH +H EHOLHYHG WKDW KLV DUUHVW ZDV
           FRQQHFWHG WR RU LQ UHVSRQVH WR WKH 86 DUUHVW RI DQ ,UDQLDQ ZKR KDG
           DWWHPSWHG WR DVVDVVLQDWH D 6DXGL $UDELDQ DPEDVVDGRU

            8)282 5HJDUGLQJ ZKHWKHU RU QRW +(.0$7, V ,UDQLDQ LQWHUURJDWRUV KDG
           DWWHPSWHG WR H[WUDFW FODVVLILHG LQIRUPDWLRQ IURP KLP +(.0$7, LQGLFDWHG
           WKDW DOWKRXJK WKH LQWHUURJDWRUV NQHZ ZKDW KLV MRE ZDV LQ $IJKDQLVWDQ WKH\
           GLG QRW VSHQG PXFK WLPH H[SORULQJ WKDW WRSLF +H LQGLFDWHG WKDW KH ZRXOG
           KDYH WKRXJKW WKH\ ZRXOG KDYH DVNHG IRU PRUH LQIRUPDWLRQ +H VWDWHG WKDW WKH
           LQWHUURJDWRUV VSHQW DV PXFK WLPH WDONLQJ DERXW KLV WLPH LQ KLJK VFKRRO DV
           WKH\ GLG RQ KLV WLPH DV DQ LQWHOOLJHQFH DQDO\VW LQ $IJKDQLVWDQ

            8)282 5HJDUGLQJ KRZ ZLGHO\ LW ZDV NQRZQ WKDW +(.0$7, KDG D 7RS 6HFUHW
           VHFXULW\ FOHDUDQFH +(.0$7, VWDWHG WKDW KLV IDPLO\ LQ ,UDQ GLG QRW NQRZ
           WKDW KH KDG KHOG D 76 FOHDUDQFH +H VWDWHG WKDW RQO\ KLV FRZRUNHUV NQHZ
           DERXW WKH 76 FOHDUDQFH DV KH RQO\ KDG LW IRU DERXW WZR PRQWKV +RZHYHU
           +(.0$7, LQGLFDWHG WKDW LQWHUQHW VHDUFKHV RQ KLV QDPH ZRXOG UHYHDO WKDW KH
           KDG ZRUNHG IRU '$53$ +H DOVR UHIHUHQFHG KLV /LQNHG ,Q DFFRXQW +(.0$7,
           QRWHG WKDW KH KDG SUHYLRXVO\ RQO\ KHOG D 6HFUHW VHFXULW\ FOHDUDQFH

            8)282 +(.0$7, VWDWHG WKDW KH ZDV QRW DZDUH RI DQ\WKLQJ WKDW ZRXOG PDNH
           KLP VXVSLFLRXV WKDW KH KDG EHHQ XQGHU VXUYHLOODQFH ZKLOH LQ $IJKDQLVWDQ
           QRU GLG KH UHFDOO DQ\ VXVSLFLRXV LQGLYLGXDOV FRQWDFWLQJ KLP +H LQGLFDWHG
           WKDW KH KDG ZRUNHG ORQJ KRXUV IRU WKH EULHI WZR PRQWKV KH ZDV WKHUH DQG
           VSHQW DOO KLV WLPH RQ WKH FRPSRXQG >RWKHU WKDQ ZRUN WLPH@ HLWKHU DW WKH
           PHVV KDOO WKH J\P RU KLV ORGJLQJ

            8)282 +(.0$7, VLPLODUO\ GHQLHG DQ\ VXVSLFLRXV HYHQWV VXFK DV
           VXUYHLOODQFH RU XQXVXDO FRQWDFW E\ LQGLYLGXDOV DIWHU KH OHIW $IJKDQLVWDQ
           DQG WUDYHOHG WR 'XEDL +H VWDWHG WKDW KH ZDV LQ 'XEDL RQO\ IRU DERXW 
           KRXUV DQG WKDW KH VSRNH WR QR RQH ZKLOH KH ZDV WKHUH +H GLG PDNH WZR FDOOV
           EDFN WR WKH 86 RQH RI ZKLFK ZDV D FDOO WR WKH FRPSDQ\ KH KDG MXVW UHVLJQHG
           IURP WR GLVFXVV LVVXHV UHODWHG WR KLV UHVLJQDWLRQ

            8)282 2QFH +(.0$7, DUULYHG LQ ,UDQ KLV RQO\ FRQWDFW ZLWK ,UDQLDQ
           JRYHUQPHQW RIILFLDOV SULRU WR KLV DUUHVW ZDV DQ LQWHUYLHZ WKDW ZDV
           FRQGXFWHG LPPHGLDWHO\ XSRQ KLV DUULYDO LQ 7HKUDQ +H GHQLHG DQ\ RWKHU
           FRQWDFW ZLWK ,UDQLDQ JRYHUQPHQW RIILFLDOV DIWHU WKLV LQWHUYLHZ XQWLO KH ZDV
           DUUHVWHG VHYHUDO ZHHNV ODWHU

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            8)282 +(.0$7, ZDV VKRZQ D VHULHV RI SKRWRJUDSKV DQG DVNHG LI KH
           UHFRJQL]HG DQ\ RI WKH LQGLYLGXDOV IURP KLV WLPH LQ ,UDQ RU LQ (YLQ 3ULVRQ
           +(.0$7, FRUUHFWO\ LGHQWLILHG VHYHUDO SKRWRJUDSKV RI 52%(57 /(9,1621 EXW
           H[SODLQHG WKDW WKLV ZDV RQO\ EHFDXVH /(9,1621 V OLNHQHVV ZDV SXEOLFO\
           NQRZQ +H LQGLFDWHG WKDW KH KDG QRW VHHQ /(9,1621 DW DQ\ WLPH ZKLOH LQ
           ,UDQ )RU DOO RWKHU SKRWRJUDSKV VKRZQ GXULQJ WKH LQWHUYLHZ +(.0$7,
           LQGLFDWHG WKDW KH GLG QRW UHFRJQL]H WKH LQGLYLGXDOV DQG KDG QRW VHHQ WKHP
           ZKLOH LQ ,UDQ )RU RQH SKRWRJUDSK +(.0$7, GLG LQGLFDWH WKDW WKH PDQ LQ WKH
           SKRWRJUDSK ORRNHG VLPLODU WR PDQ\ ,UDQLDQ PHQ EXW XOWLPDWHO\ DQVZHUHG WKDW
           KH FRXOG QRW LGHQWLI\ RU UHFRJQL]H WKH LQGLYLGXDO

            8)282 :LWK UHJDUGV WR 52%(57 /(9,1621 +(.0$7, GLVFXVVHG DQRWKHU
           LQGLYLGXDO ZKR KDG EHHQ D SDUW RI WKH SULVRQHU UHOHDVH WKDW IUHHG +(.0$7,
           7KLV LQGLYLGXDO QDPHG )UHG >LQ FRQWH[W XQGHUVWRRG WR EH D UHIHUHQFH WR
           1265$72//$+ .+265$9,@ FODLPHG WKDW WKH UHDVRQ KH KDG EHHQ DUUHVWHG E\ WKH
           ,UDQLDQV ZDV WKDW KH KDG VHQW D WH[W PHVVDJH WR /(9,1621 )UHG.+265$9,
           UHSRUWHGO\ HOHFWHG QRW WR OHDYH ,UDQ ZLWK +(.0$7, DQG WKH RWKHU IUHHG
           LQGLYLGXDOV EHFDXVH WKHUH ZHUH SHQGLQJ FKDUJHV DJDLQVW KLP LQ WKH 86 DQG
           EHFDXVH KH FODLPHG WR KDYH D JLUOIULHQG LQ QRUWKHUQ ,UDQ

            8)282 7KH LQVWDQW LQWHUYLHZ RI +(.0$7, HQGHG DW DSSUR[LPDWHO\  30
           ORFDO WLPH +(.0$7, ZDV RIIHUHG DQG DFFHSWHG D FXS RI FRIIHH GXULQJ WKH
           ODVW DSSUR[LPDWHO\  PLQXWHV RI WKH LQWHUYLHZ




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                                   $SULO  LQWHUYLHZ RI $PLU
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           LQIRUPDWLRQ LQ RUGHU WR WUDYHO WR ,UDQ DQG VHOO WKLV LQIRUPDWLRQ WR WKH
           ,UDQLDQ JRYHUQPHQW ,Q UHVSRQVH +(.0$7, LQTXLUHG ZKHWKHU 6$ 7KHURX[ ZDV
           DVNLQJ D TXHVWLRQ

           5HDVRQ IRU OHDYLQJ $IJKDQLVWDQ  UHWXUQLQJ KRPH HDUO\

                     +(.0$7, VWDWHG KH UHVLJQHG IURP KLV SRVLWLRQ DV DQ ,QWHOOLJHQFH
           $QDO\VW ,$ ZLWK 6L[ 6\VWHPV DW %DJUDP $LU )RUFH %DVH %$)% LQ
           $IJKDQLVWDQ LQ  WR UHWXUQ WR 0LFKLJDQ WR SXUVXH KLV 0DVWHU¶V GHJUHH
           +(.0$7, ZDV VKRZQ E\ LQWHUYLHZLQJ DJHQWV DQ HPDLO KH VHQW WR WKH 8QLYHUVLW\
           RI 0LFKLJDQ 80 ± )OLQW $GPLVVLRQ RQ  EHIRUH KH GHSOR\HG WR
           $IJKDQLVWDQ LQGLFDWLQJ KH QHHGHG WR GHIHU KLV DGPLVVLRQ WR -DQXDU\ RI 
           EHFDXVH KH ZDV OHDYLQJ IRU D PLOLWDU\ GHSOR\PHQW RYHUVHDV :KHQ
           LQWHUYLHZLQJ DJHQWV DVNHG +(.0$7, ZK\ HYHU\RQH WR LQFOXGH KLV FROOHDJXHV
           DQG HPSOR\HU DOO WKRXJKW +(.0$7, ZDV WUDYHOLQJ GLUHFWO\ IURP $IJKDQLVWDQ WR
           WKH 86 WR SXUVXH KLV JUDGXDWH GHJUHH +(.0$7, LQGLFDWHG KH ZDV UHWXUQLQJ
           WR WKH 86 WR DWWHQG 80 ± 'HDUERUQ QRW 80  )OLQW

                     ,Q $XJXVW  DIWHU +(.0$7, UHVLJQHG IURP 6L[ 6\VWHPV DW %$)%
           +(.0$7, WUDYHOHG WR ,UDQ WR YLVLW KLV JUDQGPRWKHU ZKR KH KDG QHYHU
           YLVLWHG +(.0$7, RQO\ WROG KLV PRWKHU RI KLV SODQ WR WUDYHO WR ,UDQ
           +(.0$7, GLG QRW WHOO DQ\ RI KLV DVVRFLDWHV RU FROOHDJXHV LQ $IJKDQLVWDQ
           DERXW KLV LQWHQWLRQV WR WUDYHO WR ,UDQ +(.0$7, GLG QRW XQGHUVWDQG ZK\ KH
           ZRXOG WHOO DQ\RQH KH ZDV JRLQJ WR ,UDQ ,QWHUYLHZLQJ DJHQWV EURXJKW XS
           52/$1' 7,62 DQG *$%5,(/ 6(55$12 DQG +(.0$7, UHVSRQGHG WKH\ DUH PHUHO\
           DVVRFLDWHV KH PHW LQ $IJKDQLVWDQ DQG QRWKLQJ PRUH

           'XEDL

                     +(.0$7, DGYLVHG KH WRRN D FRPPHUFLDO IOLJKW IURP %$)% WR 'XEDL
           8QLWHG $UDE (PLUDWHV $IWHU KH ODQGHG LQ 'XEDL +(.0$7, SXUFKDVHG DQ
           DLUOLQH WLFNHW WR 7HKUDQ ,UDQ ,QWHUYLHZLQJ DJHQWV UHPLQGHG +(.0$7, KH
           SUHYLRXVO\ LQIRUPHG )%, DJHQWV LQ *HUPDQ\ KH RQO\ VSHQW RQH QLJKW LQ 'XEDL
           DQG IOHZ RXW WKH QH[W GD\ DQG WKDW KH GLG QRW KDYH WLPH WR GR DQ\WKLQJ HOVH
           EHIRUH GHSDUWLQJ +(.0$7, VWDWHG LW ZDV WUXH KH GLG QRW KDYH WLPH WR GR
           DQ\WKLQJ HOVH :KHQ FKDOOHQJHG E\ WKH LQWHUYLHZLQJ DJHQWV WKDW UHFRUGV
           LQGLFDWHG +(.0$7, DUULYHG LQ 'XEDL LQ WKH HYHQLQJ DURXQG  SP ORFDO
           WLPH VSHQW WKH QH[W GD\ WKHUH DQG WKHQ IOHZ WR ,UDQ WKH IROORZLQJ GD\
           +(.0$7, GLG QRW GHQ\ WKH WLPHOLQH DQG FRPPHQWHG KH QHYHU PHW ZLWK DQ\RQH

           ,UDQ

                     +(.0$7, DGYLVHG KH ZDV LQFDUFHUDWHG LQ ,UDQ EHFDXVH KH ZDV D 86
           0DULQH ,QWHUYLHZLQJ DJHQWV SURSRVHG WR +(.0$7, KH RQO\ KDG FRQWDFW ZLWK
           ,UDQLDQ RIILFLDOV EHFDXVH KH DSSURDFKHG WKHP DQG PDGH WKHP DZDUH KH KDG
           DFFHVV WR FODVVLILHG LQIRUPDWLRQ +(.0$7, UHLWHUDWHG KLV LQWHUDFWLRQ ZLWK
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                                     $SULO  LQWHUYLHZ RI $PLU
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           WKH ,UDQLDQ JRYHUQPHQW ZDV VROHO\ EHFDXVH KH ZDV D 86 0DULQH +(.0$7,
           RSLQHG ,UDQLDQ RIILFLDOV OHDUQHG KH ZDV D 86 0DULQH ZKHQ WKH\ ³*RRJOHG´
           KLP DQG ORRNHG DW KLV )DFHERRN SDJH ZKLFK VKRZHG +(.0$7, V DIILOLDWLRQ DV D
           86 0DULQH +(.0$7, GLG QRW SURYLGH DQ\ FODVVLILHG LQIRUPDWLRQ WR ,UDQLDQ
           RIILFLDOV

           ,UDQLDQ 3DVVSRUW

                     ,QWHUYLHZLQJ DJHQWV VKRZHG +(.0$7, D FRS\ RI KLV H[SLUHG ,UDQLDQ
           SDVVSRUW +(.0$7, ZDV QRW DZDUH KH KDG DQ ,UDQLDQ SDVVSRUW XQWLO KLV PRWKHU
           SURYLGHG LW WR +(.0$7, IRU WKH SXUSRVH RI SURYLGLQJ LW WR /HJDO 3HUVLDQ
           +(.0$7, VWDWHG KH ZDV DERXW  \HDUV ROG LQ WKH SKRWR +(.0$7, V PRWKHU
           VWLOO PDLQWDLQV +(.0$7, V ,UDQLDQ SDVVSRUW +(.0$7, KDV QHYHU LQGLFDWHG RQ
           DQ\ 86 JRYHUQPHQW IRUPV RU DSSOLFDWLRQV WKDW KH KDG WKH ,UDQLDQ SDVVSRUW
           EHFDXVH KH ZDV QRW DZDUH RI LW ZKHQ KH FRPSOHWHG WKRVH IRUPV

           &RPPRQ $FFHVV &DUG          &$&

                     ,QWHUYLHZLQJ DJHQWV VKRZHG +(.0$7, D SKRWR FRS\ RI KLV 'HSDUWPHQW
           RI 'HIHQVH 'R' FLYLOLDQ HPSOR\HH &RPPRQ $FFHVV &DUG &$& >$JHQW V QRWH
           7KH SLFWXUH RI WKH &$& VKRZQ WR +(.0$7, ZDV SXOOHG IURP DQ RQOLQH ,QWHUQHW
           YLGHR ZKLFK DSSHDUHG WR KDYH EHHQ SURGXFHG LQ FRQFHUW ZLWK WKH ,UDQLDQ
           JRYHUQPHQW ,Q WKH YLGHR +(.0$7, FRQIHVVHG WR EHLQJ D &,$ VS\ ,W DSSHDUHG
           IURP WKH YLGHR WKH ,UDQLDQ JRYHUQPHQW ZDV LQ SRVVHVVLRQ RI +(.0$7, V DFWXDO
           &$& RU D SLFWXUH RI LW@ +(.0$7, DGPLWWHG KH WRRN D SLFWXUH RI KLV &$&
           ZLWK KLV FHOO SKRQH +(.0$7, SRLQWHG WR WKH WKXPE DQG ILQJHUV LQ WKH SKRWR
           DQG VWDWHG KH ZDV KROGLQJ WKH &$& ZKHQ WKH SKRWR ZDV WDNHQ +(.0$7,
           H[SODLQHG KH WRRN D SKRWR RI KLV &$& VR KH ZRXOG KDYH D SKRWR RI LW LQ WKH
           HYHQW KH ORVW WKH DFWXDO FDUG +(.0$7, VWDWHG KH WXUQHG LQ KLV &$& WR %$)%
           EHIRUH GHSDUWLQJ IRU 'XEDL :KHQ LQWHUYLHZLQJ DJHQWV UHPLQGHG +(.0$7, WKDW
           6L[ 6\VWHPV LQVWUXFWHG KLP WR WXUQ KLV &$& WR D 86 EDVH XSRQ KLV UHWXUQ
           WR WKH 86 DQG WKHQ PDLO 6L[ 6\VWHPV D UHFHLSW RI WKH UHWXUQ +(.0$7,
           UHPDLQHG VLOHQW ,QWHUYLHZLQJ DJHQWV DOVR UHPLQGHG +(.0$7, KH KDG WROG )%,
           DJHQWV LQ *HUPDQ\ KH GHVWUR\HG KLV &$& EHIRUH WUDYHOLQJ WR ,UDQ ,Q
           UHVSRQVH +(.0$7, LQGLFDWHG KH FRXOG QRW UHPHPEHU DQG WKDW ³PD\EH´ WKLV
           RFFXUUHG +(.0$7, GHQLHG XVLQJ KLV &$& DV ³ERQD ILGHV´ LQ DQ\ DSSURDFK WR
           WKH ,UDQLDQV

                     ,QWHUYLHZLQJ DJHQWV VKRZHG +(.0$7, D FRS\ RI KLV $UPHG )RUFHV
           86 PLOLWDU\ LGHQWLILFDWLRQ FDUG +(.0$7, VWDWHG WKLV FDUG ZDV FXUUHQWO\
           DW KLV KRPH LQ )OLQW DQG KH GLG QRW WDNH LW ZLWK KLP ZKHQ KH ZHQW WR
           $IJKDQLVWDQ DQG ,UDQ +(.0$7, SRLQWHG WR WKH H[SLUDWLRQ GDWH RQ WKH FDUG
           ZKLFK ZDV VKRZQ DV  DQG VWDWHG LW ZDV H[SLUHG >$JHQW V QRWH 7KH
           SLFWXUH RI WKH $UPHG )RUFHV 86 PLOLWDU\ LGHQWLILFDWLRQ FDUG VKRZQ WR
           +(.0$7, ZDV SXOOHG IURP DQ RQOLQH ,QWHUQHW YLGHR ZKLFK DSSHDUHG WR KDYH

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                             RECORD FOR SPECIAL MASTER

1. The FBI opened an espionage investigation on AMIR NEMA HEKMATI on September 21, 2011.
   The FBI investigation has concluded that HEKMATI attempted to pass U.S. classified
   information to the Government of Iran, and this conclusion is corroborated by multiple reliable
   sources. HEKMATI was an Intelligence Analyst contractor for the Department of Defense
   (DOD) in Afghanistan from June 2011 to August 2011. In this position, HEKMATI held a
   security clearance that granted him access to intelligence reports classified at the highest level -
   Top Secret/Sensitive Compartmented Information (TS/SCI).

2. When HEKMATI arrived in Afghanistan, he was told he was reassigned as a Human Terrain
   Systems (religious advisor) member instead of an Intelligence Analyst. HEKMATI became upset
   and indicated that, if he was not given the Intelligence Analyst position, he would immediately
   resign and go home. HEKMATI argued he was hired as an Intelligence Analyst, which would
   require routine access to TS/SCI information, while as a religious advisor he would not.

3. While deployed to Bagram Air Force Base in Afghanistan, HEKMATI was assigned to work on
   projects related to the Afghan Taliban and the Haqqani network. However, forensic analysis of his
   classified information computer system audit revealed that he accessed hundreds of highly
   classified documents pertaining to Iran, which were all well outside the scope of his assigned
   duties. FBI analysis determined that, during the period from early July 2011 to early August 2011,
   over 90% of the classified products he accessed were related to Iranian topics/issues. The topics
   related to Iran included discussion of Iranian military issues, the Iranian nuclear program,
   Hezbollah, and Iranian support to terrorism. The products were classified up to and including the
   TS/SCI level.

4. In late July 2011, HEKMATI unexpectedly provided two weeks’ notice that he intended to
   terminate his employment. Although his original employment agreement was for six to twelve
   months, HEKMATI resigned from his Defense Intelligence Agency contract position within two
   months of his arrival in Afghanistan. During his final two weeks, HEKMATI began working the
   night shift at his request / decision. In those two weeks, FBI analysis indicates that, once again,
   approximately 90% of the products HEKMATI viewed appeared to be outside the scope of his
   assigned duties and an unusually high percentage were highly classified products.

5. In August 2011, HEKMATI took a military charter flight from Bagram Air Force Base in
   Afghanistan to a third country. After he landed in the third country, he purchased an airline
   ticket to Tehran, Iran. HEKMATI did not tell any of his colleagues or associates in
   Afghanistan about his intentions to travel to Iran. HEKMATI later stated to the FBI that he
   had only told his mother about his plan to travel to Iran to visit his grandmother. Records
   indicate that HEKMATI arrived in the third country in the evening around 5 p.m. local time,
   spent the next day there, and flew to Iran the following day.




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6. Throughout the investigation the FBI has received information from four reliable sources. Those
   sources confirm that HEKMATI voluntarily traveled to Iran and approached Iranian government
   officials offering U.S. classified information in exchange for payment.


7. In December 2011, the Iranian government publically released information indicating
   HEKMATI was arrested as a CIA spy for engaging in espionage against Iran. HEKMATI was
   sentenced to death, but open sources reported that HEKMATI had been retried in December
   2013 and sentenced to ten years in prison. The FBI has confirmed that HEKMATI was never
   employed or tasked by the CIA.

8. On January 19, 2016, HEKMATI was released from Iranian custody. Following his release, the
   FBI interviewed HEKMATI at Landstuhl Regional Medical Center near Frankfurt, Germany.
   HEKMATI stated that he had always wanted to travel to Iran to visit his grandmother and other
   relatives. Regarding the time period when HEKMATI worked as an Intelligence Analyst for the
   U.S. government in Afghanistan, HEKMATI was asked if he ever accessed classified reporting
   regarding Iran. HEKMATI refused to answer this question; instead, HEKMATI indicated that
   the FBI could find out that information for itself by pulling the log information. When asked if
   he had ever read paper copies of classified reporting regarding Iran, HEKMATI avoided the
   question, instead saying that he had a “TS” clearance including SI, TK, and Gamma accesses
   [references to SCI programs].

9. Several months later, on April 7, 2016, the FBI interviewed HEKMATI in Flint, Michigan. In this
   interview, the FBI directly confronted HEKMATI, alleging that he went to Afghanistan to gain
   access to classified information in order to travel to Iran and sell it to the Government of Iran. In
   response, HEKMATI only inquired whether the FBI agent was asking a question. Interviewing
   agents showed HEKMATI a “search log” that detailed HEKMATI’S search activity on U.S.
   classified computer systems. The agents also explained to HEKMATI that approximately 90% of
   the searches he conducted were about Iran or issues of interest to Iran, unrelated to his assigned
   work. HEKMATI looked at the search log and denied this was a log of his search activity. When
   it was explained again this was a detailed search log of his searches, HEKMATI stated he did not
   have time to access classified reporting about Iran because he had too much work and was already
   working 12 to 13 hour days.

10. HEKMATI indicated his contractor and the military provided him access to U.S. classified systems
    and the interviewing agents should ask them why HEKMATI searched those topics on Iran.
    Interviewing agents explained that line of logic did not make sense and there was an expectation by
    the granting agency of his security clearance, in this case the U.S. military, he should only access
    information needed for his assignment. HEKMATI reiterated to ask his contractor or the military.
    HEKMATI further stated that his contractor and the military gave him access to U.S. classified
    computer network systems at large and did not restrict his access so he should be allowed to view
    whatever he viewed.




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11. HEKMATI remembered being briefed into the TS/SCI clearance level. When interviewing agents
    asked HEKMATI if he understood he did not have a “need to know” pertaining to classified
    reporting on Iran, HEKMATI deflected and reiterated his contractor and the military gave him “no
    direction.” HEKMATI indicated that his superiors did not know what he was actually supposed to
    do and because of this HEKMATI had to find things to do to fill his day. As a result, HEKMATI
    felt that his Intelligence Analyst position was a waste of time. When interviewing agents pointed
    out the contradiction between HEKMATI having to find things to do to fill his day with
    HEKMATI’S earlier claim he was too busy working 12 to 13 hours a day to search for information
    on Iran, HEMATI did not provide a response.

12. After alternating between not responding and deflecting when interviewing agents asked
    HEKMATI why he accessed classified reporting on Iran, HEKMATI finally responded he
    accessed classified information regarding Iran to become a subject matter expert on Iran.
    HEKMATI stated he is of Iranian descent, was curious, and compared his searches on U.S.
    classified information systems to a “Google” search.

13. When the interviewing agents explained to HEKMATI that he accessed a certain classified
    document regarding the Iranian government’s presence in a certain country twice in August 2011,
    just before he left for the same third party country to continue onward to Iran, HEKMATI did not
    acknowledge accessing the document or doing anything in the third party country other than
    transiting to Iran. HEKMATI said he never purposely met with the Iranian government prior to
    his imprisonment in Iran.

14. HEKMATI said he accepted the Intelligence Analyst position because he wanted to develop
    intelligence analysis experience to be more competitive in obtaining a full-time U.S. government
    job. HEKMATI acknowledged to the interviewing agents that he could potentially lose his
    clearance if he travelled to Iran. HEKMATI could not reconcile the discrepancy between his
    previous statement of wanting to acquire experience as an analyst to obtain a full-time U.S.
    government job and his pre-planned willingness to jeopardize his security clearance by travelling
    to Iran.

15. On May 9, 2016, HEKMATI filed a civil action against Iran in the United States District Court
    for the District of Columbia (USDC). HEKMATI claimed that his treatment while in custody in
    Iran constituted torture and hostage taking in violation of the Foreign Sovereign Immunities Act
    (FSIA), 28 U.S.C. §§ 1602-1611, and he sought compensatory and punitive damages.

16. In support of his civil claim, HEKMATI signed a “Declaration of Amir Hekmati” on September 27,
    2016. At the conclusion of the 23-page document, HEMATI attested “Pursuant to 28 U.S.C. §
    1746, I declare under penalty of perjury that the foregoing is true and correct.” The declaration was
    filed with the USDC on February 10, 2017.

17. In his declaration to the USDC, HEKMATI asserted that “Before returning home from
    Afghanistan to Michigan to start school, I decided to take the opportunity to travel for a few



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   weeks . . . my mother had been encouraging me in particular over the last few months to visit
   my grandmother in Iran . . . .” (¶¶ 24, 25) In fact, this was a false and misleading statement.
   The primary purpose of his trip to Iran was not to visit his grandmother - it was to approach
   Iranian Intelligence officials with an offer to sell U.S. classified information to the Iranian
   government.

18. In his declaration to the USDC, HEKMATI claimed that “Those first few days in Evin [prison] are
    a blur. I was shocked, confused, scared, indignant.” (¶ 35) HEKMATI asserted that, after his arrest
    by the Iranian government, “I had no contact with the outside world. I was not permitted to speak
    to my family” (¶ 45) and that, after a period of months, “I hadn’t spoken to my family since my
    arrest.” (¶ 57). In fact, this was another series of false statements. HEKMATI’s mother in
    interviews with the FBI indicated that HEKMATI made several calls to his uncle from his cellular
    phone over a period of seven to ten days indicating “he was bored ... had nothing to do, but read.”

19. In assessing all the facts and circumstances presented above, the FBI has concluded that the
    purpose of HEKMATI’s trip to Iran was to sell classified U.S. intelligence information to Iran and
    that, in fact, HEKMATI attempted to sell classified information to the Government of Iran when he
    travelled to Tehran in August 2011. The forensic examination of his computer system log clearly
    demonstrates that HEKMATI accessed hundreds of highly classified documents pertaining to Iran
    that were wholly unrelated to his area of responsibility. HEKMATI'S assignment in Afghanistan
    was to analyze the Taliban and Haqqani network - and he had no “need to know” regarding
    sensitive classified reporting on Iranian matters. The suspicious nature of this unauthorized
    conduct is further underscored by HEKMATI'S unexpected two weeks' notice that he was
    terminating his employment months earlier than the terms of his contract. Then HEKMATI
    informed only his mother that he was taking a trip to Iran. Subsequent reporting provide from
    multiple sources corroborate that HEKMATI travelled to Iran to sell U.S. classified information to
    the Iranians in exchange for payment.

20. In addition, HEKMATI's own statements during interviews with FBI agents reveal
    dissembling behavior that reflects a consciousness of guilt. In his initial interview after his
    release from Iran, when the FBI asked him if he had ever accessed classified documents as an
    Intelligence Analyst in Afghanistan, HEKMATI did not answer the question, instead he said
    the FBI could find out itself by pulling the log information. In another interview months later,
    when the FBI directly confronted him alleging he went to Iran to sell classified U.S.
    intelligence information, HEKMATI again did not respond- instead replying only to ask if
    that was a question.

21. Moreover, in his statements to the interviewing agents, HEKMATI provided significantly
    inconsistent answers that show his effort to deflect and evade the FBI’s questions. When the
    FBI showed him the computer search log listing his accessing of numerous classified
    documents regarding Iran, HEKMATI initially denied that it was his log. He further claimed
    he had so much work to do over his 12 to 13 hour shifts that he did not have any time to search
    classified documents on Iran. However, later in the same interview, HEKMATI admitted



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   accessing the classified reports on Iran because he had to find things to do to fill his day. Still
   later in the course of the interview, HEKMATI once again changed his answer - discarding his
   previous assertion that he accessed the documents because he had to fill the time, HEKMATI
   stated that he accessed the classified documents on Iran because he wanted to become a
   subject matter expert on Iran. Finally, when the FBI focused on the fundamental principle of
   “need to know” in accessing intelligence reports, HEKMATI simply remarked that his
   contractor and the military had given him access to the classified computer network and did
   not restrict his access, so he should be allowed to view whatever he viewed.

22. In reviewing the classified intelligence reports on Iran that HEKMATI accessed, the FBI
    found numerous reports on the Iranian government. The Iranian government has a long
    established history of conducting and supporting terrorist operations around the world.


23. The Iranian Revolutionary Guard Corps (IRGC), with the support of the Iranian government, has
    engaged in terrorist activity since its inception 40 years ago. The IRGC - most prominently
    through its Qods Force - has the greatest role among Iran’s actors in directing and carrying out a
    global terrorist campaign.

       •   In recent years, IRGC Qods Force terrorist planning has been uncovered and disrupted in
           many countries, including Germany, Bosnia, Bulgaria, Kenya, Bahrain, and Turkey.

       •   The IRGC Qods Force in 2011 plotted a brazen terrorist attack against the
           Saudi Ambassador to the U.S. on American soil. Fortunately, this plot was
           foiled.

       •   In 2012, IRGC Qods Force operatives were arrested in Turkey for plotting an attack and
           in Kenya for planning a bombing.

       •   In January 2018, Germany uncovered ten IRGC operatives involved in a terrorist plot in
           Germany, and convicted another IRGC operative for surveilling a German-Israeli group.

       •   In September 2018, a U.S. federal court found Iran and the IRGC liable for the 1996
           Khobar towers bombing, which killed 19 Americans.

24. The IRGC continues to provide financial and other material support, training, technology transfer,
    advanced conventional weapons, guidance, or direction to a broad range of terrorist organizations,
    including Hizballah, Palestinian terrorist groups like Hamas and Palestinian Islamic Jihad, Kata’ib
    Hizballah in Iraq, al-Ashtar Brigades in Bahrain, and other terrorist groups in Syria and around the
    Gulf.

25. The FBI assesses that the sensitive intelligence reporting accessed by HEKMATI could be
    exploited by the Iranian government in support of terrorist operations.




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From:                  Grim, Emily P.
To:                    Ken Feinberg
Cc:                    doj, usvsst (CRM); Lee, Jane (CRM); Gilbert, Scott D
Subject:               RE: USVSST Fund Claim No. 1226
Date:                  Wednesday, February 12, 2020 11:55:22 AM
Attachments:           image083522.png
                       2020.02.12 - Letter to Special Master Ken Feinberg re Reconsideration.pdf


Special Master Feinberg:

On behalf of Scott Gilbert, please see the attached correspondence.

Thank you,
Emily




Emily P. Grim          ​




grime@gilbertlegal.com
O 202.772.3926
C 610.737.3191
 ​1100 New York Ave, NW
​Suite 700
  ​Washington, DC 20005
 GilbertLegal.com
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thereof, without further distributing or copying them.

From: Lee, Jane (CRM) <Jane.Lee3@usdoj.gov>
Sent: Wednesday, January 15, 2020 11:05:07 AM
To: Gilbert, Scott D <gilberts@gilbertlegal.com>
Cc: Ken Feinberg <KFeinberg@feinberglawoffices.com>; doj, usvsst (CRM)
<usvsst.doj@usdoj.gov>
Subject: USVSST Fund Claim No. 1226


Mr. Gilbert:

On behalf of Mr. Kenneth R. Feinberg, please find attached correspondence dated January 15, 2020
with referenced enclosures.

Regards,

U.S. Victims of State Sponsored Terrorism Fund




                                                                                                                            DA208
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March 19, 2020


VIA ELECTRONIC MAIL


Scott Gilbert, Esq.
Gilbert LLP
1100 New York Avenue NW Suite 700
Washington, DC 20005


           Re:    Amir Hekmati, Claim No: 1226


Dear Mr. Gilbert:

       I am writing to respond to your letter dated February 12, 2020. As we discussed, a
hearing in the above-referenced matter may be required. A hearing date of April 7, 2020
has been reserved.

        You indicated that you will submit written materials to me and the U.S. Victims of
State Sponsored Terrorism Fund (USVSST Fund) by March 23, 2020. The submitted
materials should identify all legal and factual arguments upon which you rely, and include
any documents or other materials supporting them. As we discussed, your written
submission may be sufficient without the necessity of an in-person or telephonic hearing.
However, upon review of your written materials, I may request that we proceed in-person
or by telephone. The in-person hearing would be held at a conference room in my office
building, located at 1455 Pennsylvania Avenue NW, Washington, D.C. 20004. However,
given the coronavirus situation, the hearing may likely be telephonic. In any event, a court
reporter will transcribe the hearing.

       If there is a telephonic or in-person hearing, you will have the opportunity to present
your legal and factual arguments. I may ask you or Mr. Hekmati questions at the hearing.
If Mr. Hekmati offers additional information orally or responds to questions, he will be
required to do so under oath and affirmation under penalty of perjury. No other witnesses
may appear at the hearing; however, you may submit statements from Mr. Hekmati and
other witnesses in writing, executed under penalty of perjury, as part of the materials you
submit before the hearing.

           I will issue a final written decision within 90 days of the hearing as required by the
statute.



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       Please submit your materials by March 23, 2020 electronically to the USVSST
Fund at usvsst.doj@usdoj.gov and to me at KFeinberg@feinberglawoffices.com.


                                  Sincerely,




                                  Kenneth R. Feinberg
                                  Special Master
                                  U.S. Victims of State Sponsored Terrorism Fund




                                                                              DA211
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From:                  Grim, Emily P.
To:                    Ken Feinberg
Cc:                    doj, usvsst (CRM); Lee, Jane (CRM); Gilbert, Scott D
Subject:               RE: USVSST Fund Claim No. 1226
Date:                  Monday, March 23, 2020 11:59:57 PM
Attachments:           image526118.png
                       2020.03.23 Special Master Brief.pdf


Special Master Feinberg,

On behalf of Scott Gilbert, please see the attached brief regarding Amir Hekmati’s claim to the
USVSST Fund (No. 1226). Please note that the brief and supporting materials contain sensitive
medical information that Mr. Hekmati has not disclosed publicly. We are providing the brief and
supporting materials on a confidential basis, subject to all applicable procedures and protections.

Supporting materials will follow under separate cover.

Thank you,
Emily




Emily P. Grim          ​




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O 202.772.3926
C 610.737.3191
 ​1100 New York Ave, NW
​Suite 700
  ​Washington, DC 20005
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From: Grim, Emily P.
Sent: Wednesday, February 12, 2020 11:54 AM
To: Ken Feinberg <KFeinberg@feinberglawoffices.com>
Cc: usvsst.doj@usdoj.gov; Jane.Lee3@usdoj.gov; Gilbert, Scott D <gilberts@gilbertlegal.com>
Subject: RE: USVSST Fund Claim No. 1226

Special Master Feinberg:

On behalf of Scott Gilbert, please see the attached correspondence.

Thank you,
Emily


                                                                                                                            DA212
    Case 1:19-cv-01766-RAH Document 38-1 Filed 03/12/21 Page 215 of 802




From: Lee, Jane (CRM) <Jane.Lee3@usdoj.gov>
Sent: Wednesday, January 15, 2020 11:05:07 AM
To: Gilbert, Scott D <gilberts@gilbertlegal.com>
Cc: Ken Feinberg <KFeinberg@feinberglawoffices.com>; doj, usvsst (CRM) <usvsst.doj@usdoj.gov>
Subject: USVSST Fund Claim No. 1226

Mr. Gilbert:

On behalf of Mr. Kenneth R. Feinberg, please find attached correspondence dated January 15, 2020
with referenced enclosures.

Regards,

U.S. Victims of State Sponsored Terrorism Fund




                                                                                         DA213
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                                              INTRODUCTION

         Nine years ago, Amir Hekmati, a decorated veteran of the U.S. Marines, traveled to Iran

at his mother’s urging to see his grandmother. While there, he was wrongfully arrested and

imprisoned at the age of 28. After nearly five years of physical and psychological torture, Mr.

Hekmati was released as part of the 2016 Iran hostage deal. Since his release, Mr. Hekmati has

sought to rebuild his life and find peace. Instead, Mr. Hekmati’s own government has harassed

and bullied him, taken advantage of him at his most vulnerable, and now has unlawfully denied

him the right to at least partial compensation for the harms he has suffered.

         Mr. Hekmati appeals from a decision of the U.S. Victims of State Sponsored Terrorism

Fund (the “USVSST Fund” or the “Fund”) made pursuant to a request for reconsideration of his

eligibility by the U.S. Department of Justice (“DOJ” or the “Government”). 1 That decision

concluded that Mr. Hekmati made material falsehoods in his application to the Fund by stating in

a declaration to the U.S. District Court of the District of Columbia (the “District Court”) as part

of his suit against the Iranian government that he went to Iran to visit his grandmother, when in

fact the primary purpose of his trip was to sell information to the Iranian government. The

decision rests on summaries of two FBI interviews with Mr. Hekmati and a “Record for Special

Master,” which appears to set forth findings made by certain law enforcement officials with

respect to Mr. Hekmati’s alleged wrongdoing. In a nutshell, the key accusations in the interview

summaries and Record for Special Master are as follows:

         •        In the months leading up to his trip to Iran, Mr. Hekmati sought a job as an
                  intelligence analyst in Afghanistan solely to access classified information, and


1
 Mr. Hekmati’s exercise of his right to be heard with respect to the decision and apparent accusations against him is
not an acknowledgement that the Fund’s reconsideration of Mr. Hekmati’s eligibility is authorized by law, nor is it a
waiver of any rights or arguments with respect to this issue or any other legal or factual issues addressed herein.
Mr. Hekmati continues to reserve all rights regarding this matter.




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               became upset when, upon arrival, he instead was assigned a role of a religious
               advisor, which did not permit him to access classified information.

       •       After being re-assigned to a position as an intelligence analyst, Mr. Hekmati
               accessed classified materials regarding Iran that purportedly were outside the
               scope of his job.

       •       Mr. Hekmati terminated his employment early, chose to work the night shift
               during his last two weeks in his position, and failed to inform his former
               employers about his plans to travel to Iran.

       •       Mr. Hekmati accessed an article about Iran’s presence in Dubai, then stopped in
               Dubai en route to Iran.

       •       “Four reliable sources” confirm that Mr. Hekmati approached Iranian government
               officials offering classified information in exchange for payment.

       •       Mr. Hekmati’s declaration to the District Court stated that he was not permitted to
               speak with his family for months, but his mother, in interviews with the FBI,
               allegedly indicated that Amir “made several calls to his uncle from his cellular
               phone over a period of seven to ten days indicating ‘he was bored . . . had nothing
               to do, but read.’”

       •       Mr. Hekmati demonstrated a “consciousness of guilt” while being interviewed by
               FBI agents after his release.

       As set forth below, the decision to reconsider and subsequently rescind Mr. Hekmati’s

eligibility for compensation based upon his purported omissions or misrepresentations to the

District Court is both unlawful and factually deficient on a multitude of grounds:

       First, the decision contradicts the material facts of this case. Mr. Hekmati has provided

substantial evidence demonstrating that he certainly did not travel to Iran with the primary

purpose of selling information to the Iranian government.

       Second, even if one were to disregard Mr. Hekmati’s evidence, the Government has

proffered no evidence supporting the determination that Mr. Hekmati traveled to Iran to sell

information to the Iranian government. The purported evidentiary record contains only

conclusions. Even if such conclusions alone could constitute credible evidence of Mr. Hekmati’s




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conduct in the months leading up to his trip to Iran, the record does not support a logical leap that

Mr. Hekmati intended to sell classified information to the Iranian government—indeed, the

record includes no constitutionally permissible evidence regarding Mr. Hekmati’s activities in

Iran whatsoever.

       Third, the Fund had no legal authority to reconsider Mr. Hekmati’s eligibility for

payment in the first place. Such “reconsideration” is expressly prohibited by the authorizing

statute for the USVSST Fund.

       Fourth, the Fund cannot legally terminate Mr. Hekmati’s right to payment without

articulating the specific factual basis for its decision or disclosing all evidence purportedly

supporting the decision against him, neither of which the Fund has done. Such conduct violates

Mr. Hekmati’s administrative due process rights.

       Fifth, Mr. Hekmati made no statements regarding the purpose of his trip to Iran in his

application or supporting materials. The Special Master’s decision relied on statements made by

Mr. Hekmati solely in a declaration submitted to the District Court as part of his lawsuit against

the government of Iran. Neither the Special Master nor the DOJ writ large has legal or

constitutional authority to rescind Mr. Hekmati’s payment rights based on statements made

outside the context of his application to the Fund.

       Sixth, under federal law, willful omissions of material facts are not actionable as long as

the declarant’s statement is literally true. Mr. Hekmati’s statement to the District Court

regarding the circumstances of his trip to Iran are literally true—neither the Government nor the

Special Master has contended otherwise. Thus, even if the primary purpose of Mr. Hekmati’s

trip to Iran was to sell information (it was not), his statement regarding his intent to visit family

cannot serve as a basis to terminate his payment rights.




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II.     Mr. Hekmati’s Activities Leading Up to His Trip to Iran

        After Mr. Hekmati completed his service in the Marines, he went on to serve his country

as a military contractor from 2005 to 2011, focusing on translation and cultural education. A.

Hekmati Decl. ¶ 12. Mr. Hekmati did well as a contractor, finding regular work and patenting

his own instructional methodology for languages that later was purchased by Vcom3D, a defense

contractor in Orlando, Florida, for $300,000. Id. ¶¶ 13–14.

        In 2009, Mr. Hekmati became a research manager for defense contractor BAE Systems.

As part of this position, he worked for one year in Tikrit, Iraq for the U.S. Army’s Human

Terrain Analysis Program, primarily providing cultural analysis and advice to U.S. military

commanders. His research topics included, among others, Iranian influence in Iraq and Iranian

infiltration of Iraqi militias in Southern Iraq. 2 At the request of his supervisors, Mr. Hekmati

applied for and was granted a top-secret-level security clearance. A. Hekmati Decl. ¶ 17.

        In 2009 and 2010, Mr. Hekmati took, and passed, two intensive polygraphs as part of

background checks for two intelligence-related positions with the U.S. government. The first

was in connection with a potential position at the Defense Intelligence Agency (“DIA”). Id.

¶ 18. The second was in connection with a potential position with the National Clandestine

Service at the Central Intelligence Agency (“CIA”). 3 Id.

        Despite his success as a contractor, by 2011, Mr. Hekmati was at a personal and

professional crossroads. His contract with BAE was set to expire. He loved intelligence work,

but his sense was that active intelligence roles in Iraq requiring his specific expertise in Farsi and



2
  See Christopher S. Brace Recommendation Letter (Ex. 6 to A. Hekmati Decl.).
3
  Mr. Hekmati ultimately turned down a position with DIA to take the job with BAE Systems. The CIA made an
offer of conditional employment to Mr. Hekmati, but an available role for him did not materialize in the immediate
training cycle. Mr. Hekmati had steady work as a contractor at the time and had mixed feelings about taking a
position that would require him to conceal a large part of his life from family and friends, so he did not push the
issue.




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cultural education were starting to dry up as the war in Iraq was winding down. Mr. Hekmati

was beginning to tire of the frequent travel that contract work required. He was in a serious

relationship with a woman from Michigan and was ready to settle down and start a family. Mr.

Hekmati decided to apply to a number of master’s programs in economics in order to diversify

his resume and open up future job opportunities while staying closer to home. Id. ¶ 19. Around

the same time, Mr. Hekmati’s mother was encouraging him and his siblings to travel to Iran to

visit their grandmother, who was suffering from health problems. Mr. Hekmati was close with

his grandmother, who had visited his family many times during his youth. 4 Id. ¶ 20. He

exchanged e-mails with his mother in December 2010 and January 2011 regarding his plans to

travel to Iran that summer after he returned home from Iraq. He also corresponded with Legal

Persian, a service specializing in Iranian-American travel to Iran, during the same period about

getting all necessary visas and travel documents in order to make the trip. 5

        In the spring of 2011, as Mr. Hekmati’s contract with BAE was winding down, a co-

worker informed Mr. Hekmati that he had recently obtained a position with Six3 Systems,

another government contractor, for active intelligence work in Afghanistan. He recommended

that Mr. Hekmati consider applying for the same position and put him in touch with a recruiter

from Six3. The recruiter provided a description of the position and told Mr. Hekmati she “would

love to get [him] on the team.” 6 Mr. Hekmati recalls that the recruiter was particularly keen on

his Farsi language skills and previous work experience as an analyst on a broad range of issues.

A. Hekmati Decl. ¶ 21.




4
  Family Photos (attached as Exs. 7–8 to A. Hekmati Decl.).
5
  See E-mail from Amir Hekmati to Behnaz Hekmati (Dec. 29, 2010, 11:31 AM) (Ex. 9 to A. Hekmati Decl.); E-
mail from Legal Persian to Amir Hekmati (Jan. 3, 2011, 8:58 AM) (Ex. 10 to A. Hekmati Decl.).
6
  E-mail from Gretchen Klugh to Amir Hekmati, May 19, 2011 (attached as Ex. 11 to A. Hekmati Decl.) (“Six3
Recruiting E-mail”).




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        On its face, the job appeared to be an incredible opportunity. Mr. Hekmati viewed

Afghanistan as the epicenter of active intelligence work at the time; positions there were coveted.

The role, as described in the recruiter’s e-mail, was for an “Intelligence Analyst” providing

support on a broad range of topics in connection with “Afghanistan measures of stability,”

including “security, governance/development, Human Terrain, provincial and district

assessments, High Value Targeting products, Extremist and Regional Threat Network Nodal

Analysis and preparation of Intelligence Surveillance and reconnaissance Assessment Metrics.”

Analysts were expected “to present an all source product on military activity, insurgent actions,

economic/political activities, threats to regional stability, and trend analysis.” 7 Such a role could

provide Mr. Hekmati with another opportunity to use his skillset to serve his country, and also

could allow him to gain valuable work experience, learn from more senior analysts, and make

professional connections. The offer was hard to refuse. A. Hekmati Decl. ¶ 22.

        Mr. Hekmati knew, however, that the job would come at a cost. The position would take

him far away from his family and his girlfriend. It could delay his plans to go to school. Mr.

Hekmati did not know where in Afghanistan he would be placed or precisely the type of projects

he would be working on, but he knew from experience that the days would be long, and that

many such jobs were in remote areas and could feel very isolating. After much discussion with

his family and girlfriend, he decided to give the position a try. If it was not everything it had

been marketed to be, he would leave. Id. ¶ 23. His contract was at-will, and he declined any

signing bonus, which he would have had to pay back, with taxes, if he did not stay in the position

for six months. 8



7
 Ex. 11 to A. Hekmati Decl.
8
 Six3 Systems Employment Agreement at 2 (attached as Ex. 12 to A. Hekmati Decl.) (noting position was for
“intelligence analyst”).




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III.    Mr. Hekmati’s Work for Six3 Systems

        Soon after arriving in Kabul, Afghanistan, Mr. Hekmati knew the job was not what he

had hoped it would be. Instead of being placed in a position as an intelligence analyst, as the job

description had indicated, he was asked to be a religious advisor. The position, as he understood

it, would require him to patrol alongside U.S. military troops in Taliban-controlled areas

discussing sensitive religious topics (in which he had no training) with potentially hostile

villagers. A wrong move on his part could lead to danger for the unit. He was not prepared to

put others at risk by taking a role in which he had no experience. Moreover, this was not the

position for which he had decided to delay his school plans and leave his family and girlfriend.

It would not provide any of the professional experience he had been seeking. He told his

supervisor at Six3, Angela Layman, that he would resign if he was not placed in the role for

which he had applied and, he believed, had been hired —intelligence analyst. Mr. Hekmati was

assigned promptly to a role as an all-source intelligence analyst at an office at Bagram Airfield.

A. Hekmati Decl. ¶ 24.

        Upon Mr. Hekmati’s arrival in Bagram, Mr. Hekmati’s Special Security Officer

provided him with access to a wide range of intelligence programs in order to view data to

support the unit, including Intelink (akin to Google with respect to classified information) and

other Sensitive Compartmentalized Information (“SCI”) (SI, TK, HCS, and Gamma special

access). Mr. Hekmati did not request access to these programs. Mr. Hekmati did not know

before taking the position that he would be granted access to these specific programs. Mr.

Hekmati’s access rights had no subject-matter-based restrictions. Indeed, Mr. Hekmati, and all

others in the unit with similar clearance, received unsolicited daily reports that were not

necessarily directly relevant to whatever projects they were working on at the time, including

information related to China and other countries. Id. ¶ 25.



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       Mr. Hekmati was pleased that he ultimately had been placed in the position for which he

had been hired, but he struggled to find his role in the unit. He recalls being given only one

official assignment, which was to monitor and interpret anti-U.S. propaganda by the Taliban,

Haqqani network, and Al-Qaeda, and to devise strategies for countering those propaganda

efforts. To do so, he was expected to monitor different media outlets used by the Taliban,

deliver a weekly report, and make recommendations to U.S. Army commanders in east

Afghanistan. Beyond that, he recalls receiving little guidance on how to fill the 12-hour shifts

that were required by his contract. He sat elbow-to-elbow with other analysis all day and night

but largely was on his own. He had no project team or mentor. Id. ¶ 26. He felt pressure from

his superiors to be proactive, not reactive. Nearly every morning, his supervisor would prompt

him and others in the office with, “What do you got?” He felt he needed to have material ready

to prove his value. A single weekly report clearly was not sufficient in the eyes of his

supervisors. Id. ¶ 27.

       It appeared to Mr. Hekmati that each analyst had built a specialty in a few specific areas.

Separate from his weekly reports on cultural messaging, Mr. Hekmati sought to identify and

build an area of expertise where he could add value. Unprompted by his supervisors, he

generated a report on the benefits and feasibility of using local Afghani residents to form a

protective force for multinational corporations building cellphone towers throughout dangerous

areas of Afghanistan. Supervisors praised his work. Mr. Hekmati determined that, given his

Iranian background, knowledge of cultural issues, work experience at BAE in Iranian influence

in Iraq, and fluency in Farsi, he could establish a role for himself as an expert in Iranian

influence in Afghanistan, particularly focused on the threat posed to U.S. troops. He recalls

asking other analysts if this focus seemed useful, and that they agreed. He searched the




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intelligence platforms for data relating to Iran to further educate himself on these issues and

identify any potentially useful leads that might be valuable to his unit. Because of his access to

various SCI programs, his search results included a mix of both classified and unclassified

information. Id. ¶ 28.

         Mr. Hekmati’s activities were by no means covert. He sat in a room crowded with other

analysts, and his superiors often circulated around the room, checking in on various analysts’

activities. Mr. Hekmati recalls discussing his Iran focus openly with colleagues and superiors.

Not once was Mr. Hekmati cautioned, reprimanded or asked to stop his research. Id. ¶ 29

         Mr. Hekmati’s contract required that he work 12 hours per day, but his unit did not

require him to work during set hours. He, along with many of his colleagues, split up the 12

hours differently each day so that he could take a break from sitting in front of a computer all

day to exercise, have a meal and relax. Given that so many others split up their hours each day,

his office was not significantly less crowded or unsupervised at night. Id. ¶ 30.

         Mr. Hekmati never scanned, downloaded, or printed any of the articles or information

that he accessed, nor did he attempt to do so. Id. ¶ 31.

         Despite positive feedback on his work product and his efforts to build a specialty in Iran-

related issues, Mr. Hekmati was unhappy in the job. He had expected structure, direction,

collaboration, and support, but he received none. He had given the position a chance, but it was

not worth delaying his other life plans or being away from his family and loved ones for yet

another extended period. He gave his two weeks’ notice only a month or two after arriving. Id.

¶ 32.




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IV.     Mr. Hekmati’s Trip to Iran

        While Mr. Hekmati was in Afghanistan, his mother, sister, and brother had been visiting

family in Iran. 9 They encountered no issues during their visit. Mr. Hekmati knew he would

have little time to make a trip after starting school. He already was in Afghanistan, which

borders Iran. At his mother’s urging, he decided to make the trip before returning home to

Michigan. A. Hekmati Decl. ¶ 33; B. Hekmati Decl. ¶ 13.

        On August 14, 2011, Mr. Hekmati flew from Bagram Air Base to Dubai. There were no

direct flights to Iran from Bagram Air Base, and options for civilian contractor flights out of

Bagram were limited. Mr. Hekmati’s understanding was that the charter airline that provided

flights in and out of Bagram for Six3 contractors only went through Dubai. In any event, flying

to Iran by way of Dubai made sense because it was a massive international air hub with multiple

daily flights to Iran that were relatively inexpensive. Mr. Hekmati recalls this being important

because it was difficult to predict his exact departure date from Bagram—he had given the

standard two weeks’ notice but was permitted to leave whatever day he finished tying up any

loose ends at work. Regardless of when he would arrive in Dubai, he knew he could easily buy a

ticket to Iran departing within the next day or two. A. Hekmati Decl. ¶ 34.

        Once in Dubai, Mr. Hekmati purchased a ticket to Tehran. He planned to stay in Iran for

a few weeks before returning home to Michigan. Id. ¶ 35.

        This was Mr. Hekmati’s first trip to Iran. He was looking forward to reuniting with his

grandmother and meeting relatives who until that point had only been able to speak with him

over the phone. He had no safety concerns. His immediate family had just taken a trip there




9
 E-mails Between Behnaz Hekmati and Amir Hekmati (July 13-15, 2011) (attached as Ex. 13 to A. Hekmati Decl.);
Declaration of Behnaz Hekmati ¶ 11 (“B. Hekmati Decl.”) (attached as Ex. B).




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without incident, and he would be staying with relatives the entire time. No one ever offered any

reason why he should not go to Iran. Id. ¶ 36.

           When Mr. Hekmati arrived at the airport in Tehran, officials pulled him aside to review

his passport. To Mr. Hekmati’s knowledge, this was the only time he had interaction with

Iranian government officials before his arrest. Id. ¶ 37.

           Mr. Hekmati was with family members during the entirety of his visit to Iran, staying at a

family-owned apartment down the street from many relatives. They took him to explore the

sights of Tehran and the surrounding area, including the mountains east of Tehran. He also went

to many sights inside of Tehran, including parks, museums, and restaurants. 10 Mr. Hekmati

enjoyed himself immensely. He loved connecting with his large, close-knit, and vibrant

extended family. He found the city chaotic, but rich with culture. A. Hekmati Decl. ¶ 38.

V.         Imprisonment and Torture of Mr. Hekmati in Iran

           On August 29, 2011, two days before he was scheduled to return home to Michigan,

Mr. Hekmati was preparing to attend a family holiday celebration when two older men in suits

came to the apartment where he was staying. The men said they were from a passport control

agency and that they had a few more questions to ask about his passport. Mr. Hekmati was

hesitant to go with them but didn’t want to cause any trouble. He was shuttled to a nearby office

building, where the men immediately begin accusing Mr. Hekmati of working for the CIA,

interrogating him about his activities in Iran, and threatening to take him to “a very bad place” if

he did not confess. Id. ¶ 39.

           When Mr. Hekmati insisted that he had come to Iran only to visit family, he was

handcuffed and taken to Evin Prison—Iran’s most notoriously brutal prison. Upon his arrival, he



10
     Declaration of Mohamed Reza Maleki ¶ 3 (“M. Maleki Decl.”) (attached as Ex. C)




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was strip-searched, given blue prison pajamas, blindfolded, and taken to a small, windowless

cell. Mr. Hekmati did not know at the time that he was to spend the next four-and-a-half years in

Evin Prison. Id. ¶ 40.

        For the first 18 months of his imprisonment, Mr. Hekmati was held in solitary

confinement in Ward 209, which is used by the Iranian Ministry of Intelligence & Security

(“MOIS”) to torture prisoners into confessing to alleged “crimes.” 11 Id. ¶ 41. His cell was so

small that he could not stretch his legs when he laid down. Id. ¶ 42. The concrete walls of the

cell were curved, which threw off his depth perception and made him feel constantly like the

walls were caving in on him. Id. The floor consisted of cold tile covered with a thin carpet. Id.

Mr. Hekmati had no mattress; only a thin blanket that did nothing to insulate him from the cold

tile. Id. Prison officials continually prevented Mr. Hekmati from sleeping by pouring water on

the floor of his cell so that it remained cold and damp, quickly growing moldy. Id. There was

nothing else in the cell except a Koran and a small makeshift “toilet,” which was akin to a pail

with a hose. Id. There was no plumbing and no toilet paper. Id. The air was so heavy and

polluted that Mr. Hekmati had trouble breathing. Id. Even the guards wore surgical masks. Id.

        Because Mr. Hekmati had no window, he had no concept of whether it was day or night.

Id. ¶ 43. Prison officials kept bright lights on in his cell 24 hours a day. Id. At times, the power

went out, and Mr. Hekmati was left in complete darkness for hours at a time, unable to see even




11
   See Press Release, U.S. Dept. of Treasury, Treasury Designates Iran Ministry of Intelligence and Security for
Human Rights Abuses and Support for Terrorism, U.S. Dept. of Treasury Press Center (Feb. 16, 2012), available at
https://www.treasury.gov/press-center/press-releases/Pages/tg1424.aspx; U.S. Dept. of State, Country Reports on
Human Rights Practices for 2012: Iran 2012 Human Rights Report (2012), https://2009-
2017.state.gov/documents/organization/204571.pdf (noting that Ward 209 is outside the control of prison authorities
and controlled by MOIS); see also Perry Chiaramonte, Hell on Earth: Inside Iran’s brutal Evin prison, Fox News
(Jan. 28, 2013), http://www foxnews.com/world/2013/01/28/inside-evin-look-at-world-most-notorious-political-
prison.html.




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his own hands in front of his face. Id. He described the blackouts as making him feel like he

was “buried alive.” Id.

       Mr. Hekmati was permitted to leave his cell only once every few days for 10–15 minutes

to take a cold shower. Id. ¶ 44. Otherwise, he was taken from his cell only for interrogations,

which also occurred every few days. Id. He was always blindfolded before leaving his cell. Id.

       Mr. Hekmati was tortured continuously over the first four months of his imprisonment.

Id. ¶ 45. Prison guards regularly beat him with batons and struck him in his kidneys with electric

tasers to intimidate and punish him for his alleged “crimes.” Id. His interrogator chained him to

a table blindfolded and whipped the bottom of his feet with cables as punishment for not giving

him the answers he wanted. Id. Mr. Hekmati described the whipping as “excruciating.” Id.

Because Mr. Hekmati could not move, he felt the pain not just on his feet, but reverberating

through his head, “like a screwdriver jammed into my brain.” Id. Apart from the physical pain,

the whipping was intended to humiliate Mr. Hekmati. Id. Because the wounds were on his feet,

they were slow to heal; his feet became swollen, and he could not walk properly. Id.

       On multiple occasions, Mr. Hekmati was handcuffed in stress positions for hours at a

time. Id. ¶ 46. During one such episode, he was handcuffed with one arm reaching behind his

shoulder and the other hand behind his back for nearly 48 hours. Id. The position prevented

Mr. Hekmati from sitting the entire time and caused excruciating pain in his shoulder. Id.

       Mr. Hekmati also suffered constant psychological abuse. Id. ¶ 47. Prison guards

mercilessly taunted and belittled him, insulting Mr. Hekmati, his mother, and his country. Id.

Prison officials lied that Mr. Hekmati’s sister had been involved in a terrible car accident, then

refused him access to a phone to call his family unless he confessed that he was a spy. Id.




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       Mr. Hekmati had virtually no contact with the outside world for months, other than a

brief call to his relatives in Iran to tell them he was in prison (he couldn’t even tell them where,

because he didn’t know at the time). Id. ¶ 48; M. Maleki Decl. ¶ 5. Indeed, Mr. Hekmati had

almost no physical contact with anyone, apart from the taunts and beatings by the guards and his

interrogator. A. Hekmati Decl. ¶ 48. He could tell there were other prisoners in the ward, but he

could not communicate with them; he only knew they were there because he could hear them

screaming when they were tortured or taken from their cells for execution. Id.

       Mr. Hekmati lost 20 pounds during his first few months at Evin. Id. ¶ 52. He was served

very little food—a slice of bread and margarine in the morning, soggy rice and lentils for lunch,

and a small cup of soup or lentils in the evening. Id.

       Mr. Hekmati’s physical and psychological health deteriorated rapidly, to the point where

he thought he was losing his mind. Id. ¶ 54. He lost track of time and stared at the wall all day.

Id. ¶ 49. He began talking to the walls, as if they were a family member or friend from home.

Id. ¶ 50. Often, Mr. Hekmati would feel that the walls were caving in on him and that he could

not breathe. Id. ¶ 54. He had numerous panic attacks, during which he would start banging and

clawing at the door, screaming for the guards. Id. He was met only with taunts and more

beatings. Id. He thought about suicide often. Id.

       Roughly three months into Mr. Hekmati’s solitary confinement, the guards started

forcing him to take sedatives. Id. ¶ 55. The sedatives made it even harder for him to keep track

of time. Id. Mr. Hekmati drifted in and out of consciousness. Id. He described himself as “a

living corpse.” Id.

       Although Mr. Hekmati resisted the pills initially, they quickly became his lifeline, as they

allowed him to feel numb. Id. ¶ 56. Once he was hooked on the pills, however, his interrogator




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used them as a means of controlling him. Id. ¶ 57. The interrogator would cut off the pills

abruptly to attempt to coerce Mr. Hekmati to do things or say things that were untrue. Id.

Mr. Hekmati felt out of control when he was not given his pills. Id. He stopped sleeping and

started experiencing panic attacks again. Id. He felt he would do anything to get more pills. Id.

       Mr. Hekmati was told that all of these abuses would continue for as long as it took unless

and until he confessed to being a spy. Id. ¶ 58. After months of trauma, in December 2011,

Mr. Hekmati’s abusers shifted their tactics. They transported Mr. Hekmati from Evin Prison to

Esteghlal Hotel, dressed him in civilian clothes, gave him food and cigarettes, and told him he

would be released immediately if he agreed to be interviewed for an internal training video for

the Iranian Intelligence Ministry. Id. As part of the interview, Mr. Hekmati’s captors demanded

that he state that he worked for the CIA. Mr. Hekmati initially refused. His interrogators told

him he would be returned to solitary confinement if he did not comply. Id. Mr. Hekmati, having

suffered months of physical and psychological abuse, ultimately complied in hopes of being

released and reunited with his family, as his abusers had promised. Id. ¶ 59. Iran did not release

Mr. Hekmati, but rather broadcast the “confession” on Iranian state television as “proof” of

Mr. Hekmati’s crimes and then returned him to solitary confinement. Id. ¶ 61.

       In January 2012—five months after Mr. Hekmati’s arrest—Iran’s Revolutionary Court

held a 15-minute trial behind closed doors on his “crimes.” Id. ¶ 63. Mr. Hekmati knew nothing

of the charges against him or even that a trial was about to occur. Id. He did not meet his court-

appointed defense attorney until five minutes before trial. Id. The court convicted Mr. Hekmati

of espionage, waging war against God, and corrupting the earth. Id. ¶ 64. He was sentenced to

death, to be executed immediately by hanging. Id. Prison guards informed Mr. Hekmati of his




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sentence by showing him the front page of an Iranian state newspaper, which announced his

imminent execution with triumph. Id. ¶ 65. The beatings and taunts continued.

        Mr. Hekmati’s death sentence haunted him daily. Id. ¶ 66. He regularly could hear other

prisoners screaming and crying as they were dragged from their cells to be executed. Id. Every

day, he awoke wondering if it was his execution day. Id. He described himself as being “in a

constant state of fear and anxiety.” Id. He started having nightmares and more frequent panic

attacks. Id. Mr. Hekmati’s remaining mental strength began to crumble. Id. ¶ 67. He stopped

eating and sleeping. Id. He paced his cell anxiously at all hours, terrified that his executioners

were about to arrive. Id. He had constant visions of his execution. 12 Id.

        Several months later, Mr. Hekmati was abruptly taken back to court for a new trial in

front of a different judge. A. Hekmati Decl. ¶ 68. He learned that an Iranian appeals court had

overturned his death sentence months before based on insufficient evidence. Id. Like the

previous trial, this second trial was held behind closed doors and lasted no more than 10 minutes.

Id.

        The new court convicted Mr. Hekmati of cooperating with a hostile government,

presumably due to his U.S. military service. Id. ¶ 69. He was sentenced to 10 years in Evin—

the maximum sentence for such a crime. Id. Mr. Hekmati did not learn of his conviction and the

lifting of his death sentence until months later, again through newspapers the guards showed

him. Id.




12 REDACTED




                                                                             See Expert Rep. of Dr. Stuart
Grassian at 5–9, Hekmati v. Islamic Republic of Iran, No. 16-0875 (ESH) (D.D.C. Feb. 6, 2017) (FILED UNDER
SEAL) (attached as Ex. D) (“Grassian Rep.”).




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       By this time, Mr. Hekmati had spent nearly a year in solitary confinement. Id. ¶ 70. He

felt some relief when his death sentence was annulled, but he knew the courts could re-instate the

sentence at any time if it suited Iran’s political needs. Id. His fear of execution festered, never

going away. Id. He continued to live for his daily dose of pills. Id.

       Mr. Hekmati could not bear the thought of spending 10 more years in solitary

confinement. Id. ¶ 71. He went on multiple hunger strikes to protest his conditions. Id.

Roughly eighteen months into his imprisonment, he became unconscious after a prolonged

hunger strike. Id. ¶ 72. He suffered a head injury when he fell. Id. Fearing that Mr. Hekmati’s

death in prison would be bad publicity for the regime, Iranian officials transferred him out of

solitary confinement and to a political prison in Ward 350, where he remained for approximately

one year-and-a-half. Id.

       Mr. Hekmati was relieved to be out of solitary confinement, but Ward 350 brought with it

a new set of horrors. Conditions were terrible; 20–30 prisoners were packed together in a small

cell. Id. ¶ 74. Everyone had physical and psychological problems. Id. The food was the same

as in Ward 209. Id. There were no beds; only pieces of wood suspended from the wall. Id.

Prison officials stopped giving Mr. Hekmati his pills, which caused him painful physical

withdrawal. Id. Prisoners regularly were dragged out of the cell for execution or beatings. Id.

The guards indicated that prisoners would be helped if they snitched on other prisoners, so there

was a constant atmosphere of fear and distrust among the population. Id. Ward 350 had a small

courtyard where prisoners could see a small patch of sky. Id. ¶ 75. However, the courtyard was

so small that Mr. Hekmati could do little more than move in tight circles. Id.

       Mr. Hekmati still was not allowed to use the phone or speak to a lawyer, diplomatic

officials, or his family in Michigan. Id. ¶ 76. He was permitted to meet with his uncle once a




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month for 20–30 minutes, but the news of his family was devastating. Id. ¶¶ 76–77; M. Maleki

Decl. ¶ 7. Shortly after learning Mr. Hekmati had been sentenced to death, his father had

suffered a major stroke, followed by a diagnosis of advanced brain cancer. A. Hekmati Decl.

¶ 77. He had lost his mobility and could no longer care for himself. Id. In the meantime,

Mr. Hekmati’s older sister had quit her job to lobby for his release full-time, despite having two

young children at home. Id. His family was spending tens-of-thousands of dollars on lawyer

fees and expenses to lobby for his release. Id.

       News of his family’s suffering intensified Mr. Hekmati’s own suffering. Id. ¶ 78. He

thought every day of his mother, who had been left to deal with a son on death row in Iran and a

husband in the hospital, but he was powerless to help. Id. When he ultimately was able to

contact his family with more regularity, he tried to downplay his situation as best he could. It

was the only thing in his control. Id.

       About one year-and-a-half after Mr. Hekmati arrived in Ward 350, a major riot occurred.

Id. ¶ 79. As punishment, Mr. Hekmati and the other prisoners of Ward 350 were transferred to

the general population prison. Mr. Hekmati was transferred to Ward 7, where he was housed

with drug dealers and other violent criminals. Id.

       Mr. Hekmati’s conditions in Ward 7 were some of the most brutal he had faced in his

three years at Evin. Id. ¶ 80. His “cell” was a basement typically used to quarantine sick

prisoners. Id. As in Ward 350, his cell contained 20–30 prisoners packed into a small space. Id.

The cell was infested with rats, which Mr. Hekmati and other prisoners had to kill using

broomsticks or other blunt objects. Id. There were no beds. Id. His skin was eaten by lice and

fleas. Id. He would wake up with bed bugs all over him. Id. Prison officials would




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occasionally spray the room with chemicals to get rid of the bed bugs, which made the prisoners

sicker than the bug bites did. Id.

       The ward had no heat, air conditioning, or ventilation. Id. ¶ 81. There was no courtyard

or outdoor recreational space. Id. The air was heavy, hot, and thick with germs. Id. There were

no toilets; rather, there were three holes in the ground with a hose next to them. Id. The showers

were directly next to the toilet holes. Id. Because of the terrible ventilation, the showers became

a breeding ground for infection. Id. Prisoners wore surgical masks in the shower, but, because

they each only got one mask, those masks quickly became filthy. Id.

       Mr. Hekmati was sick the entire year-and-a-half he spent in Ward 7. Id. ¶ 82. He

suffered from recurring lung and sinus infections and constant intestinal problems due to

malnutrition and the poor sanitary conditions of the prison. Id. Prison officials would ignore

prisoners’ ailments unless they had a high fever, which they would “treat” by injecting them with

steroids that actually suppressed the immune system, making the infection worse. Id.

Eventually, Mr. Hekmati stopped requesting treatment altogether. Id.

       Mr. Hekmati lived in constant fear of the other prisoners in Ward 7. Id. ¶ 83. Prison

officials put violent criminals in Mr. Hekmati’s cell to pressure prisoners like him to confess or

swear allegiance to the Iranian government. Id. The guards and the violent criminals beat other

prisoners often as a threat to the rest of the population. Id. One prisoner’s face was torn apart by

a razor blade. Id. Many of the political prisoners who had been transferred with Mr. Hekmati

suffered mental breakdowns from the trauma of the surroundings. Id. Mr. Hekmati tried not to

make trouble; his only goal was to stay alive. Id.




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VI.      Mr. Hekmati’s Release From Imprisonment

         Mr. Hekmati’s wrongful detention and torture caused an international uproar. In August

2013, the United Nation’s Working Group on Arbitrary Detention found Mr. Hekmati’s

deprivation arbitrary and in contravention of the Universal Declaration of Human Rights and the

International Covenant on Civil and Political Rights. 13 Numerous Congressmen and U.S.

Secretary of State John Kerry decried Iran’s wrongful detention of Mr. Hekmati and made

repeated calls for his release. 14 Academic experts have testified that Mr. Hekmati’s

imprisonment was akin to hostage-taking and consistent with a pattern and practice of

imprisoning Iranian-Americans to use as bargaining chips against the United States. 15

         On January 16, 2016, Mr. Hekmati was released as part of a prisoner trade between Iran

and the United States following on the heels of the Iran nuclear deal. 16 A. Hekmati Decl. ¶ 84.




13
   See U.N. Human Rights Council, Amir Nema Hekmati v. Islamic Republic of Iran, Opinions Adopted by the
United Nations Working Group on Arbitrary Detention, No. 28/2013, U.N. Doc. A/HRC/WGAD/2013/28 (2014)
(Aug. 23, 2013), http://hrlibrary.umn.edu/wgad/28-2013 html (finding Mr. Hekmati’s detention arbitrary and in
contravention of the Universal Declaration of Human Rights and the International Covenant on Civil and Political
Rights).
14
   See Letter from Christopher A. Coon et al. to John Kerry, Secretary of State, Dep’t. of State (Sept. 19, 2013)
(attached as Ex. E); Letter from William S. Cohen, The Cohen Group, to President Barack Obama (Jan. 20, 2014)
(attached as Ex. F); Letter from Richard Blumenthal, U.S. Senate, to John Kerry, Secretary, U.S. Dep’t. of State
(Jan.5, 2015) (attached as Ex. G); Brownie Marie, Three Americans still held prison in Iran, Rep. Smith calls for
justice, Christian Today (June 20, 2014, 4:00 PM EST),
https://www.christiantoday.com/article/three.americans.prisoner.iran.rep.smith.calls.justice/38293.htm; see also
Letter from Victoria M. Lopakiewicz, Division Chief, Office of American Citizen Services and Crisis Management,
to Consulate of Spain, Chicago (May 23, 2017) (attached as Ex. H) (noting that imprisonment was “unjust”).
15
   See Expert Rep. of Mehdi Khalaji, Hekmati v. Islamic Republic of Iran, No. 16-0875 (ESH) (D.D.C. Feb. 6,
2017), ECF No. 12-7; see also See, e.g., Rick Gladstone, Jason Rezaian Trial In Iran May Be More About Leverage
Than Justice, N.Y. Times (May 27, 2015), http://www.nytimes.com/2015/05/28/world/middleeast/jason-rezaian-
trial-in-iran-may-be-more-about-leverage-than-justice html (quoting a former diplomat involved in negotiations to
free Americans in Iran as saying “it was possible [Iran] did not want to resolve the prisoner issue because it was part
of a negotiating strategy.”); Indira A.R. Lakshmanan, Fate of Jailed Americans Hangs Over Talks with Iran,
Bloomberg News (May 15, 2015, 6:19 PM), https://www.bloomberg.com/politics/articles/2015-05-15/fate-of-jailed-
and-missing-americans-hangs-over-iran-talks.
16
   Michael Pearson & Elise Labott, 5 americans released by Iran, 4 as part of prisoner swap, CNN (Jan. 16, 2016,
11:02 PM), http://www.cnn.com/2016/01/16/middleeast/iran-jason-rezaian-prisoners-freed/.




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VII.    Mr. Hekmati’s Post-Imprisonment Life 17

        Mr. Hekmati suffered REDACTED                             severe psychological trauma from his

time in Iran. Upon his release, he was haunted continuously by images from prison, including

the rats that infested his various cells and the constant visions he had of his own execution. Id.

¶ 88. He had trouble sleeping and often had nightmares of his time in Evin. Id. He suffered

from anxiety and panic attacks. Id. REDACTED



He got overwhelmed and anxious in crowds, which made it difficult for him to leave the house.

Id. He spent most of his time in his bedroom at his mother’s house with the door locked. Id.

        REDACTED




                                                                                         84; Decl. of Behnaz

Hekmati ¶¶ 14–30, Hekmati v. Islamic Republic of Iran, No. 16-0875 (ESH) (D.D.C. Feb. 6,

2017) (FILED UNDER SEAL) (attached as Ex. I); Decl. of Sarah Hekmati ¶¶ 7–15, Hekmati v.

Islamic Republic of Iran, No. 16-0875 (ESH) (D.D.C. Feb. 6, 2017) (FILED UNDER SEAL)

(attached as Ex. J).

        REDACTED




17
  We are providing Mr. Hekmati’s sensitive medical information to the Special Master as part of these proceedings
on a confidential basis, subject to all applicable procedures and protections.




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REDACTED                Dr. Grassian, who evaluated Mr. Hekmati over the course of two days

eight months after his release from Iran, concluded that REDACTED




                                                                 He concluded, “It is a credit to his

inner emotional strength that he survived the ordeal at all.” Id. at 16.

VIII. FBI Interviews Following Mr. Hekmati’s Release

       Shortly after Mr. Hekmati’s release, in the midst of his ongoing trauma, he was subject to

two unannounced interrogations by the FBI without the assistance of counsel.

       The first interview occurred immediately upon Mr. Hekmati’s release from prison, after

he was flown from Iran to a U.S. air base in Landstuhl, Germany. Rather than releasing

Mr. Hekmati promptly to his family, who had flown to Landstuhl to meet him, Mr. Hekmati was

held for a prolonged period—at least a day or two—at a segregated medical facility. A. Hekmati

Decl. ¶ 7. Mr. Hekmati and his family were told that this was “routine” and that he was being

given medical exams. Declaration of Scott Gilbert ¶ 7 (“S. Gilbert Decl.”) (attached as Ex. L).

While he was at this facility, two men interviewed Mr. Hekmati. The questioning initially began

with the agents showing Mr. Hekmati pictures of other Americans missing or imprisoned in Iran


 REDACTED




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and asking if he had seen or heard anything about these Americans while in prison, then shifted

focus to Mr. Hekmati’s work in Afghanistan. He does not recall being informed that he was

under investigation. Mr. Hekmati was in a severe state of shock and suffering from the effects of

his PTSD. He was confused, annoyed, and numb with exhaustion. A. Hekmati Decl. ¶ 95. His

family was sick with worry over his unexplained prolonged detention for purportedly routine

medical exams. Mr. Hekmati’s lawyer, Scott Gilbert, called Secretary of State John Kerry’s

Chief of Staff, Jonathan Finer, and threatened legal action. Mr. Finer was extremely apologetic.

Mr. Hekmati was permitted to leave promptly thereafter. S. Gilbert Decl. ¶ 8.

        A second FBI interview occurred shortly after Mr. Hekmati’s return to Michigan, in

April 2016. Agents came to his parents’ home unannounced. Mr. Hekmati recalls being asked

to accompany them to an FBI field office to look at more pictures because they “needed more

help with an investigation.” Id. ¶ 11; A. Hekmati Decl. ¶ 97. Despite the FBI agents’ assurances

to Mr. Hekmati and his family that the FBI simply needed his help, Mr. Hekmati telephoned his

legal counsel immediately. Id. Mr. Hekmati’s lawyer, Scott Gilbert, asked to speak with the

agents and told Mr. Hekmati to instruct them not to interview him unless he was present by

telephone. The agents refused to speak with him and said they would call him from a landline at

the FBI office. S. Gilbert Decl. ¶¶ 12–13; A. Hekmati Decl. ¶ 98. FBI agents ignored these

instructions and conducted the interview, after which they permitted Mr. Hekmati to leave and

never contacted him again. 19




19
  See E-mail from Emily P. Grim to Elidia Mader (April 7, 2016; 12:21 PM); E-mail from Scott D. Gilbert to Tim
Rieser and Carolina A. Tess (April 7, 2016; 2:06 PM) (attached as Exs. 1–2 to S. Gilbert Decl.); A. Hekmati Decl. ¶
100.




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IX.    Mr. Hekmati’s Judgment Against the Government of Iran

       On May 9, 2016, Mr. Hekmati filed suit against the government of Iran in the U.S.

District Court for the District of Columbia, alleging that his detention and treatment by the

Iranian government constituted torture and hostage-taking under the Foreign Sovereign

Immunities Act. In support of his motion for default judgment, Mr. Hekmati submitted a

declaration under penalty of perjury pursuant to 28 U.S.C. § 1746, in which he detailed his

background, his experience in Iran, and the physical, psychological, and financial damages he

had suffered as a result of his imprisonment and torture. He also submitted testimony from

family members, records of his military accolades, letters of recommendations from employers

in the national security realm, public news reports of his imprisonment and death sentence,

public statements of outrage from international human rights organizations and U.S. government

officials regarding his imprisonment, a report from an academic expert regarding Iran’s pattern

and practice of imprisoning U.S.-Iranian citizens to use a negotiating leverage, and detailed

expert reports regarding the ongoing psychological trauma he has suffered as a result of his

imprisonment.

       As part of his declaration to the District Court, Mr. Hekmati stated:

       My parents had been encouraging me for many years to visit my relatives [in Iran]
       and to see the country of my parents’ birth. My mother had been encouraging me
       in particular over the last few months to visit my grandmother in Iran if I had the
       chance, as her health had begun deteriorating. Given that I would be starting school
       and likely would not have time to go to Iran in the foreseeable future, I decided it
       was an opportune time to make the trip. I flew to Iran via Dubai and planned on
       staying for a few weeks.

Decl. of Amir Hekmati ¶ 25, Hekmati v. Islamic Republic of Iran, No. 16-0875 (ESH)
(D.D.C. Feb. 10, 2017), ECF No. 14-1.

       On September 29, 2017, U.S. District Court Judge Ellen Huvelle awarded Mr. Hekmati a

default judgment in the amount of $63,496,358, consisting of “(1) $16,020,000 in compensatory




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damages for pre-release pain and suffering; (2) $10,000,000 in compensatory damages for post-

release pain and suffering; (3) $5,728,179 in economic damages; and (4) $31,748,179 in punitive

damages.” Order & Default J., Hekmati v. Islamic Republic of Iran, No. 16-0875 (ESH) (D.D.C.

Sept. 29, 2017), ECF No. 15. As part of the District Court’s findings of fact, the Court noted that

“[b]efore returning to the United States [from Afghanistan], [Mr. Hekmati] decided he would

take his first trip to Iran to visit relatives and see the country of his parents’ birth.” Mem. Op. at

2, Hekmati v. Islamic Republic of Iran, No. 16-0875 (ESH) (D.D.C. Sept. 29, 2017), ECF

No. 16.

X.        Submission of Mr. Hekmati’s Claim to the USVSST Fund & Eligibility
          Determination

          Mr. Hekmati’s counsel filed a claim with the USVSST Fund on his behalf on

December 6, 2017.

          To qualify for distribution from the USVSST Fund, the USVSST Act requires claimants

to provide proof of a final judgment issued by a United States court awarding compensatory

damages against a state sponsor of terrorism for actions such as torture or hostage-taking within

90 days of obtaining the judgment. 34 U.S.C. § 20144(c).

          The Act states expressly that all award decisions are “final,” and, apart from a right of

appeal by claimants whose claims have been denied, “not subject to administrative or judicial

review.” 34 U.S.C. § 20144(b)(3).

          The application required Mr. Hekmati to provide his name, contact information, social

security number, the case name and number of his suit against Iran, the relevant district court, the

amount of his compensatory damages award, a copy of his final judgment against Iran, and

documentation of proof of service of that judgment. See Application at Part I, II, & VI.

Mr. Hekmati also was required to certify, “under oath, subject to penalty of perjury or in a




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manner that meets the requirements of title 28 U.S.C. § 1746, that the information provided in

the Application Form and any documents submitted in support of the claim are true and accurate

to the best of my knowledge,” and to “agree that any payment made by the Fund is expressly

conditioned upon the truthfulness and accuracy of the information and documentation submitted

in support of the claim.” See id. at Part IV.

        On December 28, 2017, the USVSST Fund notified Mr. Hekmati via letter that his claim

was eligible for compensation. The letter valued Mr. Hekmati’s total eligible claim amount at

$31,748,179, capped at $20,000,000 by the USVSST Act’s maximum statutory cap. See 34

U.S.C. § 20144(d)(3)(A)(ii). The letter stated that Mr. Hekmati would be “notified about the

exact amount of [his] first payment after the Special Master authorizes the next distribution in

January 2019.” 20

        On December 13, 2018, the USVSST Fund notified Mr. Hekmati that the Special Master

had authorized an initial distribution for his claim of $839,100.85. 21

XI.     Breaches by The Fund of the USVSST Act

        The Fund began issuing payments for which Mr. Hekmati would have been eligible to

claimants in early 2019. Without explanation, the Fund failed to issue Mr. Hekmati’s

distribution. Mr. Hekmati’s counsel called the Fund six times; e-mailed the Fund requesting a

status update on April 4, April 5, May 21, July 11, and July 19, 2019; e-mailed the DOJ seeking

a status update on June 7 and June 18, 2019; and sent letters to the DOJ and Interim Special

Master Deborah Connor on June 20, July 16, and October 11, 2019. See Exs. O through T. Mr.

Hekmati’s requests initially were met with responses that payments were still being made.



20
   Letter from Kenneth R. Feinberg, Special Master, U.S. Victims of State Sponsored Terrorism Fund, to Amir M.
Hekmati (Dec. 28, 2017) (attached as Ex. M).
21
   Letter from Kenneth R. Feinberg to Amir M. Hekmati (Dec. 13, 2018) (attached as Ex. N).




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Subsequent requests were met with silence or statements that no information was available.

See id.

          On October 11, 2019, Mr. Hekmati’s counsel made a final good-faith attempt to resolve

the Fund’s failure to pay Mr. Hekmati. Mr. Gilbert’s letter to the Interim Special Master stated

that Mr. Hekmati would be forced to file suit against the Fund and the Special Master if they did

not fulfill their payment obligations to Mr. Hekmati in 15 days. 22

          On October 24—13 days after Defendant’s receipt of Mr. Gilbert’s October 11 letter—

the Interim Special Master Connor sent a letter to Mr. Gilbert acknowledging receipt of the

October 11 letter and informing Mr. Hekmati and his counsel that the DOJ “intends to seek

reconsideration of the prior eligibility determination and approval of Mr. Hekmati’s claim dated

December 13, 2018, and therefore has suspended any further action on the payment to

Mr. Hekmati from the United States Victims of State Sponsored Terrorism Fund.” 23 The letter

further noted that the DOJ would be re-engaging retired Special Master Kenneth Feinberg

specifically for the reconsideration process. The letter provided no information regarding either

the legal or factual basis for the Fund’s “reconsideration” of Mr. Hekmati’s award.

XII.      Litigation in the U.S. Court of Federal Claims

          On November 18, 2019, Mr. Hekmati initiated litigation in the Court of Federal Claims

over the Government’s breach of its payment obligations and unlawful “reconsideration” of

Mr. Hekmati’s award decision. That litigation remains pending, with dispositive briefs due on

May 15, 2020. Mr. Hekmati continues to assert that the Fund’s reconsideration of his eligibility




22
   Letter from Scott Gilbert to Deborah Connor, Interim Special Master, U.S. Victims of State Sponsored Terrorism
Fund (Oct. 11, 2019) (attached as Ex. T).
23
   Letter from Deborah Connor to Scott Gilbert (Oct. 24, 2019) (attached as Ex. U).




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violates the express terms of the USVSST Act, and he waives no rights or defenses with respect

to that issue by addressing the Special Master’s decision here.

XIII. The Special Master’s Reconsideration Decision

           On January 15, 2020, Mr. Hekmati’s counsel received a letter from Special Master

Feinberg setting forth the basis for the reconsideration decision. 24

           The letter asserted that a Federal Register Notice setting forth the Fund’s application

procedures provided the legal basis for the Fund’s reconsideration of Mr. Hekmati’s eligibility.

Consistent with the certification required by Mr. Hekmati’s application to the Fund, the Notice

states that claimants must agree that “payment made by the [USVSST] Fund is expressly

conditioned upon the truthfulness and accuracy of the information and documentation submitted

in support of the claim.” Ex. V (citation omitted) (alteration in original). The Special Master

concluded that:

           Mr. Hekmati’s application and accompanying documents contained material omissions
           and false statements; in particular, the attached materials [provided to Special Master
           Feinberg by the DOJ] support the conclusion that the primary purpose of Mr. Hekmati’s
           trip to Iran was to sell classified U.S. national security information to the government in
           Iran. This conflicts with Mr. Hekmati’s declaration filed in connection with the judgment
           he obtained in the U.S. District Court for the District of Columbia that the primary
           purpose of his trip to Iran was to visit family for personal reasons. Therefore, I have
           determined that Mr. Hekmati has violated the USVSST Fund’s processes and procedures,
           which are required to establish eligibility for payment, and as a result, is not eligible for
           payment from the USVSST Fund.

Id.

           The “attached materials” referenced by the letter include (1) two partially-redacted FD-

302s, which we understand to be summaries written by FBI agents of the two interviews

referenced in Section VIII, above), and (2) a “Record for [the] Special Master,” a 5-page

document of unidentified origin that appears to summarize a number of findings made by certain


24
     Letter from Kenneth R. Feinberg to Scott Gilbert (Jan. 15, 2020) (attached as Ex. V).




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federal law enforcement officials regarding Mr. Hekmati’s activities in the months leading up to

his trip to Iran (collectively, the “DOJ Materials”, attached as Ex. W).

                                               ARGUMENT

I.      The Reconsideration Decision is Unsupported by Evidence and Is at Odds with the
        Material Facts of This Case

        A.       Mr. Hekmati Has Demonstrated That He Did Not Intend to Travel to Iran to
                 Sell Information to the Government

        Mr. Hekmati has provided evidence refuting all material allegations contained in the DOJ

Materials and demonstrated that his representations to the District Court were truthful and

accurate. As detailed above:

        •        Mr. Hekmati had plans to travel to Iran to visit his grandmother long before he
                 learned of the Six3 opportunity. 25 His mother had been asking him to visit his
                 grandmother for months. 26 E-mail correspondence from Mr. Hekmati to his
                 mother and an Iranian travel service corroborates this timeline.

        •        Mr. Hekmati did not seek out the Six3 position. It was recommended to him by a
                 co-worker. E-mail correspondence from Six3 recruiters demonstrate that they
                 affirmatively pursued him for the position based on his previous experience. 27

        •        Mr. Hekmati’s access to materials regarding Iran was well within the scope of his
                 job as an all-source analyst. He was open about his research on these issues and
                 was encouraged by his colleagues and supervisors to pursue those topics. His
                 work at night was typical of contractors looking to split a 12-hour shift into two 6-
                 hour shifts and provided no additional opportunity to access information without
                 supervision.

        •        Mr. Hekmati took, and passed, two full-scale polygraphs in the years immediately
                 preceding his trip to Iran. He had a steady income from his contracting work, a
                 loving family and girlfriend, and no motive to put his life at risk by selling secrets
                 to a hostile government.

        •        Mr. Hekmati had reservations about the Six3 job at the outset for personal
                 reasons. He was unhappy in the position from the start and left accordingly. His


25
   A. Hekmati Decl.¶14; B. Hekmati Decl. ¶ 10; Ex. 9 to A. Hekmati Decl.
26
   A. Hekmati Decl.¶14; B. Hekmati Decl. ¶ 9.
27
   A. Hekmati Decl.¶15; Ex. 11 to A. Hekmati Decl. (noting that they “would love to get [Mr. Hekmati] on the
team”).




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                 mother has attested to this under penalty of perjury.

        •        Mr. Hekmati was no longer employed by Six3 at the time he traveled to Iran. The
                 Government has not asserted otherwise. Because he was not an employee of
                 Six3, Mr. Hekmati was under no duty to inform his former colleagues about his
                 trip to Iran.

        •        Mr. Hekmati stayed with family during his trip to Iran and did not approach any
                 individuals in the Iranian government about selling information. The DOJ has not
                 provided any evidence whatsoever regarding Mr. Hekmati’s activities in Iran
                 demonstrating otherwise.

        •        Mr. Hekmati was imprisoned, tortured, and sentenced to death by the government
                 to which he allegedly tried to sell information. Academic experts, international
                 human rights organizations, and our own government have confirmed repeatedly
                 that his imprisonment was politically motivated. 28 The Iranian government held
                 Mr. Hekmati for more than four years and released him only as part of a broader
                 hostage deal.

        •        Mr. Hekmati was not able to contact his family back home for months after he
                 was detained. The Government’s attempt to paint a brief call to his uncle in Iran
                 at some unidentified point during his imprisonment, during which Mr. Hekmati
                 sought to downplay his suffering for the benefit of his mother, as “evidence” that
                 Mr. Hekmati lied about the severity of his conditions is deplorable and
                 contravened by the voluminous medical evidence documenting the severe trauma
                 that Mr. Hekmati has suffered     EDACTED                             as a result of
                 his imprisonment.

        If there are other aspects of the DOJ Materials that are troubling to the Special Master,

Mr. Hekmati would be happy to address them.

        B.       The Record Contains No Evidence of Mr. Hekmati’s Activities in Iran

        Even disregarding the voluminous evidence supporting Mr. Hekmati’s innocence, the

Government’s proffered evidence, such as it is, is insufficient to support a finding that

Mr. Hekmati sought to sell information to the Iranian government. At best for the Government,

the DOJ Materials indicate that Mr. Hekmati accessed classified information about Iran as an

intelligence analyst, quit his job, and traveled to Iran. The decision fails to explain how such


28
  See Ex. H (noting injustice of Mr. Hekmati’s detention and confirming that Mr. Hekmati’s contact with the
outside world was “extremely limited”).




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accusations support a logical leap that Mr. Hekmati intended to sell classified information to the

Iranian government. Indeed, the record includes no evidence regarding Mr. Hekmati’s activities

in Iran whatsoever, other than reference to unexplained “corroborat[ion]” by unidentified

“sources.” See DOJ Materials, attached as Ex. W.

        C.       The 302s Are Not Credible Evidence of Mr. Hekmati’s Conduct or Intent in
                 Traveling to Iran

        Even if the accusations set forth in the DOJ Materials regarding Mr. Hekmati’s activities

in the months leading up to his trip to Iran, taken as true, could support an inference that

Mr. Hekmati intended to travel to Iran to sell information, they are just that—accusations. The

impressions and conclusions of federal agents who were interrogating a man suffering from

severe PTSD, without an attorney present, cannot constitute credible evidence of any fact.

        A FD-302 is an FBI agent’s (usually handwritten) notes of a meeting or interview with a

witness. 29 Unless demonstrated otherwise, a 302 is not presumed to be a verbatim transcript of

the questions asked or the answers given. 30 The witness is not placed under oath, and the

purported witness statements are not sworn. 31 Different agents have different practices regarding

how much detail they choose to include in a 302, and whether to include facts learned elsewhere

as part of the investigation or editorial content that were not actually stated during the

interview. 32 Agents with less background in an investigation may make errors in their note

taking—for instance, by making references unsupported by the facts of the investigation. 33 Time




29
   Hon. Katherine B. Forrest, “Guidelines Regarding Appropriate Use of 302 Forms in Criminal Trials,” at 5
(June 11, 2018), available at https://blog.federaldefendersny.org/wp-content/uploads/2018/06/Forrest-on-302s.pdf)
(“Judicial Guidelines”).
30
   Id.
31
   Id.
32
   Id.
33
   Id.




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lapses between the interview itself and the drafting of the memo also may give rise to

inaccuracies. 34

        For these reasons, it is well-established that statements included in 302s are “classic

hearsay without—in and of themselves—requisite indicia of reliability.” 35 While such

statements can be used to refresh a declarant’s recollection, courts agree that they cannot be used

to prove the truth of any matter asserted. 36 Accordingly, any purported “facts” or descriptions of

Mr. Hekmati’s alleged statements in the 302s do not constitute evidence that those facts are true,

or even that Mr. Hekmati made the statements alleged. They are impressions and conclusions of

the agents who authored the reports, and nothing more. Such subjective opinions cannot

appropriately serve as the basis to deny an individual a right to payment—particularly in this

case, given the documented bias of the FBI against Muslims at the time of the investigation into

Mr. Hekmati and the inappropriate and unlawful conduct of the FBI agents in question. 37

        D.         The Timing and Circumstances of the Interviews Further Undermine Their
                   Credibility

        The interviews documented in the 302s were coercive, abusive, and violated Mr.

Hekmati’s basic constitutional rights. Both interviews were conducted shortly after Mr. Hekmati



34
   See, e.g., Trial Tr. 51-149:16–19, in United States v. Tsarnaev, No. 13-10200-GAO (D. Mass. Apr. 28, 2015)
(advising jurors that FBI 302 reports are not “verbatim transcriptions of the conversation, but summaries, and they
may be made from the agents’ notes and then put together in a report either that day or perhaps the next day”),
http://ftpcontent2.worldnow.com/whdh/pdf/150428-tsarnaev-transcript-relatives.pdf.
35
   Judicial Guidelines at 5; Carpenters Health & Welfare Fund v. Coca-Cola Co., No. 1:00-CV-2838-WBH, 2008
WL 11335088, at *2 (N.D. Ga. Apr. 29, 2008) (finding 302s inadmissible because they contain “two levels of
hearsay, were prepared in a criminal investigation unrelated to the instant action, and were not signed or otherwise
adopted by the witnesses who were the subjects of the report,” and because “302 Reports do not contain factual
findings—they simply rehash what an interviewee said during an interview”).
36
   Judicial Guidelines at 6–7.
37
   See Unleashed and Unaccountable: The FBI’s Unchecked Abuse of Authority, ACLU Report at 16 (Sept. 2013),
https://www.aclu.org/other/unleashed-and-unaccountable-fbis-unchecked-abuse-authority (detailing documented
evidence of bias against Muslims in FBI training materials and investigative practices, including memo from Detroit
FBI office with unsubstantiated assertion that “[b]ecause Michigan [Mr. Hekmati’s home state and the location of
his second FBI interview] has a large Middle-Eastern and Muslim population, it is prime territory for attempted
radicalization and recruitment” (citation omitted) (first alteration in original)).




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was released from years of torture, interrogations, and solitary confinement in a brutal Iranian

prison. The fact that he was suffering from severe PTSD at the time has been well-documented.

Both FBI interviews were conducted without Mr. Hekmati’s lawyer present. Given the

circumstances, any purported inconsistencies or defensiveness Mr. Hekmati exhibited during the

interviews can hardly be attributed to a “consciousness of guilt,” as alleged in the Record for

Special Master. Mr. Hekmati was understandably shocked, confused, and upset when agents

began hurling accusations at him. At the time of the interviews, he was dealing with constant

insomnia, flashbacks, and panic attacks. He could barely leave his childhood room or keep track

of the days, let alone withstand yet another interrogation. Even under the best of circumstances,

suggestions that he attempted to sell secrets to a government that had sentenced him to death and

tortured him for four-and-a-half years would be incomprehensible and utterly non-sensical to any

reasonable person, no less a decorated U.S. Marine.

         Further, it is well-established that statements made by individuals suffering from PTSD

and other mental illness while under interrogation are inherently unreliable. Courts have noted

that individuals suffering from mental illnesses are “significantly less likely to understand their

interrogation rights,” “more compliant with police requests, more suggestible to police-generated

narratives, and less able to identify and communicate exculpatory evidence.” Such individuals

also may be more susceptible to the ruse of interrogator-as-friend, and be more likely to give the

cues interrogators perceive as indicating guilt or deception. 38 As a result, they are more likely to

make inaccurate but potentially damaging statements under questioning. 39 For this reason,




38
   Allison D. Redlich, Mental Illness, Police Interrogations, and the Potential for False Confession, 55 Psychiatric.
Servs. 19, 19-21 (2004).
39
   Saul M. Kassin et al., Police-Induced Confessions: Risk Factors and Recommendations, 34 Law Human
Behavior 3, 20-22 (2009).




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courts generally treat information gleaned from interviews with those suffering from mental

illness as suspect. See, e.g., United States v. Hallford, 756 F. App’x 1 (D.C. Cir. 2018).

       Mr. Hekmati was suffering from a number of PTSD-related symptoms at the time of the

FBI interviews that render any conclusions based on those interviews inherently suspect. Dr.

Stuart Grassian, an expert on the effects of PTSD on prisoners who have suffered protracted

trauma, confirmed as part of his report to the District Court that Mr. Hekmati was experiencing,

among other symptoms, “physiologic reactions (heart pounding, sweating, dizziness, etc.) to

stimuli reminiscent of the event [his time in Evin]; increased arousal (a constant state of

vigilance, anxiety and tension, irritability, jumpiness)”; and “difficulty with concentration and

memory” after his release from Iran. Grassian Rep. at 10, 15.

II.    There Are No Legal Grounds for the Fund’s Reconsideration of Mr. Hekmati’s
       Eligibility Determination

       Even putting aside the gross factual deficiencies in the Government’s case, the

reconsideration of Mr. Hekmati’s eligibility itself is unlawful. The USVSST Act provides the

legal framework for the Special Master’s ability to evaluate and pay claims. Pursuant to the

express terms of the Act, all award decisions are “final and, except as provided in paragraph (4),

not subject to administrative or judicial review.” 34 U.S.C. 20144(b)(3). The cited

paragraph (4) only concerns individuals filing appeals after their “claim is denied in whole or in

part,” and thus does not apply here. 34 U.S.C. 20144(b)(4).

       The Federal Register Notice cited by the Special Master does not undercut this principle.

The purpose of the Notice is to inform the public of the procedures the Special Master has put in

place to carry out the mandates of the USVSST Act. The text of the Notice itself confirms that it

is “procedural in nature, specifying how to apply for compensation and merely restating the

eligibility requirements in the Act” and that “it does not create new rights or impose obligations




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independent of the statute.” See 81 Fed. Reg. 45,535. The Notice further confirms that all such

procedures for claim evaluation and payment shall be “in accordance with the [USVSST] Act”

and that all eligibility determinations are “final and not reviewable by any court.” Id.

        The Federal Register Notice’s requirement that claimants certify the accuracy of their

application materials and agree that payment is conditioned on such accuracy does not change

the legal contours of the Special Master’s duties and obligations with respect to evaluating and

paying claims. While the Special Master reasonably could and should review each application

for accuracy and truthfulness as part of the eligibility determination process before awarding a

right to payment, the Special Master completed the eligibility determination for Mr. Hekmati’s

application two years ago. All DOJ Materials were in DOJ’s possession at that time. If DOJ, as

the administering body of the Fund, had concerns regarding the veracity or accuracy of Mr.

Hekmati’s application, the USVSST Act dictates that all such concerns appropriately should

have been addressed during the initial eligibility determination, before granting Mr. Hekmati a

right to payment. The certification requirement does not provide a legal basis for a

reconsideration process that otherwise is expressly prohibited by the plain language of the Act.

III.    Even if the Reconsideration Process Was Permissible, The Decision Itself is Legally
        Unsupportable

        Even if the Special Master determined that he had the statutory right to reconsider his

earlier eligibility determination, and that the DOJ Materials provided sufficient factual evidence

to support a conclusion that Mr. Hekmati sought to sell information to the Iranian government,

and thus that he omitted material information in his declaration to the District Court, the

Government cannot legally terminate Mr. Hekmati’s payment rights on this basis. Such

termination violates Mr. Hekmati’s due process rights, the separation of powers doctrine, and

Supreme Court precedent regarding the standards for actionable falsehoods.




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        A.       The Government Cannot Deprive Mr. Hekmati of a Right to Payment
                 Without Opportunity to Challenge All Evidence Against Him

        In order to conclude that Mr. Hekmati misrepresented the primary purpose of his trip to

Iran, the Special Master must, by extension, conclude that the accusations regarding Mr.

Hekmati’s intent in traveling to Iran are true. Thus, the reconsideration proceedings, are, in

essence, putting Mr. Hekmati on trial for a crime he did not commit and for which he has not

been charged, without any of the fundamental due process protections to which he would be

entitled as a criminal defendant.

        At a minimum, the Government cannot terminate Mr. Hekmati’s payment rights without

providing him basic administrative due process rights. When the government seeks to deprive an

individual of a right or interest via an administrative proceeding, the individual is entitled to

notice and an opportunity to confront evidence against him, including cross-examination of any

adverse witnesses. 40 The Supreme Court has recognized that such rights are of particular

importance where, as here, claimants “have challenged proposed terminations [of rights to

payment] as resting on incorrect or misleading factual premises or on misapplication of rules or

policies to the facts of particular cases.” Goldberg, 397 U.S. at 268.

        Here, the Government has denied Mr. Hekmati his fundamental right to confront

evidence regarding the key allegation against him—that he went to Iran not to visit his


40
  Joint Anti-Fascist Refugee Comm. v. McGrath, 341 U.S. 123, 171-72 (1951) (Frankfurter, J., concurring) (prior to
depriving someone of a right, he must be given “notice of the case against him and opportunity to meet it”);
Goldberg v. Kelly, 397 U.S. 254, 267–68 (1970) (noting, in context of welfare benefits termination hearing, that due
process required “timely and adequate notice detailing the reasons for a proposed termination, and an effective
opportunity to defend by confronting any adverse witnesses and by presenting his own arguments and evidence
orally”); Willner v. Comm. on Character & Fitness, 373 U.S. 96 (1963) (holding same prior to denial of admission
to the bar); Goss v. Lopez, 419 U.S. 565 (1975) (finding that substantive hearing was required prior to a ten-day
suspension from a public high school and that the possible damage to a student’s reputation that could flow from
charges of misconduct implicated fourteenth amendment protection of liberty interests); Greene v. McElroy, 360
U.S. 474, 496 (1959) (“Certain principles have remained relatively immutable in our jurisprudence. One of these is
that where governmental action seriously injures an individual, and the reasonableness of the action depends on fact
findings, the evidence used to prove the Government's case must be disclosed to the individual so that he has an
opportunity to show that it is untrue.”).




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grandmother, but to sell secrets to the Iranians—which is tantamount to a charge of treason. All

evidence the Government has seen fit to provide regarding this allegation is a statement

referencing purported corroboration of four unnamed sources. Mr. Hekmati has had no

opportunity to discover the identity of these accusers or to see the basis for their accusation, nor

has he had the opportunity to confront them and challenge their credibility. Although the

reconsideration decision states that “the attached materials support the conclusion that the

primary purpose of Mr. Hekmati’s trip to Iran was to sell classified U.S. national security

information to the government in Iran,” the letter does not articulate the evidentiary basis for this

conclusion. 41 Apart from reference to the aforementioned anonymous “sources,” the “attached

materials” cite no evidence whatsoever regarding Mr. Hekmati’s activities while in Iran and

contain substantial redactions.

        The Fund cannot lawfully terminate Mr. Hekmati’s payment rights without setting forth

the evidentiary basis on which the Special Master reached his decision and providing Mr.

Hekmati with an opportunity to review and challenge all such evidence. This includes, at a

minimum, an opportunity to review any redacted portions of the DOJ Materials and to confront

and challenge both the credibility of the “sources” referenced in the Materials and any

information those sources purportedly have provided.

        This is true even if such evidence is classified or confidential. 42 It is well-established

both in the criminal and administrative context that the government cannot rely on the use of

classified or confidential information as a basis for depriving a claimant of a right unless the




41
  Ex. V.
42
  Mr. Hekmati does not know whether the Special Master may have reviewed such materials based on redactions in
the DOJ materials and reference to these anonymous “sources.” Because the Special Master letter does not
articulate the evidentiary basis for the decision, Mr. Hekmati has been left to guess whether the Special Master
reviewed and relied upon such materials in the decision-making process.




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government discloses such evidence to the claimant or produces a substitute of such evidence

that “provide[s] the defendant with substantially the same ability to present a defense and do[es]

not otherwise violate his constitutional rights,” including the right “to be confronted with the

witnesses against him.” 43 The Government has provided no such evidence or a remotely

permissible substitute here.

         B.       The Special Master Has No Legal Authority to Adjudicate the Truthfulness
                  of Statements Not Made in Connection with Mr. Hekmati’s Application to
                  the Fund

         The Special Master’s decision expressly states that it is based solely on purported false

statement(s) and omissions in Mr. Hekmati’s declaration to the District Court in his suit against

Iran. Mr. Hekmati did not submit that declaration to the Fund as part of his application, nor did

the application require him to do so. Indeed, the application included no questions whatsoever

regarding the purpose of Mr. Hekmati’s trip to Iran or any other facts regarding the

circumstances of his arrest and imprisonment. The application required Mr. Hekmati to provide

only his name and contact information, social security number, a copy of his judgment against

Iran, and proof of service of that judgment.

         Mr. Hekmati cannot be said to have misrepresented information that he did not submit to

the Fund, or to have omitted information that he was not required to provide. To the extent the

Special Master is suggesting that the District Court’s ruling was based upon purported

misrepresentations in Mr. Hekmati’s declaration, it is not within the Special Master’s legal

authority, or in the purview of the Executive Branch, to second-guess the appropriateness or


43
   Edward C. Liu & Todd Garvey, Protecting Classified Information and the Rights of Criminal Defendants: The
Classified Information Procedures Act, at Summary, Congressional Research Service (Apr. 2, 2012),
https://fas.org/sgp/crs/secrecy/R41742.pdf. See also, e.g., Kwong Hai Chew v. Colding, 344 U.S. 590 (1953)
(finding that procedural due process barred the use of undisclosed classified evidence against a resident alien in
deportation proceedings); Joint Anti-Fascist Refugee Comm., 341 U.S. at 170 (Frankfurter, J., concurring)
(“democracy implies respect for the elementary rights of men ... [and] must therefore practice fairness; and fairness
can rarely be obtained by secret, one-sided determination of the facts decisive of rights”).




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accuracy of any factual findings by the District Court. Such encroachment is a clear violation of

the separation of powers doctrine. 44 The District Court was the proper body to make credibility

determinations as to the evidence regarding the circumstances of Mr. Hekmati’s arrest. The

District Court determined that Mr. Hekmati’s supporting evidence was sufficiently credible to

issue him a $63.5 million judgment.

         Moreover, Mr. Hekmati’s case was widely publicized, and the evidence referenced in the

DOJ Materials already was in the Government’s possession at the time Mr. Hekmati commenced

his suit against Iran. If the Government had reasonable grounds to challenge the veracity of Mr.

Hekmati’s statements, such challenges should have been made during the District Court

proceedings—not after the District Court already had issued a ruling and the Fund already had

granted Mr. Hekmati a right to payment based on that ruling. The fact that the Government

waited to raise concerns regarding the accuracy of Mr. Hekmati’s declaration until Mr. Hekmati

informed the Government of his intent to file litigation in order to enforce his payment rights

renders the Government’s motivations particularly suspect.

         C.       The Government Cannot Deprive Mr. Hekmati of a Right to Payment Based
                  on a Statement That Was Literally True

         Even if the Special Master had legal and constitutional authority to evaluate the

truthfulness of Mr. Hekmati’s statements to the District Court, and even if the primary purpose

of Mr. Hekmati’s trip to Iran was, in fact, to sell information to the Iranian government (it was

not), his omission of that information from his declaration would not constitute a falsehood

under federal law and thus cannot constitute grounds for rescinding his right to payment.




44
  See, e.g., Stern v. Marshall, 564 U.S. 462, 483 (2011) (noting that “‘the judicial Power of the United States ... can
no more be shared’ with another branch than ‘the Chief Executive, for example, can share with the Judiciary the
veto power, or the Congress share with the Judiciary the power to override a Presidential veto.’”(citation omitted)).




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         In both his application to the Fund and in his declaration to the District Court, Mr.

Hekmati certified under penalty of perjury pursuant to 28 U.S.C. § 1746 (the “Unsworn

Declaration Statute”) that his statements were true. 45

         The perjury statute, 18 U.S.C. § 1621, sets forth the standards for false statements made

under the Unsworn Declaration Statute. The statute provides:

         Whoever . . . in any declaration, certificate, verification, or statement under penalty
         of perjury as permitted under section 1746 of title 28, United States Code, willfully
         subscribes as true any material matter which he does not believe to be true . . . is
         guilty of perjury . . . .

18 U.S.C. § 1621.

         It is well-established that § 1621’s prohibitions do not include willful omissions of

material facts, as long as the declarant’s statements are literally true. Bronston v. U.S., 409 U.S.

352, 362 (1973). In Bronston, the owner of an insolvent entity was asked by creditors, as part of

a hearing to determine the insolvent entity’s available assets, whether he personally had any

Swiss bank accounts. The owner, who did have such accounts, answered only that the insolvent

company had such accounts. The court found that, although the witness’s omission was

purposefully misleading, it did not constitute a falsehood under § 1621 because the statement

was literally true. Id. at 354–58. The court determined that the onus was on the party seeking

the information to pursue any additional information from the declarant that may be necessary

for a complete response. Id. at 358-59. 46


45
   See 28 U.S.C. § 1746 (providing that “[w]herever, under any law of the United States or under any rule,
regulation, order, or requirement made pursuant to law, any matter is required or permitted to be supported,
evidenced, established, or proved by the sworn declaration . . . in writing of the person making the same . . . such
matter may . . . be supported, evidenced, established, or proved by the unsworn declaration . . . in writing of such
person which is subscribed by him, as true under penalty of perjury, and dated, in substantially the following form:
     (1) If executed without the United States: ‘I declare (or certify, verify, or state) under penalty of perjury under
          the laws of the United States of America that the foregoing is true and correct. Executed on (date).
          (Signature).’”
46
   Courts also have extended this literal truth defense to violations of 18 U.S.C. § 1001, which sets forth the standard
for falsehoods not made under oath in administrative proceedings, due to “the obvious parallel” between 1001 and
§ 1621. United States. v. Rendon-Marquez, 79 F. Supp. 2d 1361, 1363 (N.D. Ga. 1999), aff’d, 228 F.3d 416 (11th




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         Even treating the evidence in the light most favorable to the Government, Mr. Hekmati’s

statement in his declaration to the District Court that his mother had encouraged him to travel to

Iran to visit his grandmother—even if it omitted his alleged intent to sell secrets—was literally

true. He has provided evidence to support that statement. Neither the FBI nor the Special

Master has asserted that Mr. Hekmati’s mother did not tell him to visit his grandmother, or that

Mr. Hekmati did not go to Iran with an intent to visit his grandmother. Therefore, Mr. Hekmati’s

statements were “truthful and accurate,” as required by Fund procedures, and cannot constitute

grounds for depriving him of a right to payment. The onus was on Iran, as defendant in the

District Court case, or the District Court, as adjudicator, to seek additional testimony from Mr.

Hekmati if they had concerns that he was omitting material information regarding the purpose

for his trip.

                                                CONCLUSION

         Mr. Hekmati has been to hell and back since he traveled to Iran in 2011. The treatment

of Mr. Hekmati by the United States government since his release and return is a disgrace. It is

well past time for our government to do the right thing. To put it simply, Mr. Hekmati wants to

move on with his life. We respectfully ask that the Special Master reinstate the payment rights to




Cir. 2000). For example, in United States v. Vesaas, 586 F.2d 101, 104 (8th Cir. 1978), the Eighth Circuit found
that a defendant who represented that he did not own any stocks with his deceased mother in joint tenancy had not
made a false statement, despite the fact that he had done so prior to his mother’s death. The court found that,
because it is a legal impossibility for an individual to own property in joint tenancy with someone who is deceased,
the defendant’s answer could not constitute a false statement. See also United States v. Moses, 94 F.3d 182, 188
(5th Cir.1996) (finding that defendant had not made a falsehood on his INS Form N-445 application by answering
“no” to a question that asked “After the date you filed your petition: 1. Have you married, or been widowed,
separated, or divorced?” because he had already been separated from his wife before the filing of the petition, thus
rendering the statement true on its face).




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which Mr. Hekmati is entitled so that he can continue his efforts to rebuild the life that was taken

from him nine years ago.




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             EXHIBIT 1




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Martinez, Sherley M.

From:                      Grim, Emily P.
Sent:                      Monday, March 23, 2020 10:57 AM
To:                        Martinez, Sherley M.
Subject:                   FW: FW:




Emily P. Grim
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GilbertLegal.com
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‐‐‐‐‐Original Message‐‐‐‐‐
From: Grim, Emily P. <grime@gotofirm.com>
Sent: Thursday, April 7, 2016 12:21 PM
To: madere@gotofirm.com
Subject: FW:

FYI ‐ Amir Hekmati was taken in by the FBI for questioning this morning. It could be nothing, but they were supposed to
call us before speaking with him, and they didn't. They may call Scott's line. If Scott isn't available for some reason, you
can patch them through to me.



[cid:imageed7b0d.GIF@21374280.4aa9860b]<http://www.gotofirm.com/>

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From: Grim, Emily P.
Sent: Thursday, April 07, 2016 12:18 PM
To: Gilbert, Scott D
Subject: RE: <no subject>

I spoke to an agent at the Flint office. He had no information regarding Amir, but he is working on tracking down Agent
Capitano immediately. They will call us as soon as they have any information. I also left a message on Agent Capitano's
cell phone. I left both of our numbers, so you may get a call from Flint soon. I will call the DC office next.



[cid:image001.gif@01D190C7.85DC1620]<http://www.gotofirm.com/>

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From: Gilbert, Scott D
Sent: Thursday, April 07, 2016 11:42 AM
To: Grim, Emily P.
Subject: RE: <no subject>

Let's meet for a few minutes now if you can.



[cid:image001.gif@01D190C7.85DC1620]<http://www.gotofirm.com/>

Scott D. Gilbert
gilberts@gotofirm.com<mailto:gilberts@gotofirm.com>


O 202.772.2277

                                                            2
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From: Grim, Emily P.
Sent: Thursday, April 07, 2016 11:23 AM
To: Gilbert, Scott D
Subject: RE: <no subject>

Sorry to miss this ‐ I was in another meeting. As I mentioned earlier, I'll be around all afternoon if you want to touch
base when you hear back from Amir.



[cid:image001.gif@01D190C7.85DC1620]<http://www.gotofirm.com/>

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From: Gilbert, Scott D
Sent: Thursday, April 07, 2016 10:51 AM
To: Grim, Emily P.
Subject: <no subject>

Pop by for a minute?



[cid:image001.gif@01D190C7.85DC1620]<http://www.gotofirm.com/>


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             EXHIBIT 1




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             EXHIBIT 2




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             EXHIBIT 2




                                                                DA266
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Martinez, Sherley M.

From:                      Grim, Emily P.
Sent:                      Sunday, March 22, 2020 10:15 AM
To:                        Martinez, Sherley M.
Subject:                   FW: Amir Hekmati Follow-Up




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From: Grim, Emily P.
Sent: Saturday, March 21, 2020 12:52 PM
To: Grim, Emily P. <grime@gilbertlegal.com>
Subject: FW: Amir Hekmati Follow‐Up




From: Gilbert, Scott D <gilberts@gotofirm.com>
Sent: Thursday, April 7, 2016 2:06 PM
To: Caroline A Tess@nsc.eop.gov; Tim Rieser@appro.senate.gov
Cc: grime@gotofirm.com
Subject: Amir Hekmati Follow‐Up

Caroline and Tim:

I am writing to express my concern about a very troubling incident today concerning Amir Hekmati. Two FBI agents
showed up at his mother’s home and asked him to come with them to the local FBI office in Flint. Amir immediately
contacted me and I asked to speak to one of the agents, which they refused. Instead they told Amir they had classified
information to provide to him and needed to do so at their office. They indicated to Amir that they would need to speak
with me on a land line in their office. Once at the FBI location, they refused to contact me and Amir’s phone was
unavailable. They then questioned Amir for about 30 minutes, and they alleged that he had disclosed classified
information, apparently in connection with an internet search that he did in Afghanistan on his way to Iran. He of course
denied this, and they asked him to take a polygraph. Amir refused without the ability to speak to his lawyer.

Amir just served almost five years in Ervin Prison because he was a US marine. He is going back to school to get his
masters in economics and is making great strides to recapture the normalcy of life. I continue to worry about PTSD
REDACTED            So today, we have the USG detaining him, denying him counsel, and leveling absurd and unfounded

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accusations at him in an interrogation room. Amir, understandably is quite upset. I thought I would raise this with you all,
so you can inform Ben and others. I would prefer you heard about it from me before you read about it.

The FBI agent’s name is Melinda B. Capitano, a special agent out of the DC Field Office. Telephone:                   ;
Cell:               email:                              . I intend to put a stop to this, one way or the other. Please let
me know if you have any constructive suggestions. Thanks.

sdg




Scott D. Gilbert
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             EXHIBIT 3




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             EXHIBIT 4




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             EXHIBIT 5




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             EXHIBIT 6




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Dr. Christopher Brace



Re: Reference Letter for Amir Hekmati

To Whom It May Concern:

I worked closely with Amir during his tenure as a GS-13 Department of Army Civilian in Fort
Leavenworth, KS, and Camp Speicher Tikrit, Iraq from January 2010 to May of 2011 in his role
as Research Manager. Mr. Hekmati was tasked with supporting Social Scientists, Team
Leaders, and Analysts to conduct various research projects, studies, and specific inquiries for
U.S. Army Leadership, NGOs, State Department representatives and Intelligence collection
services. Studies included internal disputes between Kurdistan Regional Government, and the
greater Iraqi Government, Cultural sensitivities when dealing with Iraqi Army personnel, Kurdish
Oil pipelines, Iranian influence in Iraq, Iranian infiltration of Iraqi militias in Southern Iraq,
corruption in the Iraqi Army, and the dispute between the Iraqi government, and the Kurdish
Regional government over the division of oil revenues. Mr. Hekmati was also instrumental in the
Tadreeb Al Shammil training programing, providing valuable insights into both the U.S. and Iraqi
training paradigms. He was extremely effective in his position as Research Manager, and I
would highly recommend him as a capable member of any future team. He has outstanding
moral character and is of the most flexible, critical thinking research I have ever had the
pleasure of working with.



Regards,



Christopher S. Brace, Ph. D.,
Division 1 Manager
Arkansas Support Network




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             EXHIBIT 7




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             EXHIBIT 8




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             EXHIBIT 9




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           EXHIBIT 10




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           EXHIBIT 11




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           EXHIBIT 12




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           EXHIBIT 13




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             EXHIBIT A




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                             DECLARATION OF AMIR HEKMATI

       I, Amir Hekmati, do hereby state the following facts based on my personal knowledge:

                                        BACKGROUND


       1.      I was born                in                    to Ali and Behnaz Hekmati.

       2.      At the time, my father, Ali, was finishing his Ph. D in Microbiology at Arizona

State University, and my mother, Behnaz, was completing a B.S. in Accounting.

       3.      My family has always been close. I have an older sister, Sarah; a twin sister,

Leila; and a younger brother, Omeed.

       4.      When I was eight years old, my family moved to Flint, Michigan, where my

father had been hired as a Professor of Biology at Mott Community College—a position that he

kept until his retirement.

       5.      I grew up in Flint and graduated from high school there. Growing up, I was an

active athlete and on the high school honor roll. I played for the high school soccer and ice

hockey teams and was an annual participant in the Michigan Science Fair.

       6.      In 2001, my senior year of high school, recruiters from the United States Marine

Corps came to my school. I was inspired by their presentation. I told my family I wanted to join

the Marines after graduating high school. They had some reservations—my mother was

concerned for my safety, and my father wanted me to go straight to college to study medicine—

but in the end, they respected my decision. I joined the Marines immediately after graduation in

July 2001, and served until my honorable discharge in August of 2005.

       7.      I joined the Marines out of a sense of duty to my country. That sense of duty

intensified after 9/11, which happened while I was in bootcamp. I am proud to say that I served

honorably and am a decorated combat veteran. See Certificate of Release or Discharge From




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Active Duty, attached hereto as Ex. 1. I received a Meritorious Mast for superior service and

reached the rank of E-5/SGT in under four years, which I understood to be uncommon for a four-

year enlistment. See Meritorious Mast Award, attached hereto as Ex. 2.

         8.    While in the Marines, I studied Arabic for 63 weeks at Monterey Peninsula

College. I had spoken some Farsi at home growing up, but Arabic was new to me (there is some

overlap in the two alphabets, but the languages are very different). I worked hard and graduated

with honors. See Letter of Reference from Arabic Professor and Diploma, attached hereto as

Ex. 3.

         9.    In 2003, I was given orders to deploy with 2nd BN 4th Marines as an infantry

rifleman to support combat operations in Ar-Ramadi, Iraq. Due to my Arabic training, I had

additional duties of serving as the personal interpreter of the battalion commander. I also played

a lead role in the training of Iraqi security forces and acted as translator during the

implementation of millions of dollars in reconstruction projects throughout the city. See Letters

of Recommendation from Military Commanders, attached hereto as Ex. 4.

         10.   I completed my service in the Marines in 2005, after about four years of service.

         11.   I’ve always viewed my time in the Marines as a positive experience. Make no

mistake—my time in Iraq was not easy. I watched friends die and suffer injuries over nine

months of combat. But, it motivated me to know that people were relying on me and that I was

serving my country with honor. I came home feeling that I had grown personally and

professionally, and I felt even more appreciative of the freedoms we have in the United States.

         12.   After I left the Marines in 2005, I went on to serve my country as a U.S. military

contractor, focusing on translation and cultural education. I had seen firsthand during my time in

the Marines how crucial such skills could be in obtaining critical information or diffusing tense




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situations with local civilians on the ground. I had watched delayed or ineffective

communication result in the deaths of many Marines. I was pleased that I could continue to

serve my country in an area that I viewed as essential to the safety of our troops abroad.

         13.   In 2005, I started Lucid Linguistics, a consulting company providing language

and cultural instruction and technology to the U.S. military. Soon after, Lucid Linguistics was

hired by the Department of Defense (“DOD”) to assist the Defense Advanced Research Projects

Agency (“DARPA”) and other DOD clients in the area of language translation technology.

DARPA is an agency that identifies, develops, and procures technologies for use in the U.S.

military. I had worked with DARPA representatives when they came to Iraq during the last few

months of my deployment to test new language translation technology, so the transition was a

logical one. I continued to work for the DOD through Lucid Linguistics until 2007. My other

clients included MITRE, BBN Technologies, and IBM. See Employer Letters of Reference,

attached hereto as Ex. 5.

         14.   While I was working for the DOD through Lucid Linguistics, I patented an

instructional methodology for languages that later was purchased by Vcom3D, a defense

contractor in Orlando, Florida, for $300,000. This technology has helped tens of thousands of

service members learn language and culture in preparation for deployment overseas.

         15.   While working as a contractor, I also decided to go to college. I was traveling so

much for my job that I decided to seek a bachelor’s degree in International Business

Management online from the University of Phoenix. I continued to serve our nation through my

contract work while completing my degree from the University of Phoenix, which I obtained in

2009.




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       16.     In 2007, I became a geopolitical analyst for Cubic Corporation, another defense

contractor. My role was to provide analysis of security-related issues in the Middle East for

Cubic Corporation’s DOD clients. I worked with Cubic Corporation until 2009.

       17.     In 2009, I became a research manager for defense contractor BAE Systems. As

part of this position, I worked for one year in Tikrit, Iraq for the U.S. Army’s Human Terrain

Analysis Program, primarily providing cultural analysis and advice to U.S. military commanders.

My research topics included, among others, Iranian influence in Iraq and Iranian infiltration of

Iraqi militias in Southern Iraq. See Christopher S. Brace Recommendation Letter, attached

hereto as Ex. 6. At the request of my supervisors, I applied for and was granted a top-secret level

security clearance.

       18.     In 2009 and 2010, I took, and passed, two intensive polygraphs as part of

background checks for two different intelligence-related positions with the U.S. Government.

The first was in connection with a potential position at the Defense Intelligence Agency (“DIA”).

The second was in connection with a potential position with the National Clandestine Service at

the Central Intelligence Agency (“CIA”). In connection with my CIA application (as well as my

job with BAE), I also underwent a substantial background investigation dating back ten years. I

ultimately turned down a position with DIA to take the job with BAE Systems. The CIA made

me an offer of conditional employment, but an available role did not materialize in the

immediate training cycle. I had steady work as a contractor at the time and had mixed feelings

about taking a position that would require me to conceal a large part of my life from family and

friends, so I did not push the issue.

       19.     Despite my success as a contractor, by 2011, I was at a personal and professional

crossroads. My contract with BAE was set to expire. I loved intelligence work, but my sense




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was that active intelligence roles in Iraq requiring my particular expertise in Farsi and cultural

education issues were starting to dry up as the war in Iraq was winding down. I was beginning to

tire of the frequent travel contract work required. I was in a serious relationship with a woman

from Michigan and was ready to settle down and start a family. I decided to apply to a number

of master’s programs in economics in order to diversify my resume and open up future job

opportunities while staying closer to home.

       20.     Around the same time, my mother was encouraging my siblings and me to travel

to Iran to visit my grandmother, who was suffering from health problems. I was close with my

grandmother, who had visited my family many times during my youth. See Family Photos,

attached hereto as Exs. 7–8. I exchanged emails with my mother in December 2010 and January

2011 regarding my plans to travel to Iran after I returned home from Iraq. I also corresponded

with Legal Persian, a service specializing in Iranian-American travel to Iran, during the same

period about getting all necessary visas and travel documents in order to make the trip. See E-

mail from Amir Hekmati to Behnaz Hekmati (Dec. 29, 2010, 11:31 AM), attached hereto as Ex.

9; E-mail from Legal Persian to Amir Hekmati (Jan. 3, 2011, 8:58 AM), attached hereto as Ex.

10.

       21.     In the spring of 2011, as my contract with BAE was winding down, a co-worker

informed me that he had recently obtained a position with Six3 Systems (“Six3”), another

government contractor, for active intelligence work in Afghanistan. He recommended that I

consider applying for the same position and put me in touch with a recruiter from Six3. The

recruiter provided a description of the position and told me she “would love to get [me] on the

team.” E-mail from Gretchen Klugh to Amir Hekmati (May 19, 2011, 10:12 AM), attached




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hereto as Ex. 11. I recall the recruiter being particularly keen on my Farsi language skills and

previous work experience as an analyst on a broad range of issues.

       22.     On its face, the job appeared to be an incredible opportunity. I viewed

Afghanistan as the epicenter of active intelligence work at the time; positions there were coveted.

The role, as described in the recruiter’s email, was for an “Intelligence Analyst” providing

support on a broad range of topics in connection with “Afghanistan measures of stability,”

including “security, governance/development, Human Terrain, provincial and district

assessments, High Value Targeting products, Extremist and Regional Threat Network Nodal

Analysis and preparation of Intelligence Surveillance and reconnaissance Assessment Metrics.”

Analysts were expected “to present an all source product on military activity, insurgent actions,

economic/political activities, threats to regional stability, and trend analysis.” Id. Such a role

could provide me with another opportunity to use my skillset to serve my country, and also could

allow me to gain valuable work experience, learn from more senior analysts, and make

professional connections. The offer was hard to refuse.

       23.     I knew, however, that the job would come at a cost. The position would take me

far away from my family and my girlfriend. It could delay my plans to go to school. I did not

know where in Afghanistan I would be placed or precisely the type of projects I would be

working on, but I knew from experience that the days would be long, and that many such jobs

were in remote areas and could feel very isolating. After much discussion with my family and

girlfriend, I decided to give the position a try. If it was not everything it had been marketed to

be, I would leave. My contract was at-will, and I declined any signing bonus, which I would

have had to pay back, with taxes, if I did not stay in the position for six months. See Six3

Systems Employment Agreement, attached hereto as Ex. 12.




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                                 WORK FOR SIX3 SYSTEMS

       24.     Soon after arriving in Kabul, Afghanistan, it became clear to me that the job was

not what I had hoped it would be. Instead of being placed in a position as an intelligence analyst,

as the job description had indicated, I was asked to be a religious advisor. The position, as I

understood it, would require me to patrol alongside U.S. military troops in Taliban-controlled

areas, discussing sensitive religious topics (in which I had no training) with potentially hostile

villagers. A wrong move on my part could lead to danger for the unit. I was not prepared to put

others at risk by taking a role in which I had no experience. Moreover, this was not the position

for which I had decided to delay my school plans and leave my family and girlfriend. It would

not provide any of the professional experience I had been seeking. I told my supervisor at Six3,

Angela Layman, that I would resign if I was not placed in the role for which I had applied and, I

believed, had been hired—intelligence analyst. I was assigned promptly to a role as an all-

source intelligence analyst at an office at Bagram Airfield.

       25.     Upon my arrival in Bagram, my Special Security Officer (“SSO”) provided me

with access to a wide range of intelligence programs in order to view data to support the unit,

including Intelink (akin to Google with respect to classified information) and other Sensitive

Compartmentalized Information (“SCI”) (SI, TK, HCS, and Gamma special access). I did not

request access to these programs. I did not know before taking the position that I would be

granted access to these specific programs. My access rights had no subject matter-based

restrictions—if I typed something into a search, all potentially relevant hits from the databases I

had clearance to access would come up. Indeed, I, and presumably all others in the unit with

similar clearance, received unsolicited daily reports that were not necessarily directly relevant to

whatever projects we were working on at the time, including information related to China and

other countries.


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       26.     I was pleased that I ultimately had been placed in the position for which I had

been hired, but I struggled to find my role in the unit. I recall being given only one official

assignment, which was to monitor and interpret anti-U.S. propaganda by the Taliban, Haqqani

network, and Al-Qaeda, and to devise strategies for countering those propaganda efforts. To do

so, I was expected to monitor different media outlets used by the Taliban, deliver a weekly

report, and make recommendations to U.S. Army commanders in east Afghanistan. Beyond that,

I recall receiving little guidance on how to fill the 12-hour shifts that were required by my

contract. I sat elbow-to-elbow with other analysts all day and night but largely was on my own.

I had no project team or mentor.

       27.     I felt pressure from my superiors to be proactive, not reactive. Nearly every

morning, my supervisor would prompt me and others in the office with, “What do you got?” I

felt I needed to have material ready to prove my value. A single weekly report clearly was not

sufficient in the eyes of my supervisors.

       28.     It appeared to me that each analyst had built a specialty in a few specific areas.

Separate from my weekly reports on cultural messaging, I sought to identify and build an area of

expertise where I could add value. Unprompted by my supervisors, I generated a report on the

benefits and feasibility of using local Afghani residents to form a protective force for

multinational corporations building cellphone towers throughout dangerous areas of Afghanistan.

Supervisors praised my work. I decided that, given my Iranian background, knowledge of

cultural issues, work experience at BAE in Iranian influence in Iraq, and fluency in Farsi, I could

establish a role for myself as an expert in Iranian influence in Afghanistan, particularly focused

on the threat posed to U.S. troops. I recall asking other analysts if this focus seemed useful, and

that they agreed. I searched the intelligence platforms for data relating to Iran to further educate




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myself on these issues and identify any potentially useful leads that might be valuable to my unit.

Because of my access to various SCI programs, my search results included a mix of both

classified and unclassified information.

       29.     My activities were by no means covert. I sat in a room crowded with other

analysts, and my superiors often circulated around the room, checking in on various analysts’

activities. I recall discussing my Iran focus openly with colleagues and superiors. Not once was

I cautioned, reprimanded, or asked to stop my research.

       30.     My contract required that I log 12 hours of work per day, but the unit did not

require me to work during set hours. I, along with many of my colleagues, split up the 12 hours

differently each day so that I could take a break from sitting in front of a computer to exercise,

have a meal, and relax. Because so many other people split up their hours each day, my office

was not significantly less crowded or unsupervised at night.

       31.     I never scanned, downloaded, or printed any of the articles or information that I

accessed, nor did I attempt to do so.

       32.     Despite positive feedback on my work product and my efforts to build a specialty

in Iran-related issues, I was unhappy in the job. I had expected structure, direction,

collaboration, and support, but there was none. I had given the position a chance, but it was not

worth delaying my other life plans or being away from my family and loved ones for yet another

extended period. I gave my two weeks’ notice only a month or two after arriving.

                                           TRIP TO IRAN

       33.     While I was in Afghanistan, my mother, sister, and brother had been visiting

family in Iran. See E-mails Between Behnaz Hekmati and Amir Hekmati (July 13–15, 2011),

attached hereto as Ex. 13. They encountered no issues during their visit. I knew I would have

little time to make a trip myself after starting school. I already was in Afghanistan, which


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borders Iran. At my mother’s request, I decided to make the trip before returning home to

Michigan.

       34.     There were no direct flights to Iran from Bagram Air Base. Options for civilian

contractor flights out of Bagram were limited. As far as I knew, the charter airline that provided

flights in and out of Bagram for Six3 contractors only went through Dubai. In any event, flying

to Iran by way of Dubai made sense because it was a massive international air hub with multiple

daily flights to Iran that were relatively inexpensive. I recall this being important because it was

difficult to predict my exact departure date from Bagram—I had given the standard two weeks’

notice but was permitted to leave whatever day I finished tying up any loose ends at

work. Regardless of when I would arrive in Dubai, I knew I could easily buy a ticket to Iran

departing within the next day or two.

       35.     On August 14, 2011, I flew from Bagram Air Base to Dubai. Once in Dubai, I

purchased a ticket to Tehran. I planned to stay in Iran for a few weeks before returning home.

       36.     This was my first trip to Iran. I was looking forward to reuniting with my

grandmother and meeting relatives who until that point I had only been able to speak with over

the phone. I had no safety concerns. My immediate family had just taken a trip there without

incident, and I would be staying with relatives the entire time. No one ever offered any reason

why I should not go to Iran.

       37.     When I arrived at the airport in Tehran, officials pulled me aside to review my

passport. To my knowledge, this was the only time I had interaction with Iranian Government

officials before my arrest.

       38.     I was with family members during the entirety of my visit to Iran, staying at a

family-owned apartment down the street from many relatives. They took me to explore the




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sights of Tehran and the surrounding area, including the mountains east of Tehran. They also

took me to many sights inside of Tehran, including parks, museums, and restaurants. I enjoyed

my time in Iran immensely. My extended family was large, close-knit, and vibrant. I loved

being a part of a big family, especially since we had no close relatives in the U.S. I found

Tehran to be chaotic, but rich with culture.

                         IMPRISONMENT AND TORTURE IN IRAN

       39.     On August 29, 2011, two days before I was scheduled to return home to

Michigan, I was preparing to attend a family holiday celebration when two older men in suits

came to the apartment where I was staying. The men said they were from a passport control

agency and that they had a few more questions to ask about my passport. I was hesitant to go

with them but didn’t want to cause any trouble. I was shuttled to a nearby office building, where

the men immediately began accusing me of working for the CIA, interrogating me about my

activities in Iran, and threatening to take me to “a very bad place” if I did not confess.

       40.     When I insisted that I had come to Iran only to visit family, I was handcuffed and

taken to Evin Prison—Iran’s most notoriously brutal prison. Upon my arrival, I was strip-

searched, given blue prison pajamas, blindfolded, and taken to a small, windowless cell. I did

not know at the time that I was to spend the next four-and-a-half years in Evin Prison.

       41.     For the first 18 months of my imprisonment, I was held in solitary confinement in

what I learned years later from other prisoners was Ward 209, which is known to be used by the

Iranian Ministry of Intelligence & Security (“MOIS”) to torture prisoners into confessing to

alleged “crimes.”

       42.     My cell was so small that I could not stretch my legs when I laid down. The

concrete walls of the cell were curved, which threw off my depth perception and made me feel

constantly like the walls were caving in on me. The floor consisted of cold tile covered with a


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thin carpet. I had no mattress; only a thin blanket that did nothing to insulate me from the cold

tile. Prison officials continually prevented me from sleeping by pouring water on the floor of my

cell so that it remained cold and damp, quickly growing moldy. The smell of the mold was

putrid. There was nothing else in the cell except a Koran and a small makeshift “toilet,” which

was akin to a pail with a hose. There was no plumbing and no toilet paper. The air was so heavy

and polluted that I had trouble breathing. Even the guards wore surgical masks.

       43.     Because I had no window, I had no concept of whether it was day or night.

Prison officials kept bright lights on in my cell 24 hours a day. At times, the power went out,

and I was left in complete darkness for hours at a time, unable to see even my own hands in front

of my face. It felt like being buried alive.

       44.     I was permitted to leave my cell only once every few days for 10–15 minutes to

take a cold shower. Otherwise, I was taken from my cell only for interrogations, which also

occurred every few days. I was always blindfolded before leaving my cell.

       45.     I was tortured continuously over the first four months of my imprisonment.

Prison guards regularly beat me with batons and struck me in my kidneys with electric tasers to

intimidate and punish me for my alleged “crimes.” My interrogator chained me to a table

blindfolded and whipped the bottom of my feet with cables as punishment for not giving him the

answers he wanted. The pain was excruciating. Because I could not move, I felt the pain not

just on my feet, but reverberating through my head, like a screwdriver jammed into my brain.

Apart from the physical pain, I knew the whipping was intended to humiliate me. Because the

wounds were on my feet, they were slow to heal; my feet became swollen, and I could not walk

properly.




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        46.     On multiple occasions, I was handcuffed in stress positions for hours at a time.

One time, I was handcuffed with one arm reaching behind my shoulder and the other hand

behind my back for nearly 48 hours. The position prevented me from sitting the entire time and

caused excruciating pain in my shoulder.

        47.     The mental abuse was also constant. I was taunted and belittled. Prison guards

mercilessly insulted me, my mother, and my country. At one point, I was told that my sister had

been involved in a terrible car accident, but that I could not use the phone to call my family

unless I confessed that I was a spy.

        48.     I had virtually no contact with the outside world for months, other than a brief call

to my relatives in Iran to tell them I was in prison (I couldn’t even tell them where, because I

didn’t know at the time). Indeed, I had almost no physical contact with anyone, apart from the

taunts and beatings by the guards and my interrogator. I could tell there were other prisoners in

the ward, but I could not communicate with them; I only knew they were there because I could

hear them screaming when they were tortured or taken from their cells for execution.

        49.     There was nothing to do in the cell except read the Koran—the only item in the

cell aside from my blanket and the toilet. At first, I tried to stay sharp and focused by

memorizing passages, or by doing squats or push-ups in my cell. It was difficult. I did these

things less and less, and eventually I lost track of time. I stared at the wall all day.

        50.     I began talking to the walls, as if they were a family or friend from home. I would

conjure up old memories or conversations and reenact them, with the wall as my “friend.”

        51.     Violent images started filling my head—images of how I would torture and

murder the guards and my interrogator. Those images consumed me, and at times I was unable




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to think of anything else. In a way, those images helped me stay alive. They kept me from

breaking down completely.

       52.     I must have lost 20 pounds in those first few months. We were served very little

food—a slice of bread and margarine in the morning, soggy rice and lentils for lunch, and a

small cup of soup or lentils in the evening. Much of the time, I didn’t even eat what was given to

me. I had no appetite.

       53.     The sound of the food cart sticks with me to this day. The wheels on the cart

were not oiled, so they would make a screeching sound as the cart approached my cell. Even

now, I can hear the sound in my head, and it makes my hairs stand on edge.

       54.     My physical and psychological health deteriorated rapidly in those first four

months. It got to the point where I truly felt that I was losing my mind. I would feel that the

walls were caving in on me and that I couldn’t breathe. I had numerous panic attacks. I would

start banging and clawing at the door, screaming for the guards. I was met only with taunts and

more beatings. I thought about suicide often.

       55.     Roughly three months into my solitary confinement, the guards started forcing me

to take sedatives. The sedatives made it even harder to keep track of time. I drifted in and out of

consciousness, unable to do much else. I felt like a living corpse.

       56.     Although I resisted the pills initially, they quickly became my lifeline. They

allowed me to feel numb.

       57.     Once I was hooked on the pills, however, my interrogator used them as a means

of controlling me. He would cut off the pills abruptly to attempt coerce me to do things or say

things that were untrue. I felt out of control when the pills were taken from me. I stopped




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sleeping. I started experiencing the same panic attacks and breakdowns from which I had

suffered before taking the pills. I felt I would do anything to get more pills.

       58.     I was told that all of these abuses would continue for as long as it took unless and

until I confessed to being a spy. After months of trauma, in December 2011, my abusers shifted

their tactics. They transported me from Evin Prison to Esteghlal Hotel, dressed me in civilian

clothes, gave me food and cigarettes, and told me I would be released immediately if I agreed to

be interviewed for an internal training video for the Iranian Intelligence Ministry. As part of the

interview, my captors demanded that I state that I worked for the CIA. I initially refused. My

interrogators told me I would be returned to solitary confinement if I did not comply.

       59.     At that point, I had suffered months of physical and psychological abuse, without

even being charged for a crime or given a chance to talk to a lawyer or anyone at the Swiss

Embassy (the Swiss Embassy represents U.S. interests in Iran since the U.S. has no diplomatic

relations with Iran). I hadn’t spoken to my family back home since my arrest. I was suffering

from chemical withdrawal and desperate to go home to Michigan. I decided to comply in hopes

of being released, as my interrogators had assured me I would be. They swore on the Koran that

the video was only for internal training purposes.

       60.     Part of me was suspicious, of course. But even if they were lying, I figured I had

nothing to lose by making the statement. Even if I “admitted” that the CIA had sent me to Iran, I

had done nothing illegal once I got there. I knew that, and they knew that. Besides, at that point,

I thought life couldn’t get any worse.

       61.     I was not released that day. Instead, I was returned to solitary confinement. I

learned later that the Iranian Government broadcast my false “confession” on Iranian state

television as “proof” of my crimes.




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       62.     I was devastated. I felt foolish that I had let myself hope I would actually be

released. I went back to staring at the walls. Life in solitary continued as it had before.

       63.     In January 2012—five months after my arrest and imprisonment—Iran’s

Revolutionary Court held a trial behind closed doors on my “crimes.” I knew nothing of the

charges against me and had no idea that the trial was about to occur. I didn’t even meet my

court-appointed defense attorney until five minutes before trial.

       64.     After 15 minutes, the court convicted me of espionage, waging war against God,

and corrupting the earth. I was sentenced to death, to be executed immediately by hanging.

       65.     I did not learn of my sentence until about a month after the trial. The guards told

me by showing me the front page of an Iranian state newspaper, which announced my death

sentence with triumph. Initially, I felt shock and disbelief, then anger, then horror. I was

28 years old. I couldn’t believe that this was how my life was going to end.

       66.     The death sentence haunted me day in and day out. Every day, I woke up

wondering if it was my execution day. I was in a constant state of fear and anxiety. I started

having nightmares and more frequent panic attacks. I could hear other prisoners being dragged

from their cells to be executed. I can still hear their screams and cries.

       67.     I could feel whatever mental strength I had left begin to crumble. I stopped

sleeping. I stopped eating. I paced my cell at all hours. I was hypervigilant, paranoid that my

executioners were about to arrive. I would have constant visions of my execution and death—of

me with a noose around my neck; me at the morgue with a black neck and bulging eyes, with my

mother crying over my body; me in a grave, with worms crawling out of my eyes. I wondered

how much hanging would hurt.




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       68.     Several months later, I was abruptly taken back to court for a new trial in front of

a different judge. I learned that an Iranian appeals court had overturned my death sentence based

on insufficient evidence months before. Like the previous trial, this second trial was held behind

closed doors and lasted no more than 10 minutes.

       69.     I did not learn of my conviction and new sentence until months later, again

through newspapers the guards showed me. I learned that I had not been re-sentenced to die.

Instead, I was convicted of cooperating with a hostile government, presumably due to my U.S.

military service. I was sentenced to 10 years in Evin—the maximum sentence you can receive

for such a crime.

       70.     By this time, I had spent nearly a year in solitary confinement. I felt some relief

when my death sentence was annulled, but I knew the courts could re-instate the sentence at any

time if it suited Iran’s political needs. My fear of execution festered, never going away. I

continued to live for my daily dose of pills.

       71.     My conditions in solitary did not improve, and now ten more years stretched

before me. I couldn’t bear the thought. I went on multiple hunger strikes to protest my

conditions—to feel like I had some control over my situation, no matter how small.

       72.     Roughly 18 months into my imprisonment, I became unconscious after a

prolonged hunger strike. I hit my head when I fell. Presumably fearing that my death in prison

would be bad publicity for the regime, Iranian officials transferred me out of solitary

confinement and to a political prison in Ward 350, where I remained for about a year-and-a-half.

       73.     I saw my reflection in a mirror in Ward 350 for the first time in 18 months. I

didn’t recognize the face staring back at me. I was pale and drawn. My eyes were sunken and

had dark circles under them. A thick beard covered the hollows of my face.




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       74.     I was relieved to be out of solitary confinement, but Ward 350 brought with it a

new set of horrors. Conditions were terrible; 20–30 prisoners were packed together in a small

cell. Everyone had physical and psychological problems. The food was the same. There were

no beds; only pieces of wood suspended from the wall, on which prisoners would put a blanket

to sleep. Prison officials stopped giving me my pills, so I went through months of painful

physical withdrawal. People were regularly dragged out of the cell for execution or beatings.

The guards indicated that prisoners would be helped if they snitched on other prisoners, so there

was a constant atmosphere of fear and distrust among the population. Tensions ran high. I tried

to keep to myself.

       75.     Ward 350 had a small courtyard where you could see a small patch of sky. I tried

to stay active, but I could do little more than move in small circles. It was very hard to stay

motivated.

       76.     Finally, I was able to meet with my uncle once a month for 20–30 minutes. I still

was not allowed to use the phone or speak to my family back home. I still was not allowed to

speak to a lawyer or to the Swiss Embassy.

       77.     I was relieved to receive news about my family though my uncle, but the news

was devastating. My family had received no information about my whereabouts for the first four

months of my imprisonment. My uncles had searched every prison, hospital, and morgue in

Tehran. My father had suffered a major stroke shortly after learning I had been sentenced to

death. After the stroke, he had been diagnosed with advanced brain cancer. He had lost his

mobility and could no longer care for himself. In the meantime, my older sister had quit her job

to lobby for my release full-time, despite having two young children—my niece and nephew—at

home. My family was spending tens of thousands of dollars on lawyer fees and expenses to




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lobby for my release, organize rallies, and travel to the U.N. to meet with U.S. and Iranian

Government officials.

       78.     This was the first news I’d had of my family in nearly two years. It ate me alive

to know that my family was suffering, and that I was adding to their suffering. I couldn’t bear to

think of my mother, who had been left to deal with a son on death row in Iran and a husband in

the hospital. I felt powerless to help. The thought haunted me every day. When I ultimately

was able to contact my family with more regularity, I tried to downplay my situation as best I

could. I wasn’t always great at it, but it was the only thing in my control.

       79.     About a year-and-a-half after I arrived in Ward 350, a major riot occurred. As

punishment, we were transferred to the general population prison. I was transferred to Ward 7,

where I was housed with drug dealers and other violent criminals.

       80.     My conditions in Ward 7 were some of the most brutal I had faced in my three

years at Evin. My “cell” was actually a basement typically used to quarantine sick prisoners. As

in Ward 350, my cell contained 20–30 prisoners packed into a small space. The cell was infested

with rats, which I and other prisoners had to kill using broomsticks or other blunt objects. There

were no beds. My skin was eaten by lice and fleas. I would wake up with bed bugs all over me.

Prison officials would occasionally spray the room with chemicals to get rid of the bed bugs.

The chemicals made us sicker than the bug bites did.

       81.     The ward had no heat, air conditioning, or ventilation. There was no courtyard or

outdoor recreational space. The air was heavy and hot and thick with germs. There were no

toilets; rather, there were three holes in the ground with a hose next to them. The showers were

directly next to the toilet holes. Because of the terrible ventilation, the showers became a

breeding ground for infection. People wore surgical masks in the shower, but, because we only




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got one mask, it quickly became filthy. Soon, the masks themselves became a breeding ground

for germs.

       82.     I was sick the entire year-and-a-half I spent in Ward 7. I suffered from recurring

lung and sinus infections and constant intestinal problems due to malnutrition and the poor

sanitary conditions of the prison. Prison officials would ignore our ailments unless we had a

high fever, which they would “treat” by injecting us with steroids that actually suppressed the

immune system, making the infection worse. Eventually, I stopped requesting treatment

altogether.

       83.     I lived in constant fear of the other prisoners in Ward 7. Prison officials put

violent criminals—I thought of them as “the muscle”—in our cell to lean on us to confess or

swear allegiance to the Iranian Government. They beat other prisoners often. One prisoner took

a razor blade to the face. Many of the other political prisoners who had been transferred with me

suffered mental breakdowns from the trauma of our surroundings. I tried not to make trouble.

My only goal was to stay alive.

              RELEASE FROM PRISON AND POST-IMPRISONMENT LIFE

       84.     On January 16, 2016, I was released as part of a prisoner trade between Iran and

the United States.

       85.     Although I was overjoyed to be free, and especially to be reunited with my

family, I quickly learned that it was impossible for me to just pick up where I left off after five

years. My entire life trajectory had been derailed. The harm I had suffered did not simply go

away once the cell door was opened and I was on the other side.

       86.     Prior to my arrest, I was looking forward to a bright future. I was in a serious

relationship and had planned on starting a family while in graduate school. I was calm, happy,

and full of drive. I had given four years of service to my country and risked my life in combat,


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finished an undergraduate degree, started a company, worked as a consultant, and had been about

to start working towards my master’s degree. I had the support of a healthy and close-knit

family.

          87.   I returned from Iran broken, jobless, single, and forever changed by the effects of

nearly five years of relentless physical and psychological abuse. I returned home to find that my

father was only a shell of his former self and that my mother had aged decades.

          88.   As soon as I got home, I was haunted continuously by images from prison,

including the rats that infested my various cells and the constant visions I had of my own

execution. I had trouble sleeping and often had nightmares of my time in Evin. I suffered from

anxiety and panic attacks. REDACTED

                                                                                   . I got

overwhelmed and anxious in crowds, which made it difficult for me to leave the house. I spent

most of my time in my bedroom at my mother’s house with the door locked.

                REDACTED




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REDACTED




        92.    I’m now 36 years old. I’ve come a long way since 2016, but it’s been a struggle.

REDACTED




                                       FBI INTERVIEWS

        93.    Shortly after my release, I was subject to two unannounced interrogations by the

FBI.

        94.    The first interview occurred immediately upon my release from prison, after I was

flown from Iran to a U.S. air base in Landstuhl, Germany. I was so relieved to be free from Evin

but also completely overwhelmed. Looking back on it, I think I was still in shock.

        95.    Rather than releasing me promptly to my family, who had flown to Landstuhl to

meet me, I was held for a prolonged period—at least a day or two—at a segregated medical

facility. Initially, I was told that this was part of a “routine” medical exam process. While I was

at this facility, two men interviewed me. The questioning began with the agents showing me

pictures of other Americans missing or imprisoned in Iran and asking if I had seen or heard

anything about these Americans while in prison, then shifted focus to my work in Afghanistan. I

do not recall being informed that I was under investigation. I was confused, annoyed, and numb

with exhaustion. Ultimately, the agents concluded their interview. I was permitted to leave

promptly thereafter.

        96.    A second FBI interview occurred shortly after my return to Michigan, in April

2016. I was living at home and still struggling to transition to normal life after years of trauma.

The insomnia, nightmares, and panic attacks were at their peak.




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       97.     Agents came to my parents’ home unannounced. I recall being asked to

accompany them to an FBI field office to look at more pictures because they needed more help

with an investigation. I called my lawyer, Scott Gilbert, who asked to speak to one of the agents

and said they should not interview me unless he was present by telephone.

       98.     The agents refused and said they would need to call Scott on a landline from their

office. Once we were at the office, instead of calling my lawyer as he had instructed them to do,

the agents conducted the interview. I didn’t want to cause any trouble for me or my family, so I

answered their questions.

       99.     Shortly into the interview, the agents began hurling accusations at me about my

research in Bagram and my reasons for going to Iran. I was dumbfounded. I had defended my

country as a U.S. Marine, served for years as a military contractor, taken two polygraphs in the

years immediately preceding my arrest, and had been arrested, tortured, and sentenced to death

by the government to which the agents now were suggesting I had sought to sell information.

The accusations were ridiculous, offensive, insulting, upsetting, and flat out wrong.

       100.    When the interview concluded, the agents permitted me to leave and never

contacted me again. I was shaken, and am still shaken, by the experience.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.



Executed On: March ____,
                   03/23 2020




                                             Amir Hekmati




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             EXHIBIT B




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                           DECLARATION OF BEHNAZ HEKMATI

       I, Behnaz Hekmati, do hereby state the following facts based on my personal knowledge:

       1.        I am Amir Hekmati’s mother. Amir’s father and I live just outside of

            , where I work as an accountant.

       2.        I was born in Iran in 1956. In 1979, my husband and I immigrated to the United

States on student visas after attending top schools in Tehran, Iran, which then was under the rule

of the Shah. It was a difficult decision to leave our families, but we wanted a better life for

ourselves and for our future family in the United States.

       3.        I have four children—my eldest daughter, Sarah, Amir, his twin sister Leila, and

my youngest son, Omeed. We were living in Arizona when Amir and his sister were born in

1983. At the time, my husband, Ali, was finishing his Ph. D in Microbiology at Arizona State

University. I was completing a B.S. in Accounting. We later moved to Michigan while the

children were still very young.

       4.        Family is very important to me. I’ve tried to instill the importance of family in

my own children. We have no other close relatives in the U.S., so it was important for us to stick

together and support each other.

       5.        I have stayed close with my family in Iran, despite the distance. I was particularly

close with my mother (Amir’s grandmother). She and I spoke frequently right up until her

passing in 2019.

       6.        My mother was a crucial part of my children’s upbringing. After Amir was born,

she lived with us in the U.S. for a year. After that, she came back a number of times for

extended periods during Amir’s childhood, taking care of Amir and his siblings. She acted as a

second mother to Amir, teaching him many things, such as language, during these visits. It was




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always important to me that she play a role in our children’s lives, even though she lived far

away.

        7.      By the mid-1990s, when Amir was a teenager, my mother began suffering from a

number of health problems—thyroid issues, arthritis, morbidity, and, ultimately, stomach

cancer—that made it more difficult for her to visit us. Still, she made an effort to remain an

important part of Amir’s life, as well as of the lives of the rest of my children, speaking regularly

with them on the phone.

        8.      I visited my mother and other family in Iran periodically over the years after her

health issues began. My other children sometimes joined me, but Amir was never able to come.

Initially, I didn’t want him to come because I was concerned that, as a male dual Iranian-

American citizen, he could be conscripted into the Iranian military if he entered the country.

Rules on military service later were relaxed, so that became less of a concern as Amir got older,

but by then he was so busy with work and school, it was difficult for him to take time off. He

was deployed for long periods with the Marines, and even after that, he often traveled for long

stretches for his jobs.

        9.      By late 2010, my mother’s health was steadily declining. I began making plans to

visit Iran again. I urged my children to do the same. It was especially important to me that Amir

make the trip. Amir’s grandfathers in Iran already had passed away, and I was worried that his

grandmother would do the same before Amir had a chance to see her again.

        10.     Amir and I talked regularly in late 2010 and early 2011 about his plans to join our

next trip. He told me that he was excited to go to Iran, see his grandmother and other family,

experience the place where I was born, and visit the cemetery where his grandfather was buried.

We decided that we would go as a family, Amir included, in June or July of 2011, after Amir’s




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job in Iraq was scheduled to end. Amir told me he was applying to several master’s programs in

economics. I was happy to think he would be doing something closer to home, at least for a few

years.

         11.    Plans changed in May 2011, when Amir told me that he received another job offer

that would keep him overseas. He expressed to me that while he wanted to be closer to us and

make the trip with us, this new job presented the possibility of a rewarding step in his career. I

encouraged him to take advantage of the opportunity, as difficult as it was to see him stay abroad

longer and miss our family trip. Amir took the job. My other children and I traveled to Iran in

June to July of 2011, as planned.

         12.    Shortly after Amir started his new job, he told me that he was unhappy. He said

that the job was boring and different from what he expected it would be. He told me that he

didn’t want to delay university for a job like that, and that he wanted to quit. It was hard to hear

him so unhappy. I told him to do what he thought was best for him.

         13.    When I learned that Amir planned to leave his job, I again brought up the subject

of his visiting his grandmother. I encouraged him again to visit his Iranian family, this time

before he came home, since he already was abroad. He agreed that it would probably be his only

opportunity to visit in the short term, given the demands of his upcoming schooling.

         14.    Amir went to Iran in August of 2011. I heard about the details of his trip here and

there directly by telephone and email from Amir and from other relatives. I was grateful to hear

that he was enjoying himself and spending time with my mother.

         15.    Towards the end of his scheduled trip, I learned from family that Amir had been

taken by Iranian officials. We were told almost nothing about his status and for a long time and




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had no idea if he was alive or even where he was being held. I was very afraid for his safety. It

was many months before I could communicate with him at all.

        16.     Eventually, when I was able to speak to Amir by phone, the calls were very

difficult. Some days he sounded optimistic and hopeful for his release, but most days, he would

be angry and frustrated. He would complain about his conditions and treatment. As a mother,

those calls were torture.



        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.



Executed On: March 23, 2020




                                              Behnaz Hekmati




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             EXHIBIT C




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             EXHIBIT D




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          **DOCUMENT UNDER SEAL**


       Hekmati v. The Government of the Islamic Republic of Iran, et al.

                        Case No. 1:16-cv-00875 (ESH)




    EX. B TO PLAINTIFF’S PROPOSED
FINDINGS OF FACT AND CONCLUSIONS OF
  LAW IN SUPPORT OF HIS MOTION FOR
          DEFAULT JUDGMENT


     Expert Report of Dr. Stuart Grassian




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In re: Hekmati v. The Government of the Islamic Republic of Iran
       U.S. Dist. Court, District of Columbia, No. 1:16-cv-875 (D.D.C.)


                            Psychiatric Evaluation of Amir Hekmati


I.     Introduction:

       My name is Stuart Grassian, M.D. I am a Board-certified psychiatrist, licensed to

practice medicine in the Commonwealth of Massachusetts. I have been actively involved in

evaluating and treating patients continuously since 1974. In addition to my clinical work, I also

have extensive experience in evaluating the psychiatric effects of solitary confinement, and in

consulting about these issues to various non-profit organizations. My curriculum vitae is

attached hereto, as is a list of cases since 2009 in which I have testified in court or by deposition.

       At the request of Gilbert LLP, I evaluated Amir Hekmati in relationship to the psychiatric

effects of his imprisonment in Iran from August 29, 2011 until January 17, 2016. As discussed

more fully below, it is my opinion that Mr. Hekmati’s incarceration in Iran has caused him to

suffer severe REDACTED

                                                  Posttraumatic Stress Disorder;

REDACTED




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II.    Qualifications:

       I have had extensive experience in evaluating the psychiatric effects of solitary

confinement, of confinement under the sentence of death, and of harsh and sadistic interrogation

practices.

       My observations and conclusions generally regarding the psychiatric effects of solitary

confinement have been cited in a number of federal court decisions, including Davenport v.

DeRobertis, 844 F.2d 1310 (7th Cir. 1988), Madrid v. Gomez, 889 F. Supp. 1146 (N.D. Cal.

1995), and Davis v. Ayala, 135 S.Ct. 323 (2015), (Kennedy, J. concurring.)

       I prepared a written declaration for Madrid describing the extensive body of literature,

including clinical and experimental literature, regarding the effects of solitary confinement on

prisoners, the historical experience concerning the psychiatric effects of such confinement, as

well as that seen in other conditions of restricted environmental and social stimulation. I

subsequently converted portions of that declaration not specific to any particular prison or inmate

into an article entitled Psychiatric Effects of Solitary Confinement, 22 Wash. U. Journal of Law

& Policy (2006) (“Wash. U. article”). This article is attached hereto and incorporated herein.

       I have given lectures and seminars regarding the effects of restricted environmental

stimulation and of solitary confinement, including lectures at Harvard Medical School-Beth

Israel Hospital, Boston, and at meetings of the Nova Scotia, Virginia, and New York State Bar

Associations, the Office of Military Commissions of the U.S. Department of Defense (re

Guantanamo detainees), the Federal Capital Defenders Habeas Unit, and the Correctional

Association of New York. I have provided invited testimony before state legislative hearings in

New York, Massachusetts, and Maine. I have been retained as an expert in class-action

investigations and lawsuits regarding these issues in Massachusetts (two times), New Jersey,




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New York (three times), California (two times), Kentucky, Michigan, Ohio (two times),

Pennsylvania, Texas, and Florida, as well as in individual cases in those states and others,

including Alabama, Arizona, California, Connecticut, the District of Columbia, Florida, Georgia,

Idaho, Kansas, Kentucky, Louisiana, Maine, Massachusetts, Mississippi, New Mexico, New

York, North Carolina, Oregon, Pennsylvania, Tennessee, Texas, Vermont, Virginia, and the

State of Washington. I have been retained and consulted by a variety of public advocacy groups,

including the Legal Aid Society of New York, Prisoners’ Legal Services of New York, the

Center for Constitutional Rights, the Massachusetts Correctional Legal Services, the

Massachusetts Civil Liberties Union, the National Prison Project of the American Civil Liberties

Union, the Department of Corrections of the State of Florida, and various religious organizations.

       Since the tragic events of September 11, 2001, I have also been consulted regarding the

confinement of a number of individuals who were deemed to be “enemy combatants” and/or

were either charged with or convicted of conspiring against the United States. These include

individuals who were confined in Guantanamo, in the Navy Brig in Charleston, South Carolina,

in the Federal ADX prison in Florence, Colorado, and in the SeaTac facility in Seattle,

Washington, as well as in federal detention centers in New York City and Miami. I have also

provided consultation to the Office of Military Commissions of the U.S. Department of Defense

regarding difficulties encountered in representing detainees who had been confined in solitary

confinement at Guantanamo.

       My involvement in death penalty cases has included both psychiatric evaluation of

inmates in solitary confinement on death row and evaluation of individuals who, now freed, had

been falsely accused and convicted of murder, and had been held in solitary confinement on

death row.




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III.   Involvement in the Present Matter:

       In the present matter, the law firm of Gilbert LLP requested that I evaluate the psychiatric

effects of Mr. Hekmati’s confinement, including in solitary, by the Government of Iran for

approximately four-and-a-half years, from August 29, 2011 until January 17, 2016. My

professional fee for all services—record review, interview, preparation of report, and

testimony—is $500 per hour. My compensation is in no way contingent upon the nature of my

findings, the presentation of my findings in testimony, or the outcome of any proceeding.

       As part of my evaluation, I interviewed Mr. Hekmati for approximately 8.2 hours on

August 13–14, 2016. I have also reviewed the Complaint in this case, as well as a number of

other documents, a list of which is attached hereto. These documents include, among others, the

sworn statements of Mr. Hekmati, as well as of his mother and sister, documents provided to and

by the United Nations during Mr. Hekmati’s incarceration, and a letter from his current treating

psychiatrist. These documents provide a great deal of information regarding the circumstances

of his arrest and incarceration, the various conditions under which he was confined, the death

sentence and subsequent ten year prison sentence he received, and so forth. Since these

documents have been provided to the Court, the information contained in these documents will

not be repeated here except in brief summary form. I am not at this point aware of any other

relevant documents or sources of information, but if any such emerge, I expect to review them

and reserve the right to amend this report accordingly.

IV.    Summary of Psychiatric Diagnoses:

       In my opinion, to a reasonable degree of medical certainty, Mr. Hekmati has suffered

severe REDACTED       psychiatric harm directly caused by his incarceration in Iran from

August 27, 2011 through January 17, 2016.




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        REDACTED




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 Wash. U. article; Psychopathological Effects of Solitary Confinement; 140–11, American Journal of Psychiatry,
1450–1454 (1983).
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REDACTED




       As described in the many documents in this case, Mr. Hekmati experienced exceedingly

harsh conditions of solitary confinement during the 18 months he was confined in Ward 209. He

was housed in a windowless cell. There was no view of the outside world, no books except for

the Koran, no contact with anyone he knew—nothing at all to distract and occupy his mind; the




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cell was brightly lit 24 hours a day or else it was utterly dark for hours at a time when the power

went out.

        What “stimulation” there was was almost entirely noxious. The air was fetid, heavy, and

damp. He was tortured and in almost constant pain. The voices he heard were of sadistic

guards, of his cruel interrogator, and the screams of other inmates being tortured or brought out

to their deaths.

        In both his interview and his declaration, REDACTED

            During his time in solitary confinement, his mind was full of worries that he could not

escape. In our interview, he stated that he saw an image of himself as being in that prison

forever, until he was “an old man”—a “bag of bones”; he couldn’t get the image out of his mind.

He felt panic and became claustrophobic.

        Mr. Hekmati grew increasingly intolerant of the noxious stimuli in Ward 209, such as the

screeching of the wheels of the food cart that the guards pushed by his cell three times a day. He

began having intrusive images of violence: “Violent images started filling my head—images of

how I would torture and murder the guards and my interrogator.” These images became an

obsessive preoccupation: “Those images consumed me, and at times I was unable to think of

anything else.” See Declaration of Amir Hekmati ¶ 48.

        In our interview, Mr. Hekmati described his struggle to maintain his sanity—a regimen of

exercising in his cell and keeping his mind active by reading and rereading the Koran and trying

to memorize the passages. But gradually he was overpowered. To make things worse, prison

officials began giving him sedatives that even further impaired his ability to maintain an

adequate state of alertness. He became confused, lost track of time, stared at the wall all day,




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and then began talking to the walls: “as if they were a family [member] or friend from home.”

Id. ¶ 47.

        He lost his ability to maintain any semblance of structure or purpose; especially after his

captors started giving him sedatives. His life broke down into meals and pills and being lost in a

continual fog. He could not bear it forever. He went on a hunger strike until finally he lost

consciousness and fell, banging his head on the cell floor.

               3.      Conclusion

        Based on the forgoing, it is clear that Mr. Hekmati suffered extreme and long-term

deprivation of environmental stimuli during his 18 months in solitary confinement

REDACTED




                                                        Mr. Hekmati has suffered from severe

        PTSD since his return from Iran in January 2016. REDACTED



               1.      Posttraumatic Stress Disorder (PTSD)

                       A.      Causes and Symptoms

        PTSD is the product of psychological trauma—of an experience so horrifying, so

frightening, that it overcomes the individual’s capacity to cope, reducing him to absolute terror




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and horror, and filling him with abject shame at his utter helplessness and inability to cope. It is

characterized by intrusive images and thoughts of the traumatic event (awake, or asleep in the

form of nightmares); acute physiologic reactions (heart pounding, sweating, dizziness, etc.) to

stimuli reminiscent of the event; increased arousal (a constant state of vigilance, anxiety and

tension, irritability, jumpiness); emotional numbing and depression (an inability to find pleasure

or passion in anything); and avoidance of stimuli reminiscent of the event. PTSD is

characterized as well by feelings of shame and guilt, and not infrequently, it leaves the person

immobilized with depression. Yet despite their underlying distress, individuals with PTSD may

appear to function normally for periods of time, only to become massively symptomatic and

dysfunctional when triggered by reminders of the trauma.

                       B.      Mr. Hekmati’s Experience in Prison Caused Him to Develop
                               PTSD.

       Based upon the information I have reviewed, it is clear that Mr. Hekmati suffered severe

trauma that was extreme and continuous, inevitably causing him to suffer from PTSD.

Mr. Hekmati’s trauma was especially severe during his 18 months in solitary confinement,

particularly the three months during which he believed his execution was imminent. During our

interview, he described the devastating impact of learning of his death sentence: “Disbelief,

anger, anxiety. I started having nightmares, panic attacks. Every time the door opened I would

panic. I saw others taken out screaming to their death. Super vigilant. Every time they asked

me to go to see the doctor I was very hesitant to leave my cell. I’d pace the cell all the time, with

horrific thoughts going through my mind. I imagined going up the stairs to my death, the noose

around my neck, my neck black from the rope, worms coming out of my eye sockets, wondering

how much this is going to hurt. I saw myself dead, lying in the morgue. I paced the cell

thousands of times, pounding the walls.”



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       These horrors continued even after Mr. Hekmati was moved from Ward 209. While he

was incarcerated in Ward 7, his last placement, he was seriously malnourished. He lived in filth

with 20 to 30 inmates packed in a cell, with vermin, with pigeons defecating everywhere, and

with no hot or cold water to clean himself. Lacking heat, air conditioning or ventilation, the

ward was either freezing or oppressively hot. There were bedbugs; the ward was so thick with

them that for amusement the inmates collected the dead ones in a large bottle, and when the

infestation became too bad, the guards sprayed toxic chemicals that sickened the prisoners.

Mr. Hekmati was sick constantly. He suffered recurrent infections and high fevers, but the only

“treatment” offered was an injection of steroids, guaranteed to allow the infection to worsen.

There was a constant threat of violence by prisoner “bosses”; Mr. Hekmati watched prisoners

beaten or their faces slashed.

       He also suffered tremendous psychological anguish upon learning, nearly two years into

his imprisonment, that his father had been diagnosed with brain cancer and had suffered the first

of many strokes just after Mr. Hekmati received his death sentence.

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               Given his intense suffering and his utter helplessness in the face of the brutality




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and helplessness he was experiencing, REDACTED                                                  In

his declaration, he notes that even in the first months of his incarceration, he contemplated

suicide. His life throughout his years of confinement was a constant struggle to survive. Even

after he was able to have some limited communication with his family and learned of efforts to

free him, he never was given any real hope that his confinement—his suffering—would one day

be over. REDACTED                                                          he despaired that he

would not survive long enough to ever leave the hell in which he lived.

       The news of his father’s deteriorating health was particularly devastating; he might never

again see his father alive, and he felt terrible guilt—that his incarceration, and then the death

sentence, had caused his father’s sickness and increasing disability. He was plagued by thoughts

that he had failed his family. REDACTED

               3.      Adjustment Post-Incarceration

       Since Mr. Hekmati’s January 2016 release and repatriation back to his family, he has

experienced symptoms of PTSD, REDACTED




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                                 Stuart Grassian, M.D.
                                    401 Beacon Street
                             Chestnut Hill, MA 02467-3976
                        Phone (617) 244-3315 Fax (617) 244-2792
                                   stgrassian@aol.com

                                                                        Born: June 29, 1946


EDUCATION, TRAINING, FACULTY POSITIONS.

1963-1967    Harvard Club Scholar, Harvard University, Cambridge, MA
1967         B.A. Cum Laude, Harvard University, Cambridge, MA
1967-1969    NIMH Fellow in Sociology, Brandeis University, Waltham, MA
1969         M.A., Sociology, Brandeis University, Waltham, MA
1970         NSF Fellow in Psychiatry, Bellevue Hospital, NY
1973         M.D., New York University School of Medicine, NY
1973-1974    Intern (Medicine), New York University Medical Center, NY
1974-1977    Resident in Psychiatry, Beth Israel Hospital, Boston, MA.
             Teaching Fellow in Psychiatry, Harvard Medical School.
1977-2003    Clinical Instructor in Psychiatry, Harvard Medical School.
1978-1980    Assistant Clinical Professor of Psychiatry, Tufts University School of Medicine.
1982-1986    Suffolk University Law School; J.D. 1986; Daniel Fern Award.
1986         Bar Examination completed; entry into Massachusetts Bar. (remain on “retired”
             status through present.)

LICENSURE.

1974-        Massachusetts Medical License #37749.

BOARD CERTIFICATIONS

1979         Diplomate, American Board of Psychiatry and Neurology (ABPN) in
             Psychiatry.
1994         Diplomate Certification, ABPN, Added Qualifications in Addiction
             Psychiatry.
1996         Diplomate Certification, ABPN, Added Qualifications in Forensic
             Psychiatry

MAJOR PROFESSIONAL ACTIVITIES

1977 -       Private practice in Psychiatry: Cambridge, MA (1977-1979),
             Chestnut Hill, MA (1979- ), Stoneham, MA (1980-2003)
1977-1978    Clinical Director, Inpatient Service, Dorchester Mental Health
             Center, Boston, MA
1978-1980    Director, Inpatient Service, WestRosPark Mental Health Center,




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             Boston, MA
1979-1983    Medical Staff, Lecturer, Glover Memorial Hospital, Needham, MA
1980-1994    Attending Psychiatrist, Adult & Adolescent Inpatient Services, New
             England Memorial Hospital, Stoneham, MA
1980-1983    Director, Adult & Adolescent Inpatient Services, Department of
             Psychiatry, New England Memorial Hospital, Stoneham, MA
1983-1994    Attending Psychiatrist, Addictions Treatment Unit, New England
             Memorial Hospital, Stoneham, MA
1987-1993    Supervising Psychiatrist, Outpatient Department, New England
             Memorial Hospital, Stoneham, MA
1992-1994    Psychiatric Director, Partnership Recovery Center, Melrose-
             Wakefield Hospital, Melrose, MA (Day treatment program for
             Addiction rehabilitation)


CONSULTATIONS, AFFILIATIONS, BOARD MEMBERSHIPS

1979-        Massachusetts Correctional Legal Services. (Psychiatric Effects
             of Solitary Confinement, Psychiatric Effects of Strip Search Procedures)
1980-        Massachusetts Civil Liberties Union. (Psychiatric Effects of Strip
             Search Procedures, Psychiatric Effects of Solitary Confinement)
1993-4       Massachusetts Department of Corrections, Stress Management
             Unit. (Occupational Stress among Correctional Staff)
1993-4       Board of Trustees, New England Memorial Hospital, Stoneham, MA.
1995         Consultation to Psychiatric Expert/Special Master; Madrid v Gomez
             Federal District Court, Northern District, CA #C-90-3094TEH.
             (Psychiatric Effects of Solitary Confinement)
1995-        Consultant to Massachusetts Professional Recovery Committee,
             and to Substance Abuse Rehabilitation Program of the Massachusetts Board of
             Registration in Nursing. (Addictive Disorders, Impaired professionals)
1997         Botech Corporation, Cambridge, MA. (Effects of Solitary Confinement)
1998         Psychiatric Expert in Compliance Monitoring; Eng v Coombe
             Federal Dist. Ct, W.D.NY, CIV #80-385-S. (Effects of Solitary Confinement,
             mental health care provided)
2000-2       The Desisto School, Lenox MA
2001-        Consultant, Florida Department of Corrections. (Solitary Confinement
             and Mental Health Issues in Florida State Prisons.)
2001- 2      Board of Advisors, Correctional Association of New York, (Mental Health
             Issues in New York State Prisons).
2002-4       Board of Directors, Massachusetts 9/11 Fund.
2002-4       American Boyschoir School, Princeton, NJ.
2002-3       Poly Prep School, Brooklyn, NY.
2009.        U.S. Department of Defense, Office of Military Commissions. Effects of
             Confinement on Guantanamo Detainees, Arlington, Va,.
2010         Texas ACLU. Expert in K.C. v. Townsend, challenging conditions in state’s
             adolescent female detention facility.




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2012-        Advisory Committee. New York State Commission on Quality of Care and
             Advocacy for Persons with Disabilities) . (Since renamed as – New York Justice
             Commission.
2013-        U.S. Dept. of Justice (US DOJ) – Conditions of confinement, mental health care
             in Pennsylvania’s Prison System.
2013-        Kentucky Children’s Law Center and U.S. Dept of Justice – Conditions of
             confinement, mental health care in Ohio’s Juvenile Justice System.
2015-        New York ACLU – Solitary Confinement, Mental Health Issues at Rikers.
2015-        Texas ACLU et al. – Solitary Confinement, Mental Health Issues in Texas.
2015-        John Jay College of Criminal; Justice, New York – Administrative Segregation.
2015-        US DOJ – National Institute of Justice – Working Group on Administrative
             Segregation.



PROFESSIONAL SOCIETY/COMMITTEE/STAFF MEMBERSHIPS

1974-2003.   Member, American Psychiatric Association &
             Massachusetts Psychiatric Society
               Committee Memberships.
                    Inpatient Psychiatry Committee (1981-1984)
                    Private Practice Committee (1992-1995)
                    Chair, Presidents Task Force on Managed Care (1993-1994)
                    Steering Committee, Managed Care Retreat (1993-1994)
1974-1977    Resident in Psychiatry, Beth Israel Hospital, Boston, MA.
                    Clinical Fellow in Psychiatry, Harvard Medical School.
1977-2003    Courtesy Staff, Beth Israel Hospital, Boston, MA
             Assistant in Psychiatry (1977-1991)
             Associate in Psychiatry (1991-2003)
             Clinical Instructor in Psychiatry, Harvard Medical School.
1980-1999    Active Staff, Boston Regional Medical Center, Stoneham, MA
              Committee Memberships
                    Credentials Committee (1986-1990)
                    Chair, Bylaws Committee (1987-1990)
                    Medical Staff Executive Committee (1989-1992)
              Chief of Staff (1990-1992)
              Board of Trustees (1990-1992)
1992-2012    Active/Courtesy Staff, Melrose-Wakefield Hospital, Melrose, MA
1993-2000    Psychiatric Network of Massachusetts
                Committee Memberships
                    Steering Committee (1993-1994)
                    Chairman, Board of Directors (1994-1995)

AWARDS

2005.        National Alliance for the Mentally Ill (NAMI). Exemplary Psychiatrist Award,




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            Presented at Annual Meeting, American Psychiatric Association, May 2005.




TEACHING APPOINTMENTS, PRESENTATIONS

1967        Teaching Fellow, Harvard Graduate School of Education,
            Cambridge, MA
1967-1969   Teaching Fellow, Department of Sociology, Brandeis University,
            Waltham, MA
1973        Clinical Fellow in Psychiatry, New York University Medical Center,
            New York, NY
1974-1977   Clinical Fellow in Psychiatry, Harvard Medical School, Boston, MA
1975-1976   Consultant and Lecturer, Human Resources Institute, Brookline, MA
1977-2003   Clinical Instructor, Department of Psychiatry, Harvard Medical
            School, Boston, MA
1978-80     Assistant Clinical Professor, Department of Psychiatry, Tufts
            University Medical Center, Boston, MA
1987        Faculty, Third International Conference on Restricted
            Environmental Stimulation, New York, NY: “Effect of REST In
            Solitary Confinement and Psychiatric Seclusion”
1987        Guest Lecturer, Suffolk University School of Law, Boston, MA:
            “Commitability and the Right to Refuse Treatment”
1988        Faculty, 32nd Institute on Hospital and Community Psychiatry,Boston, MA
1990        Massachusetts Bar Association Symposium, Boston, MA.
            “Drugs and Alcohol on Campus”
1992        Faculty, American Academy of Psychiatry and Law, Boston, MA:
            “Effects of Childhood Sexual Abuse”
1993        Faculty, Massachusetts Department of Corrections Stress Unit,
            Statewide Seminar, MA: “Stress Awareness for Managers”
1993        Massachusetts Continuing Legal Education Seminar, Boston, MA:
            “Psychiatric Effects of Physical and Sexual Assault”
1994        Massachusetts Academy of Trial Attorneys Seminar, Boston, MA:
             “Psychiatric Evaluation of Victims of Violent Crime”
1994        Beth Israel Hospital/Harvard Medical School, Boston, MA:
            “Psychiatric Consequences of Solitary Confinement; “Effects of Sensory
            Deprivation and Social Isolation in a Vulnerable Population”
1994        Massachusetts Medical Society, Committee on Managed Care,
            Waltham, MA: “Ethics of Managed Care”
1994        Prison Psychiatric Group, Albany, NY: “Criminality and Mental
            Illness, Revisited: Disorders of Volition”. (Lecture sponsored
            by Pfizer Pharmaceuticals)
1995        Suffolk University Advanced Legal Studies, Boston, MA: “Sexual
            Abuse: Memory, Truth and Proof”
1995        Massachusetts Association of Trial Attorneys Seminar, Boston, MA:




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          “Premises Liability/Negligent Security: Psychiatric Testimony and
          the Role of the Psychiatric Expert”
1996      New England Society for the Study of Dissociation, McLean Hospital, Belmont,
          MA: “Impact of Forensic Issues on Treating Victims of Violence”
1996      Harvard Medical School, Children’s Hospital Family Violence
          Seminar, Boston, MA: “Trauma and Memory”
1996      Trauma and Memory: An International Research Conference, Durham, NH:
          “Factors Distinguishing True and False Memory of Childhood Sexual Abuse”
1996      Trauma and Memory: An International Research Conference,
          Durham, NH: “Memory of Sexual Abuse by a Parish Priest”
1997      Correctional Association of New York, NY: “Psychiatric Effects of
          Solitary Confinement”.
1998      Massachusetts Board of Registration in Medicine and Northeastern University
          Conference, Substance Abuse and The Licensed Professional, Boston, MA:
          “Addictions and Compulsions: Disorders of Volition”
2000      Human Rights Watch and American Civil Liberties Union Foundation
          Conference. Washington. D.C. “Super-Maximum Security Confinement in the
          United States.”
2003      Capital Habeus Unit Training Conference of the Defender Services
          Division of the United States Courts, San Antonio, TX. (death row confinement
          and its effects on post-conviction appeal process.)
2003      NAACP Legal Defense Fund Conference, Airlie, VA. -
          mental health issues and solitary confinement of prisoners.
2005      Vera Institute. National Commission on Safety and Abuse in Prisons. Newark, NJ
          July 2005. Effects of Isolation.
2005.     NAACP Legal Defense Fund, Airlie Conference, Va. July 2005.
          “’Volunteers’ in Death Row”.
2006      University of California at Davis, Symposium - The Neurobiology of Torture.
          “What is Known about the Neurobiological Effects of Solitary Confinement.”
2009      Keynote Address. Nova Scotia Barristers’ Society. “Psychiatric Effects of
          Solitary Confinement”.
2010      “Psychiatric Effects of Solitary Confinement”. Presentation at Virginia Bar
          Association Meeting, Richmond, VA.
2010      Harvard Prisoners Legal Assistance Project. Invited lecture regarding psychiatric
          effects of confinement and impact on advocacy.
2010      Discussant, Annual Meeting of American Psychological Association,
          San Diego, CA. The Colorado Study - “One Year Longitudinal Study of the
          Psychological Effects of Administrative Segregation.”
2012      Civil Rights Committee, New York State Bar Association. “Psychiatric Effects
          of Solitary Confinement”.
2012      Columbia University, “Incarceration and Isolation: A Workshop”. Joint Meeting
          with the Liman Public Interest Program at Yale Law School, and the Lowenstein
          International Human Rights Clinic at Yale Law School
2013-     National Religious Coalition Against Torture, – consultant, panelist, etc.
          regarding solitary confinement and mental health issues in prison.
2016      American Correctional Association conference: “Pathways to Reform”.




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MEDIA, PUBLIC AFFAIRS PRESENTATIONS

1988           NBC-TV, Today Show “Small Group Confinement of Female
               Political Prisoners at the Federal Penitentiary in Lexington, KY”
1990           NPR-TV, News Interview Program: “Psychiatric Effects of Small Group
               Confinement”
1990           PBS-TV, Point of View “Through the Wire”, Documentary regarding women
               confined for politically motivated crimes
1991           WBZ-TV, Boston, MA: Channel 4 Nightly News “Statute of
               Limitations on Cases of Childhood Sexual Abuse”
1992           Boston Globe, New York Times, etc.: “Effects of Childhood
               Sexual Abuse by a Catholic Priest”
1992           Boston Globe, New York Times, San Francisco Chronicle,
               Los Angeles Times, etc.: “Psychiatric Effects of Solitary Confinement”
1993           New England Cable News, Newton, MA: Commentator regarding
               insanity defense in Kenneth Sequin trial
1993           Massachusetts House of Representatives, Judiciary Committee testimony:
               Proposed change in Statute of Limitations in cases of childhood sexual abuse
1993           CBS-TV, 60 Minutes “Pelican Bay – Psychiatric Effects of Solitary
               Confinement in California’s High-Tech Maximum Security Prison”
1993           New England Cable News, Newton, MA: News Night “False
               Memory and Recovered Memory of Childhood Sexual Abuse”
1993           WCVB-TV, Boston, MA: Chronicle “Sentencing of Father Porter –
               The Effect on the Victims”
1994           WHDH-TV, Boston, MA: Boston Common “False Memory Syndrome”.
1994           FOX-TV, Boston, MA: At Issue “Psychiatric Effects of Solitary Confinement”
1996           New England Cable News, Newton, MA: News Night “The Insanity Defense”
1998           ABC-TV, Nightline with Ted Koppel; Primetime Live “Crime and Punishment”
1998           WBZ-TV, Boston, MA: Channel 4 Nightly News “Perpetrators of Sexual Abuse:
               Dangers to the Community”
1999           ABC-TV, 20/20 “Effects of Solitary Confinement”
2003           Discovery Channel. “Mohammed Atta: Profile of a Terrorist”.
2003           Invited Testimony, Joint Legislative Hearing, New York State Assembly, New
               York City, November 2003. “Disciplinary Confinement and Treatment of Prison
               Inmates with Serious Mental Illness.”
2004           Invited Testimony, Massachusetts State Legislature. Joint Committee on Public
               Safety. “The Cost of Corrections”.
2010           Invited Testimony, Maine State Legislature: “Solitary Confinement in Maine.”
2010           National Geographic Television: Explorer: “Solitary Confinement”.
2011           National Religious Campaign Against Torture. “Solitary Confinement”.
2013           Rock Center with Brian Williams. “Juveniles in Adult Prisons” with Ted Koppel.

(Due to the extensive public interest in the issue of solitary confinement, I have also provided
interviews and contributions to a number articles in various newspapers, magazines, and radio
and television news reports and documentaries; I have not been able to keep up a catalogue of




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these, though they certainly include The Boston Globe, The New York Times, The Los Angeles
Times, The San Francisco Chronicle, The Denver Post, The Christian Science Monitor, New
Yorker Magazine, and National Public Radio, as well as others.


MAJOR INTERESTS IN FORENSIC PSYCHIATRY


1. Psychiatric Effects of Solitary Confinement

I have had extensive experience in evaluating the psychiatric effects of stringent conditions of
confinement and the mental health care afforded inmates and detained juveniles so confined. I
have served as an expert in a number of both individual and class-action lawsuits addressing
these issues. My observations and conclusions regarding the psychiatric effects of such
confinement have been cited in a number of federal court decisions, for example: Davenport v.
DeRobertis, 844 F.2d 1310 (7th Cir. 1988), Coleman v. Wilson 912 F.Supp.1282 (E.D.Cal,
1995), affirmed in 2011 by the U.S. Supreme Court sub. nom. Brown v. Plata, and Madrid v.
Gomez, 889 F. Supp. 1146 (N.D. Cal. 1995)

 I prepared a written declaration for Madrid describing the medical literature and historical
experience concerning the psychiatric effects of restricted and isolated conditions of confinement
as well as of other conditions of restricted environmental and social stimulation, and
subsequently prepared the general (non-institution specific) and non-redacted (non-inmate
specific) portions of that declaration into a general statement, which I have entitled Psychiatric
Effects of Solitary Confinement, 22 Wash. University Journal of Law and Policy, (2006). It
describes the extensive body of literature, including clinical and experimental literature,
regarding the effects of decreased environmental and social stimulation, and more specifically,
observations concerning the effects of segregated confinement on prisoners.

I have given lectures and seminars regarding these issue. Although I do not have a complete list
of those lectures and seminars, they include, but are not limited to, lectures at Harvard Medical
School-Beth Israel Hospital, Boston, at meetings of the Nova Scotia, Virginia and New York
State Bar Associations, The Office of Military Commissions of the U.S. Department of Defense,
The Federal Capital Defenders Habeas Unit and The Correctional Association of New York, as
well as invited testimony before state legislative hearings in New York, Massachusetts and
Maine. In addition, I was recently appointed as a consultant to the Psychiatric Correctional
Advisory Committee of the New York State Commission on Quality of Care and Advocacy for
People with Disabilities (more recently renamed The New York State Justice Commission.)

I have been retained as an expert in class-action lawsuits regarding these issues in Massachusetts
(2), New York (3), California (2), Kentucky, Michigan, New Jersey, Ohio (2), Texas and Florida,
as well as individual cases in other states, including California, Connecticut, Florida, Georgia,
Maine, Massachusetts, New Mexico, New York, Oregon, Pennsylvania, Texas, Virginia and the
State of Washington. I have been retained and consulted by a variety of public advocacy groups,
including The United States Department of Justice (DOJ), The Legal Aid Society of New York,
Prisoner's Legal Services of New York and of Massachusetts, the Center for Constitutional




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Rights, The Massachusetts Civil Liberties Union, the National Prison Project of the American
Civil Liberties Union, and the Department of Corrections of the State of Florida. I was a
psychiatric expert for the DOJ in its evaluation of the Pennsylvania prison system, and had a
similar role in Ohio regarding juvenile facilities.

Since the tragic events of September 11, 2001, I have also been consulted regarding the
confinement of a number of individuals who were deemed to be “enemy combatants” and/or
were either charged with or convicted of conspiring against the United States. These include
individuals who were confined in Guantánamo, in the Navy Brig in Charleston, S.C., in the
Federal ADX prison in Florence, Colorado and in the SeaTac facility in Seattle, Washington, as
well as in federal detention centers in New York City and Miami, Florida. Decisions in some of
those cases, and my published findings, have been cited in Federal Appellate decisions, and have
also generated significant national media interest.

Issues have included: mental illness among inmates so confined and psychiatric decompensation
as a result of such confinement; adequacy of mental health evaluation, monitoring and
treatment; effect on ability to assist in inmate’s own legal defense (both pretrial and
postconviction); “volunteering” for execution; impact on inmate’s ability to cooperate with
government in debriefing and testifying. Additionally, I have been consulted in a number of
cases involving detention (at Guantanamo, Charleston S.C. Naval Brig, and various Federal
Detention Centers) of accused terrorists.

The 1983 American Journal of Psychiatry article listed below described the paradigmatic
neuropsychiatric syndrome associated with solitary confinement. A more extensive review of
the literature, including clinical and experimental literature concerning the effects of decreased
environmental and social stimulation, as well as specifically, observations concerning the effects
of segregated confinement on prisoners, is contained in he 2006 Washington University article
listed below.

       Peer-Reviewed Medical Publications:
“Psychopathological Effects of Solitary Confinement”, Am J Psychiatry 140:11, 1983.
“Effects of Sensory Deprivation in Psychiatric Seclusion and Solitary Confinement”, Intl J Law
& Psychiatry 8:49, 1986.

        Law Journals:
“Psychiatric Effects of Solitary Confinement”, Washington Univ. Journal of Law & Policy Vol
22: pp. 325-383, 2007.

       Book Chapter:
“Neuropsychiatric Effects of Solitary Confinement” in Ojeda, ed., The Trauma of
 Psychological Torture, Praeger, Westport Conn., 2008.

        On-Line Publications:
“’Fatal Flaws’ in the Colorado Solitary Confinement Study”. In Solitary Watch; Posted
November 15, 2010




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2. Trauma, Including Strip Search Procedures, Sexual and Physical Assault

Psychiatric expert in a number of strip search cases in Federal and Massachusetts state courts.
Testimony in Boston’s Federal District was cited by the Federal Appeals Court in affirming
damages verdict in Cole v Snow. Consulted in settlement of three class action suits.

Psychiatric expert in cases of rape, sexual and physical assault. Substantial experience in
evaluating the effects of childhood sexual abuse, and the processing over time of memories of
that abuse. Evaluated approximately 100 victims of childhood sexual abuse, including many of
the plaintiffs in the clergy sex abuse scandals in Massachusetts. Consulted to private schools
around such issues.

       Research and Presentations:

Principal Investigator, Beth Israel Hospital, Department of Psychiatry, Boston, MA.
“Psychiatric and Addictive Problems in Survivors of Childhood Sexual Abuse Perpetrated by
Father Porter.”
“Vicissitudes of Memory of Childhood Trauma”.

With Joseph De Rivera, Ph.D.: “Recovery of Memory of Childhood Sexual Abuse and Creation
of False Memories; Can These Processes be Distinguished?”.

Presented at various for above, including International Conference at University of New
Hampshire, and Seminar at Suffolk University Law School.


3. Addictive Disorders.

Testimony in a number of criminal and civil cases. My testimony in a highly publicized Texas
Federal Court case, In re, Cockrum, helped to establish that an individual who was otherwise
highly competent, was not competent to act in his own behalf in appealing his murder
conviction, as a result of an underlying addictive disorder and suicidal compulsion.



4. Civil Rights Issues
Expert in a number of cases regarding racial and sexual harassment in employment and housing
situations, including cases brought by Civil Rights Division of the United States Department of
Justice, and by Greater Boston Legal Services, and in strip search procedures by law
enforcement and prison personnel.




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                             Testimony List 2012-2016

Testimony in 2012

Slevin v. BOCC for Dona Ana County, USDistCt, NM, Civ No. 08-01185 MV/DJS,
     Trial testimony, January 2012.
Cady v. Cumberland County Jail et. al. US Dist. Ct. Maine, 2:10-cv-00512-GZS.
     Deposition testimony, February, 2012.
Richard v.Hinshaw et al.: US Dist. Ct., District of Kansas, 09-1278-WEB-KMGH.
     Deposition testimony, October and December 2012.


Testimony in 2013

Tate v. Starks, et al., USDistCt. Northern Dist Mississippi, Greenville Division
      Civil No. 4:08CV73-WAP-DAS. Trial testimony January 2013.
Bar Counsel v. John C. Bartley, Massachusetts Board of Bar Overseers,
      BBO File No. C1-08-0262. Hearing Testimony, February 2013.
Caine v. Burge. US Dist. Ct., Northern Dist.0f Illinois, Case No. 11-8996. May 2013;
      Deposition Testimony.
Monsalve v. Lappin et. al. US Dist Ct., SD NY, 1:4-CV-07312 LAK-DCF. Deposition
     testimony. October 2013.
Richard v. Hinshaw et al. US Dist Ct. District of Kansas, 09-1278-WEB-KGMH.
      Daubert Hearing, December 2013.


Testimony in 2014

Stiles v. Grady, et al., U.S.Dist Ct. Middle Dist Florida, Tampa Division, Case No 8:12 –
        cv-2375-T-27EAJ. Deposition Testimony, February 2014.
Mario Aguilar v. Billy Roberts, et al,, Commonwealth of Kentucky, Franklin Circuit
John C. Ruiz-Bueno, III, et al., vs. Franklin County Sheriff Zach Scott, et al.
        U.S. Dist. Ct, Southern Dist.Ohio, Eastern Division, Case No. 2:12-CV-00809.
        Deposition Testimony, April 2014. (Joseph Russell, Atty.)
State of Washington v. Jimi Hamilton; Trial Testimony September 2014.
        Sup Ct, Snohomish County, Washington. No. 12-1-01937-6 (Jennifer
        Rancourt, Attorney)




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Testimony in 2015

Vasquez v. Vargas, et al. U.S.Dist.Ct, New Mexico, Civ. No. 14-25JB?GBW.
        Deposition Testimony, April 2015. (Matthew Coyte, Attorney)
Arizona v. Rushing, Arizona Superior Court, Maricopa County,
        No. CR-2010-007882-001, Trial Testimony, July 2015 (Randall Craig, Atty.)
In re. Christopher Berry, Aoolication for Parole; Hearing Testimony,
        11/2015. (Melissa Dineen, Attorney)

Testimony in 2016

North Carolina v. Anthony, NC. Sup.Ct., Pitt County, Nos.12CRS52712,52713,52715.
       (Trial Testimony, April 2016; Terry Alford, Attorney.)
Arizona v. Vanwinkle, Arizona Sup. Ct., Maricopa County, CR-2008-128068-001DT.
       (Trial Testimony, April 2016, Gil Levy, Attorney.)
Anderson v.Brennan, US Dist Ct, Massachusetts, Civil No. 14-13380-PBS.
       (Deposition Testimony, April 2016, James Brady, Attorney.)
Lawson v. FMR LLC, et. al., US Dist Ct, Massachusetts, Civil No. 1:08-cv-10466 DPW
       (Deposition Testimony, 04/12/206, Laura Studen, Attorney)
Abila v. Funk, et. al. US Dist Ct., New Mexico, CV-2014-2129
       (Deposition Testimony, 06/20/2016. Matt Coyte, Atty.)




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Washington University Journal of Law & Policy
Volume 22 Access to Justice: The Social Responsibility of Lawyers | Prison Reform: Commission on Safety and
Abuse in America's Prisons


2006

Psychiatric Effects of Solitary Confinement
Stuart Grassian




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                    Psychiatric Effects of Solitary Confinement †

                                               Stuart Grassian *

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                † This article was prepared from a statement given to the Commission on Safety and
          Abuse in America’s Prisons. As the article is an overview of the psychiatric effects of
          confinement throughout history it is not fully footnoted
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                                              PREFACE

              Dr. Grassian is a Board Certified Psychiatrist who was on the
          faculty of the Harvard Medical School for over twenty-five years. He
          has had extensive experience in evaluating the psychiatric effects of
          solitary confinement, and in the course of his professional
          involvement, has been involved as an expert regarding the psychiatric
          impact of federal and state segregation and disciplinary units in many
          settings. His observations and conclusions regarding this issue have
          been cited in a number of federal court decisions. The following
          statement is largely a redacted, non-institution and non-inmate
          specific, version of a declaration which was submitted in September
          1993 in Madrid v. Gomez. 1 To enhance the readability of this
          statement, much of the supporting medical literature is described in
          the appendices to the statement.

                                            I. OVERVIEW

              Solitary confinement—that is the confinement of a prisoner alone
          in a cell for all, or nearly all, of the day with minimal environmental
          stimulation and minimal opportunity for social interaction—can
          cause severe psychiatric harm. It has indeed long been known that
          severe restriction of environmental and social stimulation has a
          profoundly deleterious effect on mental functioning; this issue has
          been a major concern for many groups of patients including, for
          example, patients in intensive care units, spinal patients immobilized
          by the need for prolonged traction, and patients with impairment of


               1   889 F Supp 1146 (N D Cal 1995), rev’d and remanded, 150 F 3d 1030 (9th Cir
          1998)



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            their sensory apparatus (such as eye-patched or hearing-impaired
            patients). This issue has also been a very significant concern in
            military situations, polar and submarine expeditions, and in
            preparations for space travel.
                The United States was actually the world leader in introducing
            prolonged incarceration, and solitary confinement, as a means of
            dealing with criminal behavior. The “penitentiary system” began in
            the United States, first in Philadelphia, in the early nineteenth
            century, a product of a spirit of great social optimism about the
            possibility of rehabilitation of individuals with socially deviant
            behavior. 2 The Americans were quite proud of their “penitentiary
            system” and they invited and encouraged important visitors from
            abroad to observe them. 3 This system, originally labeled as the
            “Philadelphia System,” involved almost an exclusive reliance upon
            solitary confinement as a means of incarceration and also became the
            predominant mode of incarceration, both for post conviction and also
            for pretrial detainees, in the several European prison systems which
            emulated the American model. 4
                The results were, in fact, catastrophic. The incidence of mental
            disturbances among prisoners so detained, and the severity of such
            disturbances, was so great that the system fell into disfavor and was
            ultimately abandoned. During this process a major body of clinical
            literature developed which documented the psychiatric disturbances
            created by such stringent conditions of confinement. 5
                The paradigmatic psychiatric disturbance was an agitated
            confusional state which, in more severe cases, had the characteristics
            of a florid delirium, characterized by severe confusional, paranoid,
            and hallucinatory features, and also by intense agitation and random,
            impulsive, often self-directed violence. Such disturbances were often


                  2 An excellent history of the Philadelphia System is found in NORMAN JOHNSTON ET
            AL , EASTERN STATE PENITENTIARY: CRUCIBLE OF GOOD INTENTIONS (1994)
                  3 See DAVID ROTHMAN, THE DISCOVERY OF THE ASYLUM 81 (1971); see also
            GUSTAVE DE BEAUMONT & ALEXIS DE TOCQUEVILLE, ON THE PENITENTIARY SYSTEM IN THE
            UNITED STATES AND ITS APPLICATION IN FRANCE, http://www law du edu/sterling/Content/
            ALH/Tocqueville_Pen pdf; CHARLES DICKENS, AMERICAN NOTES AND PICTURES FROM ITALY
            (Leonee Ormond ed , Everymans Library 1997) (1842)
                  4 ROTHMAN, supra note 3, at 96–101
                  5 See Appendix D (describing this literature)



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          observed in individuals who had no prior history of any mental
          illness. In addition, solitary confinement often resulted in severe
          exacerbation of a previously existing mental condition. Even among
          inmates who did not develop overt psychiatric illness as a result of
          solitary confinement, such confinement almost inevitably imposed
          significant psychological pain during the period of isolated
          confinement and often significantly impaired the inmate’s capacity to
          adapt successfully to the broader prison environment.
              It is both tragic and highly disturbing that the lessons of the
          nineteenth century experience with solitary confinement are today
          being so completely ignored by those responsible for addressing the
          housing and the mental health needs in the prison setting. For, indeed,
          the psychiatric harm caused by solitary confinement had become
          exceedingly apparent well over one hundred years ago. Indeed, by
          1890, with In re Medley, 6 the United States Supreme Court explicitly
          recognized the massive psychiatric harm caused by solitary
          confinement:
             This matter of solitary confinement is not . . . a mere
             unimportant regulation as to the safe-keeping of the prisoner
             ....
                 . . . [E]xperience [with the penitentiary system of solitary
             confinement] demonstrated that there were serious objections
             to it. A considerable number of the prisoners fell, after even a
             short confinement, into a semi-fatuous condition, from which it
             was next to impossible to arouse them, and others became
             violently insane; others, still, committed suicide; while those
             who stood the ordeal better were not generally reformed, and
             in most cases did not recover sufficient mental activity to be of
             any subsequent service to the community. 7
             The consequences of the Supreme Court’s holding were quite
          dramatic for Mr. Medley. Mr. Medley had been convicted of having
          murdered his wife. Under the Colorado statute in force at the time of
          the murder he would have been executed after about one additional


              6   134 U S 160 (1890)
              7   Id at 167–68



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            month of incarceration in the county jail. But in the interim between
            Mr. Medley’s crime and his trial the Colorado legislature had passed
            a new statute which called for the convicted murderer to be, instead,
            incarcerated in solitary confinement in the state prison during the
            month prior to his execution. 8 Unhappily, when the legislature passed
            the new law it simultaneously rescinded the older law without
            allowing for a bridging clause which would have allowed for Mr.
            Medley’s sentencing under the older statute. 9
                 Mr. Medley appealed his sentencing under the new statute,
            arguing that punishment under this new law was so substantially
            more burdensome than punishment under the old law as to render its
            application to him ex post facto. 10 The Supreme Court agreed with
            him, even though it simultaneously recognized that if Mr. Medley
            was not sentenced under the new law, he could not be sentenced at
            all. 11 Despite this, the Court held that this additional punishment of
            one month of solitary confinement was simply too egregious to
            ignore; the Court declared Mr. Medley a free man, and ordered his
            release from prison. 12
                 Dramatic concerns about the profound psychiatric effects of
            solitary confinement have continued into the twentieth century, both
            in the medical literature and in the news. The alarm raised about the
            “brain washing” of political prisoners of the Soviet Union and of
            Communist China—and especially of American prisoners of war
            during the Korean War—gave rise to a major body of medical and
            scientific literature concerning the effects of sensory deprivation and
            social isolation, including a substantial body of experimental
            research. 13
                 This literature, as well as my own observations, has demonstrated
            that, deprived of a sufficient level of environmental and social
            stimulation, individuals will soon become incapable of maintaining
            an adequate state of alertness and attention to the environment.


                8 Id at 162–63
                9 Id at 166
               10 Id at 162
               11 Id at 166
               12 Id at 174
               13 THE MANIPULATION OF HUMAN BEHAVIOR 2–3, 35 (Albert D Biderman & Herbert
            Zimmer eds , 1961)


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          Indeed, even a few days of solitary confinement will predictably shift
          the electroencephalogram (EEG) pattern toward an abnormal pattern
          characteristic of stupor and delirium.
              This fact is not surprising. Most individuals have at one time or
          another experienced, at least briefly, the effects of intense monotony
          and inadequate environmental stimulation. After even a relatively
          brief period of time in such a situation an individual is likely to
          descend into a mental torpor or “fog,” in which alertness, attention,
          and concentration all become impaired. In such a state, after a time,
          the individual becomes increasingly incapable of processing external
          stimuli, and often becomes “hyperresponsive” to such stimulation.
          For example, a sudden noise or the flashing of a light jars the
          individual from his stupor and becomes intensely unpleasant. Over
          time the very absence of stimulation causes whatever stimulation is
          available to become noxious and irritating. Individuals in such a
          stupor tend to avoid any stimulation, and withdraw progressively into
          themselves and their own mental fog.
              An adequate state of responsiveness to the environment requires
          both the ability to achieve and maintain an attentional set and the
          ability to shift attention. The impairment of alertness and
          concentration in solitary confinement leads to two related
          abnormalities: the inability to focus, and the inability to shift
          attention. The inability to focus (to achieve and maintain attention) is
          experienced as a kind of dissociative stupor—a mental “fog” in
          which the individual cannot focus attention, and cannot, for example,
          grasp or recall when he attempts to read or to think.
              The inability to shift attention results in a kind of “tunnel vision”
          in which the individual’s attention becomes stuck, almost always on
          something intensely unpleasant, and in which he cannot stop thinking
          about that matter; instead, he becomes obsessively fixated upon it.
          These obsessional preoccupations are especially troubling.
          Individuals in solitary confinement easily become preoccupied with
          some thought, some perceived slight or irritation, some sound or
          smell coming from a neighboring cell, or, perhaps most commonly,
          by some bodily sensation. Tortured by it, such individuals are unable
          to stop dwelling on it. In solitary confinement ordinary stimuli
          become intensely unpleasant and small irritations become
          maddening. Individuals in such confinement brood upon normally

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            unimportant stimuli and minor irritations become the focus of
            increasing agitation and paranoia. I have examined countless
            individuals in solitary confinement who have become obsessively
            preoccupied with some minor, almost imperceptible bodily sensation,
            a sensation which grows over time into a worry, and finally into an
            all-consuming, life-threatening illness.
                Individuals experiencing such environmental restriction find it
            difficult to maintain a normal pattern of daytime alertness and
            nighttime sleep. They often find themselves incapable of resisting
            their bed during the day—incapable of resisting the paralyzing effect
            of their stupor—and yet incapable of any restful sleep at night. The
            lack of meaningful activity is further compounded by the effect of
            continual exposure to artificial light and diminished opportunity to
            experience natural daylight. And the individual’s difficulty in
            maintaining a normal day-night sleep cycle is often far worsened by
            constant intrusions on nighttime dark and quiet, such as steel doors
            slamming shut, flashlights shining in their face, and so forth.
                There are substantial differences in the effects of solitary
            confinement upon different individuals. Those most severely affected
            are often individuals with evidence of subtle neurological or attention
            deficit disorder, or with some other vulnerability. These individuals
            suffer from states of florid psychotic delirium, marked by severe
            hallucinatory confusion, disorientation, and even incoherence, and by
            intense agitation and paranoia. These psychotic disturbances often
            have a dissociative character, and individuals so affected often do not
            recall events which occurred during the course of the confusional
            psychosis. Generally, individuals with more stable personalities and
            greater ability to modulate their emotional expression and behavior
            and individuals with stronger cognitive functioning are less severely
            affected. However, all of these individuals will still experience a
            degree of stupor, difficulties with thinking and concentration,
            obsessional thinking, agitation, irritability, and difficulty tolerating
            external stimuli (especially noxious stimuli).
                Moreover, although many of the acute symptoms suffered by
            these inmates are likely to subside upon termination of solitary
            confinement, many—including some who did not become overtly
            psychiatrically ill during their confinement in solitary—will likely
            suffer permanent harm as a result of such confinement. This harm is

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          most commonly manifested by a continued intolerance of social
          interaction, a handicap which often prevents the inmate from
          successfully readjusting to the broader social environment of general
          population in prison and, perhaps more significantly, often severely
          impairs the inmate’s capacity to reintegrate into the broader
          community upon release from imprisonment.
              Many inmates housed in such stringent conditions are extremely
          fearful of acknowledging the psychological harm or stress they are
          experiencing as a result of such confinement. This reluctance of
          inmates in solitary confinement is a response to the perception that
          such confinement is an overt attempt by authorities to “break them
          down” psychologically, and in my experience, tends to be more
          severe when the inmate experiences the stringencies of his
          confinement as being the product of an arbitrary exercise of power,
          rather than the fair result of an inherently reasonable process.
          Furthermore, in solitary confinement settings, mental health
          screening interviews are often conducted at the cell front, rather than
          in a private setting, and inmates are generally quite reluctant to
          disclose psychological distress in the context of such an interview
          since such conversation would inevitably be heard by other inmates
          in adjacent cells, exposing them to possible stigma and humiliation in
          front of their fellow inmates.

             II. SOLITARY CONFINEMENT CAN CAUSE SEVERE PSYCHIATRIC
                                     HARM

           A. Solitary Confinement Can Cause a Specific Psychiatric Syndrome

              During the course of my involvement as an expert I have had the
          opportunity to evaluate the psychiatric effects of solitary confinement
          in well over two hundred prisoners in various state and federal
          penitentiaries. I have observed that, for many of the inmates so
          housed, incarceration in solitary caused either severe exacerbation or
          recurrence of preexisting illness, or the appearance of an acute mental
          illness in individuals who had previously been free of any such
          illness.
              I became aware of the particular toxicity of solitary confinement
          when I first had the opportunity to evaluate prisoners in solitary


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            confinement as a result of my involvement in a class action lawsuit in
            Massachusetts, which challenged conditions in solitary confinement
            at the maximum security state penitentiary in Walpole,
            Massachusetts. 14 The clinical observations I made in the course of my
            involvement in that lawsuit, coupled with my research into the
            medical literature concerning this issue, have formed the basis of two
            articles I have since published on this topic in peer-reviewed
            journals. 15 My subsequent professional experience has included
            observations of similar phenomena in many other solitary
            confinement settings.
                When I initially agreed to evaluate the Walpole prisoners I had not
            yet reviewed the literature on the psychiatric effects of solitary
            confinement and I was somewhat skeptical; I expected that inmates
            would feign illness and exaggerate whatever psychiatric
            symptomatology they suffered. I discovered, however, something
            very different. Contrary to my expectations, the prisoners appeared to
            be extremely defensive about the psychiatric problems they were
            suffering in Special Housing Unit (SHU); they tended to rationalize
            away their symptoms, avoid talking about them, or deny or distort
            their existence all in an apparent effort to minimize the significance
            of their reactions to isolation. Numerous interviews began with
            statements such as “solitary doesn’t bother me” or “some of the guys
            can’t take it—not me,” or even with the mention of a symptom and a
            simultaneous denial of its significance: “As soon as I got in I started
            cutting my wrists. I figured it was the only way to get out of here.”
                As these interviews progressed the facile accounts gave way to
            descriptions of experiences that were very worrisome. For example,
            one inmate was unable to describe the events of the several days
            surrounding his wrist-slashing, nor could he describe his thoughts or
            feelings at the time. Similarly, the prisoner who said he could “take
            it” eventually came to describe panic, fears of suffocation, and
            paranoid distortions which he suffered while in isolation. Moreover,


                14 Libby v Comm’r of Corr , 432 N E 2d 486 (Mass 1982)
                15 See Stuart Grassian & Nancy Friedman, Effects of Sensory Deprivation in Psychiatric
            Seclusion and Solitary Confinement, 8 INT’L J L & PSYCHIATRY 49 (1986); Stuart Grassian,
            Psychopathological Effects of Solitary Confinement, 140 AM J PSYCHIATRY 1450 (1983)




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          the specific psychiatric symptoms reported were strikingly consistent
          among the inmates:

             1. The Specific Psychiatric Syndrome Associated with Solitary
                Confinement

              a. Hyperresponsivity to External Stimuli: More than half the
          prisoners reported a progressive inability to tolerate ordinary stimuli.
          For example, “You get sensitive to noise, the plumbing system.
          Someone in the tier above me pushes the button on the faucet . . . It’s
          too loud, gets on your nerves. I can’t stand it. I start to holler.”
              b. Perceptual Distortions, Illusions, and Hallucinations: Almost a
          third of the prisoners described hearing voices, often in whispers and
          often saying frightening things to them. There were also reports of
          noises taking on increasing meaning and frightening significance. For
          example, “I hear noises, can’t identify them—starts to sound like
          sticks beating men, but I’m pretty sure no one is being beaten . . . I’m
          not sure.” These perceptual changes at times became more complex
          and personalized:
             They come by with four trays; the first has big pancakes. I
             think I am going to get them. Then someone comes up and
             gives me tiny ones—they get real small, like silver dollars. I
             seem to see movements, real fast motions in front of me. Then
             seems like they are doing things behind your back, can’t quite
             see them. Did someone just hit me? I dwell on it for hours.
              c. Panic Attacks: Well over half the inmates interviewed described
          severe panic attacks while in SHU.
              d. Difficulties with Thinking, Concentration, and Memory: Many
          reported symptoms of difficulty in concentration and memory. One
          prisoner described his experience, “I can’t concentrate, can’t read . . .
          Your mind’s narcotized. Sometimes I can’t grasp words in my mind
          that I know. Get stuck, have to think of another word. Memory’s
          going. You feel like you are losing something you might not get
          back.” In some cases this problem was far more severe, leading to
          acute psychotic, confusional states. One prisoner had slashed his
          wrists during such a state and his confusion and disorientation had
          actually been noted in his medical record.


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               e. Intrusive Obsessional Thoughts: Emergence of Primitive
            Aggressive Ruminations: Almost half the prisoners reported the
            emergence of primitive aggressive fantasies of revenge, torture, and
            mutilation of the prison guards. In each case the fantasies were
            described as entirely unwelcome, frightening, and uncontrollable. For
            example, one prisoner recounted
               I try to sleep sixteen hours a day, block out my thoughts;
               muscles tense, think of torturing and killing the guards; lasts a
               couple of hours. I can’t stop it. Bothers me. Have to keep
               control. This makes me think I’m flipping my mind . . . I get
               panicky, thoughts come back—pictured throwing a guard in
               lime—eats away at his skin, his flesh—torture him—try to
               block it out, but I can’t.
               f. Overt Paranoia: Almost half the prisoners interviewed reported
            paranoid and persecutory fears. Some of these persecutory fears were
            short of overt psychotic disorganization. For example, one prisoner
            recalled “sometimes I get paranoid—think they meant something
            else. Like a remark about Italians. Dwell on it for hours. Get frantic.
            Like when they push buttons on the sink. Think they did it just to
            annoy me.” In other cases this paranoia deteriorated into overt
            psychosis:
               Spaced out. Hear singing, people’s voices, ‘Cut your wrists
               and go to Bridgewater and the Celtics are playing tonight.’ I
               doubt myself. Is it real? . . . I suspect they are putting drugs in
               my food, they are putting drugs in my cell . . . The Reverend,
               the priest, even you, you’re all in cahoots in the Scared
               Straight Program.
                g. Problems with Impulse Control: Slightly less than half of the
            prisoners reported episodes of loss of impulse control with random
            violence: “I snap off the handle over absolutely nothing. Have torn up
            mail and pictures, throw things around. Try to control it. Know it
            only hurts myself.” Several of these prisoners reported impulsive
            self-mutilation; “I cut my wrists many times in isolation. Now it
            seems crazy. But every time I did it, I wasn’t thinking—lost
            control—cut myself without knowing what I was doing.”



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              2. This Syndrome has the Characteristics of an Acute Organic
                 Brain Syndrome—A Delirium

             Clearly, these symptoms were very dramatic. Moreover, they
          appeared to form a discreet syndrome—that is, a constellation of
          symptoms occurring together and with a characteristic course over
          time, thus suggestive of a discreet illness. Moreover, this syndrome
          was strikingly unique; some of the symptoms described above are
          found in virtually no other psychiatric illness. The characteristic acute
          dissociative, confusional psychoses are a rare phenomenon in
          psychiatry. Similarly, cases of random, impulsive violence in the
          context of such confusional state is exceedingly rare. But the most
          unique symptoms in this cluster are the striking and dramatically
          extensive perceptual disturbances experienced by the isolated person.
          Indeed, these disturbances are almost pathognomonic of the
          syndrome, meaning they are symptoms virtually found nowhere else.
          For example, loss of perceptual constancy (objects becoming larger
          and smaller, seeming to “melt” or change form, sounds becoming
          louder and softer, etc.) is very rare and, when found, is far more
          commonly associated with neurological illness (especially seizure
          disorders and brain tumors affecting sensory integration areas of the
          brain) than with primary psychiatric illness. 16
             In addition, functional psychiatric illness very rarely presents with
          such severe and florid perceptual distortions, illusions, and
          hallucinations simultaneously affecting multiple perceptual
          modalities—auditory, visual, olfactory, tactile, and kinesthetic. 17
             Similarly, hyperresponsivity to external stimuli with a dysesthetic
          (subjectively painful) response to such stimuli, is likewise rare. In
          fact, it is exceedingly rare; so rare that appearance of this symptom
          also might suggest an organic brain dysfunction etiology. 18


               16 When seen in primary psychiatric illness, it is basically only seen in especially severe,
          insidious, early onset schizophrenia—the kind of schizophrenic illness which has always been
          thought to clinically “feel” like a fundamentally biological/neurologic disease
               17 In fact, in the more common psychotic illnesses such as schizophrenia and psychotic
          depression, auditory hallucinations are by far the most common type; visual hallucinations
          come a distant second; and hallucinations in all other modalities are actually very uncommon
          Moreover, combined modality hallucinations (other than the combination of auditory with
          visual) are exceedingly rare
               18 This symptom is similar, for example, to the experience many people have during a


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                Thus, the fact that all of these quite unusual symptoms ran
            together in the same syndrome was itself a clear confirmation of the
            distinct nature of this syndrome. While this syndrome is strikingly
            atypical for the functional psychiatric illnesses, it is quite
            characteristic of an acute organic brain syndrome: delirium, a
            syndrome characterized by a decreased level of alertness and EEG
            abnormalities; by the same perceptual and cognitive disturbances,
            fearfulness, paranoia, and agitation; and random, impulsive, and self-
            destructive behavior which I observed in the Walpole population.
                Moreover, delirium is a syndrome which is known to result from
            the type of conditions, including restricted environmental stimulation,
            which are characteristic of solitary confinement. Even the EEG
            abnormalities characteristic of delirium have been observed in
            individuals exposed to conditions of sensory deprivation. By now the
            potentially catastrophic effects of restricted environmental
            stimulation have been the subject of a voluminous medical literature;
            annual international symposia are being held on the subject, and the
            issue has even found its way into the popular media. The literature is
            summarized in the appendices to this statement.

                  B. The Historical Experience with Solitary Confinement: The
                                 Nineteenth Century Experience

                1. The Origin of the American Penitentiary: The Nineteenth
                   Century German Experience

                Preindustrial societies had often not made any fundamental
            distinction between deviant behavior seen as the product of “criminal
            intent” as opposed to behavior seen as stemming from “mental
            illness.” 19 For such societies, deviant behavior—whatever its
            origins—was a social evil that was deeply feared and cruelly
            punished.


            febrile illness of finding any touching of their body exceedingly unpleasant, or the inability of a
            patient with a headache to tolerate an even ordinary volume of sound, or the inability of some
            pregnant women to tolerate even ordinary smells without becoming nauseated
                19 ROTHMAN, supra note 3, at 4–5, 62–65




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              In Colonial America the Salem witch trials were but one example
          of a continuing tendency to equate “lunacy” with “demonic
          possession” and, ultimately, with “evil.” 20 Deviant behavior was
          naturally feared and hated; the instinctive response was to punish it
          cruelly, lock it away, banish it, or kill its perpetrator. Thus, in
          Colonial America generally, the social response to deviant behavior
          was relatively simple: the protection of the larger society was
          paramount, while the distinction between “illness” and “evil” was far
          less critical. Indeed, the social response to deviance largely stemmed
          from the severe puritanical belief in innate human evil that deserved
          violent retaliation such as whipping, pillories, stockades, brandings,
          and, ultimately, the gallows. At times, when there was a more
          “humane” response to persons viewed as suffering from lunacy this
          response consisted simply of keeping the individual caged under lock
          and key, often for the rest of his life.
              But in the early nineteenth century, a surge of great social
          optimism swept over America, and along with this grew a belief in
          the possibility of social reform, perhaps an overly optimistic faith in
          the possibility of rehabilitation of persons whose behavior was
          deviant. 21 Not coincidentally, this spirit gave rise virtually
          simultaneously to two great social reform movements in the United
          States: the development of large mental hospitals and the
          construction of the first large penitentiaries.
              Both of these institutions were founded upon a similar premise—
          namely, that psychological and social deviance was largely a result of
          the evils and stresses of “modern society,” and both held a
          fundamental belief that healing would naturally occur if the deviant
          individual was removed from the evils of the larger society, and thus
          enabled to know his own true nature. 22
              In the case of the mental hospital this belief gave rise to the
          concept of a healing, pastoral, therapeutic community. 23 But, in the
          case of the penitentiary, an additional safeguard was obviously


              20 GEORGE IVES, A HISTORY OF PENAL METHODS: CRIMINALS, WITCHES, LUNATICS 58–
          59, 68–73 (reprint 1970) (1914)
              21 ROTHMAN, supra note 3, at 57–58, 79
              22 Id at 82
              23 Id at 133



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            required: the inmates clearly had to be protected, not only from the
            evil influences of the broader society, but also from the evil
            influences of each other. 24 The proper approach thus appeared to be
            to give each inmate the opportunity to live a life alone, like a penitent
            monk in his own monastic cell.
                Thus, the earliest American penitentiaries were, generally,
            systems of rigid solitary confinement. 25 Extravagant attention was
            paid to the design of these institutions, to ensure the absolute and
            total isolation of the offender from any evil and corrupting
            influences. 26 The Philadelphia Prison, completed in 1829, was
            particularly conscientious in this regard:
               The arrangements . . . guaranteed that convicts would avoid all
               contamination and follow a path to reform. Inmates remained
               in solitary cells for eating, sleeping, and working . . . . No
               precaution against contamination was excessive. Officials
               placed hoods over the head of a new prisoner when marching
               him to his cell so he would not see or be seen by other inmates.
                  . . . Thrown upon his own innate sentiments, with no evil
               example to lead him astray, . . . the criminal would start his
               rehabilitation. Then, after a period of total isolation, without
               companions, books, or tools, . . . [h]e would return to the
               community cured of vice and idleness, to take his place as a
               responsible citizen. 27
               The American penitentiary, and the Philadelphia System, became
            world-famous; no important visitor to the United States neglected to
            tour its penitentiaries and to bring back their principles for emulation
            in Europe. Some such as Alexis de Tocqueville of France and
            Nicholas Julius from Prussia came specifically for that purpose. 28
            Tocqueville wrote of the utter, “perfect” desolation of the American


               24   Id   at 83
               25   Id
               26   Id   at 82–83
               27   Id   at 85–86
               28   Id   at 81




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          penitentiary, of the “profound silence” within its “vast walls,”
          likening it to the silence of death. 29

             2. Psychological Effects of Severe Isolation

             The openness with which these institutions were held up to public
          scrutiny led in time to open concern about the psychological effects
          of such confinement. During a tour of the United States in 1842,
          Charles Dickens wrote with pathos of the Philadelphia Prison:
             The system here is rigid, strict, and hopeless solitary
             confinement. . . . Over the head and face of every prisoner who
             comes into the melancholy house, a black hood is drawn, and
             in this dark shroud, . . . he is led to the cell from which he
             never again comes forth, until his whole term of imprisonment
             has expired. He is a man buried alive . . . . dead to everything
             but torturing anxieties and horrible despair.
                  ....
                 The first man I saw . . . answered . . . always with a strange
             kind of pause . . . . He gazed about him and in the act of doing
             so fell into a strange stare as if he had forgotten something.
                In another cell was a German, . . . a more dejected, broken-
             hearted, wretched creature, it would be difficult to imagine. . . .
                 There was a sailor . . . . [w]hy does he stare at his hands and
             pick the flesh open, upon the fingers, and raise his eyes for an
             instant . . . to those bare walls . . . ? 30
             American concern about the effects of rigid solitary confinement
          began as early as the 1830s. 31 Statistical comparisons began to be
          made between the Philadelphia system and its chief competitor: the
          Auburn system prevailing in New York State at the Auburn and Sing-
          Sing penitentiaries. 32 The latter system also utilized solitary


             29  Id at 97
             30  P Herbert Liederman, Man Alone: Sensory Deprivation and Behavioral Change, 8
          CORRECTIONAL PSYCHIATRY & J SOC THERAPY 64, 66 (1962)
             31 ROTHMAN, supra note 3, at 87–88
             32 Id at 88


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            confinement, but less rigidly; inmates left their cells to work together
            in workshops and exercise in a common courtyard, although here,
            too, absolute and strict silence was maintained at all times. 33
            Statistical comparisons began to generate evidence that “[i]t was
            unnatural . . . to leave men in solitary, day after day, year after year;
            indeed, it was so unnatural that it bred insanity.” 34 The Philadelphia
            Prison system appeared to have a higher incidence not only of
            insanity but also of physical disease and death than its New York
            State system counterpart. 35
                Meanwhile, the American system had been emulated in many
            major European prisons, such as at Halle, Germany. 36 Although the
            Americans had been the world leaders in instituting rigid solitary
            confinement in their penitentiary system, German clinicians
            eventually assumed the task of documenting its demise. Between
            1854 and 1909, thirty-seven articles appeared in German scientific
            journals on the subject of psychotic disturbances among prisoners,
            summarizing years of work and hundreds of cases. A major review of
            this literature was published in 1912. 37 A summary and synthesis of
            this rather large body of work appears as an appendix to this article. 38
                But it should be noted that interest in the problem was not purely
            academic; psychotic disturbances among prisoners were of such
            frequency in these prisons that they attracted administrative as well as
            clinical concern, and great effort was made to explain this disturbing
            incidence. Thus, the literature covered a variety of issues:
            speculation, for example, on the “moral degeneracy” of the prison
            population; comparison of the psychopathology of those who
            committed “crimes of passion” with those who committed “crimes
            against property”; or documentation of the incidence of the major
            diagnostic categories of the time (for example, “circular insanity,”
            “alcoholic psychoses,” epilepsy, and general paresis) among the
            prison population.


                33 Id at 95, 97
                34 Id at 87
                35 Id at 87–88
                36 See PAUL NITSCHE & KARL WILMANNS, THE HISTORY OF THE PRISON PSYCHOSES
            (Francis M Barnes, Jr & Bernard Glueck trans , 1912)
                37 See id
                38 See Appendix B


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              However, multiple reports based on careful clinical observation
          suggested that a substantial majority of these prison psychoses were
          direct reactions to the conditions of imprisonment itself. Gradually, a
          clinically distinguishable syndrome of acute reactive prison
          psychoses began to be defined. Different variables were considered in
          attempting to explain the etiology of these reactive prison psychoses,
          including long versus short durations of imprisonment, or
          imprisonment of those already convicted versus imprisonment while
          awaiting trial. However, the most consistent factor described,
          reported in over half the total literature, was solitary confinement.

             C. The Twentieth Century Experience: Prisoners of War, “Brain
                        Washing,” and Experimental Research

              1. Prisoners of War and “Brain Washing”

              Unfortunately, other than some anecdotal reports, there was little
          discussion of the psychological effects of solitary confinement in the
          medical literature during the first half of the twentieth century.
          Undoubtedly, this was in part a consequence of the disastrous earlier
          experience with such confinement. As statistical evidence
          accumulated during the nineteenth century that solitary confinement
          produced a very disturbing incidence of insanity, physical disease,
          and death the system fell into disrepute and, with this, it had changed
          from an open, optimistic experiment in social reform into a hidden,
          secretive place of punishment and control.
              Its devastating psychological impact, however, did not change, a
          fact which became suddenly and very painfully evident in the 1950s
          as the American public began hearing the frightening and dramatic
          reports of “brain washing” of American prisoners of war in Korea—
          reports that alterations in the sensory environment were being
          intentionally imposed upon these prisoners in a seemingly Orwellian
          attempt to profoundly disrupt their psychological equilibrium. 39
              By the 1950s, reports had already appeared of major psychiatric
          disturbances among survivors of prolonged solitary confinement in


              39 Lawrence E Hinkle, Jr , The Physiological State of the Interrogation Subject as It
          Affects Brain Function, in THE MANIPULATION OF HUMAN BEHAVIOR, supra note 13, at 35


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            war, 40 but during the decade of the Korean War major attention was
            riveted on the occurrence of these disturbances not only in war but in
            a variety of other settings as well. In 1956 the Group for the
            Advancement of Psychiatry (GAP) held a symposium, “Factors Used
            to Increase the Susceptibility of Individuals to Forceful
            Indoctrination,” to study methods used by the Chinese and Russian
            Communists to “indoctrinate” and “break the will” of political
            prisoners and prisoners of war. 41 Dr. Milton Meltzer, former Chief
            Medical Officer at Alcatraz Federal Penitentiary, contributed his
            observations of psychiatric disturbances among prisoners exposed to
            punitive solitary confinement at Alcatraz. 42 These prisoners were
            rarely confined for periods beyond one week. 43 Despite this, Dr.
            Meltzer described acute psychotic breakdowns among prisoners so
            confined; his descriptions closely paralleled the observations at
            Walpole:
               The motor effects ranged from occasional tense pacing,
               restlessness and sense of inner tension with noise making,
               yelling, banging and assaultiveness at one extreme, to a kind of
               regressed, dissociated, withdrawn, hypnoid and reverie-like
               state at the other. . . .
                  . . . [T]he sense of self, the ego and ego boundary
               phenomena are profoundly affected by the isolation. 44
                In the same symposium Dr. John Lilly of the National Institute of
            Mental Health noted that despite the importance of other factors
            which tended to “weaken personalities and make them more
            susceptible to [forced indoctrination]”—such as semi-starvation,
            physical pain and injury, and sleep deprivation—social and sensory
            isolation was still the central pathogenic factor in such confinement. 45


                40 See, e.g., CHRISTOPHER BURNEY, SOLITARY CONFINEMENT (1952)
                41 See GROUP FOR THE ADVANCEMENT OF PSYCHIATRY, FACTORS USED TO INCREASE
            THE SUSCEPTIBILITY OF INDIVIDUALS TO FORCEFUL INDOCTRINATION (1956)
                42 Id at 96–103
                43 Id at 98
                44 Id
                45 Id at 89




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             2. Experimental Research on Sensory Deprivation

              An experimental model was therefore designed to study the effect
          of such sensory deprivation; this research, conducted during the
          1950s and early 1960s, primarily at Harvard and McGill University
          Medical Centers, was in fact funded in large part by the United States
          government—and especially by the Department of Defense and the
          Central Intelligence Agency. This research is described in an
          appendix to this article. 46 Its relevant conclusions can, however, be
          described relatively briefly:
              In these studies subjects were placed in a situation designed for
          maximum reduction perceptually informative external stimuli (light-
          proof, sound-proof rooms; cardboard tubes surrounding the arms and
          hands to reduce proprioceptive and tactile sensation; and so on). 47
          The research revealed that characteristic symptoms generally
          developed in such settings. These symptoms included perceptual
          distortions and illusions in multiple spheres (visual, auditory, tactile,
          olfactory); vivid fantasies, often accompanied by strikingly vivid
          hallucinations in multiple spheres; derealization experiences; and
          hyperresponsivity to external stimuli. What was also clear, however,
          was that while some subjects tolerated such experiences well, many
          did not, and characteristic syndromes were observed, including the
          above symptoms and cognitive impairment; massive free-floating
          anxiety; extreme motor restlessness; emergence of primitive
          aggressive fantasies which were often accompanied by fearful
          hallucinations; and a decreased capacity to maintain an observing,
          reality-testing ego function. In some cases an overt psychosis
          supervened with persecutory delusions and, in other cases, a marked
          dissociative, catatonic-like stupor (delirium) with mutism developed.
          EEG recordings confirmed the presence of abnormalities typical of
          stupor and delirium.
              These findings clearly demonstrated that this experimental model
          did reproduce the findings in the non-experimental situations,


             46   See Appendix C
             47   See, e.g., CHARLES A BROWNFIELD, ISOLATION: CLINICAL AND EXPERIMENTAL
          APPROACHES (1965); SENSORY DEPRIVATION: A SYMPOSIUM HELD AT HARVARD MEDICAL
          SCHOOL (Philip Solomon et al eds , 1961) [hereinafter SENSORY DEPRIVATION—HARVARD]



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            including the findings among prisoners of war held in solitary
            confinement.

              D. Factors Effecting Response to Sensory Restriction and Solitary
                                        Confinement

                Much of the subsequent research in this area attempted to
            delineate variables which might explain these differing outcomes.
            These variables can be divided into two categories: i) differences
            among various conditions of perceptual deprivation, and ii)
            differences in preexisting personality functioning among individuals
            experiencing such conditions.

               1. Differing Conditions of Isolation

                One of the factors that was commonly cited in the research was
            the intensity and duration of the sensory deprivation. More severe
            sensory restriction, the presence of noxious stimulation, and longer
            duration of the sensory deprivation experience have all been
            associated with an increased risk of adverse psychiatric
            consequences.
                In my experience, conditions experienced by inmates in various
            prison solitary confinement settings generally bear some similarities
            (a cell of roughly fifty to eighty square feet; approximately twenty-
            two and one-half hours per day locked in the cell; about one hour per
            day of yard exercise, five out of the seven days each week), in other
            respects the conditions are fairly variable. For example, some cells
            have barred doors, which allow better ventilation, sound
            transmission, and visual connection with the outside environment
            than do mesh steel doors; solid steel doors are the most restrictive—
            especially when they are either hinged or slide shut with almost no air
            gap from the wall. Moreover, administrative conditions regarding the
            amount and circumstances of visitation, the availability of reading
            material and television, and so forth are all factors which vary from
            institution to institution, and even from time to time within a given
            institution.




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             2. The Perceived Intent of the Isolation Experience

              In addition to the factors described above, another critical factor in
          determining the effect of isolation appears to be the perceived intent
          of the isolation. Experimental research has demonstrated that an
          individual who receives clues which cause him to experience the
          isolation situation as potentially threatening is far more likely to
          develop adverse psychiatric reactions to the isolation experience. 48
          Conversely, if the subject has reason to believe the situation is likely
          to be benign he will be far more likely to tolerate or even enjoy it. 49
          Among the latter group of subjects who tolerated isolation well,
          many reported pleasant or at least non-threatening visual imagery,
          fantasy, and hallucinatory experiences. 50 “His mind may begin to
          wander, engage in daydreams, slip off into hypnogogic reveries with
          their attendant vivid pictorial images . . . he may be quietly having
          sexual or other pleasurable thoughts.” 51
              This finding is perhaps not surprising. It appears that sensory
          restriction produces perceptual disturbances and illusions which are
          analogous to those produced by hallucinogenic drugs, and clearly,
          while there are some individuals who could be said to have
          volunteered to undergo such hallucinatory, psychotic-like
          experiences it must be almost uniformly terrifying to be forced to
          undergo an experience similar to that induced by hallucinogenic
          drugs.

             3. Individual Differences in Response

              Many studies have demonstrated that there is great variability
          among individuals in regard to their capacity to tolerate a given
          condition of sensory restriction. This variability helps to provide
          further insight into the nature of the toxic effect of such isolation
          conditions, and provides striking corroboration of the fact that such


              48 See Nancy A Wright & David S Abbey, Perceptual Deprivation Tolerance and
          Adequacy of Defenses, 20 PERCEPTUAL & MOTOR SKILLS 35 (1965)
              49 Leo Goldberger, Experimental Isolation: An Overview, 122 AM J PSYCHIATRY 774,
          777 (1966)
              50 Id
              51 Id



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            deprivation of environmental stimulation, especially when of
            prolonged duration, is toxic to brain functioning and causes
            symptoms characteristic of stupor and delirium.
                Generally, individuals with mature, healthy personality
            functioning and of at least average intelligence are most able to
            tolerate the regressive pull and perceptual intrusions of such isolation
            situations. On the other hand, individuals with primitive or
            psychopathic functioning or borderline cognitive capacities, impulse-
            ridden individuals, and individuals whose internal emotional life is
            chaotic or fearful are especially at risk for severe psychopathologic
            reactions to such isolation. 52
                Moreover, there is clear evidence that, in a situation of restricted
            environmental stimulation, preexisting central nervous system
            dysfunction is a major predisposing factor to the development of
            adverse psychiatric reactions and of overt delirium. For example, in
            one study of patients suffering visual deprivation following eye
            surgery (eye-patched patients), those patients with preexisting central
            nervous system dysfunction were found to be at especially high risk
            to develop symptoms of delirium. 53 Further, the presence of a
            preexisting personality disorder or impairment of psychosocial
            functioning was associated with increased risk of incapacitating
            fearfulness, paranoia, agitation, and irrational aggression toward
            staff. 54
                In addition, individuals may at times be exposed to situations
            which cause impairment of central nervous system functioning. Such
            situations—especially if they impair the individual’s state of alertness
            (for example, sleep deprivation, abnormal sleep-wake cycles, or the
            use of sedating medication) will substantially increase the
            individual’s vulnerability to the development of delirium. Delirium
            among post-surgical patients and the so-called “ICU psychoses” are
            examples of this phenomenon. 55 One of the characteristic difficulties


                52 See Appendix C (describing these studies in more detail)
                53 Eugene Ziskind, Isolation Stress in Medical and Mental Illness, 168 J AM MED
            ASS’N 1427, 1428 (1958)
                54 Hillel Klein & Rafael Moses, Psychological Reaction to Sensory Deprivation in
            Patients with Ablatio Retinae, 24 PSYCHOTHERAPY & PSYCHOSOMATICS 41, 49–51 (1974) A
            more extensive review of this literature is contained in Appendix A to this declaration
                55 Appendix A discusses this issue in more detail


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          experienced by inmates in solitary confinement is abnormal sleep-
          wake cycles and impaired sleep.

                  a. Findings at Pelican Bay State Prison

              These findings received further corroboration in my observations
          of inmates at Pelican Bay State Prison, California. In 1991–1992, as
          part of my participation in Madrid v. Gomez—a class-action lawsuit
          challenging conditions at Pelican Bay State Prison, a new
          “supermax” facility in California 56—I evaluated forty-nine inmates
          housed in the SHU at the institution and prepared a lengthy report to
          the federal court of my findings. 57 Many of the inmates I evaluated
          there suffered severe psychiatric disturbances while housed in Pelican
          Bay SHU, either springing up de novo while so incarcerated or
          representing a recurrence or severe exacerbation of preexisting
          illness. Of the forty-nine inmates I evaluated, at least seventeen were
          actively psychotic and/or acutely suicidal and urgently in need of
          acute hospital treatment, and twenty-three others suffered serious
          psychopathological reactions to solitary confinement, including (in
          several cases) periods of psychotic disorganization.
              The clinical data at Pelican Bay also added striking corroboration
          to the conclusion that the severe and prolonged restriction of
          environmental stimulation in solitary confinement is toxic to brain
          functioning. The data demonstrated that the most severe, florid
          psychiatric illnesses resulting from solitary confinement tend to be
          suffered by those individuals with preexisting brain dysfunction. As
          noted before, I have observed a high incidence of preexisting central
          nervous system dysfunction among the inmates I evaluated in solitary
          confinement settings. This was also the case at Pelican Bay, and
          statistical analysis of the Pelican Bay data quite dramatically
          demonstrated that inmates with such preexisting vulnerability were
          the most likely to develop overt confusional, agitated, hallucinatory
          psychoses as a result of SHU confinement.


              56 Madrid v Gomez, 889 F Supp 1146 (N D Cal 1995), rev’d and remanded, 150 F 3d
          1030 (9th Cir 1998)
              57 Much of the literature review and historical material in the present declaration is taken
          from my Madrid declaration



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                    b. Attention Deficit and Antisocial Personality Disorders

                In addition, research regarding Attention Deficit Hyperactivity
            Disorder and Antisocial Personality Disorder demonstrated that these
            conditions are similarly associated with a particular inability to
            tolerate restricted environmental stimulation. There is increasing
            evidence that childhood impulsivity and Attention Deficit
            Hyperactivity Disorder bear some relationship to Antisocial
            Personality Disorder, in that both are characterized by impulsivity
            and stimulation-seeking behavior, and both involve biologically
            based abnormalities in central nervous system functioning. Moreover,
            the clinical literature demonstrates that individuals with Antisocial
            Personality Disorder are especially intolerant of restricted
            environmental stimulation. For example, the psychopathic individual
            has been characterized as pathologically “stimulation seeking,”
            “impulsive,” and “unable to tolerate routine and boredom.” 58
                Given the exigencies of conducting clinical observations of
            inmates in solitary confinement it is not surprising that little
            systematic attempt has been made to elucidate the underlying
            psychological characteristics of those most at risk for developing
            severe psychopathological reactions to such isolation. However,
            among the clinical reports on Ganser’s Syndrome, a related
            condition, in non-prison populations are several studies of patients in
            psychiatric hospitals. 59 These patients were, of course, available for
            extensive psychological assessment and observation, and these
            reports described the majority of these patients as suffering long-
            standing hysterical character disorders, having problems with severe
            impulsivity, childhood truancy, and antisocial behavior patterns. 60
                Thus, the medical literature demonstrates that individuals whose
            internal emotional life is chaotic and impulse-ridden and individuals
            with central nervous system dysfunction may be especially prone to


                58 Herbert C Quay, Psychopathic Personality as Pathological Stimulation-Seeking, 122
            AM J PSYCHIATRY 180, 180 (1965) Appendix B contains a more detailed discussion
                59 See, e.g., Merle R Ingraham & David M Moriarty, A Contribution to the
            Understanding of the Ganser Syndrome, 8 COMPREHENSIVE PSYCHIATRY 35 (1967); Rupert H
            May et al , The Ganser Syndrome: A Report of Three Cases, 130 J NERVOUS & MENTAL
            DISEASES 331 (1960)
                60 May et al , supra note 59, at 331–36



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          psychopathologic reactions to restricted environmental stimulation in
          a variety of settings. Yet, among the prison population, it is quite
          likely that these are the very individuals who are especially prone to
          committing infractions that result in stricter incarceration, including
          severe isolation and solitary confinement.

                  c. Langley v. Coughlin 61

              In the late 1980s I interviewed and reviewed the medical records
          of several dozen inmates confined in maximum security prisons in
          New York State, including a large group of women incarcerated at
          the maximum security women’s prison for the state of New York at
          Bedford Hills. During the process of these evaluations it became
          clear that a very high percentage of these women had a history of
          serious emotional or organic mental difficulties. Many had severe
          cognitive limitations, were highly emotionally labile, impulse ridden,
          and prone to psychotic disorganization. In many cases the infraction
          which led to their original incarceration was an act which had been
          committed impulsively and chaotically. Under the stress of
          imprisonment these inmates became even more unable to conform
          their behavior to the requirements of their situation.
              Inevitably, this resulted in their being sentenced to terms in the
          SHU, and once in the SHU their subsequent course was often a
          nightmare. Many became grossly disorganized and psychotic,
          smearing themselves with feces, mumbling and screaming
          incoherently all day and night, some even descending to the horror of
          eating parts of their own bodies.
              The resulting lawsuit was ultimately settled by consent decree.
          The settlement provided injunctive relief as well as monetary
          damages both for the mentally ill inmates whose emotional condition
          had deteriorated during their incarceration in the SHU, and also for
          the non-mentally ill women who had been subjected to the bedlam of
          mental illness created in their SHU environment. The injunctive relief
          required the prison to begin to reframe the meaning it gave to


             61 There are two companion cases: Langley v. Coughlin, 715 F Supp 522 (S D N Y
          1989); and Langley v. Coughlin, 709 F Supp 482 (S D N Y 1989), aff’d, 888 F 2d 252 (2d Cir
          1989)



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            behavioral disturbances which they had previously responded to by
            further SHU time. 62 Under the settlement the prison began to actively
            consider whether such disturbances were the result of organic
            personality disturbances, affective or impulse disorders, or even of
            schizophreniform illness. The result of these changes was apparently
            quite dramatic.
                Many of the prisoners who had been in SHU began to be treated
            in a residential psychiatric unit within the prison. This unit had
            previously refused to treat such inmates, claiming that their security
            needs were greater than could be handled. When pressed to provide
            services as a result of the settlement not only did the unit discover
            that it was able to provide those services, but moreover discovered
            that the custodial and security needs of these inmates dramatically
            decreased when their behavioral disturbances were framed as
            psychiatric problems rather than as a security issue. Thus, as a result
            of the settlement of the lawsuit, all parties to the suit benefited—
            prisoners and the officers of the correctional facility alike. I followed
            the result of the litigation in my capacity as an expert member of the
            settlement.

                   d. Effects on Psychologically More Resilient Inmates:
                      Baraldini v. Meese 63 and Hameed v. Coughlin 64

               In 1988 in the course of my involvement in Baraldini v. Meese, a
            class-action challenging the confinement of a small group of women
            in a subterranean security housing unit at the Federal Penitentiary in
            Lexington, Kentucky, I had the opportunity to interview several
            women who were in confinement in this facility. These women had
            been convicted of having committed politically motivated crimes,
            were all highly educated, and had a history of relatively strong
            psychological functioning prior to their confinement. None of these
            women developed the florid confusional psychosis described earlier
            in this affidavit, yet each of them demonstrated significant


                62 Langley, 709 F Supp 482
                63 691 F Supp 432 (D D C 1988), rev’d sub nom , Baraldini v Thornburgh, 884 F 2d
            615 (D C Cir 1989)
                64 57 F 3d 217 (2d Cir 1995)



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          psychopathological reactions to their prolonged confinement in a
          setting of severe environmental and social isolation. These included
          perceptual disturbances, free-floating anxiety, and panic attacks.
          These inmates also uniformly described severe difficulties in
          thinking, concentration, and memory; for example, one inmate
          reported that she was able to perform tasks requiring some mental
          effort—such as reading or writing—only for about the first three
          hours of the morning after she awoke; by then, her mind had become
          so slowed down, so much “in a fog,” that she was entirely unable to
          maintain any meaningful attention or expend any meaningful mental
          effort.
              I have since evaluated a number of individuals who evidenced
          strong psychological adjustment prior to imprisonment. For example,
          in 1993 I evaluated Bashir Hameed, an inmate who had been
          incarcerated in the SHU at Shawangunk Correctional Facility and
          who had brought suit concerning his incarceration there. As I
          described in my testimony in that case, Mr. Hameed is an individual
          who evidences strong prior psychological adjustment and no prior
          psychiatric history, yet became significantly ill as a result of his SHU
          confinement.

             E. Long Term Effects of Solitary and Small Group Confinement

              Long-term studies of veterans of prisoner of war camps, and of
          kidnapping and hostage situations have demonstrated that while
          many of the acute symptoms I outlined above tend to subside after
          release from confinement, there are also long-term effects which may
          persist for decades. 65 These not only include persistent symptoms of
          post traumatic stress (such as flashbacks, chronic hypervigilance, and
          a pervasive sense of hopelessness), but also lasting personality
          changes—especially including a continuing pattern of intolerance of
          social interaction, leaving the individual socially impoverished and
          withdrawn, subtly angry and fearful when forced into social
          interaction. 66


             65 See LAWRENCE E HINKLE, JR & HAROLD G WOLFF,                COMMUNIST INTERROGATION
          AND INDOCTRINATION OF “ENEMIES OF THE STATES” (1956)
             66   This literature is reviewed in Appendix D to this declaration



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                In addition, from time to time I have had the opportunity to
            evaluate individuals who had been incarcerated in solitary
            confinement several years previously. I have found the same pattern
            of personality change described above: these individuals had become
            strikingly socially impoverished and experienced intense irritation
            with social interaction, patterns dramatically different from their
            functioning prior to solitary confinement.

                                       III. CONCLUSIONS

                The restriction of environmental stimulation and social isolation
            associated with confinement in solitary are strikingly toxic to mental
            functioning, producing a stuporous condition associated with
            perceptual and cognitive impairment and affective disturbances. In
            more severe cases, inmates so confined have developed florid
            delirium—a confusional psychosis with intense agitation, fearfulness,
            and disorganization. But even those inmate who are more
            psychologically resilient inevitably suffer severe psychological pain
            as a result of such confinement, especially when the confinement is
            prolonged, and especially when the individual experiences this
            confinement as being the product of an arbitrary exercise of power
            and intimidation. Moreover, the harm caused by such confinement
            may result in prolonged or permanent psychiatric disability, including
            impairments which may seriously reduce the inmate’s capacity to
            reintegrate into the broader community upon release from prison.
                Many of the prisoners who are housed in long-term solitary
            confinement are undoubtedly a danger to the community and a
            danger to the corrections officers charged with their custody. But for
            many they are a danger not because they are coldly ruthless, but
            because they are volatile, impulse-ridden, and internally
            disorganized.
                As noted earlier in this statement, modern societies made a
            fundamental moral division between socially deviant behavior that
            was seen as a product of evil intent, and such behavior that was seen
            as a product of illness. Yet this bifurcation has never been as simple
            as might at first glance appear. Socially deviant behavior can in fact
            be described along a spectrum of intent. At one end are those whose
            behavior is entirely “instrumental”—ruthless, carefully planned, and


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          rational; at the other are individuals whose socially deviant behavior
          is the product of unchecked emotional impulse, internal chaos, and
          often of psychiatric or neurological illness.
              It is a great irony that as one passes through the levels of
          incarceration—from the minimum to the moderate to the maximum
          security institutions, and then to the solitary confinement section of
          these institutions—one does not pass deeper and deeper into a
          subpopulation of the most ruthlessly calculating criminals. Instead,
          ironically and tragically, one comes full circle back to those who are
          emotionally fragile and, often, severely mentally ill. The laws and
          practices that have established and perpetuated this tragedy deeply
          offend any sense of common human decency.




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                                             APPENDIX A:


            REPORTS OF PSYCHIATRIC DISTURBANCES IN OTHER CONDITIONS OF
                      RESTRICTED ENVIRONMENTAL STIMULATION

                The psychopathologic syndrome which I have described in the
            body of this article is found in other settings besides isolation in civil
            prisons. Some of these settings involve small group, rather than
            solitary isolation, and the studies have demonstrated that isolated
            groups comprising two individuals may be the most pathogenic of all.
            These studies also suggest that those individuals with below average
            intelligence and poor psychosocial adjustment prior to isolation
            developed more severe psychiatric difficulties during isolation. In
            some studies, such disturbances persisted at a one year follow-up
            after reentry.

                                             I. AVIATION

                One particular study, by Bennett, has described psychiatric
            disturbances among pilots of the British Royal Air Force who had
            been exposed in-flight to periods of restricted auditory and visual
            stimulation. 67 All of the groups he described became significantly
            anxious; many suffered full-blown panic attacks, and many
            experienced unusual sensations which they were very reluctant to
            describe. The most severely disturbed groups refused to expose
            themselves further to the isolation conditions of these flights. At all
            levels of impairment, however, anxiety was common (both panic and
            free-floating anxiety). Pilots reported anxiety symptoms such as
            feeling “hot and tense and powerless” and “nervous and afraid.” 68
            Feelings of derealization, feelings of detachment from reality, and
            perceptual distortions were described. Some of these perceptual
            distortions were dangerous—such as having the impression that the
            aircraft was turning when it was not—and resulted in serious errors in


               67 A M Hastin Bennett, Sensory Deprivation in Aviation, in SENSORY DEPRIVATION—
            HARVARD, supra note 47, at 161–73
               68 Id at 164



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          judgment like making the aircraft spiral dangerously downward after
          attempting to “correct” for what was incorrectly perceived as a
          turning aircraft.
              Another study described strikingly similar symptoms among
          United States Navy pilots exposed to periods of in-flight isolation. 69
          Among pilots who flew alone at high altitude (meaning in a situation
          of monotonous visual and sensory stimulation) and flying with a
          minimum of pilot activity, over one third experienced frightening
          feelings of unreality and became severely anxious. 70

                                 II. SMALL GROUP CONFINEMENT

              Many studies—both anecdotal and experimental—have been
          made of individuals confined together in small groups. Groups thus
          described have ranged in size from two to approximately sixty
          individuals, the larger groups include reports of men isolated on a
          Pacific island, in submarines, and on Antarctic expeditions. 71 The
          most consistent finding was of dramatically increased levels of
          hostility, interpersonal conflict, and paranoia. 72 Individuals exposed
          to such conditions also tend to become irrationally territorial, staking
          out “areas of exclusive or special use, [and] acting with hostility to
          trespasses by others.” 73
              Confined groups comprising just two individuals may be the most
          pathogenic of all, associated with especially high rates of mutual
          paranoia and violent hostility. Admiral Byrd believed it to be
          extremely unsafe to staff an Antarctic base unit with just two men:


              69 Brant Clark & Ashton Graybiel, The Break-off Phenomenon, 28 J AVIATION MED
          121 (1957)
              70 Id at 122
              71 See Seward Smith, Studies of Small Groups in Confinement, in SENSORY
          DEPRIVATION: FIFTEEN YEARS OF RESEARCH 374–76 (John Peter Zubek ed , 1969) [hereinafter
          SENSORY DEPRIVATION: FIFTEEN YEARS] For articles reporting effects in arctic environments,
          see Jeanette J Cochrane & S J J Freeman, Working in Arctic and Sub-Arctic Conditions:
          Mental Health Issues, 34 CAN J PSYCHIATRY 884 (1989); Eric Gunderson & Paul D Nelson,
          Adaptation of Small Groups to Extreme Environments, AEROSPACE MED , Dec 1963, at 1111;
          Charles S Mullin & H J M Connery, Psychological Study at an Antarctic IGY Station, 10 U S
          ARMED FORCES MED J 290 (1959)
              72 Smith, supra note 71, at 377
              73 Id at 380




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                [I]t doesn’t take two men long to find each other out. . . . [T]he
                time comes . . . when even his [campmate’s] unformed
                thoughts can be anticipated, his pet ideas become a
                meaningless drool, and the way he blows out a pressure lamp
                or drops his boots on the floor or eats his food becomes a
                rasping annoyance. . . . Men who have lived in the Canadian
                bush know well what happens to trappers paired off this way
                ....
                   . . . During my first winter at Little America I walked for
                hours with a man who was on the verge of murder or suicide
                over imaginary persecutions by another man who had been his
                devoted friend. 74

                                         III. POLAR HABITATION

                Psychiatric disturbances have been described in Arctic and
            Antarctic inhabitants (explorers, researchers, and their support staff),
            spending varying periods in winter isolation. In these regions, winters
            last for up to nine months with weather conditions so cold (-100°F)
            that leaving the confines of the indoors is dangerous. 75 Typically,
            teams of work groups have fewer than fifty members who spend up
            to two years working in small quarters. 76 Small group isolation
            conditions at these stations have been compared to life in prisons by
            at least one researcher: “[T]he isolation imposed by the harsh
            environment [of the Antarctic] is rarely experienced outside penal
            conditions.” 77
                A review of the literature on the psychological adjustment to
            Antarctic living described a staff wintering over at a British Antarctic
            station; those of the staff who adjusted best tended to be socially
            mature, intelligent, reserved, and trusting individuals. 78 Similarly,


                74 Id at 381
                75 Gunderson & Nelson, supra note 71, at 1111
                76 Id
                77 Robert J Biersner & Robert Hogan, Personality Correlates of Adjustment in Isolated
            Work Groups, 18 J RESEARCH IN PERSONALITY 491, 491 (1989)
                78 See Esther D Rothblum, Psychological Factors in the Antarctic, 124 J PSYCH 253
            (1990)



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          French, United States, and Australian studies revealed that
          intelligence and previous social adjustment predicted a decreased risk
          for psychiatric disturbance among workers at Antarctic stations. 79 On
          the other hand, lack of respect for authority and aggression were
          important markers for poor isolation adjustment. 80
              Similarly, another study correlated outcome measures with
          psychological testing obtained prior to work station assignment.81
          These researchers found specifically that persons with antisocial and
          psychotic tendencies were poor risks for efficient functioning in
          conditions of isolation. 82
              As a result of these disturbing findings among Antarctic workers,
          systematic efforts have been made to provide psychological screening
          of potential station employees and to ameliorate the isolation
          conditions prevailing in such stations. 83 Despite these efforts,
          significant psychiatric disturbances have continued to be observed. 84
          The fact that these individuals were confined in small groups rather
          than alone was not found to prevent these disturbances; indeed, one
          of the central pathogenic factors cited in this literature has been the
          interpersonal tension and hostility generated by small group
          confinement. 85
              Studies have described a “winter-over syndrome” including
          progressively worsening depression, hostility, sleep disturbance,
          impaired cognitive functioning, and paranoia during small group
          winter confinement in the Antarctic. 86 Strikingly similar findings
          were reported by the United States Navy Medical Neuropsychiatric
          Research Unit, which found high incidences of sleep disturbance,
          depression, anxiety, aggression, somatic complaints, and a


               79 Id. at 256; see also Smith, supra note 71, at 393–95
               80 Mullin & Connery, supra note 71, at 292
               81 See Morgan W Wright et al , Personality Factors in the Selection of Civilians for
          Isolated Northern Stations, 8 CAN PSYCHOLOGIST 23 (1967)
               82 Id at 29
               83 Cochrane & Freeman, supra note 71, at 889
               84 K Natani & J Shurley, Sociopsychological Aspects of a Winter Vigil at South Pole
          Station, in HUMAN ADAPTABILITY TO ANTARCTIC CONDITIONS 89–114 (Eugene Gunderson
          ed , Am Geophysical Union 1974)
               85 See Biersner & Hogan, supra note 77, at 491–96
               86 See, e.g., R Strange & W Klein, Emotional and Social Adjustment of Recent Winter-
          Over in Isolated Antarctic Stations, 7 ANTARCTIC BIBLIOGRAPHY 229 (1974)



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            progressive impoverishment of social relationships as the winter
            progressed. 87 Psychiatric problems worsened as the length of time in
            this confinement increased; in one study of a group of Japanese
            winter-stationed in the Antarctic, periodic psychological testing
            revealed increasing levels of anxiety and depression as the winter
            progressed. 88 Similar findings have been described among a group of
            Americans stationed in the Antarctic. 89
                A review of the literature on the psychological adjustment to
            Arctic life described a syndrome which parallels the Antarctic
            literature: sleep disturbances, apathy, irritability, cognitive
            dysfunction, hallucinations, depression, and anxiety were widely
            reported as a result of the small group isolation endured by
            inhabitants. 90 They also reported “depression, irritability, [and] easily
            provoked anger which may escalate into dramatic and florid acting
            out and, not surprisingly, a breakdown in relationships with other
            members of the group. . . . [I]nsomnia, pallor, loss of appetite, loss of
            interest, psychomotor retardation, paranoidal ideation, [and]
            nonspecific hallucinations of light flashes and sudden movements
            [were also experienced].” 91 Even when Arctic workers were
            adequately preselected by psychological screening, trained, and
            supported sleep difficulties, apathy, and irritability persisted.
                Studies on reintegration into the home environment after Antarctic
            living found persisting problems and symptoms including sleep
            disturbances, cognitive slowing, emotional withdrawal, resentment of
            authority, indecisiveness, and poor communication even one year
            after reintegration. 92
                Robert J. Biersner and Robert Hogan summarized the findings
            related to personality variables in the Arctic and Antarctic workers:
            “Individuals with high needs for novelty and new sensations, . . . who
            are emotionally unstable, or who are unconcerned with social


               87 See E K Eric Gunderson, Emotional Symptoms in Extremely Isolated Groups, 9
            ARCHIVES GEN PSYCHIATRY 362 (1963); Gunderson & Nelson, supra note 71, at 1111–15
               88 Rothblum, supra note 78, at 253–73
               89 Gunderson & Nelson, supra note 71, at 1114
               90 See Cochrane & Freeman, supra note 71, at 889
               91 Id at 887
               92 Rothblum, supra note 78, at 267




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          approval seem unsuited for . . . such environments . . . . The opposite
          [traits are found in] those who adjust well.” 93

                                IV. EXPLORERS: SOLO VOYAGES

             Anecdotal reports of shipwrecked sailors and individuals
          accomplishing long solo sea voyages have generally described
          “disturbances in attention and in organization of thought, labile and
          extreme affect, hallucinations and delusions.” 94 Dramatic anecdotal
          reports have appeared from time to time. Some of these were
          summarized in a review article by Dr. Philip Solomon, one of the
          lead scientists in the Harvard Medical School/Boston City Hospital
          group:
              Christine Ritter in her very sensitive document A Woman in the
              Polar Night, reported that at times she saw a monster . . . [and]
              experienced depersonalization to the extent that she thought
              she and her companions were dissolving in moonlight ‘as
              though it were eating us up’ . . . The Spitzbergen hunters use
              the term ran (strangeness) to describe these experiences . . . . 95
              Tales of the sea have provided many accounts of hallucinatory
          phenomena. John Slocum sailed alone around the world . . . [In the
          South Atlantic] he suddenly saw a man, who at first he thought to be
          a pirate, take over the tiller . . . .
              Walter Gibson, a soldier in the British Indian Army, was on a ship
          torpedoed in the Indian Ocean by the Japanese in World War II . . . .
          [The shipwrecked survivors] reported that “all of us at various stages
          in that first week became a prey to hallucinations” . . . [As the weeks
          passed] the feeling of comradeship disappeared and the men began to
          find themselves “watching our fellows covertly and suspiciously.” 96


             93   Biersner & Hogan, supra note 77, at 495
             94   Peter Suedfeld, Introduction and Historical Background, in SENSORY DEPRIVATION:
          FIFTEEN YEARS, supra note 71, at 7
              95 Philip Solomon et al , Sensory Deprivation: A Review, 114 AM J PSYCHIATRY 357,
          357–58 (1957)
              96 Id.




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            Murder, suicide, and cannibalism followed as social controls
            dissolved. 97

                                     V. MEDICAL CONDITIONS

                                      A. Eye Patched Patients

                Restricted environmental stimulation conditions also occur post-
            operatively and in certain medical conditions. In a study of one
            hundred American patients with macular degeneration of the retina, a
            high percentage of such patients experienced disturbing visual
            hallucinations. 98 Those patients who were relatively cognitively
            limited, those who were socially isolated, and those with
            simultaneous sensory impairment in another modality (for example,
            hearing-impaired patients) fared worst. 99 But other factors, including
            the presence of concomitant medical illness, did not appear to affect
            the incidence of hallucinations. 100
                In an especially relevant study of eye patched patients, it was
            determined that psychologically well-adjusted patients (as assessed
            prior to surgery) tended not to develop visual hallucinations during
            the period when their eyes were patched, whereas those suffering
            preexisting personality disturbances did tend to develop such
            hallucinations. 101 Among those patients who did develop
            hallucinations, almost half developed complex hallucinations
            involving human figures and with content suggesting serious
            preoccupations with themes of depression and anxiety. 102 Moreover,
            among those patients who had both preexisting personality
            disturbances and difficulty with their premorbid psychosocial
            adjustment,      eye   patching      produced    severe     psychiatric
            symptomatology, including: paranoid thoughts about being poisoned,
            physically harmed or attacked; psychomotor agitation; interpersonal


               97 Id.
               98 See Suzanne Holroyd et al , Visual Hallucinations in Patients with Macular
            Degeneration, 149 AM J PSYCHIATRY 1701, 1703 (1992)
               99 Id at 1703–04
              100 Id
              101 Klein & Moses, supra note 54, at 49
              102 Id



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          aggressiveness; inability to comply with staff directives; fearful
          visual hallucinations; and incapacitating anxiety. 103 In this most
          disturbed group, symptoms had not remitted when observed one
          week after their eye patches were removed. 104
              Other studies have also found patients to suffer from perceptual
          distortions, thinking disturbances, and mood changes following the
          visual deprivation that is part of postoperative recovery in eye
          surgery. 105 Furthermore, it was noted that “[i]n patients with . . . brain
          damage, there were also delirioid symptoms, e.g., confusion,
          disorientation, memory impairment, vivid hallucinations [and
          disorganized] hyperkinetic activity . . . .” 106 Finally, in C. Wesley
          Jackson’s extensive literature review of hospitalized eye patched
          patients, psychiatric disturbance was commonly found. 107 These
          patients suffered from unusual emotional, cognitive, and sensory-
          perceptual disturbances similar to those previously described.

                                           B. Poliomyelitis

             Polio patients confined to tank-type respirators have become
          psychotic as a direct result of such confinement; moreover, they
          became more ill, with more florid hallucinations and delusions, at
          night when sensory input was diminished. 108 The same florid
          hallucinatory, delusional psychosis has been found in other patients
          similarly confined in tank respirators. 109

                                         C. Cardiac Patients

             Patients with decompensated heart disease are at times placed on
          very strict bed rest; some of these patients have developed acute


             103 Id at 50
             104 Id
             105 See, e.g., Eugene Ziskind et al , Observations on Mental Symptoms in Eye Patched
          Patients: Hypnagogic Symptoms in Sensory Deprivation, 116 AM J PSYCHIATRY 893 (1960);
          Ziskind, supra note 53
             106 Ziskind et al , supra note 105, at 894
             107 See C Wesley Jackson, Jr , Clinical Sensory Deprivation: A Review of Hospitalized
          Eye-Surgery Patients, in SENSORY DEPRIVATION: FIFTEEN YEARS, supra note 71, at 337–43
             108 Solomon et al , supra note 95, at 361
             109 Id. at 362



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            confusional, paranoid, hallucinatory psychoses, especially at night
            during periods of decreased sensory input.
                Studies of postoperative open heart surgery patients who were bed
            confined—their visual stimulation restricted to looking up at a white-
            tiled hospital room ceiling—revealed a high rate of disordered
            thinking, visual and auditory hallucinations, and disorientation.110
            There is an extremely disturbing incidence of psychosis following
            open heart surgery, ranging in various studies from 14% to 30%. 111
            Upon recovery these patients described their postoperative
            environment as a major pathogenic factor in producing their
            psychiatric illness. 112 Perceptual disturbances and emotional liability,
            as well as paranoia, depression, and obsessive-compulsive reactions
            to the restrictive postoperative environment have been documented in
            other studies as well. 113

                                    D. Hearing-Impaired Individuals

               Another condition of restricted environmental stimulation leading
            to psychiatric disturbance involves the hearing impaired. Studies of
            the deaf consistently find significantly higher rates of paranoia in
            these individuals. 114 High rates of paranoia have been reported in
            both the developmentally hearing impaired as well as those who


               110 See, e.g., N Egerton & J H Kay, Psychological Disturbances Associated with Open
            Heart Surgery, 110 BRIT J PSYCHIATRY 433 (1964); Donald S Kornfeld et al , Psychiatric
            Complications of Open-Heart Surgery, 273 NEW ENG J MED 287 (1965); Herbert R Lazarus
            & Jerome H Hagens, Prevention of Psychosis Following Open-Heart Surgery, 124 AM J
            PSYCHIATRY 1190 (1968); Larkin M Wilson, Intensive Care Delirium, 130 ARCHIVES
            INTERNAL MED 225 (1972)
               111 Robert E Lee & Patricia A Ball, Some Thoughts on the Psychology of the Coronary
            Care Unit Patient, 75 AM J NURSING 1498, 1501 (1975)
               112 Kornfeld et al , supra note 110, at 290
               113 See, e.g., Rosemary Ellis, Unusual Sensory and Thought Disturbances After Cardiac
            Surgery, 72 AM J NURSING 2021 (1972); Alvin G Goldstein, Hallucinatory Experience: A
            Personal Account, 85 J ABNORMAL PSYCHOL 423 (1976); Linda Reckhow Thomson, Sensory
            Deprivation: A Personal Experience, 73 AM J NURSING 266 (1973); Lee & Ball, supra note
            111
               114 See, e.g., Kenneth Z Altshuler, Studies of the Deaf: Relevance to Psychiatric Theory,
            127 AM J PSYCHIATRY 1521 (1971); F Houston & A B Royse, Relationship Between
            Deafness and Psychotic Illness, 100 J MENTAL SCI 990 (1954)




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          became deaf in later life. Experimentally induced deafness in
          psychiatrically unimpaired adults also produced paranoia. 115

                                     E. Other Medical Patients

             Disorientation and delusional psychoses have also been reported
          among immobilized orthopedic patients and in patients postsurgically
          bed-confined. Nursing researchers have studied this phenomenon and
          have concluded that frightening hallucinatory experiences “are
          probably far more widespread than has been suspected.” 116

                                 VI. OCCUPATIONAL SITUATIONS

              Researchers reported in the New England Journal of Medicine on
          a study of fifty long-distance truck drivers; of these, thirty
          experienced vivid visual hallucinations and some became disoriented
          as if in a dream. 117

                                       VII. ANIMAL STUDIES

              As noted in the body of this article, many prisoners confined in
          solitary become intolerant of normal levels of environmental
          (especially social) stimulation. These reports receive experimental
          confirmation in laboratory research on animals. Such research
          demonstrates that sensory deprivation produces an intolerance to
          normal levels of environmental stimulation; animals exposed to
          sensory deprivation conditions became overly aroused—
          “hyperexcitable”—when exposed to normal levels of environmental
          stimulation, often resulting in severe behavioral disturbances. 118


             115 See Phil G Zimbardo et al , Induced Hearing Deficit Generates Experimental
          Paranoia, 212 SCI 1529, 1529–31 (1981)
             116 Florence S Downs, Bed Rest and Sensory Disturbances, 74 AM J NURSING 434, 438
          (1974)
             117 Ross A McFarland & Ronald C Moore, Human Factors in Highway Safety, 256 NEW
          ENG J MED 792, 797 (1957)
             118 See Austin H Riesen, Excessive Arousal Effects of Stimulation After Early Sensory
          Deprivation, in SENSORY DEPRIVATION—HARVARD, supra note 47, at 35–36




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                One study produced agitation in mice and rats after a few days of
            isolation, a report which corroborated previous studies with rats. 119
            Others have also found isolation-induced aggressive behavior in mice
            (such as biting attacks). 120 Further, social isolation has been
            demonstrated to produce profound and lasting psychological effects
            in primates. Researchers have noted that over four hundred published
            investigations of the effects of social isolation on primates show such
            deleterious effects as self-mutilation and disturbances in perception
            and learning. 121 They found that in adult rhesus monkeys even brief
            periods of social isolation produce compromised cognitive
            processing. 122 Others have produced symptoms of depression in
            rhesus monkeys by confining them for thirty days. 123 They concluded
            that solitary “confinement produced greater destructive behavioral
            effects in less time and with fewer individual differences among
            subjects than did total social isolation, previously [demonstrated to
            be] the most powerful technique for producing psychopathological
            behavior among monkey subjects.” 124 Induced depression through
            confinement has been reported in both young and mature monkeys.125
            Finally, isolation-produced fear in dogs has been clearly
            demonstrated. 126


               119 See T C Barnes, Isolation Stress in Rats and Mice as a Neuropharmacological Test,
            18 FED’N PROC 365 (1959)
               120 Kinzo Matsumoto et al , Desipramine Enhances Isolation-Induced Aggressive
            Behavior in Mice, 39 PHARMACOLOGY BIOCHEMISTRY & BEHAV 167, 168 (1991)
               121 See David A Washburn & Duane M Rumbaugh, Impaired Performance from Brief
            Social Isolation of Rhesus Monkeys, 105 J COMP PSYCHOL 145 (1991)
               122 Id at 145
               123 William T McKinney et al , Depression in Primates, 127 AM J PSYCHIATRY 1313,
            1316 (1971)
               124 Id at 1317
               125 See Harry F Harlow & Steven J Suomi, Induced Depression in Monkeys, 12 BEHAV
            BIOLOGY 273 (1974)
               126 See W R Thompson & R Melzack, Early Environment, 194 SCI AM 38 (1956)




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                                           APPENDIX B:


           THE NINETEENTH CENTURY GERMAN EXPERIENCE WITH SOLITARY
                                CONFINEMENT

              Between 1854 and 1909 thirty-seven articles appeared in the
          German medical literature on the subject of psychotic disturbances
          among prisoners, summarizing years of work and many hundreds of
          cases. A major review of this literature was published in 1912. 127
          Solitary confinement was the single most important factor identified
          in the etiology of these psychotic illnesses.
              Indeed, the first report on the subject of prison psychoses was that
          of Delbruck, chief physician of the prison at Halle, in which the
          frequency of mental disturbances was at last so great that it attracted
          the attention of the authorities. 128 Delbruck’s report concluded that
          prolonged absolute isolation has a very injurious effect on the body
          and mind and that it seems to predispose inmates to hallucinations
          and advised the immediate termination of solitary confinement. 129
              In 1863 Gutsch reported on eighty-four cases of psychosis
          stemming from solitary confinement and described vivid
          hallucinations and persecutory delusions, apprehensiveness,
          psychomotor excitation, sudden onset of the syndrome, and rapid
          recovery upon termination of solitary confinement. 130 Many of these
          individuals developed “suicidal and maniacal outbreaks.” 131
              In 1871, in a report on fifteen cases of acute reactive psychoses,
          some of which apparently occurred within hours of incarceration in
          solitary, Reich described hallucinosis and persecutory delusions in
          addition to severe anxiety leading to motor excitement—“[t]he
          patient becomes noisy, screams, runs aimlessly about, destroys and
          ruins everything that comes in his way.” 132 He also described an
          acute confusional state accompanying these symptoms, sudden


            127   See NITSCHE & WILMANNS, supra note 36
            128   Id at 1
            129   Id at 2
            130   Id at 8
            131   Id
            132   Id at 31



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            cessation of symptoms, recovery, and subsequent amnesia for the
            events of the psychosis. 133
                In a statistical summary, Knecht reported in 1891 on the
            diagnostic assessment of 186 inmates at the “insane department” of
            the prison at Waldheim and concluded that over half of the total
            inmates in this department were there due to reactive manifestations
            to solitary confinement. 134 The majority of these inmates became
            insane within two years of confinement in solitary. 135
                In 1884 Sommer reported on 111 cases describing an acute,
            reactive, hallucinatory, anxious, confusional state associated with
            solitary confinement, emphasizing the “excited outbursts” and
            “vicious assaults” of these patients. 136 His patients’ illness began with
            difficulty in concentration and hyperresponsivity to minor
            “inexplicable” external stimuli. These “elementary disturbances of
            the sensorium (i.e., the five senses)” were seen as leading to
            “elementary hallucinations” which became more numerous,
            eventually including auditory, visual, and olfactory hallucinations
            and eventually becoming incorporated with fearful persecutory
            delusions. 137
                In 1889 Kirn described 129 cases of psychosis among the inmates
            at the county jail at Freiburg, concluding that in fifty of those cases,
            “solitary confinement can be definitely considered as the etiological
            factor, (and these) show a certain characteristic stamp” including
            persecutory delusions and hallucinations in multiple spheres
            (auditory, visual olfactory, tactile). 138 He also noted that these
            symptoms often precipitated at night:
               [T]he patient is suddenly surprised at night by hallucinatory
               experiences which bring on an anxious excitement. These
               manifestations become constant from now on, in many cases
               occurring only at night, in others also in the daytime. Attentive
               patients not infrequently hear at first a humming and buzzing


              133   Id   at 32–33
              134   Id
              135   Id   at 17
              136   Id   at 12, 16
              137   Id   at 12–16
              138   Id   at 21



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              in their ears, unpleasant noises and inarticulate sounds which
              they cannot understand until finally they hear well
              differentiated sounds and distinct words and sentences. . . .
                  . . . The visual hallucinations are very vivid. 139
              In 1888 Moeli contributed a description of “vorbereiden”—also
          known as “the symptom of approximate answers.” 140 Ten years later
          Ganser contributed to the literature the elucidation of a syndrome
          which included Moeli’s symptom. 141 As Arieti points out, Ganser’s
          Syndrome became well known—indeed, almost a codification of the
          whole body of literature on the prison psychoses. 142 Ganser provided
          a comprehensive and well-elucidated synthesis of symptoms, most of
          which had been previously described elsewhere. The syndrome he
          described included (in addition to vorbereiden) vivid visual and
          auditory hallucinations, a distinct clouding of consciousness, sudden
          cessation of symptoms “as from a dream,” and “a more or less
          complete amnesia for the events during the period of clouded
          consciousness.” 143 Ganser’s most original description was of
          “hysterical stigmata” within the syndrome, including conversion
          symptoms, especially total analgesia. 144
              Some of the German authors failed to note whether the inmates
          they were describing were housed in solitary confinement and,
          unfortunately, Ganser was one of these, stating only that his were
          prisoners awaiting trial. However, Langard, in 1901, also reporting
          on observations of accused prisoners awaiting trial, described an
          acute violent hallucinatory confusion with persecutory delusions and


             139 Id at 23–24
             140 Vorbereiden is a rather remarkable symptom of deranged and confused thought
          processes in which the individual’s response to a question suggests that he grasped the gist of
          the question, and his answer is clearly relevant to the question, and related to the obvious
          correct answer, yet it still oddly manages to be incorrect An example would be: Q: “How many
          colors are there in the flag of the United States” A: “Four” Q: “What are they?” A: “Yellow”
             141 Ganser, Ueber Einen Eigenartigen Hysterischen Dämmerzustand, 30 ARCHIV FÜR
          PSYCHIATRIE UND NERVENKRAN-KHEITEN [ARCH PSYCH & NERVENK] 633 (1898) (F R G )
             142 AMERICAN HANDBOOK OF PSYCHIATRY 710–12 (Gerald Caplan ed , 2d ed 1974)
             143 Id
             144 Id.




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            specifically stated that this syndrome occurred exclusively among
            those who awaited trial in solitary confinement. 145
                Also in 1901 Raecke similarly reported on prisoners awaiting trial
            and described the full syndrome described by Ganser, including
            vorbereiden; he specifically condemned solitary confinement as
            responsible for the syndrome. 146 He described his cases as beginning
            with apathy, progressing to “inability to concentrate, a feeling of
            incapacity to think,” and even catatonic features, including
            negativism, stupor, and mutism. 147
                In another report, written the same year, Skliar reported on sixty
            case histories of which he identified twenty-one as acute prison
            psychoses caused by solitary confinement. 148 While vorbereiden was
            not noted, most of the other symptoms described by Ganser and
            Raecke were, including massive anxiety and fearful auditory and
            visual hallucinations; in severe cases, hallucinations of smell, taste,
            and “general sensation” as well as persecutory delusions, senseless
            agitation and violence, confusion, and disorientation. 149 The
            psychosis developed rapidly, at times within hours of incarceration in
            solitary confinement. 150 Catatonic symptomatology was also noted. 151
                The German literature reported only on prisoners who suffered
            gross psychotic symptomatology, some of whom were observed in
            hospitals or “insane departments” of prisons; thus, these reports
            generally described only syndromal expressions that rose to the level
            of overt psychosis. The German reports do, however, powerfully
            demonstrate the existence of a particular, clinically distinguishable
            psychiatric syndrome associated with solitary confinement. These
            multiple reports described a syndrome which included:
               1. Massive free-floating anxiety.
               2. “Disturbances of the Sensorium,” including—


              145   NITSCHE & WILMANNS, supra note 36, at 32
              146   Id at 34
              147   Id at 33–35
              148   Id at 40
              149   Id at 41
              150   Id
              151   Id




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                  a. hyperresponsivity to external stimuli; and
                  b. vivid hallucinations in multiple spheres (including
                  auditory, visual, olfactory, gustatory, and tactile
                  modalities); in some reports, these began as simple
                  “elementary” hallucinations and progressed to complex,
                  formed hallucinations.
             3. Persecutory delusions, often incorporating coexistent
             complex hallucinations.
             4. Acute confusional states. In some reports these were seen
             as beginning with simple inattention and difficulty in
             concentration. In others, the onset was described as sudden.
             The confusional state and disorientation was in several reports
             described as resembling a dissociative, dreamlike state, at
             times involving features of a catatonic stupor, including
             negativism and mutism; and, upon recovery, leaving a residual
             amnesia for the events of the confusional state. Ganser and
             others observed hysterical conversion symptoms during this
             confusional state.
             5. Vorbereiden: This was an infrequent finding, mostly
             described in conjunction with a confusional, hallucinatory
             state.
             6. Motor excitement, often associated with sudden, violent
             destructive outbursts.
             7. Characteristic course of the illness:
                  a. onset was described by some authors as sudden, by
                  others as heralded by a progression beginning with sensory
                  disturbances and/or inattention and difficulty in
                  concentration; and
                  b. in many cases, rapid subsidence of acute symptoms
                  upon termination of solitary confinement.
             The German reports were generally based upon prisoners who had
          been hospitalized because of their psychotic illness. In contrast, the
          population reported upon in the Walpole study was not preselected by
          overt psychiatric status. Despite this, all of the major symptoms

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            reported by the German clinicians were observed in the Walpole
            population, except for vorbereiden and hysterical conversion
            symptoms. In addition, less severe forms of the isolation syndrome
            were observed in the Walpole population, including:
                • Perceptual distortions and loss of perceptual constancy, in
                  some cases without hallucinations.
                • Ideas of reference and paranoid ideation short of overt
                  delusions.
                • Emergence of primitive aggressive fantasies which
                  remained ego-dystonic and with reality-testing preserved.
                • Disturbances of memory and attention short of overt
                  disorientation and confusional state.
                • Derealization experiences without massive dissociative
                  regression.
               Since Ganser’s report has become the twentieth century’s clearest
            memory of a much vaster body of literature, it is also of interest to
            review the literature describing observations of Ganser’s Syndrome
            in non-prison populations. Several of these reports have been studies
            of patients in psychiatric hospitals suffering from this syndrome.
            Since these patients were hospitalized, it was possible to obtain more
            extensive evaluation and testing of their status. Several reports
            described a majority of the patients studied as suffering long standing
            hysterical conversion symptoms; impulsivity, childhood truancy, and
            antisocial behavior were also commonly described. 152 These findings
            suggest also that antisocial behavior patterns and psychopathic
            personality disorder may bear a close relationship to primitive
            hysterical personality disorder, a relationship which has been
            described by other authors as well. 153


              152 See, e.g., Ingraham & Moriarty, supra note 59; May et al , supra note 59; Milo
            Tyndel, Some Aspects of the Ganser State, 102 J MENTAL SCI 324 (1956); Herbert Weiner &
            Alex Braiman, The Ganser Syndrome, 111 AM J PSYCHIATRY 767 (1955)
              153 See ROBERT A WOODRUFF, JR ET AL , PSYCHIATRIC DIAGNOSIS (1974)




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                                             APPENDIX C:


               EXPERIMENTAL RESEARCH ON THE PSYCHIATRIC EFFECT OF
               PROFOUND SENSORY DEPRIVATION: FACTORS INFLUENCING
                      VULNERABILITY TO PSYCHIATRIC HARM

              As noted in the body of this article, laboratory research has
          demonstrated that experimentally induced sensory deprivation has
          major psychological effects and can precipitate severe psychiatric
          illness. Much of the research in this area attempted to delineate
          factors in addition to the duration and intensity of sensory restriction
          which might account for these differing outcomes. The factors which
          have been elucidated include two which are especially relevant to this
          discussion and may help to explain the particular malignancy of
          sensory deprivation in solitary confinement: expectation and
          individual response.

                              I. THE INFLUENCE OF EXPECTATION

             Research has suggested that a subject’s reaction to participation in
          a sensory deprivation experiment could be profoundly manipulated
          by external cues imposed by the experimenter:
              [These] dramatic effects could be a function of the demand
              characteristics of the experimental situation. . . .
                 There is evidence . . . that preparing a subject for probable
              hallucinations significantly affects the frequency of
              hallucinations. . . . [S]uch devices as “panic buttons” in
              experiments are in a sense eloquent “instructions.” The use of
              such a device increases the subject’s expectation that
              something intolerable may occur, and, with it, the likelihood of
              a bad experience. 154


            154 Martin T Orne & Karl E Scheibe, The Contribution of Nondeprivation Factors in the
          Production of Sensory Deprivation Effects: The Psychology of the “Panic Button,” 68 J
          ABNORMAL & SOC PSYCHOL 3, 4 (1964) (citations omitted)




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                In the experiment, the researchers exposed two groups of subjects
            to identical conditions of sensory deprivation. The experimental
            group’s introduction to the experiment included the presence of a
            medical “Emergency Tray,” and instructions about a “Panic Button.”
            As predicted, the experimental group became significantly more
            symptomatic in measures of cognitive impairment and restlessness,
            and also more symptomatic in every other measure—including
            perceptual aberrations, anxiety, and spatial disorientation. 155
                In a related manner, prisoners in solitary confinement generally
            view such confinement as threatening and punitive, and often as a
            deliberate attempt to make them “crack up” or “break my spirit.” In
            light of this, it is not surprising that the only recent report suggesting
            no major ill effect of solitary confinement utilized prisoners who
            volunteered to spend four days in solitary confinement. 156

                             II. INDIVIDUAL DIFFERENCES IN RESPONSE

                Several authors have directed attention to the fact that within a
            given experimental format, massive differences in response can be
            observed among individual subjects. Often subjects who tolerated the
            experimental situation well reported pleasant, or at least non-
            threatening, visual imagery, fantasy, and hallucinatory experiences.
            The individual’s mind may begin to wander, engage in daydreams,
            slip off into hypnogogic reveries with their attendant vivid pictorial
            images. The individual may be quietly having sexual and other
            pleasurable thoughts. 157
                On the other hand,
                     Another subject in the same situation may deal with it in
                quite another manner. He may soon complain of all manner of
                things: the bed is causing him a backache, his mind is a blank
                . . . . [He also complains of] intense boredom, tenseness,


               155 Id at 3–12
               156 See Richard H Walters et al , Effects of Solitary Confinement on Prisoners, 119 AM
            J PSYCHIATRY 771 (1963)
               157 Wright et al , supra note 81, at 36




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             depressive feelings or of having unpleasant thoughts or
             picture-like images that disturb him. 158
             In response to these concerns about the incidence of
          psychopathological reactions to sensory deprivation, an important
          thrust of the experimentation in this area has been, by prescreening,
          to select as subjects only those persons demonstrating, by some
          measure, psychological strength and capacity to tolerate regression.
          The theoretical premise of such work has been:
             [I]n the sensory deprivation experiments, it is the ego’s
             autonomy from the drives that is predominately involved . . . .
             Differences in drive-discharge thresholds, phantasy [sic] and
             daydream capacity, capacity for what [is] . . . termed
             “regression in the service of the ego” are other theoretically
             relevant structural dimensions accounting for differences in
             isolation behavior. 159
              These ideas have been subjected to experimental verification,
          which has corroborated that some individuals tolerate such isolation
          better than others. For example, two researchers, using the Rohrshach
          Test for prescreening, concluded that the Rohrshach manifestations
          of an individual’s defense and control mechanisms appear to be a
          reliable measure for predicting whether an individual will be
          effective in controlling the drive-dominated responses that might
          emerge during the individual’s period of reduced sensory
          stimulation. 160
              Anecdotal reports in a similar vein appear from time to time in the
          literature. A subject of one study became panicky during sensory
          deprivation and stated he had been diagnosed “borderline
          psychotic.” 161 Curtis and Zuckerman report on a psychotic paranoid
          reaction in one subject who suffered delusions for several days
          afterward, and severe anxiety and depression lasting several weeks;


             158 Leo Goldberger, Experimental Isolation: An Overview, 122 AM J PSYCHIATRY 774,
          777 (1966)
             159 Id at 778 (footnotes omitted)
             160 Wright et al , supra note 81, at 37
             161 Sanford J Freedman & Milton Greenblatt, Studies in Human Isolation II:
          Hallucinations and Other Cognitive Findings, 11 U S ARMED FORCES MED J 1479, 1486
          (1960)


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            personality test prescreening had suggested poor adjustment,
            hostility, lack of insight, and insecurity in interpersonal
            relationships. 162
                Others prescreened forty-three subjects and identified seven as
            suffering “personality deviations.” Two of these subjects, who were
            diagnosed as borderline, developed frightening, aggressive fantasies,
            paranoia, and difficulty in reality testing; one of them prematurely
            terminated the experiment. Two others were diagnosed as
            psychopathic; both forced the premature termination of the
            experiment by disruptive behavior. 163
                Others, using interview techniques and formal psychological test
            data, studied the effects of two to six days of sensory deprivation on
            hospitalized psychiatric patients. Among the previously non-
            psychotic patients they studied, two developed overt paranoid
            psychoses during the experiment, ultimately necessitating
            electroshock treatment. These particular individuals appeared to have
            been unable to tolerate the emergence of aggressive fantasies and
            images during the sensory deprivation experience. 164

            A. Effects of Sensory Deprivation on Antisocial Personality Disorder

                1. Aversive Conditioning

               Individuals with psychopathic personality disorder are probably
            among the least tolerant of sensory deprivation. One researcher has
            described the essential core of psychopathic pathology as a
            pathological inability to tolerate restricted environmental stimulation:
                The psychopath is almost universally characterized as
                [pathologically stimulus seeking and] highly impulsive . . . .
                He is unable to tolerate routine and boredom. . . . [H]is
                outbursts frequently appear to be motivated by little more than
                a need for thrills and excitement. . . .


               162 George C Curtis & Marvin Zuckerman, A Psychopathological Reaction Precipitated
            by Sensory Deprivation, 125 AM J PSYCHIATRY 255, 256 (1968)
               163 See Henry U Grunebaum et al , Sensory Deprivation and Personality, 116 AM J
            PSYCHIATRY 878 (1960)
               164 See H Azima & Fern J Cramer, Effects of Partial Perceptual Isolation in Mentally
            Disturbed Individuals, 17 DISEASES NERVOUS SYS 117 (1956)


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                 It is the impulsivity and lack of even minimal tolerance for
              sameness which appear to be the primary and distinctive
              features of the disorder. 165
              He goes on to argue that psychopathic individuals may chronically
          exist in a state of relative stimulus deprivation: “[H]ighly impulsive,
          psychopathic behavior [may be seen] in terms of stimulation-seeking
          pathology. If decreased reactivity and/or rapid adaptation [to
          environmental stimuli] do produce in these persons an affective state
          of unpleasantness close to that produced by severe sensory
          deprivation or monotony in the normal individual . . . .” 166
              He argues that behavioral impulsivity in such individuals may be
          an effort at coping with this condition of relative sensory deprivation
          which they experience: “It may be possible . . . to view much of the
          impulsivity of the psychopath, his need to create excitement and
          adventure, his thrill-seeking behavior, and his inability to tolerate
          routine and boredom as a manifestation of an inordinate need for
          increases or changes in the pattern of stimulation.” 167
              A later study, directly comparing psychopathic inmates with non-
          psychopathic controls, corroborated these findings. The psychopathic
          inmates scored significantly higher on measures of boredom
          susceptibility and of impulsivity. The authors concluded that
          psychopaths are pathologically stimulation seeking and incapable of
          tolerating isolation conditions. 168
              Others, in a large scale study of criminal offenders suffering from
          mental illness, noted that the prevalence of severe mental illness is
          higher among incarcerated offenders than among the general
          population; and that, compared with non-mentally ill inmates, the
          mentally ill inmates were more likely to be housed in solitary.
          Moreover many of these mentally ill inmates suffered from a
          combination of psychiatric disorders predisposing them to both
          psychotic breakdown and to extreme impulsivity (often including


            165 Quay, supra note 58, at 80
            166 Id at 182
            167 Id at 181
            168 See Timothy D Emmons & Warren W Webb, Subjective Correlates to Emotional
          Responsivity and Stimulation Seeking in Psychopaths, Normals, and Acting-Out Neurotics, 42
          J CONSULTING & CLINICAL PSYCHOL 620 (1974)



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            substance abuse). Such individuals tended to be highly impulsive,
            lacking in internal controls, and tended to engage in self-abusive and
            self-destructive behavior in the prison setting, and especially so when
            housed in solitary. 169
                Many of the inmates placed in solitary confinement are thus likely
            to be among the least capable of tolerating the experience, and among
            the most likely to suffer behavioral deterioration as a consequence of
            such confinement. Solitary confinement has at times been
            rationalized as being a form of “aversive conditioning,” intended to
            extinguish negative inmate behaviors. Yet this assertion ignores
            many of the most basic tenets of any behavior modification
            treatment, and would in any case clearly violate the ethical guidelines
            governing the use of aversive conditioning:

                    a. Ethical Considerations

                First of all, since aversive conditioning—the use of punishment as
            a means of inducing behavior change—is inherently suspect ethically
            and creates an inherent risk of harm, very clear outcome variables
            have to be articulated and systematically measured over time. As a
            result of these serial measurements, there must be clear evidence that
            the undesirable behavior is in fact lessening in frequency and
            intensity. Such measurement will also identify those patients for
            whom such aversive conditioning is actually harmful, allowing these
            individuals to be removed from the aversive treatment protocol. Were
            such measurements done in the prison setting, staff would inevitably
            be required to acknowledge the behavioral deterioration which many
            inmates were suffering as a result of placement in solitary, and in
            such cases, ethical considerations would have required transferring
            the inmate out of such confinement.

                    b. SHU Incarceration is not Aversive Conditioning

               SHU incarceration does not meet criteria for aversive
            conditioning. Indeed, any behavior modification scheme must define
            and describe very explicitly two variables:


              169   Curtis & Zuckerman, supra note 162, at 271–72


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                  (i) The behavior being changed:

              Behavior researchers have learned that in order for a subject to
          benefit from aversive (or any other form of) conditioning, the
          behavior at issue must be a single, very clearly defined behavior.
          When multiple behaviors are responded to by the same reinforcer or
          punishment, learning and behavior change does not occur. Thus,
          placement in SHU, which is “punishment” for a host of different
          behaviors, is simply not being used in a manner consistent with an
          intent of behavior modification; there is inadequate linkage of any
          specific behavior to this “punishment.”

                  (ii) The “punishment”:

             Moreover, SHU confinement is quite clearly not “punishment.”
          To be effective, a “punishment” must be very closely linked in time
          to the targeted behavior, and for learning to occur, there must be
          repeated opportunities to experience this close link between the target
          behavior and the punishment. Thus, the “punishment” must be brief
          and immediate. For example, a mild but painful electric shock or a
          sudden very loud noise would be ideal punishments in aversive
          conditioning.
             Occasionally “time outs,” the brief use of a seclusion room to
          quickly control disruptive behavior, are used as part of an aversive
          conditioning program. But when this technique is employed, it is
          used very quickly and for a very brief period of time—in order for
          the “time out” to work as a behavior modifier, there must be very
          clear alternative behaviors which, when manifested, will immediately
          end the “time out.”
             For any behavior modification scheme to work then, there must
          always be an exquisitely close relationship between behavior and
          response. Indeterminate or prolonged sentencing to solitary simply
          has nothing to do with aversive conditioning.




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                                             APPENDIX D:


            REPORTS OF THE LONG-TERM EFFECTS OF SOLITARY CONFINEMENT
              IN FORMER POLITICAL PRISONERS AND IN PRISONERS OF WAR:
             SOLITARY CONFINEMENT AS A MEANS OF “BRAIN WASHING” AND
                                “INDOCTRINATING”

                Although concerns about the psychiatric effects of solitary
            confinement among prisoners of war were raised in the medical
            literature at least as early as post-World War II, this issue reached
            massive public exposure only after the fearful news of “brain
            washing” among American prisoners of war in Korea. As is well
            known, the 1950’s were an era of tremendous fear of Communism
            and of the attempts by communist states to “indoctrinate” people into
            their ideology. As noted in the body of this article, in the 1950s the
            United States Department of Defense and the Central Intelligence
            Agency sponsored a great deal of research on these issues. The
            results of extensive research done for the Department of Defense
            were subsequently published. 170 The paper documented interrogation
            techniques of the Soviet KGB in regard to the incarceration of
            political prisoners, and the Chinese communists’ imprisonment of
            American prisoners of war in Korea.
                The report indicated that the KGB operated detention prisons,
            many of which were “modern . . . well built and spotlessly clean . . .
            [with] attached medical facilities and rooms for the care of sick
            detainees. An exercise yard is a standard facility.” 171 Incarceration in
            these prisons is almost universally in solitary confinement, in a cell
            approximately ten feet by six feet in size. 172 “An almost invariable
            feature of the management of any important suspect under detention
            is a period of total isolation in a detention cell.” 173
                This isolation was seen as a central feature of the imprisonment:
            “The effects upon prisoners of the regimen in the isolation cell are


              170   HINKLE & WOLFF, supra note 65
              171   Id at 125
              172   Id
              173   Id at 126



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          striking. . . . A major aspect of this prison experience is isolation. . . .
          [In the cells] [h]is internal as well as external life is disrupted” and
          “he develops a predictable group of symptoms, which might almost
          be called ‘disease syndrome.’” 174
              This syndrome develops over time:
             He becomes increasingly anxious and restless, and his sleep is
             disturbed. . . .
                The period of anxiety, hyperactivity, and apparent
             adjustment to the isolation routine usually continues from one
             to three weeks. As it continues, the prisoner becomes
             increasingly dejected and dependent. He gradually gives up all
             spontaneous activity within his cell and ceases to care about
             personal appearance and actions. Finally, he sits and stares
             with a vacant expression, perhaps endlessly twisting a button
             on his coat. He allows himself to become dirty and
             disheveled. . . . He goes through the motions of his prison
             routine automatically, as if he were in a daze. . . . Ultimately he
             seems to lose many of the restraints of ordinary behavior. He
             may soil himself. He weeps; he mutters . . . . It usually takes
             from four to six weeks to produce this phenomenon in a newly
             imprisoned man. 175
          Addressing the emotional impact on prisoners of such confinement,
          the report noted that:
             His sleep is disturbed by nightmares. Ultimately he may reach
             a state of depression in which he ceases to care about his
             personal appearance and behavior and pays little attention to
             his surroundings. In this state the prisoner may have illusory
             experiences. A distant sound in the corridor sounds like
             someone calling his name. The rattle of a footstep may be
             interpreted as a key in the lock opening the cell.


            174   Id at 127
            175   Id at 128




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                  Some prisoners may become delirious and have visual
               hallucinations. 176
                However, the report also notes that each individual may respond
            differently: Not all men who first experience total isolation react in
            precisely this manner. In some, these symptoms are less conspicuous.
            In others, dejection and utter despondence set in earlier, or later. Still
            others, and especially those with pre-existing personality
            disturbances, may become frankly psychotic. 177
                The authors of this report note that the procedures in the Chinese
            detention camps are somewhat more complex. Prisoners there
            underwent an initial period of isolation similar to that found in the
            Soviet prisons. 178 In the second phase, however they were housed in
            extremely tight quarters within “group cells” comprising
            approximately eight prisoners. 179 Under the tensions and hostilities
            created in this environment, brutality of prisoners by other prisoners
            was almost inevitable and was, according to the authors, apparently
            an intended result of this “group cell” confinement. 180
                There are many long-term studies of American prisoners of war;
            unfortunately, the factor of solitary confinement has not generally
            been separated out in these studies. However, one relatively recent
            study of Korean prisoners of war described long-term effects
            including interpersonal withdrawal and suspiciousness, confusion,
            chronic depression, and apathy toward environmental stimuli.
            Irritability, restlessness, cognitive impairment, and psychosomatic
            ailments were extremely common in the group, most of whom had
            suffered periods of incarceration in solitary confinement at the hands
            of the Chinese. This report also included a case report of one
            individual exposed to harsh conditions of solitary confinement for
            more than sixteen months; thirty years after release, he continued
            suffering sleep disturbances, nightmares, fearfulness, interpersonal
            suspicion and withdrawal, severe anxiety, and severe depression.
            These former prisoners also had psychosomatic ailments including


              176   Id
              177   Id   at 129
              178   Id   at 153
              179   Id   at 156
              180   Id   at 159


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          gastrointestinal disturbances, chronic headaches, and obsessive
          ruminations. They tended to become confused and thus cognitively
          impaired and were emotionally volatile and explosive. 181
              In former prisoners of war in the Korean conflict, approximately
          forty years after their release from confinement, solitary confinement
          was cited as one of the severe stressors in this group. These former
          prisoners demonstrated persistent anxiety, psychosomatic ailments,
          suspiciousness, confusion, and depression. They tended to be
          estranged and detached from social interaction, suffered from
          obsessional ruminations, and tended to become confused and
          cognitively impaired, suffering memory and concentration difficulties
          which affected their cognitive performance on formal testing. 182


             181 See Patricia B Sutker et al , Cognitive Deficits and Psychopathology Among Former
          Prisoners of War and Combat Veterans of the Korean Conflict, 148 AM J PSYCHIATRY 67
          (1991)
             182 Id. at 68




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             EXHIBIT E




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             EXHIBIT F




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            EXHIBIT G




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            EXHIBIT H




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              EXHIBIT I




                                                                DA438
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          **DOCUMENT UNDER SEAL**


       Hekmati v. The Government of the Islamic Republic of Iran, et al.

                        Case No. 1:16-cv-00875 (ESH)




    EX. C TO PLAINTIFF’S PROPOSED
FINDINGS OF FACT AND CONCLUSIONS OF
  LAW IN SUPPORT OF HIS MOTION FOR
          DEFAULT JUDGMENT


          Declaration of Behnaz Hekmati




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                      )
AMIR HEKMATI,                                         )
                                                      )
                        Plaintiff,                    )
                                                      )
         v.                                           )    Case No. 1:16-cv-00875
                                                      )
THE GOVERNMENT OF THE                                 )
ISLAMIC REPUBLIC OF IRAN,                             )
Its Ministries, Agencies, and Instrumentalities,      )
                                                      )
                        Defendants.                   )
                                                      )

                          DECLARATION OF BEHNAZ HEKMATI

         I, Behnaz Hekmati, declare under penalty of perjury as follows:

                         EFFORTS TO OBTAIN AMIR’S RELEASE

         1.     My son, Amir Hekmati, was imprisoned in Iran for four-and-a-half years, from

August 2011 to January 2016.

         2.     For nearly three months, we knew nothing of Amir’s whereabouts or condition.

We didn’t know who took him, where they took him, or why. We didn’t even know if he was

alive.

         3.     From the moment we learned Amir had been arrested and taken to Evin Prison,

our family worked tirelessly to secure his release.

         4.     However, it was clear to us from the start that Amir was being used merely as a

bargaining chip by the Iranian Government to extract money or other concessions from the

U.S. Government.




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       5.      Iranian Government officials initially told our family that Amir would be released

if we kept quiet. Judge Salavati, the judge presiding over Amir’s case, later told us to do more to

pressure the U.S. Government to cooperate with the Iranian Government’s demands.

       6.      Iranian Government officials used Amir to extort money from our family as well.

For example, Amir’s court-appointed lawyer for his second “trial” told me that if our family

wired $20,000 to him in secret, he could guarantee that Amir would only be sentenced to one

year in prison. I sent the money, and still Amir got the maximum sentence of ten years.

             CHANGES IN AMIR’S BEHAVIOR SINCE HIS IMPRISONMENT

       7.      Amir returned home to Michigan in January 2016 and has been living with me

since then. I am so grateful to have him home at last. REDACTED



I.     Amir Pre-Imprisonment

       8.      Before Amir’s imprisonment, he was a very happy person. He was a free spirit,

always smiling, with a sparkle in his eye. He had a wonderful sense of fun about him. He was

positive and optimistic, always making big plans for the future.

       9.      Amir loved to travel and to see new places, but above all, he loved spending time

with his family.

       10.     Amir and I had always been close. He was an affectionate son—he hugged me

often. He would call me every day, and we often had long talks. One of the things I missed

most about Amir when he was in prison was our talks. He was also always very protective of

me, asking what I would do after retirement.




                                                 2



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       11.     Amir was always very social. He had many friends from school, and later, from

work. Everybody loved him because he was a good and loyal friend. He was supportive and

gave great advice.

       12.     Amir is very smart, and he always did well in school. Really, he did well in

everything. Professional success came as easily to him as school did. He always received good

letters of recommendation.

       13.     I did not see any significant change in Amir’s personality after his tour of duty in

Iraq with the Marines. He was more mature and often said how much he had appreciated the

experience; how he had grown professionally and learned from it. As far as I could tell, the

experience had been a positive one. He remained happy and outgoing, and he continued to live

his life with passion. To my knowledge, he had no trouble sleeping or concentrating. He

continued to have a great appetite, as he always had, and he continued to take care of himself.

All he ever wanted, he told me many times, was a good, simple, happy life.

II.    Amir Post-Imprisonment

       14.    REDACTED                                                                My first

thought when he returned home was that he had lost a tremendous amount of weight. His face

looked completely different—particularly his eyes and mouth.

       15.    REDACTED




                                                 3



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 Case 1:19-cv-01766-RAH Document 38-1 Filed 03/12/21 Page 445 of 802
REDACTED




                                4



                                                                 DA443
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REDACTED




                                          5



                                                                           DA444
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             EXHIBIT J




                                                                DA446
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          **DOCUMENT UNDER SEAL**


       Hekmati v. The Government of the Islamic Republic of Iran, et al.

                        Case No. 1:16-cv-00875 (ESH)




    EX. D TO PLAINTIFF’S PROPOSED
FINDINGS OF FACT AND CONCLUSIONS OF
  LAW IN SUPPORT OF HIS MOTION FOR
          DEFAULT JUDGMENT


           Declaration of Sarah Hekmati




                                                                           DA447
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            EXHIBIT K




                                                                DA451
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             EXHIBIT L




                                                                DA453
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                          DECLARATION OF SCOTT D. GILBERT

       I, Scott D. Gilbert, do hereby state the following facts based on my personal knowledge:

       1.      I am Amir Hekmatis ̀ attorne. . I practice law in Washington, D.C. I am a partner

and chairman of the law firm Gilbert LLP. I am a member of the Bars of the District of

Columbia, the U.S. Supreme Court, the U.S. Court of Appeals for the District of Columbia, the

U.S. District Court for the District of Columbia, the U.S. Court of International Trade, and the

Cherokee Nation.

       2.      Our firm initially was retained by the Hekmati family in 2015 to assist in

negotiations to secure Amir s release from prison in Iran. The family found our firm through

contacts that were familiar with our public-service work in the international-prisoner-release

sphere. Among other clients, our firm previously had represented American contractor Alan

Gross and his family in the negotiations leading to Mr. Gross s successful release from unlawful

detention in Cuba in 2014. As of today, our firm has been successful in assisting in the

negotiated release of other Americans held unlawfully in Cuba, Iran, Venezuela, and Vietnam.

       3.      Following extensive negotiations, Amir was released from Iranian custody in

January 2016 as part of a broader hostage exchange between the U.S. and Iran, following on the

heels of the U.S.-Iran nuclear deal.

       4.      My colleagues and I had been in frequent and substantial personal and telephonic

contact ith Amir s famil during his imprisonment and kne from them, in real time, that he

had been experiencing horrific torture and trauma at the hands of his captors. I developed a close

personal relationship with the family during our work together on Amir s case. I found them to

be highly principled and caring people, with strong, shared family values. They were crushed by

what was going on in Iran and their inability ever to reunite their extended family, but they were




                                                                                            DA454
      Case 1:19-cv-01766-RAH Document 38-1 Filed 03/12/21 Page 457 of 802




so proud of having established successful lives and a cohesive family in the United States. In

man     a s, Amir s famil reminded me of the famil in hich I had been raised.

       5.      I kne that Amir s imprisonment had irreparably damaged not just his own life,

but theirs as well. His sister had left her job with the support and encouragement of her husband,

a full-time doctor, with two young children at home, to lobby full time for Amir s release. His

father had a stroke shortl after learning of Amir s death sentence and never recovered. As to

Amir s mother, I do not kno , to this da , ho she managed to sur i e it all, let alone continue

as the matriarch of this loving family.

       6.      When I learned that Amir was being released, I was very pleased that Amir finally

would be reunited with his family. But I also knew, based on my prior work with others who

had undergone such protracted trauma, that Amir would have a long road transitioning back to

 normal life, so to speak.

       7.      On January 18, 2016, I received a panicked call from Amir s brother-in-law from

Landstuhl, Germany. He told me that Amir had arrived at the U.S. Air Force Base in Landstuhl

but had not yet been permitted to see the family, who had flown there to meet him. Government

officials had told the Hekmati family only that Amir was undergoing routine medical e ams.

No one could e plain to the famil     h such routine e ams should take a da or more, or why

his family could not see him in the meantime.

       8.      I was irate. I made an emergency call to Jonathan Finer, Chief of Staff for

Secretary of State John Kerry, whom I had gotten to know well during the negotiations over

Amir s release and in our other U.S. hostage negotiation work. I threatened to take immediate

legal action exposing the shameful behavior of our government towards a decorated Marine who

had just been released from nearly five years of traumatic torture and imprisonment. Mr. Finer




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                                                                                         DA455
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said he as appalled to hear of Amir s mistreatment and that he would take care of it.

Mr. Finer told me he would speak immediately with Secretary Kerry, since ironically both of

them were at that time in Switzerland negotiating additional items with Iran. Shortly after my

call with Mr. Finer, I recei ed another call from Amir s brother-in-law. He and Amir s sister

were in tears; they were with Amir. Amir was informed that, as should have been the case from

the outset, he was free to be with his family and return to the United States. Once Amir returned

home to Michigan, we learned from him about the FBI s first interview of Amir.

          9.    Following his return, Amir and I began a professional relationship. Among other

things, our firm represented him in his lawsuit against the Iranian Government in the U.S.

District Court for the District of Columbia, which was filed in May 2016.

          10.   Amir and I developed a close personal relationship as well. In the months after

his release, we were in regular contact. I knew Amir was living at home, still struggling to

transition to his normal life, and coping with PTSD REDACTED                          resulting

from his confinement and torture in Iran.

          11.   On April 7, 2016, I received a call from Amir informing me that FBI agents had

arrived at his home unannounced and asked him to accompany them to their office because they

 needed more help ith an in estigation. He said the agents had told him that they had

classified information that they needed to provide to him, and that they could only do so at their

office.

          12.   I told Amir to put me on the phone with the agents and to convey that they were

not to interview him unless I was present by telephone. The agents refused to speak with me and

told Amir that they would call me from a landline at the FBI office.




                                                 3
                                                                                          DA456
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       13.        I never heard from anyone. My colleagues tried repeatedly to contact the agent

for hom e d been gi en contact information, Special Agent Melinda Capitano, on her cell

phone, at the FBI s Flint field office, and through her office in Washington, D.C. Agent

Capitano never called back. All of this is documented in contemporaneous emails written by my

colleagues and me on the date of Amir s interrogation. See E-mail from Emily P. Grim to

Eliddia Mader (April 7, 2016, 12:21 PM); E-mail from Scott D. Gilbert to Tim Rieser and

Caroline A. Tess (April 7, 2016, 2:06 PM) (attached hereto as Exs. 1 2).

       14.        As Amir Hekmati s la    er and friend, I am sickened and appalled b our

go ernment s treatment of him since his release from Iran. For four years, I have watched Amir

work to rebuild his life and his relationships here, only to face constant obstacles and setbacks

due to abuse by our own government. Amir s challenges serve to remind me why I became a

lawyer 40 years ago, and my law firm and I are committed to doing everything within our power

to remedy this.




       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.



Executed On: March 23, 2020



                                               Scott D. Gilbert




                                                  4
                                                                                            DA457
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            EXHIBIT M




                                                                DA458
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             EXHIBIT N




                                                                DA461
                Case 1:19-cv-01766-RAH Document 38-1 Filed 03/12/21 Page 464 of 802
                U.S. Department of Justice
                                                                                               P.O. Box 10299
                U.S. Victims of State Sponsored Terrorism Fund
                                                                                       Dublin, OH 43017-5899

December 13, 2018                                                               *P-VTF$F-STAN*

VIA ELECTRONIC MAIL
VTF0201580551


*VTF0201580551*
AMIR M HEKMATI
C/O EMILY PEARSON GRIM
GILBERT LLP
1100 NEW YORK AVE. NW SUITE 700
WASHINGTON, DC 20005


Claim No: 1226
Dear Applicant:
       The Special Master has reviewed and approved your claim for compensation from the U.S. Victims of
State Sponsored Terrorism Fund (the "USVSST Fund"). The allocated payment amount for this distribution is
$839,100.85. Additional information about how the USVSST Fund calculated eligible claimants' award
amounts can be found in the "USVSST Fund Payment Calculation Explanation" and the frequently asked
questions ("FAQs"), available on the USVSST Fund's website at www.usvsst.com.
       In order to receive your payment, you must complete the "Direct Deposit - ACH Payment Form"
available on the USVSST Fund's website at the Payment Information tab, if you have not already done so. For
more information, see the direct deposit FAQs, also available on the Payment Information tab.
       Please note that in accordance with the requirements of the USVSST Fund and the Justice for U.S.
Victims of State Sponsored Terrorism Act, you must inform the USVSST Fund of any compensation from any
source other than this Fund not previously disclosed.
       If you have questions, you may contact the USVSST Fund, referencing your Claim Number shown
above, in one of the following ways:
                 By telephone to the USVSST Fund's toll-free helpline at (855) 720-6966. If you are calling
                 from outside of the United States, please call (614) 553-1013.
                 By email to info@usvsst.com
                 By facsimile to (614) 553-1426
                 By U.S. mail to U.S. Victims of State Sponsored Terrorism Fund, c/o GCG, P.O. Box 10299,
                 Dublin, OH 43017-5899
                 By overnight courier to U.S. Victims of State Sponsored Terrorism Fund, c/o GCG,
                 5151 Blazer Parkway, Dublin, OH 43017-5899
        Every effort will be made to respond to your inquiries as soon as possible.
                                                             Sincerely,



                                                             Kenneth R. Feinberg
                                                             Special Master
                                                             U.S. Victims of State Sponsored Terrorism Fund
                                                                                              DA462
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            EXHIBIT O




                                                                DA463
        Case 1:19-cv-01766-RAH Document 38-1 Filed 03/12/21 Page 466 of 802


    From:          Abrishami, Monique
    To:            info@usvsst.com
    Subject:       RE: Claim No. 1226
    Date:          Tuesday, May 21, 2019 1:03:44 PM
    Attachments:   image001.png


Hello,

I just wanted to check in again about Mr. Hekmati’s claim. I understand that payments are made on
a rolling basis, but it has been over six months since he received his award notification. Has there
been any progress on payment?

Thank you,
Monique Abrishami


From: info@usvsst.com <info@usvsst.com>
Sent: Monday, April 8, 2019 3:36 PM
To: Abrishami, Monique <abrishamim@gilbertlegal.com>
Subject: RE: Claim No. 1226

There is no particular date. Payments are made on a rolling basis.

Regards,

Claims Administrator
U.S. Victims of State Sponsored Terrorism Fund
www.usvsst.com
From: Abrishami, Monique <abrishamim@gilbertlegal.com>
Sent: Friday, April 5, 2019 11:08 AM
To: info@usvsst.com
Subject: RE: Claim No. 1226

Understood, thank you. Is there any sense at all about the timing of these payments? Does the
Fund anticipate completing its payment process by a particular date?




Monique Abrishami           ​




abrishamim@gilbertlegal.com
O 202.772.2255

​1100 New York Ave, NW
 ​Suite 700
  ​Washington, DC 20005
   GilbertLegal.com
​



                                                                                            DA464
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recipient or have received this communication by error, please notify the sender immediately and destroy this email and its
attachments, and all copies thereof, without further distributing or copying them.

From: info@usvsst.com <info@usvsst.com>
Sent: Friday, April 5, 2019 10:27 AM
To: Abrishami, Monique <abrishamim@gilbertlegal.com>
Subject: RE: Claim No. 1226

Hello,

Thank you for contacting us. The Fund is still issuing payments.

Regards,

Claims Administrator
U.S. Victims of State Sponsored Terrorism Fund
www.usvsst.com


From: Abrishami, Monique <abrishamim@gilbertlegal.com>
Sent: Thursday, April 4, 2019 12:34 PM
To: info@usvsst.com
Subject: Claim No. 1226

CAUTION: This email originated from outside of Epiq. Do not click links or open attachments unless you recognize
the sender and know the content is safe.

Hello,

I write on behalf of my client, Amir Hekmati, who received the attached award letter on December
13, 2018. Could you please advise as to the status of payment on the award? Many thanks.

Best,
Monique




Monique Abrishami                 ​




abrishamim@gilbertlegal.com
O 202.772.2255

1100 New York Ave, NW
​Suite 700
 ​Washington, DC 20005
  GilbertLegal.com



                                                                                                                 DA465
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             EXHIBIT P




                                                                DA467
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From:                  Abrishami, Monique
To:                    info@usvsst.com
Subject:               RE: RE: Claim No. 1226
Date:                  Friday, July 19, 2019 4:04:01 PM
Attachments:           image001.png
                       image002.png
                       image976325.png


Checking in again – Could you please advise if the Fund is still issuing payments? Thank you.

Best,
Monique




Monique Abrishami               ​




abrishamim@gilbertlegal.com
O 202.772.2255
​1100 New York Ave, NW
 ​Suite 700
  ​Washington, DC 20005
   GilbertLegal.com
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received this communication by error, please notify the sender immediately and destroy this email and its attachments, and all copies
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From: Abrishami, Monique
Sent: Thursday, July 11, 2019 9:26 AM
To: info@usvsst.com
Subject: RE: RE: Claim No. 1226

Hello,

Could you please advise whether the Fund is still issuing payments? Claim No. 1226 remains
outstanding.

Thank you,
Monique Abrishami


From: info@usvsst.com <info@usvsst.com>
Sent: Monday, April 8, 2019 3:36 PM
To: abrishamim@gilbertlegal.com


                                                                                                                            DA468
      Case 1:19-cv-01766-RAH Document 38-1 Filed 03/12/21 Page 471 of 802


Subject: RE: Claim No. 1226

There is no particular date. Payments are made on a rolling basis.

Regards,

Claims Administrator
U.S. Victims of State Sponsored Terrorism Fund
www.usvsst.com
From: Abrishami, Monique <abrishamim@gilbertlegal.com>
Sent: Friday, April 5, 2019 11:08 AM
To: info@usvsst.com
Subject: RE: Claim No. 1226

Understood, thank you. Is there any sense at all about the timing of these payments? Does the
Fund anticipate completing its payment process by a particular date?




Monique Abrishami                 ​




abrishamim@gilbertlegal.com
O 202.772.2255

​1100 New York Ave, NW
 ​Suite 700
  ​Washington, DC 20005
   GilbertLegal.com
​
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From: info@usvsst.com <info@usvsst.com>
Sent: Friday, April 5, 2019 10:27 AM
To: Abrishami, Monique <abrishamim@gilbertlegal.com>
Subject: RE: Claim No. 1226

Hello,

Thank you for contacting us. The Fund is still issuing payments.

Regards,

Claims Administrator


                                                                                                                 DA469
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U.S. Victims of State Sponsored Terrorism Fund
www.usvsst.com


From: Abrishami, Monique <abrishamim@gilbertlegal.com>
Sent: Thursday, April 4, 2019 12:34 PM
To: info@usvsst.com
Subject: Claim No. 1226

    CAUTION: This email originated from outside of Epiq. Do not click links or open attachments unless you recognize
    the sender and know the content is safe.


Hello,

I write on behalf of my client, Amir Hekmati, who received the attached award letter on December
13, 2018. Could you please advise as to the status of payment on the award? Many thanks.

Best,
Monique




Monique Abrishami                 ​




abrishamim@gilbertlegal.com
O 202.772.2255

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 ​Suite 700
  ​Washington, DC 20005
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            EXHIBIT Q




                                                                DA471
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From:                Lee, Jane (CRM)
To:                  Abrishami, Monique
Subject:             RE: Amir Hekmati - USVSST Fund - follow up to email between Scott Gilbert and Kenneth Feinberg
Date:                Thursday, June 20, 2019 9:25:20 AM
Attachments:         image002.png
                     image004.png


Hi Monique,

The Acting Special Master, Deb Connor, is also the Chief of MLARS.

Thank you,

Jane



From: Abrishami, Monique [mailto:abrishamim@gilbertlegal.com]
Sent: Wednesday, June 19, 2019 2:05 PM
To: Lee, Jane (CRM) <Jane.Lee@CRM.USDOJ.GOV>
Subject: RE: Amir Hekmati - USVSST Fund - follow up to email between Scott Gilbert and Kenneth
Feinberg

Apologies, I meant to say MLARS!




Monique Abrishami             ​




abrishamim@gilbertlegal.com
O 202.772.2255

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 ​Suite 700
  ​Washington, DC 20005
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From: Abrishami, Monique
Sent: Wednesday, June 19, 2019 12:14 PM
To: Lee, Jane (CRM) <Jane.Lee3@usdoj.gov>; Gilbert, Scott D <gilberts@gilbertlegal.com>
Subject: RE: Amir Hekmati - USVSST Fund - follow up to email between Scott Gilbert and Kenneth
Feinberg

Thank you, Jane – much appreciated. May I ask which Fraud Section supervisors are overseeing the
USVSST claims?



                                                                                                                      DA472
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From: Lee, Jane (CRM) <Jane.Lee3@usdoj.gov>
Sent: Wednesday, June 19, 2019 11:08 AM
To: Abrishami, Monique <abrishamim@gilbertlegal.com>; Gilbert, Scott D
<gilberts@gilbertlegal.com>
Subject: RE: Amir Hekmati - USVSST Fund - follow up to email between Scott Gilbert and Kenneth
Feinberg

Hi Monique,

I have relayed your inquiry to my supervisors. I do not have any updates to share with you regarding
the status of your client’s claim. When there is more information, we will let you know.

Thank you,
Jane   



From: Abrishami, Monique [mailto:abrishamim@gilbertlegal.com]
Sent: Tuesday, June 18, 2019 3:44 PM
To: Lee, Jane (CRM) <Jane.Lee@CRM.USDOJ.GOV>; Gilbert, Scott D <gilberts@gilbertlegal.com>
Subject: RE: Amir Hekmati - USVSST Fund - follow up to email between Scott Gilbert and Kenneth
Feinberg

Jane,

I hope you had a great trip! Just wanted to circle back on this when you have a moment—do you
have any time for a call tomorrow, or is there someone else we could speak to about Amir’s award?
Thanks!

Thanks,
Monique




Monique Abrishami             ​




abrishamim@gilbertlegal.com
O 202.772.2255

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From: Abrishami, Monique


                                                                                                                 DA473
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Sent: Friday, June 7, 2019 1:32 PM
To: Lee, Jane (CRM) <Jane.Lee3@usdoj.gov>; Gilbert, Scott D <gilberts@gilbertlegal.com>
Subject: RE: Amir Hekmati - USVSST Fund - follow up to email between Scott Gilbert and Kenneth
Feinberg

Thank you so much, Jane. Safe travels.


From: Lee, Jane (CRM) <Jane.Lee3@usdoj.gov>
Sent: Friday, June 7, 2019 1:17 PM
To: Abrishami, Monique <abrishamim@gilbertlegal.com>; Gilbert, Scott D
<gilberts@gilbertlegal.com>
Subject: Re: Amir Hekmati - USVSST Fund - follow up to email between Scott Gilbert and Kenneth
Feinberg

Monique and Scott:

I am in receipt of your emails. I am currently on travel (on my way to the airport) and will not
have any access. I will circle back after I return on June 18, but one of my DOJ colleagues
may be reaching out in the interim.

Thank you,
Jane

On Jun 7, 2019, at 9:58 AM, Abrishami, Monique <abrishamim@gilbertlegal.com> wrote:

      Ms. Lee,

      I write to follow up on a June 6 communication between Scott Gilbert and Kenneth
      Feinberg regarding our client, Amir Hekmati (Claim No. 1226). Amir was awarded
      $839,100.85 from the Fund on December 13, 2008, and he hasn’t been paid yet. He’s
      suffering a great deal from the after-effects of his years of captivity and torture, and
      the payment is necessary to his recovery efforts. We know that others have been paid,
      and we have called and emailed the Fund hotline several times, but all we’re hearing is
      the general statement that payments are being processed. Could you please direct me
      to someone who can explain the status of the processing of his payment? Thank you
      so much.

      Best,
      Monique Abrishami




      Monique Abrishami       ​




      abrishamim@gilbertlegal.com
      O 202.772.2255




                                                                                            DA474
Case 1:19-cv-01766-RAH Document 38-1 Filed 03/12/21 Page 477 of 802


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 <Claim No. 1226.pdf>




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             EXHIBIT R




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             EXHIBIT S




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             EXHIBIT T




                                                                DA482
Case 1:19-cv-01766-RAH
  Case                  Document
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                          Document  1-8Filed 03/12/21
                                         Filed 11/18/19Page
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                                                                   DA483
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             EXHIBIT U




                                                                DA484
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                                                         Page487 of2802
                                                              2 of




October 24, 2019

VIA ELECTRONIC and FIRST CLASS MAIL

AMIR M HEKMATI
C/O SCOTT D. GILBERT
GILBERT LLP
1100 NEW YORK AVE. NW SUITE 700
WASHINGTON, DC 20005

Claim No: 1226

Dear Mr. Gilbert:

        The U.S. Department of Justice (“Department”) is in receipt of your letter dated
October 11, 2019. This letter serves to inform you and your client, Amir Hekmati, that
the Department intends to seek reconsideration of the prior eligibility determination and
approval of Mr. Hekmati’s claim dated December 13, 2018, and therefore has suspended
any further action on the payment to Mr. Hekmati from the United States Victims of State
Sponsored Terrorism Fund. The matter will be referred for reconsideration to Mr.
Kenneth R. Feinberg, who made the original determination on your claim. Mr. Feinberg
will examine whether the conditions for compensation and payment under the applicable
statute and procedures have been satisfied. The Department is in the process of retaining
Mr. Feinberg, on a limited basis, for this purpose. Once he is again in place as Special
Master, the Department expects to proceed with reconsideration as expeditiously as
possible. You will receive notice of any further decision once the review process has
been completed and, if the claim is not approved, will have an opportunity to request a
hearing. See 34 U.S.C. § 20144(b)(4). We appreciate your patience and hope to resolve
this matter as soon as possible.


                                     Sincerely,




                                     Deborah L. Connor
                                     Interim Special Master
                                     U.S. Victims of State Sponsored Terrorism Fund




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             EXHIBIT V




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           EXHIBIT W




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           VWDWHG WKDW GXULQJ KLV LQLWLDO DUUHVW WKHUH ZHUH WZR PHQ RQ HLWKHU VLGH RI
           KLP LQ WKH YHKLFOH XVHG WR WUDQVSRUW KLP SOXV D GULYHU +H QRWHG WKDW WKH\
           GLG QRW UHVWUDLQ +(.0$7, ZLWK KDQGFXIIV GXULQJ WKH LQLWLDO WUDQVSRUW
           +(.0$7, DOVR QRWHG WKDW ODWHU GXULQJ KLV LPSULVRQPHQW ,UDQLDQ RIILFLDOV
           XVHG VHW RI FXIIV WKDW RQO\ DWWDFKHG WR WZR ILQJHUV RQH RQ HDFK KDQG

            8)282 5HJDUGLQJ ZKHWKHU RU QRW KH KDG HYHU FRQWHPSODWHG HVFDSH +(.0$7,
           LQGLFDWHG WKDW KH WKRXJKW DERXW LW DOO WKH WLPH EXW WKDW LW ZDV PRUH RI D
           GUHDP WKDQ D UHDOLVWLF SURSRVLWLRQ DV KH EHOLHYHG WKDW QR RQH KDG HYHU
           HVFDSHG IURP (YLQ 3ULVRQ +(.0$7, VWDWHG WKDW (YLQ 3ULVRQ ZDV ERXQGHG E\
           PRXQWDLQV RQ RQH VLGH ZLWK D KLJKZD\ RQ WKH RWKHU VLGH (YLQ 3ULVRQ ZDV
           VXUURXQGHG E\ D WZHQW\  PHWHU WDOO ZDOO WKDW KDG D WHQ  PHWHU
           WUHQFK VXUURXQGLQJ LW UHTXLULQJ RQH WR FOLPE  PHWHUV RYHU WKH ZDOO DQG
           WKHQ GHVFHQG  PHWHUV $W VRPH SRLQW GXULQJ KLV FDSWLYLW\ +(.0$7,
           UHSRUWHG WKDW KH ZDV WDNHQ WR D KRVSLWDO >LQ FRQWH[W XQGHUVWRRG WR PHDQ D
           KRVSLWDO LQ 7HKUDQ@ +H LQGLFDWHG WKDW 7HKUDQ ZDV VR VDWXUDWHG ZLWK FDPHUDV
           DQG VHFXULW\ WKDW HYHQ LI KH PDQDJHG WR EULHIO\ HVFDSH WKHUH ZRXOG EH
           QRZKHUH WR JR 'XULQJ KLV WULS WR WKH KRVSLWDO +(.0$7, SXUFKDVHG VQDFNV
           IRU ,UDQLDQ VROGLHUV KH LQWHUDFWHG ZLWK ZKR UHSRUWHGO\ DUH QRW SDLG DQG
           KDYH OLWWOH IRRG +H LQGLFDWHG WKDW WKH VROGLHUV ZHUH H[WUHPHO\ JUDWHIXO
           IRU WKLV

            8)282 +(.0$7, LQGLFDWHG WKDW WKHUH ZDV D ZDUG RI (YLQ 3ULVRQ GHGLFDWHG
           WR $O 4DHGD SULVRQHUV +H VWDWHG WKDW WKUHH  SULVRQHUV IURP WKLV ZDUG
           ZHUH EURXJKW WR :DUG  7KHVH LQGLYLGXDOV ZHUH DOO .XUGV

            8)282 $FFRUGLQJ WR +(.0$7, (YLQ 3ULVRQ ZDV PRVWO\ UXQ E\ WKH SULVRQHUV
           WKHPVHOYHV +H VWDWHG WKDW WKHUH ZHUH RQO\ DERXW WZHQW\  DFWXDO VWDII
           PHPEHUV DW (YLQ 3ULVRQ ZLWK IHOORZ SULVRQHUV GRLQJ PRVW RI WKH ZRUN +H
           VWDWHG WKDW WKHUH ZHUH DERXW  SULVRQHUV LQ (YLQ 3ULVRQ

            8)282 +(.0$7, VWDWHG WKDW SULVRQHUV KDG DFFHVV WR SULVRQ SKRQHV ZKLFK
           ZHUH EHOLHYHG WR EH PRQLWRUHG 6RPH SULVRQHUV KDG FHOO SKRQHV VPXJJOHG LQ
           WR WKH SULVRQ VRPHWLPHV E\ LQGLYLGXDOV FRPLQJ WR WKH SULVRQ IRU FRQMXJDO
           YLVLWV +(.0$7, LQGLFDWHG WKDW PDQ\ RU DOO SULVRQHUV FRXOG KDYH FRQMXJDO
           YLVLWV DQG WKDW DGGLWLRQDO FRQMXJDO YLVLWV FRXOG EH HDUQHG E\ ZRUNLQJ MREV
           ZLWKLQ WKH SULVRQ

            8)282 5HJDUGLQJ LQWHUURJDWLRQV +(.0$7, HVWLPDWHG WKDW KH ZDV
           LQWHUURJDWHG DSSUR[LPDWHO\ WZHQW\  WLPHV GXULQJ KLV LPSULVRQPHQW +H
           GLG QRW NQRZ LI WKH LQWHUURJDWLRQV ZHUH UHFRUGHG DV KH ZDV EOLQG IROGHG
           DQGRU IDFLQJ D ZDOO ZKHQ WKH LQWHUURJDWLRQV ZHUH FRQGXFWHG 7KH
           LQWHUURJDWLRQV WRRN SODFH LQ D VRXQG SURRI URRP WKDW +(.0$7, FRPSDUHG WR D
           UHFRUGLQJ URRP DERXW WKH VL]H RI WKH URRP LQ ZKLFK WKH LQVWDQW LQWHUYLHZ

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           ZDV EHLQJ FRQGXFWHG >$*(17 127( 7KH LQVWDQW LQWHUYLHZ ZDV FRQGXFWHG LQ D
           URRP URXJKO\ HVWLPDWHG WR EH  [  @ $V SDUW RI WKH LQWHUURJDWLRQ
           SURFHVV +(.0$7, ZDV IRUFHG WR ZULWH RXW KLV ELRJUDSK\ WZR VHSDUDWH WLPHV

            8)282 $W DSSUR[LPDWHO\  30 GXULQJ WKH LQVWDQW LQWHUYLHZ +(.0$7,
           ZDV RIIHUHG DQG DFFHSWHG D ERWWOH RI ZDWHU

            8)282 +(.0$7, GHVFULEHG RQH RI KLV FHOOV DW (YLQ 3ULVRQ DV KDYLQJ YHU\
           WKLFN ZDOOV D ORZ URRI QR ZLQGRZ DQG D OLWWOH RSHQLQJ FRYHUHG E\ D
           SHUIRUDWHG PHWDO FRYHU WR DOORZ IRU YHQWLODWLRQ 7KH GRRU WR WKH FHOO ZDV
           YHU\ KHDY\ ZLWK D WLQ\ ODWFK 7KH GRRU RQO\ KDG D PHFKDQLFDO KDQGOH RQ WKH
           RXWVLGH ZKLFK ZDV RSHUDWHG E\ WXUQLQJ FRXQWHU FORFNZLVH 7KH GRRU
           UHSRUWHGO\ RSHQHG RXWZDUGV IURP WKH FHOO

            8)282 +(.0$7, UHOD\HG LQIRUPDWLRQ KH KDG DFTXLUHG DOOHJLQJ WKDW D
           VDQGZLFK VHOOHU ZKR ZRUNHG RXWVLGH RI WKH ,VUDHOL (PEDVV\ LQ 7XUNH\ ZDV
           DFWXDOO\ D VSRWWHU IRU WKH ,5*& >,VODPLF 5HYROXWLRQDU\ *XDUG &RUSV@ +H
           DOVR LQGLFDWHG WKDW RI DERXW  SULVRQHUV LQ :DUG  ZKR ZHUH LPSULVRQHG
           IRU ZRUNLQJ IRU D IRUHLJQ JRYHUQPHQW >LQ FRQWH[W XQGHUVWRRG WR PHDQ DV D
           VS\@  ZHUH DFFXVHG RI ZRUNLQJ IRU WKH 8QLWHG 6WDWHV DQG  ZHUH DFFXVHG
           RI ZRUNLQJ IRU ,VUDHO 6RPH RI WKHVH SULVRQHUV WROG +(.0$7, WKDW WKH\ KDG
           FRQWDFWHG WKH &,$ WKURXJK WKH &,$ ZHEVLWH 7KH &,$ ZRXOG WKHQ DUUDQJH IRU
           WKHP WR WUDYHO WR D WKLUG FRXQWU\ LQ WKH 0LGGOH (DVW RU HOVHZKHUH
           SUHVXPDEO\ IRU D PHHWLQJ +(.0$7, LQGLFDWHG WKDW WKH SULVRQHUV WROG KLP
           WKDW ZKHQ WKH\ ZHUH DUUHVWHG E\ ,UDQLDQ RIILFLDOV WKH\ ZHUH FRQIURQWHG
           ZLWK WKH QDPHV RI WKHLU &,$ KDQGOLQJ RIILFHUV DQG ZLWK HPDLOV EHWZHHQ
           WKHPVHOYHV DQG WKH KDQGOLQJ RIILFHUV 6RPH RI WKHVH SULVRQHUV LQGLFDWHG
           WKDW WKUHH \HDUV KDG SDVVHG EHWZHHQ ZKHQ WKH\ KDG ODVW FRQWDFWHG WKH &,$
           DQG ZKHQ WKH\ ZHUH DUUHVWHG

            8)282 5HJDUGLQJ WKH WLPH SHULRG ZKHQ +(.0$7, ZRUNHG DV DQ LQWHOOLJHQFH
           DQDO\VW IRU WKH 86 *RYHUQPHQW LQ $IJKDQLVWDQ +(.0$7, ZDV DVNHG LI KH HYHU
           DFFHVVHG FODVVLILHG UHSRUWLQJ UHJDUGLQJ ,UDQ +(.0$7, UHIXVHG WR DQVZHU
           WKLV TXHVWLRQ LQVWHDG +(.0$7, LQGLFDWHG WKDW WKH )%, FRXOG ILQG RXW WKDW
           LQIRUPDWLRQ IRU LWVHOI E\ SXOOLQJ WKH ORJ LQIRUPDWLRQ :KHQ DVNHG LI KH KDG
           HYHU UHDG SDSHU FRSLHV RI FODVVLILHG UHSRUWLQJ RQ ,UDQ +(.0$7, DYRLGHG WKH
           TXHVWLRQ LQVWHDG VD\LQJ WKDW KH KDG D 76 >7RS 6HFUHW@ FOHDUDQFH
           LQFOXGLQJ 6, 7. DQG *DPPD DFFHVVHV +H VWDWHG WKDW KH KDG EHHQ WDVNHG DV
           DQ LQWHOOLJHQFH DQDO\VW WR VWXG\ PHVVDJLQJ +(.0$7, LQGLFDWHG WKDW KLV
           VXSHULRUV GLG QRW NQRZ ZKDW KH ZDV DFWXDOO\ VXSSRVHG WR GR DQG WKDW LW IHOW
           OLNH WKH\ ZHUH ZDVWLQJ KLV WLPH ZKLFK ZDV SDUW RI ZK\ KH TXLW WKH MRE
           DIWHU MXVW D IHZ PRQWKV +H LQGLFDWHG WKDW KH KDG ZRUNHG RQ RQH RU PRUH
           SURMHFWV UHODWHG WR FHOO WRZHUV LQ $IJKDQLVWDQ DQG 7DOLEDQ WDUJHWLQJ +H


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           VWDWHG WKDW WKHUH ZDV QR RYHUVLJKW RYHU ZKDW KH ZDV VXSSRVHG WR GR DQG WKDW
           KH GLG QRW XQGHUVWDQG ZKDW WKH PLVVLRQ ZDV

            8)282 +(.0$7, UHMHFWHG WKH SURSRVLWLRQ WKDW KH PLJKW KDYH EHHQ WDUJHWHG
           EHFDXVH KH KDG DFFHVV WR FODVVLILHG LQIRUPDWLRQ RQ ,UDQ +H VWDWHG WKDW KH
           KDG EHHQ WDUJHWHG EHFDXVH KH ZDV D 0DULQH +H EHOLHYHG WKDW KLV DUUHVW ZDV
           FRQQHFWHG WR RU LQ UHVSRQVH WR WKH 86 DUUHVW RI DQ ,UDQLDQ ZKR KDG
           DWWHPSWHG WR DVVDVVLQDWH D 6DXGL $UDELDQ DPEDVVDGRU

            8)282 5HJDUGLQJ ZKHWKHU RU QRW +(.0$7, V ,UDQLDQ LQWHUURJDWRUV KDG
           DWWHPSWHG WR H[WUDFW FODVVLILHG LQIRUPDWLRQ IURP KLP +(.0$7, LQGLFDWHG
           WKDW DOWKRXJK WKH LQWHUURJDWRUV NQHZ ZKDW KLV MRE ZDV LQ $IJKDQLVWDQ WKH\
           GLG QRW VSHQG PXFK WLPH H[SORULQJ WKDW WRSLF +H LQGLFDWHG WKDW KH ZRXOG
           KDYH WKRXJKW WKH\ ZRXOG KDYH DVNHG IRU PRUH LQIRUPDWLRQ +H VWDWHG WKDW WKH
           LQWHUURJDWRUV VSHQW DV PXFK WLPH WDONLQJ DERXW KLV WLPH LQ KLJK VFKRRO DV
           WKH\ GLG RQ KLV WLPH DV DQ LQWHOOLJHQFH DQDO\VW LQ $IJKDQLVWDQ

            8)282 5HJDUGLQJ KRZ ZLGHO\ LW ZDV NQRZQ WKDW +(.0$7, KDG D 7RS 6HFUHW
           VHFXULW\ FOHDUDQFH +(.0$7, VWDWHG WKDW KLV IDPLO\ LQ ,UDQ GLG QRW NQRZ
           WKDW KH KDG KHOG D 76 FOHDUDQFH +H VWDWHG WKDW RQO\ KLV FRZRUNHUV NQHZ
           DERXW WKH 76 FOHDUDQFH DV KH RQO\ KDG LW IRU DERXW WZR PRQWKV +RZHYHU
           +(.0$7, LQGLFDWHG WKDW LQWHUQHW VHDUFKHV RQ KLV QDPH ZRXOG UHYHDO WKDW KH
           KDG ZRUNHG IRU '$53$ +H DOVR UHIHUHQFHG KLV /LQNHG ,Q DFFRXQW +(.0$7,
           QRWHG WKDW KH KDG SUHYLRXVO\ RQO\ KHOG D 6HFUHW VHFXULW\ FOHDUDQFH

            8)282 +(.0$7, VWDWHG WKDW KH ZDV QRW DZDUH RI DQ\WKLQJ WKDW ZRXOG PDNH
           KLP VXVSLFLRXV WKDW KH KDG EHHQ XQGHU VXUYHLOODQFH ZKLOH LQ $IJKDQLVWDQ
           QRU GLG KH UHFDOO DQ\ VXVSLFLRXV LQGLYLGXDOV FRQWDFWLQJ KLP +H LQGLFDWHG
           WKDW KH KDG ZRUNHG ORQJ KRXUV IRU WKH EULHI WZR PRQWKV KH ZDV WKHUH DQG
           VSHQW DOO KLV WLPH RQ WKH FRPSRXQG >RWKHU WKDQ ZRUN WLPH@ HLWKHU DW WKH
           PHVV KDOO WKH J\P RU KLV ORGJLQJ

            8)282 +(.0$7, VLPLODUO\ GHQLHG DQ\ VXVSLFLRXV HYHQWV VXFK DV
           VXUYHLOODQFH RU XQXVXDO FRQWDFW E\ LQGLYLGXDOV DIWHU KH OHIW $IJKDQLVWDQ
           DQG WUDYHOHG WR 'XEDL +H VWDWHG WKDW KH ZDV LQ 'XEDL RQO\ IRU DERXW 
           KRXUV DQG WKDW KH VSRNH WR QR RQH ZKLOH KH ZDV WKHUH +H GLG PDNH WZR FDOOV
           EDFN WR WKH 86 RQH RI ZKLFK ZDV D FDOO WR WKH FRPSDQ\ KH KDG MXVW UHVLJQHG
           IURP WR GLVFXVV LVVXHV UHODWHG WR KLV UHVLJQDWLRQ

            8)282 2QFH +(.0$7, DUULYHG LQ ,UDQ KLV RQO\ FRQWDFW ZLWK ,UDQLDQ
           JRYHUQPHQW RIILFLDOV SULRU WR KLV DUUHVW ZDV DQ LQWHUYLHZ WKDW ZDV
           FRQGXFWHG LPPHGLDWHO\ XSRQ KLV DUULYDO LQ 7HKUDQ +H GHQLHG DQ\ RWKHU
           FRQWDFW ZLWK ,UDQLDQ JRYHUQPHQW RIILFLDOV DIWHU WKLV LQWHUYLHZ XQWLO KH ZDV
           DUUHVWHG VHYHUDO ZHHNV ODWHU

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            8)282 +(.0$7, ZDV VKRZQ D VHULHV RI SKRWRJUDSKV DQG DVNHG LI KH
           UHFRJQL]HG DQ\ RI WKH LQGLYLGXDOV IURP KLV WLPH LQ ,UDQ RU LQ (YLQ 3ULVRQ
           +(.0$7, FRUUHFWO\ LGHQWLILHG VHYHUDO SKRWRJUDSKV RI 52%(57 /(9,1621 EXW
           H[SODLQHG WKDW WKLV ZDV RQO\ EHFDXVH /(9,1621 V OLNHQHVV ZDV SXEOLFO\
           NQRZQ +H LQGLFDWHG WKDW KH KDG QRW VHHQ /(9,1621 DW DQ\ WLPH ZKLOH LQ
           ,UDQ )RU DOO RWKHU SKRWRJUDSKV VKRZQ GXULQJ WKH LQWHUYLHZ +(.0$7,
           LQGLFDWHG WKDW KH GLG QRW UHFRJQL]H WKH LQGLYLGXDOV DQG KDG QRW VHHQ WKHP
           ZKLOH LQ ,UDQ )RU RQH SKRWRJUDSK +(.0$7, GLG LQGLFDWH WKDW WKH PDQ LQ WKH
           SKRWRJUDSK ORRNHG VLPLODU WR PDQ\ ,UDQLDQ PHQ EXW XOWLPDWHO\ DQVZHUHG WKDW
           KH FRXOG QRW LGHQWLI\ RU UHFRJQL]H WKH LQGLYLGXDO

            8)282 :LWK UHJDUGV WR 52%(57 /(9,1621 +(.0$7, GLVFXVVHG DQRWKHU
           LQGLYLGXDO ZKR KDG EHHQ D SDUW RI WKH SULVRQHU UHOHDVH WKDW IUHHG +(.0$7,
           7KLV LQGLYLGXDO QDPHG )UHG >LQ FRQWH[W XQGHUVWRRG WR EH D UHIHUHQFH WR
           1265$72//$+ .+265$9,@ FODLPHG WKDW WKH UHDVRQ KH KDG EHHQ DUUHVWHG E\ WKH
           ,UDQLDQV ZDV WKDW KH KDG VHQW D WH[W PHVVDJH WR /(9,1621 )UHG.+265$9,
           UHSRUWHGO\ HOHFWHG QRW WR OHDYH ,UDQ ZLWK +(.0$7, DQG WKH RWKHU IUHHG
           LQGLYLGXDOV EHFDXVH WKHUH ZHUH SHQGLQJ FKDUJHV DJDLQVW KLP LQ WKH 86 DQG
           EHFDXVH KH FODLPHG WR KDYH D JLUOIULHQG LQ QRUWKHUQ ,UDQ

            8)282 7KH LQVWDQW LQWHUYLHZ RI +(.0$7, HQGHG DW DSSUR[LPDWHO\  30
           ORFDO WLPH +(.0$7, ZDV RIIHUHG DQG DFFHSWHG D FXS RI FRIIHH GXULQJ WKH
           ODVW DSSUR[LPDWHO\  PLQXWHV RI WKH LQWHUYLHZ




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                                   $SULO  LQWHUYLHZ RI $PLU
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           LQIRUPDWLRQ LQ RUGHU WR WUDYHO WR ,UDQ DQG VHOO WKLV LQIRUPDWLRQ WR WKH
           ,UDQLDQ JRYHUQPHQW ,Q UHVSRQVH +(.0$7, LQTXLUHG ZKHWKHU 6$ 7KHURX[ ZDV
           DVNLQJ D TXHVWLRQ

           5HDVRQ IRU OHDYLQJ $IJKDQLVWDQ  UHWXUQLQJ KRPH HDUO\

                     +(.0$7, VWDWHG KH UHVLJQHG IURP KLV SRVLWLRQ DV DQ ,QWHOOLJHQFH
           $QDO\VW ,$ ZLWK 6L[ 6\VWHPV DW %DJUDP $LU )RUFH %DVH %$)% LQ
           $IJKDQLVWDQ LQ  WR UHWXUQ WR 0LFKLJDQ WR SXUVXH KLV 0DVWHU¶V GHJUHH
           +(.0$7, ZDV VKRZQ E\ LQWHUYLHZLQJ DJHQWV DQ HPDLO KH VHQW WR WKH 8QLYHUVLW\
           RI 0LFKLJDQ 80 ± )OLQW $GPLVVLRQ RQ  EHIRUH KH GHSOR\HG WR
           $IJKDQLVWDQ LQGLFDWLQJ KH QHHGHG WR GHIHU KLV DGPLVVLRQ WR -DQXDU\ RI 
           EHFDXVH KH ZDV OHDYLQJ IRU D PLOLWDU\ GHSOR\PHQW RYHUVHDV :KHQ
           LQWHUYLHZLQJ DJHQWV DVNHG +(.0$7, ZK\ HYHU\RQH WR LQFOXGH KLV FROOHDJXHV
           DQG HPSOR\HU DOO WKRXJKW +(.0$7, ZDV WUDYHOLQJ GLUHFWO\ IURP $IJKDQLVWDQ WR
           WKH 86 WR SXUVXH KLV JUDGXDWH GHJUHH +(.0$7, LQGLFDWHG KH ZDV UHWXUQLQJ
           WR WKH 86 WR DWWHQG 80 ± 'HDUERUQ QRW 80  )OLQW

                     ,Q $XJXVW  DIWHU +(.0$7, UHVLJQHG IURP 6L[ 6\VWHPV DW %$)%
           +(.0$7, WUDYHOHG WR ,UDQ WR YLVLW KLV JUDQGPRWKHU ZKR KH KDG QHYHU
           YLVLWHG +(.0$7, RQO\ WROG KLV PRWKHU RI KLV SODQ WR WUDYHO WR ,UDQ
           +(.0$7, GLG QRW WHOO DQ\ RI KLV DVVRFLDWHV RU FROOHDJXHV LQ $IJKDQLVWDQ
           DERXW KLV LQWHQWLRQV WR WUDYHO WR ,UDQ +(.0$7, GLG QRW XQGHUVWDQG ZK\ KH
           ZRXOG WHOO DQ\RQH KH ZDV JRLQJ WR ,UDQ ,QWHUYLHZLQJ DJHQWV EURXJKW XS
           52/$1' 7,62 DQG *$%5,(/ 6(55$12 DQG +(.0$7, UHVSRQGHG WKH\ DUH PHUHO\
           DVVRFLDWHV KH PHW LQ $IJKDQLVWDQ DQG QRWKLQJ PRUH

           'XEDL

                     +(.0$7, DGYLVHG KH WRRN D FRPPHUFLDO IOLJKW IURP %$)% WR 'XEDL
           8QLWHG $UDE (PLUDWHV $IWHU KH ODQGHG LQ 'XEDL +(.0$7, SXUFKDVHG DQ
           DLUOLQH WLFNHW WR 7HKUDQ ,UDQ ,QWHUYLHZLQJ DJHQWV UHPLQGHG +(.0$7, KH
           SUHYLRXVO\ LQIRUPHG )%, DJHQWV LQ *HUPDQ\ KH RQO\ VSHQW RQH QLJKW LQ 'XEDL
           DQG IOHZ RXW WKH QH[W GD\ DQG WKDW KH GLG QRW KDYH WLPH WR GR DQ\WKLQJ HOVH
           EHIRUH GHSDUWLQJ +(.0$7, VWDWHG LW ZDV WUXH KH GLG QRW KDYH WLPH WR GR
           DQ\WKLQJ HOVH :KHQ FKDOOHQJHG E\ WKH LQWHUYLHZLQJ DJHQWV WKDW UHFRUGV
           LQGLFDWHG +(.0$7, DUULYHG LQ 'XEDL LQ WKH HYHQLQJ DURXQG  SP ORFDO
           WLPH VSHQW WKH QH[W GD\ WKHUH DQG WKHQ IOHZ WR ,UDQ WKH IROORZLQJ GD\
           +(.0$7, GLG QRW GHQ\ WKH WLPHOLQH DQG FRPPHQWHG KH QHYHU PHW ZLWK DQ\RQH

           ,UDQ

                     +(.0$7, DGYLVHG KH ZDV LQFDUFHUDWHG LQ ,UDQ EHFDXVH KH ZDV D 86
           0DULQH ,QWHUYLHZLQJ DJHQWV SURSRVHG WR +(.0$7, KH RQO\ KDG FRQWDFW ZLWK
           ,UDQLDQ RIILFLDOV EHFDXVH KH DSSURDFKHG WKHP DQG PDGH WKHP DZDUH KH KDG
           DFFHVV WR FODVVLILHG LQIRUPDWLRQ +(.0$7, UHLWHUDWHG KLV LQWHUDFWLRQ ZLWK
                                                                                                 DA496
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                                     $SULO  LQWHUYLHZ RI $PLU
Continuation of FD-302 of                                             , On      , Page     RI 
           WKH ,UDQLDQ JRYHUQPHQW ZDV VROHO\ EHFDXVH KH ZDV D 86 0DULQH +(.0$7,
           RSLQHG ,UDQLDQ RIILFLDOV OHDUQHG KH ZDV D 86 0DULQH ZKHQ WKH\ ³*RRJOHG´
           KLP DQG ORRNHG DW KLV )DFHERRN SDJH ZKLFK VKRZHG +(.0$7, V DIILOLDWLRQ DV D
           86 0DULQH +(.0$7, GLG QRW SURYLGH DQ\ FODVVLILHG LQIRUPDWLRQ WR ,UDQLDQ
           RIILFLDOV

           ,UDQLDQ 3DVVSRUW

                     ,QWHUYLHZLQJ DJHQWV VKRZHG +(.0$7, D FRS\ RI KLV H[SLUHG ,UDQLDQ
           SDVVSRUW +(.0$7, ZDV QRW DZDUH KH KDG DQ ,UDQLDQ SDVVSRUW XQWLO KLV PRWKHU
           SURYLGHG LW WR +(.0$7, IRU WKH SXUSRVH RI SURYLGLQJ LW WR /HJDO 3HUVLDQ
           +(.0$7, VWDWHG KH ZDV DERXW  \HDUV ROG LQ WKH SKRWR +(.0$7, V PRWKHU
           VWLOO PDLQWDLQV +(.0$7, V ,UDQLDQ SDVVSRUW +(.0$7, KDV QHYHU LQGLFDWHG RQ
           DQ\ 86 JRYHUQPHQW IRUPV RU DSSOLFDWLRQV WKDW KH KDG WKH ,UDQLDQ SDVVSRUW
           EHFDXVH KH ZDV QRW DZDUH RI LW ZKHQ KH FRPSOHWHG WKRVH IRUPV

           &RPPRQ $FFHVV &DUG          &$&

                     ,QWHUYLHZLQJ DJHQWV VKRZHG +(.0$7, D SKRWR FRS\ RI KLV 'HSDUWPHQW
           RI 'HIHQVH 'R' FLYLOLDQ HPSOR\HH &RPPRQ $FFHVV &DUG &$& >$JHQW V QRWH
           7KH SLFWXUH RI WKH &$& VKRZQ WR +(.0$7, ZDV SXOOHG IURP DQ RQOLQH ,QWHUQHW
           YLGHR ZKLFK DSSHDUHG WR KDYH EHHQ SURGXFHG LQ FRQFHUW ZLWK WKH ,UDQLDQ
           JRYHUQPHQW ,Q WKH YLGHR +(.0$7, FRQIHVVHG WR EHLQJ D &,$ VS\ ,W DSSHDUHG
           IURP WKH YLGHR WKH ,UDQLDQ JRYHUQPHQW ZDV LQ SRVVHVVLRQ RI +(.0$7, V DFWXDO
           &$& RU D SLFWXUH RI LW@ +(.0$7, DGPLWWHG KH WRRN D SLFWXUH RI KLV &$&
           ZLWK KLV FHOO SKRQH +(.0$7, SRLQWHG WR WKH WKXPE DQG ILQJHUV LQ WKH SKRWR
           DQG VWDWHG KH ZDV KROGLQJ WKH &$& ZKHQ WKH SKRWR ZDV WDNHQ +(.0$7,
           H[SODLQHG KH WRRN D SKRWR RI KLV &$& VR KH ZRXOG KDYH D SKRWR RI LW LQ WKH
           HYHQW KH ORVW WKH DFWXDO FDUG +(.0$7, VWDWHG KH WXUQHG LQ KLV &$& WR %$)%
           EHIRUH GHSDUWLQJ IRU 'XEDL :KHQ LQWHUYLHZLQJ DJHQWV UHPLQGHG +(.0$7, WKDW
           6L[ 6\VWHPV LQVWUXFWHG KLP WR WXUQ KLV &$& WR D 86 EDVH XSRQ KLV UHWXUQ
           WR WKH 86 DQG WKHQ PDLO 6L[ 6\VWHPV D UHFHLSW RI WKH UHWXUQ +(.0$7,
           UHPDLQHG VLOHQW ,QWHUYLHZLQJ DJHQWV DOVR UHPLQGHG +(.0$7, KH KDG WROG )%,
           DJHQWV LQ *HUPDQ\ KH GHVWUR\HG KLV &$& EHIRUH WUDYHOLQJ WR ,UDQ ,Q
           UHVSRQVH +(.0$7, LQGLFDWHG KH FRXOG QRW UHPHPEHU DQG WKDW ³PD\EH´ WKLV
           RFFXUUHG +(.0$7, GHQLHG XVLQJ KLV &$& DV ³ERQD ILGHV´ LQ DQ\ DSSURDFK WR
           WKH ,UDQLDQV

                     ,QWHUYLHZLQJ DJHQWV VKRZHG +(.0$7, D FRS\ RI KLV $UPHG )RUFHV
           86 PLOLWDU\ LGHQWLILFDWLRQ FDUG +(.0$7, VWDWHG WKLV FDUG ZDV FXUUHQWO\
           DW KLV KRPH LQ )OLQW DQG KH GLG QRW WDNH LW ZLWK KLP ZKHQ KH ZHQW WR
           $IJKDQLVWDQ DQG ,UDQ +(.0$7, SRLQWHG WR WKH H[SLUDWLRQ GDWH RQ WKH FDUG
           ZKLFK ZDV VKRZQ DV  DQG VWDWHG LW ZDV H[SLUHG >$JHQW V QRWH 7KH
           SLFWXUH RI WKH $UPHG )RUFHV 86 PLOLWDU\ LGHQWLILFDWLRQ FDUG VKRZQ WR
           +(.0$7, ZDV SXOOHG IURP DQ RQOLQH ,QWHUQHW YLGHR ZKLFK DSSHDUHG WR KDYH

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                             RECORD FOR SPECIAL MASTER

1. The FBI opened an espionage investigation on AMIR NEMA HEKMATI on September 21, 2011.
   The FBI investigation has concluded that HEKMATI attempted to pass U.S. classified
   information to the Government of Iran, and this conclusion is corroborated by multiple reliable
   sources. HEKMATI was an Intelligence Analyst contractor for the Department of Defense
   (DOD) in Afghanistan from June 2011 to August 2011. In this position, HEKMATI held a
   security clearance that granted him access to intelligence reports classified at the highest level -
   Top Secret/Sensitive Compartmented Information (TS/SCI).

2. When HEKMATI arrived in Afghanistan, he was told he was reassigned as a Human Terrain
   Systems (religious advisor) member instead of an Intelligence Analyst. HEKMATI became upset
   and indicated that, if he was not given the Intelligence Analyst position, he would immediately
   resign and go home. HEKMATI argued he was hired as an Intelligence Analyst, which would
   require routine access to TS/SCI information, while as a religious advisor he would not.

3. While deployed to Bagram Air Force Base in Afghanistan, HEKMATI was assigned to work on
   projects related to the Afghan Taliban and the Haqqani network. However, forensic analysis of his
   classified information computer system audit revealed that he accessed hundreds of highly
   classified documents pertaining to Iran, which were all well outside the scope of his assigned
   duties. FBI analysis determined that, during the period from early July 2011 to early August 2011,
   over 90% of the classified products he accessed were related to Iranian topics/issues. The topics
   related to Iran included discussion of Iranian military issues, the Iranian nuclear program,
   Hezbollah, and Iranian support to terrorism. The products were classified up to and including the
   TS/SCI level.

4. In late July 2011, HEKMATI unexpectedly provided two weeks’ notice that he intended to
   terminate his employment. Although his original employment agreement was for six to twelve
   months, HEKMATI resigned from his Defense Intelligence Agency contract position within two
   months of his arrival in Afghanistan. During his final two weeks, HEKMATI began working the
   night shift at his request / decision. In those two weeks, FBI analysis indicates that, once again,
   approximately 90% of the products HEKMATI viewed appeared to be outside the scope of his
   assigned duties and an unusually high percentage were highly classified products.

5. In August 2011, HEKMATI took a military charter flight from Bagram Air Force Base in
   Afghanistan to a third country. After he landed in the third country, he purchased an airline
   ticket to Tehran, Iran. HEKMATI did not tell any of his colleagues or associates in
   Afghanistan about his intentions to travel to Iran. HEKMATI later stated to the FBI that he
   had only told his mother about his plan to travel to Iran to visit his grandmother. Records
   indicate that HEKMATI arrived in the third country in the evening around 5 p.m. local time,
   spent the next day there, and flew to Iran the following day.




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6. Throughout the investigation the FBI has received information from four reliable sources. Those
   sources confirm that HEKMATI voluntarily traveled to Iran and approached Iranian government
   officials offering U.S. classified information in exchange for payment.


7. In December 2011, the Iranian government publically released information indicating
   HEKMATI was arrested as a CIA spy for engaging in espionage against Iran. HEKMATI was
   sentenced to death, but open sources reported that HEKMATI had been retried in December
   2013 and sentenced to ten years in prison. The FBI has confirmed that HEKMATI was never
   employed or tasked by the CIA.

8. On January 19, 2016, HEKMATI was released from Iranian custody. Following his release, the
   FBI interviewed HEKMATI at Landstuhl Regional Medical Center near Frankfurt, Germany.
   HEKMATI stated that he had always wanted to travel to Iran to visit his grandmother and other
   relatives. Regarding the time period when HEKMATI worked as an Intelligence Analyst for the
   U.S. government in Afghanistan, HEKMATI was asked if he ever accessed classified reporting
   regarding Iran. HEKMATI refused to answer this question; instead, HEKMATI indicated that
   the FBI could find out that information for itself by pulling the log information. When asked if
   he had ever read paper copies of classified reporting regarding Iran, HEKMATI avoided the
   question, instead saying that he had a “TS” clearance including SI, TK, and Gamma accesses
   [references to SCI programs].

9. Several months later, on April 7, 2016, the FBI interviewed HEKMATI in Flint, Michigan. In this
   interview, the FBI directly confronted HEKMATI, alleging that he went to Afghanistan to gain
   access to classified information in order to travel to Iran and sell it to the Government of Iran. In
   response, HEKMATI only inquired whether the FBI agent was asking a question. Interviewing
   agents showed HEKMATI a “search log” that detailed HEKMATI’S search activity on U.S.
   classified computer systems. The agents also explained to HEKMATI that approximately 90% of
   the searches he conducted were about Iran or issues of interest to Iran, unrelated to his assigned
   work. HEKMATI looked at the search log and denied this was a log of his search activity. When
   it was explained again this was a detailed search log of his searches, HEKMATI stated he did not
   have time to access classified reporting about Iran because he had too much work and was already
   working 12 to 13 hour days.

10. HEKMATI indicated his contractor and the military provided him access to U.S. classified systems
    and the interviewing agents should ask them why HEKMATI searched those topics on Iran.
    Interviewing agents explained that line of logic did not make sense and there was an expectation by
    the granting agency of his security clearance, in this case the U.S. military, he should only access
    information needed for his assignment. HEKMATI reiterated to ask his contractor or the military.
    HEKMATI further stated that his contractor and the military gave him access to U.S. classified
    computer network systems at large and did not restrict his access so he should be allowed to view
    whatever he viewed.




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11. HEKMATI remembered being briefed into the TS/SCI clearance level. When interviewing agents
    asked HEKMATI if he understood he did not have a “need to know” pertaining to classified
    reporting on Iran, HEKMATI deflected and reiterated his contractor and the military gave him “no
    direction.” HEKMATI indicated that his superiors did not know what he was actually supposed to
    do and because of this HEKMATI had to find things to do to fill his day. As a result, HEKMATI
    felt that his Intelligence Analyst position was a waste of time. When interviewing agents pointed
    out the contradiction between HEKMATI having to find things to do to fill his day with
    HEKMATI’S earlier claim he was too busy working 12 to 13 hours a day to search for information
    on Iran, HEMATI did not provide a response.

12. After alternating between not responding and deflecting when interviewing agents asked
    HEKMATI why he accessed classified reporting on Iran, HEKMATI finally responded he
    accessed classified information regarding Iran to become a subject matter expert on Iran.
    HEKMATI stated he is of Iranian descent, was curious, and compared his searches on U.S.
    classified information systems to a “Google” search.

13. When the interviewing agents explained to HEKMATI that he accessed a certain classified
    document regarding the Iranian government’s presence in a certain country twice in August 2011,
    just before he left for the same third party country to continue onward to Iran, HEKMATI did not
    acknowledge accessing the document or doing anything in the third party country other than
    transiting to Iran. HEKMATI said he never purposely met with the Iranian government prior to
    his imprisonment in Iran.

14. HEKMATI said he accepted the Intelligence Analyst position because he wanted to develop
    intelligence analysis experience to be more competitive in obtaining a full-time U.S. government
    job. HEKMATI acknowledged to the interviewing agents that he could potentially lose his
    clearance if he travelled to Iran. HEKMATI could not reconcile the discrepancy between his
    previous statement of wanting to acquire experience as an analyst to obtain a full-time U.S.
    government job and his pre-planned willingness to jeopardize his security clearance by travelling
    to Iran.

15. On May 9, 2016, HEKMATI filed a civil action against Iran in the United States District Court
    for the District of Columbia (USDC). HEKMATI claimed that his treatment while in custody in
    Iran constituted torture and hostage taking in violation of the Foreign Sovereign Immunities Act
    (FSIA), 28 U.S.C. §§ 1602-1611, and he sought compensatory and punitive damages.

16. In support of his civil claim, HEKMATI signed a “Declaration of Amir Hekmati” on September 27,
    2016. At the conclusion of the 23-page document, HEMATI attested “Pursuant to 28 U.S.C. §
    1746, I declare under penalty of perjury that the foregoing is true and correct.” The declaration was
    filed with the USDC on February 10, 2017.

17. In his declaration to the USDC, HEKMATI asserted that “Before returning home from
    Afghanistan to Michigan to start school, I decided to take the opportunity to travel for a few



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   weeks . . . my mother had been encouraging me in particular over the last few months to visit
   my grandmother in Iran . . . .” (¶¶ 24, 25) In fact, this was a false and misleading statement.
   The primary purpose of his trip to Iran was not to visit his grandmother - it was to approach
   Iranian Intelligence officials with an offer to sell U.S. classified information to the Iranian
   government.

18. In his declaration to the USDC, HEKMATI claimed that “Those first few days in Evin [prison] are
    a blur. I was shocked, confused, scared, indignant.” (¶ 35) HEKMATI asserted that, after his arrest
    by the Iranian government, “I had no contact with the outside world. I was not permitted to speak
    to my family” (¶ 45) and that, after a period of months, “I hadn’t spoken to my family since my
    arrest.” (¶ 57). In fact, this was another series of false statements. HEKMATI’s mother in
    interviews with the FBI indicated that HEKMATI made several calls to his uncle from his cellular
    phone over a period of seven to ten days indicating “he was bored ... had nothing to do, but read.”

19. In assessing all the facts and circumstances presented above, the FBI has concluded that the
    purpose of HEKMATI’s trip to Iran was to sell classified U.S. intelligence information to Iran and
    that, in fact, HEKMATI attempted to sell classified information to the Government of Iran when he
    travelled to Tehran in August 2011. The forensic examination of his computer system log clearly
    demonstrates that HEKMATI accessed hundreds of highly classified documents pertaining to Iran
    that were wholly unrelated to his area of responsibility. HEKMATI'S assignment in Afghanistan
    was to analyze the Taliban and Haqqani network - and he had no “need to know” regarding
    sensitive classified reporting on Iranian matters. The suspicious nature of this unauthorized
    conduct is further underscored by HEKMATI'S unexpected two weeks' notice that he was
    terminating his employment months earlier than the terms of his contract. Then HEKMATI
    informed only his mother that he was taking a trip to Iran. Subsequent reporting provide from
    multiple sources corroborate that HEKMATI travelled to Iran to sell U.S. classified information to
    the Iranians in exchange for payment.

20. In addition, HEKMATI's own statements during interviews with FBI agents reveal
    dissembling behavior that reflects a consciousness of guilt. In his initial interview after his
    release from Iran, when the FBI asked him if he had ever accessed classified documents as an
    Intelligence Analyst in Afghanistan, HEKMATI did not answer the question, instead he said
    the FBI could find out itself by pulling the log information. In another interview months later,
    when the FBI directly confronted him alleging he went to Iran to sell classified U.S.
    intelligence information, HEKMATI again did not respond- instead replying only to ask if
    that was a question.

21. Moreover, in his statements to the interviewing agents, HEKMATI provided significantly
    inconsistent answers that show his effort to deflect and evade the FBI’s questions. When the
    FBI showed him the computer search log listing his accessing of numerous classified
    documents regarding Iran, HEKMATI initially denied that it was his log. He further claimed
    he had so much work to do over his 12 to 13 hour shifts that he did not have any time to search
    classified documents on Iran. However, later in the same interview, HEKMATI admitted



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   accessing the classified reports on Iran because he had to find things to do to fill his day. Still
   later in the course of the interview, HEKMATI once again changed his answer - discarding his
   previous assertion that he accessed the documents because he had to fill the time, HEKMATI
   stated that he accessed the classified documents on Iran because he wanted to become a
   subject matter expert on Iran. Finally, when the FBI focused on the fundamental principle of
   “need to know” in accessing intelligence reports, HEKMATI simply remarked that his
   contractor and the military had given him access to the classified computer network and did
   not restrict his access, so he should be allowed to view whatever he viewed.

22. In reviewing the classified intelligence reports on Iran that HEKMATI accessed, the FBI
    found numerous reports on the Iranian government. The Iranian government has a long
    established history of conducting and supporting terrorist operations around the world.


23. The Iranian Revolutionary Guard Corps (IRGC), with the support of the Iranian government, has
    engaged in terrorist activity since its inception 40 years ago. The IRGC - most prominently
    through its Qods Force - has the greatest role among Iran’s actors in directing and carrying out a
    global terrorist campaign.

       •   In recent years, IRGC Qods Force terrorist planning has been uncovered and disrupted in
           many countries, including Germany, Bosnia, Bulgaria, Kenya, Bahrain, and Turkey.

       •   The IRGC Qods Force in 2011 plotted a brazen terrorist attack against the
           Saudi Ambassador to the U.S. on American soil. Fortunately, this plot was
           foiled.

       •   In 2012, IRGC Qods Force operatives were arrested in Turkey for plotting an attack and
           in Kenya for planning a bombing.

       •   In January 2018, Germany uncovered ten IRGC operatives involved in a terrorist plot in
           Germany, and convicted another IRGC operative for surveilling a German-Israeli group.

       •   In September 2018, a U.S. federal court found Iran and the IRGC liable for the 1996
           Khobar towers bombing, which killed 19 Americans.

24. The IRGC continues to provide financial and other material support, training, technology transfer,
    advanced conventional weapons, guidance, or direction to a broad range of terrorist organizations,
    including Hizballah, Palestinian terrorist groups like Hamas and Palestinian Islamic Jihad, Kata’ib
    Hizballah in Iraq, al-Ashtar Brigades in Bahrain, and other terrorist groups in Syria and around the
    Gulf.

25. The FBI assesses that the sensitive intelligence reporting accessed by HEKMATI could be
    exploited by the Iranian government in support of terrorist operations.




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 3    - - - - - - - - - - - - - -
 4    United States Victims of         )
 5    State Sponsored Terrorism        )
 6    Fund - Hekmati Hearing           )
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15    REPORTER'S TRANSCRIPT OF VIDEOCONFERENCE PROCEEDINGS
16           BEFORE SPECIAL MASTER KENNETH R. FEINBERG
17                      TUESDAY, APRIL 7, 2020
18
19
20
21                     BEHMKE REPORTING AND VIDEO SERVICES INC.
22                        BY:   SARAH JEAN SEITZ, RPR, CSR 14175
23                                   455 MARKET STREET, SUITE 970
24                               SAN FRANCISCO, CALIFORNIA 94105
25                                                   (415) 597-5600

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 9
10    ALSO PRESENT:
11            AMIR HEKMATI
12            ROBERT VELASCO, VIDEOGRAPHER
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 1                 TUESDAY, APRIL 7, 2020; 12:29 P.M.
 2                                ---oOo---
 3                               PROCEEDINGS
 4               THE REPORTER:    Good morning.     My name is Sarah
 5    Seitz, California Certified Shorthand Reporter Number
 6    14175, and I am here on behalf of Behmke Reporting and
 7    Video Services, located in San Francisco, California.
 8               SPECIAL MASTER FEINBERG:      Thank you.
 9               I am the Special Master of the Federal State
10    Sponsored Terrorism Fund.       I will be hosting this
11    hearing.    I have been appointed Special Master for the
12    second time by the Department of Justice and will
13    currently evaluate and review this application of
14    Mr. Hekmati for review of my previous decision, formal
15    decision, and I will host the hearing.
16               I turn this next to Mr. Gilbert.
17               MR. GILBERT:    Thank you, Special Master
18    Feinberg.
19               Let me say, first of all, that we appreciate
20    everyone taking the time to do this, particularly in a
21    very, very difficult environment for everyone.          Our
22    papers have set forth the facts and the applicable legal
23    standards.    I'm not going to repeat that here.        And,
24    really, from our perspective, the purpose of today's
25    video meeting is to have Special Master Feinberg hear

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 1    directly from Amir and have an opportunity to ask him
 2    questions.    I will be uncharacteristically brief, but I
 3    would like to make three points.
 4               One, in a perfect world, we would not be having
 5    a hearing.    And even in this far less than perfect world
 6    replete with a viral pandemic, we should not be having
 7    this hearing.     It is necessary to attempt to correct not
 8    only a manifest in justice but, frankly, horrific
 9    treatment by our government of a decorated U.S. Marine
10    and combat veteran whose only mistakes were traveling to
11    Iran to visit his grandmother, for what turned out to be
12    the last time, and then returning to his country and
13    trusting that our government would do right by him.
14    This entire episode is a disgrace, and it needs to be
15    corrected now.
16               Two, the facts set forth in our papers and
17    affidavits are uncontroverted.        So were the facts set
18    forth in Amir's affidavit in the district court before
19    Judge Huvelle.     I have known her and her husband since
20    he was my partner at Covington decades ago.          And Judge
21    Huvelle is nobody's fool.       She put us to our proof in
22    this proceeding, and the facts upon which she relies in
23    her opinion likewise are uncontroverted.
24               The documents that were provided to us with the
25    Special Master's reconsideration decision and upon which

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 1    it is based, likewise do not contain any facts, any
 2    facts that controvert Amir's testimony here or in the
 3    district court.     Instead, they are based on the
 4    recollections of FBI agents who interviewed Amir as soon
 5    as he was released from nearly five years of prison and
 6    torture in Iran and once again when he returned home to
 7    stay with his mother.
 8               Neither interview involves sworn testimony and
 9    neither interview provided Amir with the basic
10    protections required in such interrogations.          But most
11    importantly here, neither interview adduced any facts,
12    any facts that controvert Amir's sworn testimony.
13               Three, we are here because one or more FBI
14    agents had, quote, "suspicions," end quote.          That is
15    all.   Suspicions.    Suspicions that Amir Hekmati
16    committed treason against the United States by trying to
17    sell secrets to Iran; the same Amir Hekmati who served
18    with distinction and combat in the Marines; the same
19    Amir Hekmati who actually did travel to Iran to visit
20    his ailing grandmother; the same Amir Hekmati who, while
21    in Iran, spent all of his time with his family,
22    including his grandmother; the same Amir Hekmati who has
23    been diagnosed with severe PTSD.
24               And the same Iran that arrested Amir Hekmati
25    and held him hostage; the same Iran that sentenced Amir

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 1    to death; the same Iran that held Amir in solitary
 2    confinement for almost one year; the same Iran that
 3    tortured Amir continuously.       And here we are because a
 4    couple of FBI agents in this era of paranoia about
 5    Muslims have, quote, "suspicions," end quote.
 6               Really?   Is this how our system, our Department
 7    of Justice really works?       I don't believe it.     I know I
 8    am partisan.     Amir is my client.     I have gotten to know
 9    him and his family, and I hold Amir and his family in
10    high regard.     I've racked my brain.     I've reviewed and
11    re-reviewed every fact.      I've tried to understand on any
12    level what I might be missing, and every time I come up
13    with absolutely nothing.
14               The reason is that there is nothing, nothing
15    but suspicions from a couple of FBI agents whose
16    motivations I can only guess.       Amir made no
17    misrepresentations of any kind in his application to the
18    fund or in the materials supporting his application.
19    All of the facts support this conclusion as does
20    well-established legal precedent.        His eligibility for
21    the fund should be reinstated immediately.
22               My colleague Emily Grim will now examine Amir.
23    We encourage the Special Master to ask questions, and
24    please feel free to do so at any time as we proceed.
25               SPECIAL MASTER FEINBERG:      Before we proceed,

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 1    Scott, could you give your full name and the name of
 2    your law firm and would Emily do likewise.
 3               MR. GILBERT:    Yes.
 4               Scott D. Gilbert, Gilbert, LLP.
 5               SPECIAL MASTER FEINBERG:      Washington, D.C.?
 6               MR. GILBERT:    Washington, D.C.
 7               SPECIAL MASTER FEINBERG:      Emily, would you
 8    also, for the record, give your name and employer.
 9               MS. GRIM:    Yes.
10               My name is Emily Grim, and I also work for
11    Gilbert, LLP, in Washington, D.C.
12               SPECIAL MASTER FEINBERG:      Thank you.
13               We also have a distinguished observer from the
14    Department of Justice.
15               Josh, would you give your full name and your
16    role at the Department of Justice for the reporter?
17               MR. SOHN:    Yes.
18               Joshua Sohn from the money laundering and asset
19    recovery section of the US DOJ on behalf of the
20    government.
21               SPECIAL MASTER FEINBERG:      It is my
22    understanding -- and, Josh, you can correct me -- but it
23    is my understanding that you are strictly here at this
24    hearing as an observer and will neither comment nor
25    cross-examine or ask for clarification from Mr. Hekmati;

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 1    is that correct?
 2               MR. SOHN:    That's correct, Mr. Feinberg.
 3               SPECIAL MASTER FEINBERG:      Okay.
 4               And, Scott, you and Emily understand that as
 5    well, that the Department of Justice is listening and
 6    observing but not actively participating?
 7               MR. GILBERT:    Yes.    We do.   And we have no
 8    objection.
 9               MS. GRIM:    Yes.
10               SPECIAL MASTER FEINBERG:      And now I would ask
11    the court reporter to swear in Mr. Hekmati officially.
12               And I ask Mr. Hekmati to take the oath and
13    provide his contact information for the reporter.
14                                ---oOo---
15                              AMIR HEKMATI,
16    having been first duly sworn, testified as follows:
17                                ---oOo---
18               SPECIAL MASTER FEINBERG:      Emily, before you
19    begin, let me -- I want to just make one opening
20    statement to Mr. Hekmati and counsel.
21               I am focused in this reconsideration hearing on
22    a very narrow question.        And that is, as I think Scott
23    Gilbert referenced at the end of his statement, did you
24    or -- did Mr. Hekmati or did he not willfully make
25    misrepresentations in his application to the USVSST

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 1    fund.    That's my narrow focus.
 2               All of this other information that has been
 3    submitted to me by the department and by Mr. Gilbert and
 4    Emily is all designed to help me focus on the
 5    application that you made.       I take no other issue, pro
 6    or con, on other litigation or other inferences or
 7    accusations.     My sole goal in this hearing is to help
 8    me, through your testimony, Mr. Hekmati, and statements
 9    of counsel, focus on this question of whether or not the
10    application you submitted was truthful.
11               That is my only role in this hearing, and I
12    have an open mind on this, in light of the submissions
13    by both sides.     I am here to listen.      I may have some
14    questions or I may not.      But I'm here to listen, take
15    notes, and render a decision in the next few weeks.
16               So with that, unless there is any further
17    preliminary comment from counsel, I plan to turn this
18    over, I guess, to Emily for examination.
19               Emily, you have the floor.
20               MS. GRIM:    All right.    Thank you, Mr. Feinberg.
21                               ---oOo---
22                               EXAMINATION
23    BY MS. GRIM:
24          Q.   Good afternoon, Mr. Hekmati.       How are you doing
25    today?

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 1          A.   Good afternoon.     Well, thank you.
 2          Q.   I want to ask you a few questions about your
 3    background, your career, and your time in Iran.          So
 4    let's start at the beginning.
 5               When were you born?
 6          A.
 7          Q.   Where were you born?
 8          A.
 9          Q.   Where did you grow up?
10          A.   At about three or four years old, we moved to
11    Wayne, Nebraska.     My father was engaged in a
12    Ph.D. program there, he was a junior professor, if you
13    will.
14               We stayed there for a few years.       I think
15    around 12 years old we moved to Flint, Michigan, where
16    he gained a more senior position as a professor of
17    microbiology and biology in Flint, Michigan.          I spent my
18    adolescence there in Flint and left around the age of 18
19    when I joined the Marines.
20          Q.   Do you have any siblings?
21          A.   I have two sisters.     One older, one twin
22    sister, and one younger brother.
23          Q.   Tell me a little bit about your relationship
24    with your family.     Are you close with them?
25          A.   Very close.    You know, that's all I kind of had

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 1    growing up.    We didn't have any relatives.        It is just
 2    my mom, dad, and siblings.       And, generally, Persian
 3    families are pretty close and place a high priority on
 4    families.    And so I would say that's correct.
 5          Q.   Let's talk a little bit about your grandmother
 6    on your mom's side.
 7               Tell me a little bit about your relationship
 8    with her.
 9          A.   It was a very special relationship.        As I said,
10    you know, growing up, it was just my mom, dad, and my
11    siblings.    You know, most American families have the
12    luxury of having 20, 30 relatives.        And we never had
13    that growing up.     My only understanding of what it was
14    like to have extended family was just through my one
15    grandmother.     She was the only one in our lives outside
16    of my immediate family.
17               You know, when I was four months old, she was
18    in Iran at the time.      There was a war going on.      And in
19    her old age, she made a significant effort to be there
20    and stayed with me from four months until I was one
21    years old.    She eventually got her green card, and she
22    would -- you know, was deeply involved in my upbringing.
23    You know, aside from my mother, this was, you know, one
24    of the closest people in my life.
25               You know, she was just somebody who we placed a

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 1    great deal of importance on.       Like I said, when my
 2    mom -- she left Iran in '79.       My dad had come a few
 3    years before.     They had grown up under the Shah.        It was
 4    sort of a European style of living.        And they came here.
 5    Shortly after she arrived in the U.S. in '79, there was
 6    a revolution.     And then in 1980, there was the Iran-Iraq
 7    War that lasted a decade.
 8               So visiting her family there was impossible,
 9    which really separated and caused a riff in the family,
10    you know, caused separation.       So my grandmother's
11    visiting was really the only window we had into that
12    extended family relationship.
13               Additionally, you know, under the Shah, you
14    know, the Iranian currency had value and you could send
15    your kids to school in the U.S. and afford it.          You
16    could travel freely.      And after the war happened, you
17    know, those financials worsened.        So not only was my mom
18    and dad sort of separated from their family in Iran, but
19    they also struggled financially.        My dad had to go into
20    debt.   He had to basically raise me and my two siblings
21    at the time with loans.
22               So, you know, the living situation was
23    difficult.    We were in a small, you know, college-like
24    apartment, and it was just my dad and his books was
25    basically our ticket to providing for our family.           Our

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 1    grandma was really the only one relative that would come
 2    and visit us, that we had some sort of help.          She helped
 3    my mom raise me, and it was very difficult on her.           From
 4    the time that, you know, my mom left in '79 to the date
 5    that I was born in '83, you know, they hadn't seen each
 6    other.
 7               And then, when I was born in '83, it was like
 8    her daughter had twins, and, you know, it was very
 9    important, you know, Persian grandmothers are just
10    really obsessed with their grandkids.         So it was very
11    difficult for her not to be there.
12               And, you know, despite risk to herself and
13    traveling all alone as an old lady, she made the trip.
14    So we really appreciated that growing up.         So we had a
15    really close relationship.       She visited several times,
16    each time six or nine months, extended stays living in
17    our home, in our -- just a very humble living situation
18    and went the extra mile to be there for us and take care
19    of us.
20               So yeah.   I would say I would characterize the
21    relationship as being very special and close.
22          Q.   I understand that it became more difficult for
23    her to visit you in the U.S. as you got older and she
24    faced health problems.
25               Did you still keep in touch with her regularly?

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 1          A.   We did.   She was always in touch with my mom.
 2    Her health situation deteriorated.        She could no longer
 3    visit us, and it made all the more, you know, motivation
 4    for us to try and make an effort to see her at some
 5    point in the future.
 6               But, you know, there was regular calls with my
 7    mom, and I would always get on the phone and say, "Hi,
 8    Grandma," that sort of thing.
 9          Q.   Let's shift back to your background.
10               Where did you go to high school?
11          A.   In Flint, Michigan.
12          Q.   And you joined the Marines shortly after
13    graduating from high school in 2001; is that correct?
14          A.   That's correct.     It wasn't initially planned.
15    It was sort of the last semester of my senior year, and
16    the Marine Corp recruiters had a ritual to come and
17    check on the seniors and tell them about the Marines.
18    They specifically would seek out athletes.          I was the
19    top at sports.     I played ice hockey, I played soccer, I
20    practiced -- mixed martial arts and wrestling.
21               So it appealed to me, and the presentation they
22    gave was very compelling.       It was a call to a higher
23    cause, and, you know, travel the world and serve your
24    country.    So, you know, all those things.       You know, the
25    sense of duty, the competitiveness, the challenge.

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 1    These are all things that really resinated with me.
 2               And I had a couple of discussions with the
 3    recruiter, and I was still 17 at the time, so I had to
 4    get my parental consent.       And I decided that this was
 5    definitely something that I wanted to do.
 6          Q.   What did your family think of your decision?
 7          A.   My mom was against it for obvious reasons, you
 8    know.   She was just worried about my safety.         My father
 9    was -- you know, he didn't hate the idea, but his dream
10    for me at a young age was that I would go to medical
11    school.    My father, his goal of coming and studying in
12    the U.S. was, in fact, to become a doctor.
13               But, you know, once money from abroad to help
14    him with those education costs went away and he was in
15    debt with student loans and he had three kids to worry
16    about, he changed course to pursue a shorter route and
17    get his Ph.D. and become a professor.         But, you know, it
18    was always a dream that he had and he sacrificed for us.
19               And he kind of wanted, you know, me to take
20    advantage of that situation.       He would take me to his
21    lab, you know, many times in my youth and teach me about
22    biology.    We did science fair projects together.         And he
23    was a little heartbroken that I didn't want to go that
24    path.
25               I promised him that I would do that after.

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 1    Also, you know, my -- professors didn't make much, and,
 2    you know, I know how much he sacrificed to raise us.            I
 3    didn't want him to be responsible for my education costs
 4    as well.    So that was another part of my
 5    decision-making.
 6               So, you know, with much reluctance, they
 7    agreed.    I said four-year enlistment and I'll be back.
 8    At that time, it was August 2001, and, you know, we made
 9    that decision to move forward.
10          Q.   So you were in basic training on 9/11; is that
11    correct?
12          A.   So I joined on August 15th, and September 11th
13    happened less than a month later.        I immediately saw the
14    threat level was raised at the recruitment facility in
15    San Diego.    And drill instructors were saying, you know,
16    "You guys should really take your training seriously
17    because you might be going off to war soon."
18               And shortly after, drill instructors came and
19    said, "Hey, does anybody here speak foreign languages,
20    and specifically Arabic, Farsi, Dari, Pashto?"          And I
21    grew up speaking, you know, basic Farsi.         I raised my
22    hand.   I had initially enlisted in the Marine Corp after
23    taking the ASVAB and scoring well to become a machine
24    gunner, to become a rifleman.       I wanted the Marine Corp
25    experience, I wanted to do combat arms.

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 1                At the time, there wasn't any open slots
 2    available in that specialty, so I came in as an open
 3    contract, which means after my recruit training, I would
 4    then, you know, see what positions were available,
 5    hoping that a slot would be available and I could go
 6    into combat arms.     I didn't want an office job or a desk
 7    job.
 8                You know, so they asked me if I spoke a foreign
 9    language, and I said Farsi.       They said, "We want you to
10    take a test."     So I took a test.     It is called the DLAB.
11    It is basically an assessment of your ability to learn
12    languages.    I scored well.     And after graduation, I got
13    called into an officer's office and he basically, you
14    know, ordered me -- we say "voluntold" -- me in a nice
15    way that "We want you to do this.        You need to go do
16    this."
17                So being a young recruit at the time, I agreed
18    reluctantly, and I was shipped off to Defense Language
19    Institute in Monterey, California, to attend the 63-week
20    Arabic language course.
21           Q.   And what did you do after completing the
22    course?
23           A.   I completed the course and, you know, it was
24    around 2003, I believe, and the Iraq War effort was
25    really heating up.      And I did some combat training with

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 1    my unit to prepare, and I was shipped off immediately to
 2    Ar Ramadi, Iraq sometime in early 2003, I believe.
 3          Q.   How long were you deployed?
 4          A.   It was a nine-month deployment.       Nine months.
 5          Q.   And when did you leave the Marines?
 6          A.   August 2005.
 7          Q.   Were you discharged honorably?
 8          A.   I was discharged honorably.       If you want, I can
 9    backtrack and talk about my Marine experience in Iraq or
10    if that's something that the Special Master wants some
11    details on or . . .
12               SPECIAL MASTER FEINBERG:      It is up to you and
13    your counsel, entirely up to you and your counsel at
14    this point.
15    BY MS. GRIM:
16          Q.   Why don't we talk about -- let's turn to your
17    professional background, and we can talk about, you
18    know, if anything you did in the Marines informed the
19    decisions you made in terms of the job that you took.
20               SPECIAL MASTER FEINBERG:      Mr. Hekmati, let me
21    just say that, if I desire to have you focus on certain
22    more details in your direct examination, I won't
23    hesitate to inquire.      Other than that --
24               THE WITNESS:    Okay.
25               SPECIAL MASTER FEINBERG:      -- I will allow you

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 1    and your counsel to go forward as you wish.
 2               THE WITNESS:    Okay.   Got it.
 3    BY MS. GRIM:
 4          Q.   So, Mr. Hekmati, after you left the Marines in
 5    2005, you worked for a number of years as a military
 6    contractor; is that correct?
 7          A.   That's correct.     So again, this was unplanned.
 8    In my last two, three months after I returned from Iraq,
 9    I had about two, three months left on my four-year
10    enlistment contract.      And in that two or three months, I
11    was given the role of head language and cultural
12    training NCO.     I was a sergeant at the time.
13               And my job was basically to set up a program
14    from scratch to teach deploying Marines the basics of
15    language and culture before they went to places like
16    Iraq and Afghanistan.      You know, we went into this war
17    effort, and we didn't have anywhere the number of
18    linguists that we needed.       Everything we needed to do
19    out there was -- required language.
20               So this was a big problem, and Marines were
21    going there without even knowing how to say hello in the
22    host country language, basic, you know, greetings and
23    things like that.     So I put together a tactical course
24    and, you know, also engaged with outside contractors and
25    different agencies who had, you know, similar interest.

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 1    And one of those agencies was DARPA, the Defense
 2    Advanced Research Project Agency.
 3               The program manager, Dr. Maida, she visited,
 4    and she was directed to me because I was basically the
 5    head of that department.       And she was working on a
 6    program to develop automation technology that would
 7    automate the role of the interpreter.         She liked the,
 8    you know, comments I had having been in combat and also
 9    being a linguist.
10               So as soon as I had gotten out of the Marines a
11    few months later, she contacted me and was very adamant
12    about bringing me on her team at DARPA to be her liaison
13    and basically work with contractors and help them design
14    this tool to make it effective and make it usable by
15    combat forces on the ground.       I had that experience.       I
16    knew language.
17               I didn't plan on going this route.        The promise
18    that I made to my dad was I wanted to serve my country,
19    get this experience, and then go to school.          But, you
20    know, having been in Iraq and having been -- seeing
21    close up basically how important these technologies are
22    and how much lives they can save and how important they
23    are for operational reasons, I was compelled to, you
24    know, put my school off and join DARPA.
25               I joined DARPA, and that just kind of led into

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 1    a decade of service, a number of positions in, you know,
 2    different government-related roles.
 3          Q.   We'll talk a little more specifically in a few
 4    minutes about the two jobs you had immediately preceding
 5    your trip to Iran.
 6               But, overall, tell me, how lucrative was your
 7    work in the government contracting sphere?          Were you
 8    able to make ends meet?
 9          A.   So, you know, I joined -- DARPA was my first
10    job out of the Marines.      The Marines, you know, I didn't
11    make any money, obviously.       It is a very low-paying
12    occupation.    I was just happy to get, you know, free
13    food.
14               Going into DARPA, I believe that first year, at
15    22 years old, I was paid almost $100,000, which, for me,
16    was just a vast amount of money.        And the second year
17    that I worked for DARPA, I was there for two years as a
18    contractor, I again made around $100,000.
19               I left DARPA in 2007.      That program ultimately
20    failed and didn't come to fruition.        But, you know, I
21    did see a need for some sort of technological solution
22    to help military service members and United Nations
23    people be able to learn language and culture on the go.
24    So I incorporated a company called --
25               (Reporter clarification.)

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 1               THE WITNESS:    Lucid Linguistics, LLC.
 2               So seeing that need in DARPA that didn't come
 3    to fruition, I came up with the idea.         I made Lucid
 4    Linguistics.     I devised my own technological solution
 5    that would work on iPhones.       Marines love to have things
 6    on the go.    They understand the iPhone technology.
 7    There's no training needed.       And put this solution
 8    together.
 9               I didn't have the money to bring it to market,
10    so a defense contractor in Florida by the name of
11    VCom3D, V-C-O-M-3-D, they were involved in that space,
12    and they thought it was a great idea.         And, you know,
13    they were ultimately able to bring that to market, and,
14    you know, resulted in thousands of Marines and United
15    Nations personnel adopting this technology.
16               And, you know, I ultimately did it because I
17    wanted to help, I saw a need for it.         I didn't know of
18    any sort of financial outcomes that would happen from
19    that.   But, ultimately, I was paid roughly $300,000.
20    This was the value -- you know, this kind of just showed
21    the value that VCom3D placed on my invention.          I
22    patented it at one point.
23               So, you know, I think in that third year of
24    this contracting career, I made about 350-, $400,000.           I
25    had other contracting, like, translation projects that I

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 1    worked on.    I was awarded an SBIR grant from the Office
 2    of Secretary of Defense.       And, ultimately, I made about
 3    $400,000 that year, my third year.        I was 25 years old.
 4               And we moved on to Cubic Corporation.        I was
 5    supporting mobile training teams, again teaching
 6    language and culture, and preparing officers to go
 7    overseas and train Iraqi security forces, Afghan
 8    security forces.     And then ultimately on to BAE Systems
 9    where I joined the Human Terrain Systems program, and
10    then Six3.
11               All throughout these positions I was paid, you
12    know, ranging from 90,000 to $180,000.         I'd say, you
13    know, between 2005 and 2011, close to 8-, $900,000 of
14    earnings from my contracting positions.
15    BY MS. GRIM:
16          Q.   Let's talk about your jobs for BAE and Six3.
17               You worked for BAE as a defense contractor from
18    2009 to 2011; is that correct?
19          A.   That's right.    Towards the end of 2009.
20          Q.   Okay.
21               Were you granted a security clearance as part
22    of that position?
23          A.   I actually had a security clearance before
24    that.   That's all you needed for the position.         So I was
25    good on the clearance front.       And while in Iraq, at the

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 1    behest of my supervisors, I was upgrade to a TS/SCI
 2    clearance.
 3                And, you know, before BAE, I had a few
 4    interviews with other agencies and employers, but I
 5    ultimately chose BAE for their mission, focusing on, you
 6    know, culture and research.
 7           Q.   Tell me a little bit more about your role at
 8    BAE.
 9           A.   So this was for a program that the Department
10    of Army set up.     It is called the Human Terrain System
11    program, and it is basically just adding another
12    component for the commander to visualize the battle
13    space in a sociocultural aspect.        So he was just looking
14    at, you know, targeting and sort of kinetic operations
15    where our role in Iraq and Afghanistan had a lot to do
16    with relationship building and, you know, involving with
17    politicians and that sort of thing.
18                So there was, you know, religious, cultural
19    sensitivity that had to be taken into account.          So this
20    entity was set up to be the advisor to decision-makers,
21    military decision-makers from a cultural, sociocultural
22    standpoint, and I was brought on as research manager.
23                I would basically be the liaison between the
24    commander, the intel -- intelligence teams.          Whatever
25    their requirements were, they would filter through me

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 1    and then I would work with a team of social scientists,
 2    Ph.Ds, you know, technical people.        And we would come up
 3    with our solution, per se, that we would recommend to
 4    the commander to take into account in any sort of
 5    decision.
 6          Q.   Did you work on any issues relating to Iran in
 7    that position?
 8          A.   So it was a big focus of mine.       There was
 9    about -- I'd say about 40 percent of my role there
10    during that year I was in --
11               (Reporter clarification.)
12               THE WITNESS:    Camp Speicher.     Tikrit.    Tikrit,
13    Iraq.   Tikrit is the name of a city in Iraq.
14    T-I-K-R-I-T.
15               So the requirement initially came because, you
16    know, we were giving millions of dollars to the Iraqi
17    military in training and weaponry, equipment.           And a lot
18    of the -- since we had basically wiped out the Ba'ath
19    Party, we were bringing in officers -- the majority of
20    officers in the military, first of all, are from the
21    south of Iraq, which were Shia.        And many of them had
22    sort of cozy relations with Iran.
23               So a big problem that command was facing and
24    they made known to us was that military shipments,
25    training, were -- some of these weapons, equipment they

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 1    were giving to the Iraqi military were ending up in the
 2    hands of Shia militant groups.        So this was one item
 3    they wanted us to kind of look into.
 4               Also, you know, influences on politics, you
 5    know, are the decision-makers that we are negotiating
 6    with to build a future Iraq, are they independent or are
 7    they being swayed by foreign advocates.         So this was
 8    something that I kind of looked at.
 9               I used SIPRNet, which is a secret classified
10    system, and I accessed hundreds of reports on
11    Iran-related topics, I gave my thoughts, and I was sort
12    of, you know, one of the go-tos for Iran-related, you
13    know, issues, having, you know -- speaking Farsi and,
14    you know, Arabic and that sort of thing and having an
15    understanding of, you know, religious dynamics and some
16    of the politics of the region.
17               So I weighed in on that along with another
18    social scientist colleague of mine, Dr. Brace, and a few
19    other analysts that we had.        So, you know, that was a
20    big part of my task there.        It was a huge problem that
21    command was looking at that I focused on.
22               SPECIAL MASTER FEINBERG:      This is the Special
23    Master -- can you hear me?
24               THE WITNESS:    Yes.
25               SPECIAL MASTER FEINBERG:      Mr. Hekmati, let me

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 1    just ask you, when you accessed these classified
 2    systems, did you do this with the -- at the request of
 3    your superiors with authority, or was this something you
 4    did to advance your objective in terms of learning more?
 5    I'm just trying to make sure I understand.
 6               When you just testified about accessing
 7    classified systems, was this something you did with
 8    approval of your superiors?
 9               THE WITNESS:    Absolutely.
10               So I had -- you know, we all had these
11    classified systems in front of us at our workstation,
12    and we were freely given access to access the system.
13               The requirement came from not only the
14    reporting that we had in front of us -- so we would get
15    reportings coming in, we would read them, they would
16    say, you know, these sort of items relating to Iranian
17    influence on politics.      And so those items were in front
18    of us.
19               And then as well, the commanders who were
20    dealing with Iraqi military personnel, they were
21    complaining as to why certain weapons they would give to
22    the Iraqi military, uniforms, equipment, would somehow
23    disappear, and it would end up in the hands of the wrong
24    people.
25               So our command wanted us to -- and me

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 1    specifically, to research this and weigh in and give
 2    our, you know, insight.      So that was a command-directed,
 3    you know, tasking, if you will.        And a very important
 4    issue in Iraq and still is today, you know, that I'm
 5    sure people, like, in my former job are still examining.
 6               SPECIAL MASTER FEINBERG:      And when you did
 7    this, you did this with the specific knowledge of your
 8    superiors?
 9               THE WITNESS:    Yes.   Absolutely.    Yes.
10               SPECIAL MASTER FEINBERG:      And I guess your
11    language skills had a fair amount to do with that, I
12    take it?
13               THE WITNESS:    Absolutely.    Because I could look
14    at written documents, I could look at media, I could
15    look at foreign language channels and see what they were
16    saying.    So that definitely was an asset.
17               SPECIAL MASTER FEINBERG:      Just one more
18    question then you can move on.
19               How did you know how to access this classified
20    material?    Were you given a code, or was there some
21    formula or algorithm?      How did you know how best to
22    access this system?
23               THE WITNESS:    So, one, in my previous job at
24    Cubic I had access.      In the Marines, when I was in Iraq,
25    I worked in a SCIF as well.       And then also, when we

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 1    joined BAE to do the job, we had training.          And they
 2    pointed out which platforms did what, which databases
 3    would give you what.
 4               And a lot of it was self-explanatory.        You
 5    would just open up the system and you see different
 6    reports.    They would have headlines, they would have
 7    titles.    And as they would come in, you could read what
 8    they were about.     You would get intelligence summaries.
 9               So, you know, that's kind of how I learned and
10    became proficient in these systems.
11               SPECIAL MASTER FEINBERG:      Let me just ask one
12    more question in this area, and then I promise I will
13    let Emily move on with the questions.
14               What is your response when the FBI or others
15    say that you were accessing information far removed from
16    your job description and your qualifications?
17               MS. GRIM:    Let me just jump in and clarify.       We
18    are still talking about his position leading up to his
19    last position before he went to Iran.         He was talking
20    about his position at BAE, just to clarify for the
21    record.
22               SPECIAL MASTER FEINBERG:      Well, then I withdraw
23    the last few questions, perhaps, and you will cover that
24    subsequent testimony.
25               THE WITNESS:    So I went to Afghanistan -- the

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 1    position in question is 2011.       I was in Iraq from 2010
 2    to 2011.    That's the period that I'm referring to.         And
 3    that period from 2010 to 2011 when I was in Iraq,
 4    there's no contention on that.        I was never asked about
 5    that.   It was never an issue.      I just want to clarify.
 6               SPECIAL MASTER FEINBERG:      Thank you for that
 7    clarification.     I was in error.     Emily corrected me.
 8    We'll get to that.
 9               MS. GRIM:    We just wanted to give you a context
10    for his professional background.
11    BY MS. GRIM:
12          Q.   Amir, before we do shift to the Six3 job, the
13    job you had right before traveling to Iran, let me just
14    shift gears for a moment and ask have you -- did you
15    ever take a polygraph as part of a background
16    investigation for any of your -- any positions you
17    applied for?
18          A.   So in 2009, late 2009, I believe, early 2010, I
19    applied to two positions.       You know, my Lucid
20    Linguistics was winding down, I was at Cubic for a
21    while, and I was looking for a new position.
22               And I applied to two positions:       One at DIA,
23    the Defense Intelligence Agency, and one at the CIA or
24    the National Clandestine Service.        Both of them
25    responded.    The DIA brought me in for an interview and

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 1    had me take what is called a counterintelligence
 2    polygraph, where they ask questions about foreign
 3    allegiances, loyalties, and I won't get into the
 4    nuances.
 5               But I passed.    I was offered a position at DIA
 6    to work in a department called the NMEC, the National
 7    Media Exploitation Center, where I would use my language
 8    skills and my analytical skills to be a, you know -- a
 9    resource for FBI or CIA, NSA, DIA any time -- or the
10    military any time they would see any kind of media
11    document, whatever it was, that was in a foreign
12    language, they would send it to this center.
13               And in this center, people like me would
14    analyze it, translate, interpret, and give our sort of
15    spin on it.    I ultimately didn't accept the position.
16    It had a great pay package, but it just sounded
17    like kind of, you know -- it didn't sound like the right
18    fit for me, just sitting in that station just waiting
19    for, like, you know, documents, to come in to translate
20    them didn't sound like something that appealed to me.
21               The CIA, they responded.      They brought me in
22    for three interviews.      First, they had me take some IQ
23    test online and that sort of thing.        And my
24    understanding was that every interview you came in you
25    had to pass to get to the next interview.         And after the

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 1    third interview, you would take a medical exam and a
 2    polygraph.    It is called full-scope polygraph.        And if
 3    you pass that, you know, you were in.
 4               They talked to me -- so I did all those steps.
 5    I took the polygraph.      And so the full-scope polygraph,
 6    it encompasses sort of counterintelligence questions
 7    about loyalty.     It also talks about lifestyle questions.
 8    I passed, and I passed the medical exam and sat down
 9    with HR to talk about compensation packages and
10    availability for reporting to training.
11               They also talked to me about what life is like
12    and that I would be, you know, living this double life.
13    I couldn't tell my family what I did, so to speak.           They
14    called later after I was -- you know, there still wasn't
15    a set date, but they called and said that funding --
16    there was an issue with funding or that the training
17    date had gotten pushed back, and, you know, it didn't
18    materialize.
19               I also was a little bit apprehensive about --
20    you know, I had forgotten the promise I made to my dad.
21    I still hadn't done my university.        And, you know,
22    living a life in a different country every two years or
23    not being able to talk about what I did -- I also was
24    kind of in a serious relationship at the time, so I
25    wasn't -- I ultimately passed on that opportunity and

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 1    instead chose to join BAE and do what I had before,
 2    which is more cultural research working on socioeconomic
 3    issues.
 4               And I would just point out if I did ever have
 5    any intentions to, you know, be somewhere where I could
 6    access classified information on Iran, then, you know, I
 7    would have -- you know, it would have been to my benefit
 8    or anyone's benefit to go and join those agencies where
 9    I had an employment offer.       I had an offer to join DIA
10    which is at a much higher level than BAE Systems or the
11    Department of Army.
12               They have much more sensitive information.
13    They have entire desks, entire offices that are
14    dedicated to Iran and Iran-related issues, but I chose
15    not to join those organizations.        I went ahead and
16    joined the Human Terrain Systems because I liked their
17    mission, more focused on socioeconomic and cultural
18    issues, which was something I had a good foundation in
19    and I enjoyed doing.
20          Q.   Let's talk about your job at Six3.        This is the
21    job right before you went on your trip to Iran.
22               You took that job in 2011; is that correct?
23          A.   In June -- May or June of 2011.       That's
24    correct.
25          Q.   And how did you hear about the job?

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 1          A.   My colleague in Iraq, where I was working at
 2    the time, he had accepted a position with them.          He was
 3    actually in Afghanistan at the same time as I was but in
 4    a different location.      And he talked highly of the
 5    company.    He had -- and additionally, you know, at the
 6    time, the mission in Iraq was really dying down to more
 7    of a training, support mission where the mission in
 8    Afghanistan was at its peak.
 9               And, you know, I think having a Farsi language
10    ability and thinking about the high need for someone
11    like me in a place like Afghanistan in a time when
12    operations are sort of at their peak, you know, I was
13    compelled to, you know -- hey, this is something that I
14    can do now and I can do some good and I can, you know,
15    be of service.     I can put school off for one more year.
16               But that's how I found out about it.        I'm
17    starting to get off track.       A colleague at BAE Systems
18    referred me.     He got me in touch with a recruiting team
19    at Six3.    They sent me emails and, you know, we are
20    adamant about bringing me on the team.
21          Q.   How did the recruiter -- or did the recruiter
22    provide a description of the position to you?
23          A.   Intelligence analyst.      She also provided a
24    detailed description, and the detailed description she
25    offered was military all-source analyst and a bunch of

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 1    additional details of topics that would be covered
 2    where, you know, in the case of all-source, it is pretty
 3    wide ranging.     And, you know, you needed to have a
 4    bachelor's degree and, you know, she was, you know, very
 5    happy about my language skills.        She thought that would
 6    be in high demand.
 7                And so intelligence analyst.      You had to have a
 8    TS/SCI clearance.     You had to have military experience
 9    and preferably combat experience, operational
10    experience, and intelligence analysis experience.           It
11    was specifically for, you know, joining as an
12    intelligence analyst to support intelligence analysis.
13           Q.   So we have talked about why the job was
14    appealing.
15                Did you have any reservations about taking the
16    job?
17           A.   So I had been putting off this promise to my
18    dad and to myself since 2005.       None of this was really
19    intentional.     I had just kind of -- this was, you know,
20    the -- the war was going on and I was somebody in high
21    demand.     And it was a great fulfillment to me to be able
22    to be relied on at these levels at that young of an age
23    and make an impact on the level that I did.
24                So I didn't have reservations about, you know,
25    wanting to continue my service.        The reservation that I

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 1    had was I had been deployed for much of my youth, and I
 2    had been in austere environment.        I had not finished my
 3    college education.      I had neglected my family.      I had
 4    been away from them for quite some time.         And, you know,
 5    I had personal commitments that I wanted to fulfill as
 6    well, like, you know, the relationship I had with my
 7    previous girlfriend.
 8               And, you know -- but, again, I just -- my sense
 9    of duty and just the thinking that, you know, I'm in a
10    critical need situation, I have skills that are in
11    critical need.     Afghanistan is an opportunity that may
12    not be around in the future, but school will be, so I
13    can do school another year.       And eventually made the
14    decision to join the company under the auspice that it
15    would be a once-in-a-lifetime opportunity and I would be
16    heavily relied upon.
17               But I did have deep reservations mainly for
18    those, you know, personal reasons and the fact that I
19    had put off school for so long.        My parents were on my
20    case saying, "When are you going to get the school done?
21    When are you going to get married?" and, you know, "It
22    is time to come home and be closer to us."
23          Q.   Parents are good at that.
24               So given these concerns you mentioned, did you
25    commit to stay in the position for any set length of

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 1    time?
 2          A.   So there was no commitments.       This is an
 3    at-will agreement, and they could fire me at any time or
 4    relieve me at any time without any, you know -- at
 5    minimal notice.     And I am also allowed to leave.        I
 6    didn't have any touch with the unit, so I didn't know
 7    who I would be serving, who the customer is, or what
 8    their expectations of me were.        I was -- we are a
 9    support entity.     The contract was to provide support and
10    just be there in case there's something that people
11    need, be an extra set of eyes and ears.
12               And so absolutely not.      The only time-related
13    mentions were related to compensation package, meaning
14    that if you -- completion incentives.         Because they bill
15    government, when they hit certain milestones, they make
16    more money.    So they said, "Hey, if you complete six
17    months, you are going to get a bonus.         If you complete
18    12 months, you are going to get another bonus."
19               So the only commitments -- there was never at
20    any point a document I signed or anything anybody said
21    that said, "Hey, if you come aboard, you need to be here
22    for a year otherwise you are basically going to do us an
23    injustice."
24               But no, no commitment.
25          Q.   Let's talk a little bit about your time in

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 1    Afghanistan.
 2                When you arrived in Kabul for the Six3
 3    position, you were not initially placed in a role as an
 4    intelligence analyst; is that correct?
 5           A.   That's right.    I got into Kabul.     And, again,
 6    I'm coming in with the mind-set that I'm sacrificing
 7    again more time with my family and putting school off
 8    for a very critical position.
 9                And I got to Kabul.    I met with the Six3
10    manager.     And, you know, the way it works is they don't
11    really know where they are going to send you until you
12    get into country, and I was aware of that.          I had no
13    idea where I was going to go or what I was going to be
14    doing or what I was going to be involved in, but I knew
15    it was going to be an intelligence analyst role, which
16    is what I was hired for and what I was trained for, what
17    I had a proficiency in.
18                When I got there, I was shocked.       She asked me
19    -- she said, "Hey, your job is over here and you are
20    going to be a religious advisor."         I --
21                (Reporter clarification.)
22                THE WITNESS:    No problem.    Okay.
23                So I was shocked.    She said, "You are going to
24    be a religious advisor.       That's what they want you to
25    do."    And I said, "I don't know anything about religion,

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 1    I haven't trained in theology.        This isn't my job" --
 2               SPECIAL MASTER FEINBERG:      Slow down a little
 3    bit.    Slow down a little bit.
 4               THE WITNESS:    I apologize.
 5               So, again, I came in, she said, "You are going
 6    to be a religious advisor.       You are going to go out with
 7    military patrols.     You are going to engage locals, and
 8    you are going to say, 'Hey, we are not that bad.           We
 9    don't have a war against Islam, and let's talk about
10    it.'"
11               I didn't feel comfortable with that job
12    description.     I knew nothing about religion.       I didn't
13    study theology.     It wasn't my job.     It is, like, we are
14    going to hire you as an architect and then say, "We want
15    you to be a mechanic."      I didn't know what that was
16    about.    It was a completely different job description,
17    far more dangerous than the job that was, you know,
18    advertised to me.
19               I would have to go out on patrol, and I would
20    basically have to do Iraq all over again, which -- I had
21    already been in combat as a Marine.        So I didn't want to
22    do that again, and I just wasn't trained for that.           I
23    didn't know how to do it.
24               So my obvious response was that "Hey, that's
25    not what I was hired for.       I don't know even know how to

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 1    do this job."     And, you know, their thought process was
 2    "Oh, this guy's name is Amir.       He probably knows how to
 3    do this.    He is Muslim so he knows" -- that was faulty
 4    thinking, and I just said politely that "This is not for
 5    me, and I just want the job that you hired me for.           I
 6    want -- that's what you hired me for.         That's what I
 7    came out here for, and that's what I want to do."
 8    BY MS. GRIM:
 9          Q.   So you told your supervisor you would resign if
10    you weren't placed in the position that you had applied
11    for; is that correct?
12          A.   That's correct.     I said, you know, "If you
13    don't have the position that you hired me for, then I'm
14    just going to respectfully resign and go back home."
15          Q.   And did she put you in a new position?
16          A.   She did.   She made calls.     She sent my resume
17    to different places.      And apparently the client at
18    Bagram liked my resume and said, "We'll take him."
19               So I didn't know until I got there, but once
20    they said that, I said okay.       I went out to Bagram and
21    presented myself to the unit there.
22          Q.   Let's talk about your time at Bagram.        I think
23    the Special Master may have some additional follow-up
24    questions here.
25               When you moved to Bagram, what information,

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 1    programs were you read into or permitted to access?
 2          A.   So when I arrived there, I had a meeting with
 3    some of the staff, like, you know, the intel chief and
 4    different people.     They said, "Okay.      Let's look at his
 5    resume."    And then they must have went and talked to the
 6    SSO to get their input.      The SSO, the special security
 7    officer, he said, "Based on the unit requirements and
 8    what I see, I want to read you in to programs called SI,
 9    TK, HCS, and Gamma.      These are just -- these are just
10    collections" --
11               (Reporter clarification.)
12    BY MS. GRIM:
13          Q.   I think you need to slow down a little bit.
14    Sorry, Amir.     We are getting into lingo.
15               MR. GILBERT:    Go back to the acronyms.
16               THE WITNESS:    So the unit met with me.      The
17    intelligence chief met with me.        He looked at my resume.
18    He talked to me.     He was sizing up.     He said, "How --
19    what do I want him to do?       How can I use him?"
20               He talked to the SSO who makes that
21    determination.     He is the special security officer, he
22    determines who get access to what.        Just because you
23    have a clearance doesn't mean you get to do whatever you
24    want.   He has to make that determination.
25               And the units' belief, the units' desire and

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 1    the SSO was I get read into programs called SI, TK, HCS,
 2    and Gamma.    These are collection methods.       So imagery,
 3    intercept signals, and Gamma is another technical term,
 4    and HCS which is sort of sources, reports from fields
 5    people.
 6               And they read me in to those programs, and they
 7    put that into the system so that when I start my job,
 8    the system already filters what I have and do not have
 9    access to.    That was the decision of the unit.        That's
10    what they wanted me to do, and that's what I ended up
11    having access to.
12    BY MS. GRIM:
13          Q.   So did you ask your supervisor for access to
14    those programs?
15          A.   No.   And it is not in my place to ask anybody.
16    That's not something that I can request.         That's
17    something they have to grant you based on their decision
18    of what they want you to and not have access to.
19          Q.   And did you know you would have access to those
20    specific programs before you arrived?
21          A.   I didn't know anything.      I didn't know what I
22    would be doing, how I would have access.         I never had
23    access to those systems so I didn't even know what their
24    value was or what you could do with it.         I didn't know
25    what location I would be in.       When I signed on, I agreed

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 1    to anywhere in Afghanistan.       They could have sent me to
 2    some remote village in the boarder of Pakistan and
 3    Afghanistan.
 4               But they just said, "You would work as an
 5    intelligence analyst.      You would use your skills that
 6    you had from prior work experience.        You would use your
 7    language experience."      And that's something that I was
 8    comfortable with.     But I had no prior knowledge of where
 9    or what I would be doing or what I would have access to,
10    no.
11          Q.   So when you searched for a particular topic,
12    tell me how that would work?
13          A.   Well, there's -- I didn't really have too much
14    training but the major page, it is called Intelink.           It
15    looks like Google.      It has a search bar, and it just
16    says Intelink.     And if you put a search term in that,
17    like Google, it will return anything that has that
18    keyword in it with all the classifications levels that
19    the SSO gave you permission to access, unsolicited.           It
20    is looking for keywords and access level.
21               If you don't have those access levels, you
22    can't access -- those won't even come up as options to
23    click on.    It is not, you know -- the access levels are
24    not segregated by content, by subject matter.          They
25    don't say, "Oh, you can access things on A, but you

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 1    can't" -- it is based on the level and the collection
 2    method, those SI, TK, HCS, and Gamma.         There's no
 3    restriction based on content or subject matter.
 4               But I would just put in a search term and
 5    whatever hints would come back, that is where I would
 6    look at data and begin to do my research or whatever
 7    analytical work I was doing.
 8          Q.   Did anyone tell you that you were restricted
 9    from viewing anything in the programs to which you had
10    access?
11          A.   Never.   I did, you know, consult with them.
12    The only thing that they said to me was that "You have
13    these accesses and, you know, we are happy to have you
14    on the team and, you know, let's see what you can do."
15               Initially, one suggestion was that I look at
16    propaganda or messaging.       That was the only direct
17    suggestion that was made, that I look at Taliban or
18    Al-Qaeda messaging and propaganda.        So I look at any
19    reports about things that they are telling domestic
20    people, locals, what sort of brainwashing they use to
21    recruit.    If there's anything in their little media
22    channels that they are putting out there that is
23    relevant, I have the language ability.         I can translate,
24    decipher, and write reports on.
25               So that was one item, but I was -- I was

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 1    mandated to work 12 hours a day.        This is a 24/7
 2    operation.    Minimum -- 12 hours was kind of the minimum
 3    expected.    And, you know, I'm the support staff.         I'm a
 4    military all-source analyst.       He gave me all of these
 5    accesses, pretty much wide ranging to everything because
 6    I was an all-source analyst and he wanted me to serve as
 7    a generalist, fill in the gaps when needed.
 8               If there was overflow from the staff, from the
 9    corp staff -- which were all in uniform -- military
10    personnel, they had too much on their plate, I was there
11    to say, "Hey, Amir, work on this."
12               In the meantime, however, you had to keep
13    yourself busy, you had to contribute, you had to show
14    value.    You know, I sacrificed, you know, another year
15    of college and that stuff to be there, so I definitely
16    wanted to be of value and contribute.
17               So, you know, initially, that was my focus, was
18    messaging propaganda.      It wasn't -- I was tasked with
19    giving a weekly update.      So once a week we would have an
20    end-of-week huddle.      They would say, "Hey, what do you
21    know about propaganda?      What can you fill in for us,
22    Amir?"
23               But I had 12-hour workdays, and I had a lot of
24    skill and a lot of knowledge, and I have -- you know,
25    they gave me this wide-ranging access because they

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 1    wanted me to be proactive.       It wasn't a hand-holding
 2    situation.
 3               And in daily meetings, they would say, you
 4    know, "Amir, what do you got?       What do you have to
 5    contribute?"     There were many times where I hadn't --
 6    and, you know, at the same time, I wish there had been
 7    more free -- you know, show my capability and be of use.
 8    I was there 12 hours a day whether I liked it or not.
 9               And there was some talk about logs that came
10    up, search logs, and I never saw any logs.          No logs were
11    ever shown to me, if they exist --
12               MS. GRIM:    Amir, I'm sorry.
13               Is anyone else seeing him frozen on video?         Is
14    that just my internet connection?
15               (Discussion off the record.)
16    BY MS. GRIM:
17          Q.   I didn't want to interrupt you, Amir.
18               You were talking about -- go ahead.
19          A.   I was referencing logs, that if there are any
20    logs, I never saw any logs in any interviews.          Nobody
21    ever showed me any document.       They said there were logs
22    shown to me, but I was never shown anything.
23               I am just saying if they exist, they would
24    corroborate that in my first week or two, I was looking
25    at messaging and propaganda-type items and then a second

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 1    project that I worked on involving cell phone towers.
 2          Q.   Okay.   So you touched on this, but I just want
 3    to confirm.
 4               Were you restricted in what topics you could
 5    research?
 6          A.   I wasn't restricted.     I was an all-source
 7    analyst, and my understanding is that you can't even --
 8    there are no such subject matter restrictions in
 9    intelligence.      You can get access to the level, the
10    system.    I'm an all-source analyst, and I went through
11    two polygraphs and two FSDI investigations, one by the
12    CIA, one by the DIA, one by the -- and I was brought on
13    the team as an all-source analyst.
14               You know, there's -- as far as I know, there's
15    no such thing as subject matter restrictions on access.
16    It is access based on your clearance level and on the
17    programs you were read into, which are collection
18    methods.    There's no such thing as you can access Mexico
19    but you can't access Honduras --
20               SPECIAL MASTER FEINBERG:      Can I ask you one
21    question?    I understand your testimony.
22               How do you gain access to these platforms?         Did
23    you know -- as an analyst, did you already have
24    knowledge of these platforms or were the access points
25    conveyed to you upon your arrival in Afghanistan?

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 1               THE WITNESS:    I had access to a lower-level
 2    system in Iraq which is pretty much similar in terms of
 3    searching and understanding different components.           This
 4    was just a higher level in terms of classification.           So
 5    the system, the platform, that is pretty similar, and
 6    I'm pretty quick at picking things up.
 7               So I was sat in a SCIF.      It is an operations
 8    center.    We probably have 200 people in there.        There's
 9    screens everywhere.      I was given a username and
10    password.    The SSO read me in.      So once I boot up my
11    system, anything that he allowed me access, I was able
12    to access.
13               But it is pretty straightforward.        It was just
14    a Google-type search bar.       And then from there, you can
15    get whatever keywords you get, whatever results you get.
16    You can then do other searches from that, just like
17    Google.    You search a keyword, you get websites, and
18    then you are off --
19               SPECIAL MASTER FEINBERG:      But you need a
20    password; is that right?       And they -- your superiors
21    provided you that password?
22               THE WITNESS:    They provided me that password.
23    And once you put your password in, you are in the
24    system, you can go.      Whatever is in the system -- your
25    accesses, your restrictions are already put into place

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 1    by the special security officer into the system.           He
 2    codes that in there.      So, you know, you wouldn't be able
 3    to access it unless he did, he did so.
 4                But once you put your password in and you are
 5    logged in, anything that you are allowed to see, you can
 6    see.    If you are not allowed to see it, you wouldn't
 7    even be able to click on it, you wouldn't even be able
 8    to access it.
 9                SPECIAL MASTER FEINBERG:     Okay.    Thank you.
10                Emily, go ahead.
11    BY MS. GRIM:
12           Q.   So you mentioned that you were looking into
13    topics outside of your original project on
14    propaganda-related issues.
15                What are the sorts of topics that you were
16    looking into?     You mentioned something about a cell
17    phone tower.
18           A.   Right.   So the only direct task -- and this was
19    just a suggestion by the intel officer.          He said, "Hey,
20    you know, why don't you go look at propaganda.          That's
21    one idea that I had for you."
22                But, again, I had to fill 12-hour days.        I was
23    asked daily, "What do you got?"        But my mandate was an
24    all-source analyst.      I was hired on by Six3 for my
25    language skills, for my broad combat experience, my

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 1    broad, you know, intellect and whatever I could
 2    contribute to.     And, you know, the idea is to take the
 3    initiative and not just sit there and wait for someone
 4    to tell you what to do.
 5               So I took it upon myself to look at reporting.
 6    In addition to having access to this system, I was added
 7    to about 50 different mailing lists.         And in my inbox
 8    daily I would get emails that were based on my access
 9    levels.    So, you know, because I had all these accesses
10    I would get different products.
11               And in those products was, you know, some
12    reporting about the Taliban blowing up cell phone towers
13    that multinational corporations were installing in -- or
14    if -- you know, because they wanted extortion money.
15    They wanted basically those companies to pay them vast
16    sums of money for the right to have those cell phone
17    towers, you know, and they considered themselves the
18    legitimate government in Afghanistan.
19               So, one, the companies were doing this because
20    they didn't want to lose their infrastructure.          They
21    spent millions on these towers.        They were paying, like,
22    $150,000 to the Taliban, you know, going against
23    international law, essentially, by funding a terrorist
24    organization.
25               So I came up with the idea, you know, my

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 1    initiative, without being told, without being tasked,
 2    without anybody telling me, I went ahead and got into
 3    the reporting of these -- of what was going on.          And I
 4    studied the situation, the issue.        And I came up with a
 5    recommendation, one of which one of the special agents
 6    actually read and he commented on that it was a good
 7    product.
 8               And it was basically my recommendation that we
 9    get in touch with the cell phone tower companies, the
10    multinationals, and have them divert these funds to the
11    local population and hire them as sort of a security
12    force for these towers.      And in doing so, we would, you
13    know, curry favor with the locals, we would build
14    relationships, we would put money into a lot of these
15    people who, because of unemployment, were going and
16    working for Taliban, were going and getting recruited by
17    Al-Qaeda, and, you know, build relations.
18               And there might be a chance that the locals
19    share their money with Taliban, but at least we would be
20    showing that being part of the system is better than
21    blowing up towers.      This is their country, this is
22    something that everybody relied upon.         And it was really
23    unpopular with the local population to not be able to
24    send text messages and get in touch with their loved
25    ones.

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 1               So, you know, I also recommended it for sort of
 2    a propaganda piece that we could put in some media
 3    outlets saying, "Hey, like, look at what they are
 4    doing."    So I put this project together from scratch and
 5    nobody told me to do it.       I sent it over to the
 6    intelligence chief, and he thought it was amazing.           He
 7    gave me a lot of praise for it, and that was a great
 8    feeling.
 9               I was emboldened by that to continue on with my
10    initiative and not -- everybody was very busy in there.
11    I couldn't just wait for someone to tell me what to do
12    all the time.     I wanted to be useful, I wanted to
13    contribute.    I did this project from scratch.        Nobody
14    told me -- I never was told that "You can go look cell
15    phone towers," but I did.       I told them that I was going
16    to do it, and they said, "Okay, great."         And I did it,
17    and I, you know, presented that product.         And, you know,
18    I was given praise for that.
19               But, you know, that product came to an end and
20    I -- you know, I had to find another task --
21    BY MS. GRIM:
22          Q.   Let's talk about that -- I understand -- I'm
23    sorry.     Were you finished?
24               I understand from your declaration you started
25    to look into Iran-related issues while at this position.

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 1    Why did you start to do that?
 2          A.   Well, there's a few reasons, and one of them
 3    being that I had 12-hour days, I had to fill the time, I
 4    had to do something, I had to be of use.         That's one.
 5               The second is that everybody in the SCIF kind
 6    of worked in their niche.       So the guy that I sat next to
 7    was a colonel, Colonel Tiso, he was a Pakistan expert.
 8    Anything Pakistan, he was the go-to guy.         Another guy,
 9    he worked on identifying weapons; another guy worked on,
10    you know -- everybody kind of had their specialty.           I
11    lacked one.    I had worked on Iran-related issues in
12    Iraq, so I had a foundation to work off of.
13               Third, the intelligence summaries that would
14    come to my inbox unsolicited because of my access always
15    included some reporting about Iran.        It would say Iran
16    reporting that Iran is funding the Taliban, reporting
17    that Iran is buying off politicians.         These are things
18    that I would see and, you know, was made aware of.           I'm
19    also in a Farsi-speaking country, Dari, which I was
20    native, I speak Farsi.
21               So for all of these reasons combined -- again,
22    I just took initiative on the cell phone tower project
23    without being told to.      I was given praise.      So I want
24    to go on that momentum.      I'm sitting next to a Pakistan
25    expert, and having read all this reporting about Iranian

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 1    influence in Afghanistan, just like they would do in
 2    Iraq, it was a big issue.
 3                So there was a cross dynamic that I could build
 4    off of.     I couldn't just churn out intelligence projects
 5    original that I had no grounding in every day when they
 6    say "What do you got, Amir?" from scratch.          So I was
 7    looking for something that I was versed in, that I had
 8    some foundation in.
 9                And for all those reasons, looking at these
10    different links, these different reports that would come
11    into my inbox, I started to click on them, I started to
12    say, hey, how about in addition to my weekly propaganda
13    product and these other products -- projects, I would
14    also try to develop expertise in Iranian influence in
15    Afghanistan and other Iranian-related topics and being a
16    so-called Iran expert like I had been in some way in
17    Iraq.
18                So I wanted to build upon that, and that's when
19    I started to, you know, to research these projects.
20          Q.    Did you tell your colleagues about your
21    research on Iran issues?
22          A.    Everyone knew.    The colonel who was on my -- we
23    were elbow to elbow.       This is a SCIF, and we had limited
24    space.     It is packed.    I have analysts on my right; I
25    have analysts on my left.       I have one in front of me,

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 1    one behind me, elbow to elbow, we can see each other's
 2    screen.
 3               And, in addition, we had a captain, a major,
 4    different uniformed supervisors who would circle the
 5    room, stop by, ask you "How you are doing?          What are you
 6    working on?    How can I be of help?"      I consulted the
 7    colonel next to me.      I said, "Hey, you are the Pakistan
 8    expert.    How does that work?     What do you think about me
 9    getting -- sort of being like the Iran expert?"
10               "I think that's great."
11               The captain stopped by.      "What are you working
12    on, Amir?"
13               "Hey, I saw these reports about Iranian
14    influence in Afghanistan.       They are, you know, financing
15    Taliban and that sort of thing.        I would like to look on
16    this topic.    I have a background on this.       I worked on
17    similar things in Iraq.      I want to look at this."
18               And like I was saying earlier, if there are
19    some logs that exist, that they would be corroborated to
20    see that, you know, I didn't get there from day one and
21    start looking at Iran topics --
22          Q.   Just to clarify --
23          A.   -- a natural progression, something I can
24    contribute to.
25               Again, I wasn't given specific tasks, I wasn't

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 1    given a box that I was not allowed to go outside of.           I
 2    was an all-source analyst.       This was in a fusion center,
 3    and I started to pick that up by first educating myself
 4    in the reporting and having -- I was there for 12 hours
 5    a day so I did a lot of reading.
 6          Q.   So just to confirm, did you tell your
 7    supervisors about your research on Iran issues?
 8          A.   I told my direct supervisor, he was a captain.
 9    I told the analyst next to me, who was a senior advisor.
10    He had the ear of the general, the one star general.
11    You know, and everyone knew.
12               In addition, they didn't want to know
13    minute-by-minute updates on what I was looking at or
14    what I wasn't look at.      They wanted to know -- what they
15    most cared about was "What do you got?         What to you have
16    for us?    What is the product?     What is the solution you
17    have to one of our problems?"
18               So, A, they knew and, B, I had, you know -- I
19    had the permission to do what I felt would be a benefit
20    to the unit, and that's what I felt was a benefit to the
21    unit for the reasons that I just mentioned.
22          Q.   So no one ever told you to stop researching
23    Iran issues; is that right?
24          A.   At no point.
25               And I just want to add that this is a SCIF,

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 1    this is a sensitive facility, highly secure.          You can't
 2    just go in there and do whatever you want.          People know,
 3    people are there.     It is a crowded place.
 4               So if by somehow telling the captain, telling
 5    Colonel Tiso, being given the accesses that I had, being
 6    told that I'm an all-source analyst, being recruited
 7    because of my Farsi skills, because of my previous
 8    skills to do exactly those things, even if all those
 9    were not relevant, you still can't just go in there and
10    do whatever you want and not have anybody say anything
11    to you.
12               So, no, at no point did anybody tell me that I
13    can't do what I was doing.       On the contrary, because I
14    did so well at that cell phone tower project, I was
15    encouraged to say "Hey, you know, what else can you do?
16    What other problems can you solve?"
17               So the answer was no.      I was not told I can't
18    access them.
19          Q.   Was there ever a time you were alone in the
20    SCIF?
21          A.   No.   That would be impossible.      No.   There's
22    200 people.      It is a 24/7 operation.     You are 12 hours
23    minimum.    I have seen people pass out in there.        And it
24    is always crowded.      There's always somebody there.       We
25    were supporting all of Eastern Afghanistan, which at

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 1    that time was the most volatile region in the country.
 2               You have to go through three doors just to get
 3    into this place, and there's guards that check you in.
 4    There's no such thing as alone in that facility.
 5          Q.   I understand you worked at night sometimes.
 6               Was the room any less crowded when you were
 7    there at night?
 8          A.   So, you know, I read something about me going
 9    to the night shift.
10               First of all, I never went to any night shift.
11    I was -- you know, there's no such thing as a night
12    shift, per se, for analysts because you are expected to
13    get the job done.     So it is a 24/7 operation, and I had
14    to work 12 hours a day.
15               What was common practice -- because 12 hours a
16    day in an austere environment is tough for anyone, it
17    was a common practice is at times guys would split up
18    their day, you know, if they didn't have any pressing
19    requirements, maybe you do four hours in the daytime,
20    you go to lunch, you go to the gym, you work out, you do
21    another four hours, you take a nap, you come back and do
22    another four hours.
23               So there were times maybe when I wasn't feeling
24    good in the daytime so I shifted a few hours to the
25    night.     I was never on any set night shift where I

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 1    shifted to the night shift.       There was just a few times
 2    that I worked at night like everybody else did because
 3    it is 12 hours a day and there's burnout.         You know,
 4    that's one reason why they kind of entice you with these
 5    bonuses, because there's so much burnout.
 6               But, you know, I split up a couple days here
 7    and there.    You know, I had to do my 12 hours.        So if I
 8    was short a few hours, I would make up for it at night.
 9    Common practice.     Nobody told me I couldn't do it.        And
10    if I was doing something I shouldn't have been by coming
11    in at night -- which was allowed and it was packed at
12    night -- most of the attacks that happened were at
13    night.
14               So one of the jobs at the intel center was any
15    time there was an attack, alarms would go off and the
16    captain would yell "Hey, guys.        Let's get on this.     I
17    want to know what happened."       A lot of these things
18    would happen at night.      So sometimes it would be more
19    packed at night than at daytime.        It was just depending
20    on the operation, on this operation situation.
21               So to answer your question, no.       Nobody told me
22    I couldn't come in at night.
23          Q.   While you were at the Six3, did you ever
24    download or print anything that you weren't supposed to?
25          A.   No.   This was all -- you know, Iran issues,

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 1    these were all just reading reports.         I spent very
 2    little time on each one.       I was trying to get acquainted
 3    with the subject matter, find what was relevant, what
 4    wasn't relevant.     If there's any record of the amount of
 5    time I spent on these products, it would probably be 20
 6    seconds, 15 seconds.      I'm just looking to see what is
 7    going on.
 8               I never downloaded.     I never scored.     I never
 9    printed.    You are not allowed to bring in personal
10    electronics, and I never did.       So no.    I didn't print, I
11    didn't score, I didn't do anything with that information
12    except read it and see what value it had for, you know,
13    the unit.
14          Q.   Did you ever type up any information you viewed
15    by memory on your personal laptop?
16          A.   No.   Absolutely not.
17          Q.   I want to turn now -- and we'll try to keep it
18    brief.     I'm mindful of our time here.
19               Can you tell us the reasons you left the job at
20    Six3?
21          A.   So like I said before, you know, I came in with
22    a bit of reservation that I was again putting off school
23    for another year.     I had been going since 2001.       I had
24    ten years of government service by this time, 2011.           I
25    had been in combat in Iraq.       I had spent another year in

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 1    Iraq as a -- with BAE.
 2               And I was 27.    I needed -- my mom was on my
 3    case about getting married.        I still hadn't finished all
 4    my educational goals.      I had only gone because I
 5    thought -- Afghanistan was at its peak.         I thought it
 6    was a critical need and it was a big demand for me to be
 7    there, just like other positions they really needed.
 8               When I got there, first of all, they told me to
 9    be a religious advisor, then they send me to this unit
10    who didn't really know what to do with me, you know.
11    And they said, "Hey, do you want -- I got a guy over
12    here who speaks Farsi.      Do you want him?"     They were
13    like, "Okay.     We'll take him."
14               But there wasn't any clear goal, there wasn't
15    any clear guidance --
16               (Reporter clarification.)
17               THE WITNESS:    Yeah.    So, you know, I don't
18    think there was a lot of thought that went into my being
19    sent there.    I was sent there.      And then I wasn't relied
20    upon to the degree that I thought.        I thought me, a
21    Farsi speaker, intel experience, combat experience, I'm
22    going to go in there and they are really going to be
23    relying on me.     There's going to be a lot of work for me
24    to do --
25               SPECIAL MASTER FEINBERG:      Mr. Hekmati, I wanted

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 1    to make -- not only that you speak slower, that seems to
 2    be a losing proposition, but that's alright.
 3               I also want to reinforce what your counsel just
 4    said about responding more succinctly to the question
 5    without going on and broadening the scope of what the
 6    question is.
 7               Your counsel --
 8               THE WITNESS:    Okay.
 9               SPECIAL MASTER FEINBERG:      Your counsel asked
10    you specifically what she wants to elicit.          And if she
11    wants to elicit more than that, she will ask you another
12    question.    But try and respond to counsel's trying to
13    confine your answers.      Thank you.
14               THE WITNESS:    I understand.
15               MS. GRIM:    How about -- I can reframe my
16    questions in a way that will make it easier to move from
17    point to point and for the court reporter to capture
18    everything, given our time constraints, if you are okay
19    with that, Amir, and Special Master.
20               THE WITNESS:    I'm okay.
21               SPECIAL MASTER FEINBERG:      And believe me, on
22    time constraints, I want to make sure that counsel ask
23    all the questions she deems appropriate and gets
24    responses from her client.       So time constraints are
25    flexible.    I'm more interested in making sure that

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 1    Mr. Hekmati sticks to the point of the questions that
 2    are being asked.
 3                THE WITNESS:    Yeah.   I completely understand
 4    now.    And I'm just going to -- I'm going to do just
 5    that.    If you have any other questions, additional
 6    questions, feel free to ask.        I'm just going to be more
 7    direct and to the point.
 8                So, Emily, if you want to ask your question
 9    again, I think I know a better way to respond to it.
10    BY MS. GRIM:
11           Q.   So let's try it this way:     You said earlier and
12    in your declaration to the Special Master that you had
13    some expectations about this position, to get valuable
14    work experience, learn from other analysts.
15                Did you feel you were getting that in the
16    position?
17           A.   No.   I wasn't given direction.      I wasn't relied
18    upon.    I was basically just told to work 12 hours a day
19    and figure out how to be useful.        But --
20           Q.   Were --
21           A.   -- but my thought process was "You hired me,
22    you are paying me this high amount of money, what do you
23    want me to do?     I'm here for you.     So I don't want to
24    create a need for myself.       If you don't need me, I have
25    better places to be.       I have other things that I would

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 1    like to do.    I'm here to serve this unit.       If you don't
 2    need me, then I will respectfully resign."
 3          Q.   So it is fair to say -- is it fair to say the
 4    job was not as it was marketed to you, not what you had
 5    hoped for?
 6          A.   Nowhere close, no.     It was not what it was
 7    marketed for at all.
 8          Q.   Okay.
 9               Unless the Special Master has any other
10    questions about your access to information or your
11    activities while working at Six3, I was planning to turn
12    to your trip to Iran.
13               SPECIAL MASTER FEINBERG:      That will be fine.
14    BY MS. GRIM:
15          Q.   Okay.   Mr. Hekmati, after you left your job at
16    Six3, you traveled to Iran; is that right?
17          A.   That's right.
18          Q.   When did you first start planning this trip to
19    Iran?
20          A.   December of 2010.
21               And I just want to add that a trip to Iran had
22    been an aspiration since I was 12 years old when my
23    grandmother could no longer visit us because of her
24    health problems.     For a multitude of reasons, we were
25    always unable to do that, but the plan for this

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 1    particular trip began in December of 2010.
 2          Q.   And why did you start planning a trip there
 3    specifically in 2010?      What prompted that?
 4          A.   Because my mother had made plans at that time
 5    to visit in June of 2011, six months later.          And every
 6    time she had been going, my family was like, "Where is
 7    my grandson?     Where is our cousin?     Where is our
 8    nephew?"    And this is something that -- my mom had never
 9    shown her son to her brothers.        This is a big part of
10    her life that was unfulfilled.        So she had always been
11    looking for opportunity to make that happen.
12               So in December of 2010, after other times that
13    she wanted me to go and I couldn't, she again said,
14    "Amir, I'm going in June, July.        Can you come?"    At that
15    time, I said, "There's a good chance that I can" because
16    in May of 2011 I would come home from Iraq, and I was
17    done.   I was already making plans to start school.          I
18    had an acceptance letter at the University of Michigan
19    to start in September.
20               So that time frame worked for me.        I would come
21    home in May, end of May.       We would go in June or July.
22    I would come back in August, have time to prep, and go
23    to school in September.      So, you know, the reason why we
24    made plans was because my mom was going, I had never
25    been, and this is an aspiration of hers.

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 1               My grandmother made all those trips halfway
 2    across the world when I was young.        She was ill, she
 3    might die, and it would be a shame if I didn't at least
 4    see her before then and make an effort at one point in
 5    my life, having never been to Iran, to go and see my
 6    grandmother.
 7          Q.   Did your family end up taking the trip to Iran
 8    that June or July of 2011 that you all had begun
 9    planning?
10          A.   Yes.   So in June -- July, if I'm not mistaken,
11    I think it was June, my mom, my sister Leila, my
12    brother, my younger brother Omeed, they all traveled
13    without me and spent their time in Iran.         I think about
14    a month, a little bit longer maybe.
15               And, again, you know, "We wish you were here.
16    Sorry you couldn't come in time.        Grandma is asking
17    about you."    And yeah.    They came back in late July,
18    sometime in July.     I was actually in Afghanistan while
19    they were in Iran and would occasionally had phone calls
20    with my mom or email, you know, saying that "We are
21    here, we are having a good time.        Everything seems okay
22    and everybody is asking about you and they hope to see
23    you someday."
24          Q.   Why did you decide to travel to Iran after you
25    left Six3?

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 1          A.   Well, you know, once I saw that the job wasn't
 2    what I thought it would be and I resigned, it was -- I
 3    was only there for a month and a half.         I mean, maybe
 4    two months.      I resigned, and I left the company, and I
 5    was in Afghanistan.
 6               I told my mom about it on the phone, email,
 7    said, "Hey, you know, this isn't working out.          It is
 8    still August.      I don't start school until September.
 9    You know, I'm already in the area.        I have to go through
10    Dubai and maybe we can make this work."
11               So --
12          Q.   Let's talk about that, how you got to Iran.
13               Were there any direct flights to Iran from
14    Bagram?
15          A.   No.   The only flight that I was aware of was to
16    Dubai.     That was the only option.     These are military,
17    like, charter flights.      So they are civilian planes, but
18    they are only for contractors or affiliated personnel.
19    There was one company called DFS that has an office in
20    Dubai, and they ferry Dubai, Bagram.         This is what they
21    do.   And in order to get on that plane, you have to be
22    with Six3 or you have some sort of affiliation.
23               So I flew in from Dubai, and the logical choice
24    was to fly out of Bagram -- it was the only choice I
25    knew of -- and go back to Dubai.

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 1          Q.   Why didn't you buy a ticket to Iran until you
 2    got to Dubai?
 3          A.   So a few reasons.     One is that I gave a
 4    two-week notice, but I know they didn't need those two
 5    weeks.     So I gave them a two-week notice because that's
 6    the right thing to do, but I asked the unit, you know,
 7    "I'm totally okay with staying two weeks, giving you
 8    enough time, but if you don't need me, you know, I
 9    just -- I'll go ahead and get out of here."          I don't
10    know what their response would be.        So I had to wait and
11    get an actual release, you know, before I could make
12    solid arrangements, one.
13               The second one, I didn't know about DFS
14    flights.    They were just sort of, as far as I remember,
15    first come, first serve.       You show up the day you wanted
16    to fly.    If there was space, you get on.       So I didn't
17    know when exactly I would get into Dubai.         And then,
18    third, Dubai is a major airport hub, multiple flights to
19    Iran.
20               So worst-case scenario, you know, I would just
21    get one when I got there.       It wasn't going to be an
22    issue.     So for those reasons.
23          Q.   What did you do with your time in Dubai?
24          A.   I got there evening, I went to a hotel, got
25    some rest, went to bed, got up the next day, had some

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 1    lunch, bought my ticket, and then I believe I spent one
 2    more night and then flew out the next morning.
 3          Q.   Let's shift now to your time in Iran.
 4               Once you arrived there, where did you stay?
 5          A.   I met up with my cousin and my uncle.        They,
 6    you know, asked -- said that I was fully welcome to stay
 7    with them in their residences.        But for my privacy, for
 8    my comfort, they had an apartment close to where they
 9    lived that, you know, wasn't occupied at the time and
10    owned by my uncle.      I could stay there.     You know, I
11    accepted.
12          Q.   What did you do while you were in Iran?
13          A.   What did I not do?     Every day there was -- I
14    had so many family members.       There was always an event
15    going on, wedding, dinners, meeting with my grandmother,
16    all of my uncles.     I have many uncles.      My aunt -- I
17    mean, people that I had never met before who just heard
18    about me through pictures.
19               It was the first time I had been in the
20    country, museums, monuments, hiking.         We went up to a --
21    a sort of vacation house that they have about an hour
22    outside the city that overlooks the scenic mountain
23    range.     We had a dinner there.     It was just back to back
24    for the entire, you know, three weeks that I was with
25    them.

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 1               And I was supposed to show up for another
 2    family gathering, I believe it was a wedding.          I didn't
 3    make it to that one because I was making plans to head
 4    back to the states in a few days because I was getting
 5    close to that September time frame.        I had deferred my
 6    college, but I was hoping I could go back and get back
 7    in there and say, "Hey, I'm here.        Can I undo my
 8    deferment and start September as originally planned?"
 9               So I wanted to get there before September so I
10    could prep and start my college.
11          Q.   And we'll turn to that in a second.
12               I just want to -- you said you saw your
13    grandmother; is that correct?
14          A.   I saw my grandmother multiple times.
15          Q.   How was she doing?
16          A.   She had the same ailments that she had, her
17    mobility, she had stomach cancer that was in remission.
18    But aside from that, she was ecstatic to see me.
19          Q.   Okay.
20               I'm going to ask you a series of yes-and-no
21    questions here.     Obviously, you can elaborate if you
22    feel appropriate or the Special Master can jump in.
23               Other than when you were pulled aside at the
24    airport upon your arrival in Tehran, which you mentioned
25    in your declaration, did you ever meet with any Iranian

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 1    government officials before you were arrested?
 2          A.   No.
 3          Q.   Did you ever sell classified information to
 4    anyone while in Iran?
 5          A.   No.
 6          Q.   Did you ever attempt to sell classified
 7    information to anyone while in Iran?
 8          A.   No.
 9          Q.   Did you ever give classified information to
10    anyone while in Iran?
11          A.   No.   At no point.
12          Q.   Did you ever offer to give classified
13    information to anyone while in Iran?
14          A.   No.
15          Q.   Let's turn now to the circumstances of your
16    arrest while you were in Iran.
17               Can you tell us a little bit about that day?
18          A.   I was at the apartment.      I don't remember what
19    time it was.     I think it was afternoon, and two
20    gentlemen came to the door.       They were wearing, you
21    know, like overcoats, civilian attire.         And, you know, I
22    opened the door.     They kind of helped themselves in.
23               They said, "We are from passport, the passport
24    office.    We need to -- we have an issue with your
25    passport.    You need to come with us, answer a few

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 1    questions, and you will come right back."         They didn't
 2    let me call anybody.      I wanted to call my uncle.       They
 3    went through some of my belongings, looked around, took
 4    some of my personal effects.
 5               We got in their car.     We drove about, I don't
 6    know, about 10, 15 minutes to an administrative
 7    building.    It was, you know, like a one, two-story.          It
 8    was white.    And we went inside, took a left inside.
 9    There's a small room, they sat me in there.          There was a
10    table and a chair.      They said, "Sit in the chair facing
11    the wall, and we will be right back."
12               And then a few minutes later they come back,
13    they said, "Hey, face the wall, don't look back, face
14    the wall."    So I faced the wall.      I'm pretty anxious at
15    this point.    I don't know what is going on.        I'm pretty
16    nervous.    And I'm facing the wall, and I, you know, hear
17    a voice behind me that says, you know, "Why did you come
18    to -- why did you come to Iran?" -- no, no.          I'm sorry.
19               First thing they did was put a paper in front
20    of me and said, "Write your name."        I wrote my name.
21    "And also the names of all your family members."           I
22    wrote the name of my immediate family members, and then
23    he had me thumb print it, and then he took the paper
24    away.
25               He put another paper immediately after and

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 1    said, "Did you" -- it already had a question written on
 2    it.   It said "Did you serve in the military?"         You know,
 3    "Write your previous job."       And I wrote that, yeah, I
 4    had served in the military years ago.         And as soon as I
 5    wrote that, he said, "Thumb print it."         I did it, I
 6    thumb printed it.
 7               He grabbed it away from me.       He snatched it
 8    away.    That's when he said -- his tone started to
 9    change, and he said, "Why are you in Iran?"
10               And I said, "I'm here to see my family."
11               And he said, "Again, I'm going to ask you
12    again" -- he said, "I'm going to ask you again.          Why are
13    you in Iran?"
14               And I said, "I just told you.       I'm here to see
15    my family."
16               And he said, "Okay.     I'm going to leave for a
17    few minutes, and I'm going to let you think how you want
18    to answer that question.       I'm going to come back, and
19    I'm going to ask you one last time what are you doing in
20    Iran."
21               And he left, he comes back, he asks me again.
22    I said, "To see my family.       I already told you."
23               And he said, "You messed up."       And he left the
24    room.    And then a few minutes later, those same two guys
25    that picked me up, they come back in, and they are --

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 1    their tone changed.      They are a little more aggressive.
 2               They said, "Get up."     They grab me by the arm,
 3    and we go outside the building into their car again.
 4    One of them sits in the back with me; one of them is
 5    driving.    We drive about, I don't know, about
 6    20 minutes, pull up to what looks like a prison, and we
 7    go through the checkpoint, the gate.         Somebody shows up,
 8    opens the door, we -- the guy hands me a blindfold and
 9    said, "Put your blindfold on."
10               And I'm like, "For what?"
11               He just said, "Put it on."
12               And I'm nervous.     I don't know what is going
13    on, and I put the blindfold on.        They walk me into this
14    room and sit me down in the chair and those two guys
15    left.   Another guy comes in, says, "Get up," takes me in
16    a room and says, "Take your clothes off," you know,
17    "Strip, put all your belongings in this bag, and put
18    these blue pajama things on."
19               And I said, "I'm not doing that.       I don't know
20    what this is about, and I want to call my uncle.           You
21    have no right to" -- you know.
22               And he said, "Look, I can tell you again or, if
23    you don't listen, I'm going to tell you another way."
24               And, you know, I'm just -- you know, I'm
25    nervous.    I'm thinking maybe this is some weird process

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 1    they have that I just have to hurry up and get through
 2    so I can go home.     So I comply.     I put the clothes on.
 3    I put my clothes in the bag.       They tell me to put my
 4    blindfold on.
 5               We go -- you know, I don't know where we go,
 6    but before I know it, I'm in a solitary confinement
 7    cell, and I stay there.      You know, there's a light on,
 8    it is a small room.      It is like a small rectangle shape.
 9    There's a little hole in the ground where you go to the
10    bathroom and a small sink and that's it.         There's no
11    windows.    There's nothing.
12               And I'm sitting in there.      I'm really, you
13    know, starting to get anxious and, you know, that's when
14    some of the interrogations began.        And the first
15    interrogation was, you know, "I do everything that I say
16    I'm going to do.     I told you you made a mistake, and
17    this is what happened.      Why are you in Iran?"
18               And this just continues, you know.        And
19    sometimes he would ask questions, I would offer
20    justification.     You know, my mom is this person, my
21    grandma is this person, like, you know, I have
22    relatives.    And he said, "I don't care about any of
23    that.   Tell me the real reason that you are in Iran."
24               And it just kept repeating, repeating.          It got
25    more aggressive, more aggressive.        I would have panic

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 1    attacks.    I would get in altercations with the guards.
 2    I was hit with batons.      I would hit the door, you know.
 3    They would say stop and I would keep doing it.          They
 4    would put me in these cuffs where I had to kind of be in
 5    a stress position for a long period.
 6               I wasn't let out except for once every three
 7    days for ten minutes to just kind of walk around a
 8    little bit and take a 30-second, you know, cold shower.
 9    It was filthy.     I started getting sick.      I had, like,
10    intestinal problems, the water, the food -- I don't
11    know.
12               You know, a lot of threats, "You are going to
13    stay here until your hair turns as white as your teeth"
14    and just going -- asking questions, leaving, and saying,
15    "That's it.    I'm never coming back.      You are here."
16               At one point I was hit with a Taser in my
17    kidney area.     They -- they took me in a room and they
18    restrained my feet and starting whipping my feet.           And,
19    obviously, that was very painful.        And, you know, they
20    would taunt and say, "Oh, you know, is this the Marine,
21    the U.S. military that we hear so much about, look at
22    you."   They had given me sedatives at one point and then
23    stopped giving them to me.       And I had, you know, some
24    serious withdrawals from that.
25               And, you know, I didn't have any access to a

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 1    lawyer.    I couldn't call my embassy even though I asked
 2    multiple times.     I wanted to call my family, no one.
 3    And this went on for months, and I lost weight, you
 4    know, I had constant, you know, panic attacks.          This
 5    light is on 24 hours a day, and it was extremely
 6    difficult, you know.
 7               And it just kept going, going to the point
 8    where I realized that there is just -- I have to either,
 9    you know, comply -- I can't keep going on this route by
10    saying the same answer even though I told them.          They
11    don't want to accept it.       And, you know, they said --
12    just kept saying, "We know already.        We know already,
13    but we want you to tell us.       Be honest, why you are
14    here, what's your real purpose is here, and we'll help
15    you.   Otherwise, I'm going to leave and come back in six
16    months and just forget about you."
17               And this went on and on and on and on and
18    eventually I just couldn't really deal with that
19    anymore, and I just said, "Whatever it is that you need,
20    maybe I forgot.     Maybe I don't know why I'm here.        I
21    forgot.    You tell me.    Just give me a hint and maybe it
22    will help me understand.       I want your help.     I want to
23    know what it is" -- and he said, "Amir, I know you are
24    CIA.   I know you are a spy.      I know you are CIA.      I know
25    you came here on orders of CIA.        You are CIA."

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 1               And I said, "I'm a CIA agent.       Now help me."
 2               He said -- he put another paper in front of me
 3    and said, "Write that you are a CIA agent," and I did.
 4    And as soon as he took it, his tone changed.          He put a
 5    tea in front of me and said, "You keep asking for a
 6    phone call.    Who do you want to call?       I'll give you
 7    just a few minutes."
 8               And I said, "I want to call my uncle."
 9               And he handed me a phone, called my uncle.         You
10    know, very short call.      I said, "I'm in an (foreign
11    language).    I'm in a detention center, but I'm okay.
12    I'm alive."    And, you know, a few other pleasantries,
13    and they took the phone away.       That was it.     So I didn't
14    know anything else.      I didn't know where I was other
15    than that.
16               By this time, you know, my family had been
17    tearing Tehran upside down.       They went to the morgue,
18    they went to hospitals, they went to police stations.
19    They went to Evin several times.        They were told I
20    wasn't there.     They were lied to.
21               And then, you know, I went back to solitary.          I
22    think it was like a day later, like the next day, they
23    came and got me.     They took me to that room.       They said,
24    "Put your clothes back on" -- the clothes that I was
25    wearing when I was arrested -- and put me in a van.

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 1    They cuffed me, and then we were driving through Tehran.
 2               We get to some place, they said, "Put the
 3    blindfold on."     I'm walking out, and it looks like kind
 4    of like a residence, some sort -- it didn't look like a
 5    big administrative building.       We go in.    We go in the
 6    basement.    And in the basement, the egress windows are
 7    filled with concrete.      There's bars.     And I'm put in --
 8    I'm in a cell again, but it's bigger.
 9               And then the next day I'm brought up again, you
10    know, blindfolds, sat down, face to the wall, same
11    interrogators behind me.       And he said, "You see, I do
12    everything that I say, you know.        I'm glad that you are
13    being honest, that you are admitting to being a CIA
14    agent, and I want to help you.        You see that you are
15    here now.    I want to help you.      You are going to get
16    free.   But before you do, you need to do what we call a
17    training video.     You are going to do a training video.
18    I want you to help us out.       Do this training video and,
19    after that, you are free to go.        You can go see your are
20    family.    You can get on a plane and go back home."
21               You know, at this point, it didn't matter what
22    he asked me to say or not say.        I was going to say it
23    because I was just in a very difficult position.           I
24    couldn't -- it was obvious that I would just be hurting
25    myself.    This was not America.      There's no law here.     It

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 1    is what he says it is.
 2               So, you know, he starts leading me with these
 3    questions:    "Did the CIA sent you here?       Did they want
 4    you to infiltrate us -- did they want you to implicate
 5    us in terrorist activities?"
 6               And I just said okay.      And at one point, I
 7    wrote, "Yes.     What you are saying," but I wrote "I'm
 8    being forced to say this, and I'm only saying it
 9    because" -- he saw this and he flipped out.          He ripped
10    it up, he threw it at my head.        He said, "Take him down
11    to the guard," who was like the muscle.         He said, "Take
12    him back to the basement."
13               He said, "I'm going to send you back to
14    solitary.    You are useless.     And I'm going to forget
15    about you.    You are never going to see" -- the next day,
16    you know, we come back up, and some other guy comes back
17    talking, saying, you know, "Your interrogator wanted to
18    send you back, but I convinced him to give you one more
19    chance.    And -- but this is it.      If you mess this
20    training video up, you know, it is going to be really
21    bad for you."
22               So, you know, we go through this dialogue.         And
23    he said, "Okay.     I'm satisfied, and tomorrow I'll come
24    and see you."     So tomorrow comes, and they put me in the
25    van again and they take me to this hotel.         We go to the

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 1    top floor, and it is a luxury hotel, and I go in the
 2    room, and there's a cameraman and a guy who is going to
 3    ask me questions, the same questions that we were asked
 4    in the house.
 5               And I, again, am hesitant about it, but they
 6    threatened me again.      They said, "Look, it's up to you.
 7    I don't care.     I'm not going to lose anything.       You can
 8    go to solitary and we'll forget about you."          So the same
 9    game.
10               So okay.   So we do the questioning, I answer
11    the questions on camera, and the training video is done.
12    And they said, "This is just internal.         It is not going
13    to go anywhere.     You do this, you are free, and it is
14    done."    So it is done, and I said, "Okay.       It is done.
15    I want to go see my family now, like, what next?"
16               "Okay.   Yeah.    We just need -- your
17    interrogator needs to talk to you, so it will just be a
18    little while longer."       They take me back to that house,
19    and I'm there doing nothing for a day or two, and then
20    they say, "Let's go."       And I'm thinking, okay, this is
21    it.   I'm free.
22               And we drive, and before I know it, I'm back in
23    Evin prison.     And same thing.    Blindfolds, strip, put
24    the blue clothes on, go back into solitary.          And I'm
25    yelling, I'm talking to the guards, "What is going on?

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 1    I was supposed to be freed and I wasn't freed."          And
 2    eventually nobody came.
 3               I went to court a few months later.        They said
 4    "Let's go."    I go to court, no lawyer, no embassy.         And
 5    the judge just asked me, he said, "Did you serve in the
 6    military?    Did you have a weapon?      And, you know, were
 7    you in Iraq, and did you have a weapon from the
 8    U.S. military?"
 9               And I said, "Yeah, you know.       Everybody knows
10    it.   I was 18.     I joined the military.     I was born in
11    the U.S.    I'm a member of the country."
12               "Okay.   That's it.    Get him out of here."
13               I go back to solitary, and then a few -- I
14    don't know, a month later, I found out I was sentenced
15    to death for a crime called (foreign language), which is
16    waging war against God.      I waged war against God
17    because, as a U.S. Marine, according to them, I took up
18    arms against Muslims.      So that was, you know, a
19    punishable offense by death.       I was supposed to be
20    hanged.
21               So I am in solitary at this point.        It's been
22    six months, maybe, and I have been through hell, and now
23    I keep picturing myself in a morgue with a black neck
24    after being hung and my family crying over me.          Every
25    time the door would open, I would get startled thinking

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 1    that, you know, this is it.       They are going to take me.
 2               And this nightmare just went on for a while.
 3    The interrogator eventually came after I got my death
 4    sentence and said, "Are you doing good?"
 5               And I was like, "No.     I'm not doing good.       What
 6    happened?    You lied to me.     Now you want to kill me.
 7    This is all a bunch of bullshit.        You made me say these
 8    things."
 9               He said, "You confessed."
10               And I said, "No.     I didn't.    This was all by
11    force."
12               He said, "Look, don't worry.       If you wage war
13    against God and you are guilty, then you'll get hung and
14    that will absolve you of your sins and you will go to
15    heaven.    And if you are innocent and you didn't, then
16    you would have died a wrongful death and you will also
17    go to heaven.     So what are you worried about?"
18               And he left, and that was it.       I stayed there,
19    you know.
20               Eventually, at my next court date, I saw my
21    mom.   She was told to come.      Months later.     And she
22    looks 20 times thinner.      She looks like she aged
23    50 years.    And, you know, she said, "Your sister is
24    okay, everybody is okay.       The whole world is like -- you
25    are going to get out of this."        And I had another court,

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 1    and he asked me the same questions, "Did you have arms
 2    in the military?     Did you, you know" -- and he reduced
 3    my sentence from waging war against God to cooperating
 4    with a hostile government, the U.S.A.
 5          Q.   Were you present at that sentencing or
 6    reduction of sentence?
 7          A.   It was just a court.     So I went into a room, I
 8    talked to this judge, and I wasn't allowed to talk or
 9    say anything.     He just asked me these questions, he
10    wrote them down, and said, "Get him out of here."
11               The sentence was just told to me in prison.
12    Somebody would come and say, "Oh, your sentence has
13    been -- it's execution," and then he says, "Oh, you are
14    ten years."    So I didn't find out until later.
15               So at this point, I'm still in solitary, we are
16    going on 18 months now.      And several months before that,
17    I had a ten-year sentence.       And, you know, this
18    detention center was not meant to house people
19    long-term.    It is meant to kill you, to break you down,
20    get a confession, and then ship you off to a prison.
21    But they didn't want -- I assume they didn't want me to
22    get my word out.     They didn't want me to deny.       I don't
23    know.
24               They wanted to isolate me, and they kept me
25    there for a very long time, and it was extremely

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 1    difficult.    And, you know, I would go on hunger strike
 2    because other people were having phone calls.          I had
 3    nothing, no lawyer, no embassy, no phone calls, no
 4    meetings.    They wouldn't even give me a newspaper to
 5    read.   I would literally just sit in a room, stare at
 6    the wall, and, you know, try to survive.
 7               I went on hunger strike multiple times.         And
 8    then the last time I went on hunger strike, I collapsed,
 9    I hit my head really hard on the ground, I soiled
10    myself.    And the only thing I remember is the guard
11    yelling at me through the door when I eventually came to
12    and yelling at me like, "What the hell are you doing?
13    Get the hell up."
14               And then they saw that there was something
15    wrong with me, so they took me to the infirmary.           And
16    the doctor did a little examination and wrote a report.
17    I assume that, due to health concerns that I would die,
18    they transferred me around 18 months after being in
19    there to a political ward.       So I was housed now with,
20    you know, security people, political oppositioners.
21               And it was better because I could talk to other
22    people.    It had a yard I could make use of, but I still
23    didn't have a phone and, you know, I had had some health
24    problems and, you know -- but I was happy to be there
25    and not be in solitary.

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 1               And that went on for a while.       There was some
 2    riots, political guys who did riots in the prison.           And
 3    as a punishment, they came in and separated -- they took
 4    some of us and moved us into a basement of another
 5    prison that was meant to be a quarantine facility for
 6    incoming prisoners for, like, a day or two.
 7               But they made it a permanent prison for
 8    security people, for traders, for spies and put us in
 9    there.    There's no ventilation.      There's rats.    It is
10    filthy.    We are right on top of the sewage system that
11    the prison -- all their feces would go right underneath
12    us, and it was a punishment for people -- they said, you
13    know -- they would tell us all the time, "We shouldn't
14    even give you this.      The cost of you all is a bullet."
15               So this is -- and then they housed us with drug
16    dealers, with, you know, common criminals and basically
17    made a deal with them that if any of these political
18    guys say anything about the regime, try to get a message
19    out, you know, I want you to lean on them.          And they
20    would beat some of the guys up.        They slashed the guys
21    face with a razor.      They said -- we were being basically
22    -- a prison within a prison.
23               And I still --
24               SPECIAL MASTER FEINBERG:      Excuse me, Counsel.
25    Up to you, of course, you have wide range on this, but I

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    1      think this testimony concerning his confinement has
    2      become cumulative.    But if you feel it is important, by
    3      all means, you may proceed.
    4                MR. GILBERT:   I kind of just wanted you to get
    5      a flavor for this.    I think we can move on.      Because I
    6      think it is just very relevant to the allegations that
    7      the FBI and others have made against him.       But I think
    8      the points have been made, and it is pretty tough
    9      testimony for him to go through as well.
   10                So, Emily, why don't we move on.
   11                MS. GRIM:   Okay.   We do just have a few more
   12      questions and we should wrap up soon.
   13      BY MS. GRIM:
   14           Q.   I do want to ask, Mr. Hekmati, after you were
   15      freed, I understand from your declaration that you
   16      suffered with PTSD.
REDACTED




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REDACTED




   13           Q.    I just want to ask a couple questions about
   14      your interviews with the FBI.     These will be brief.
   15      They are mostly yes-or-no questions, and then we should
   16      be done.
   17                 Mr. Hekmati, I understand the FBI interviewed
   18      you when you got to Germany on your way home from Iran;
   19      is that right?
   20           A.    Well, I didn't know they were FBI.      I landed in
   21      Germany.   I'm ready to see my family.      They said, "You
   22      have mandatory medical."
   23                 I said, "I don't care if my limbs are cut off
   24      and I'm about to die.    I don't want any medical.       I want
   25      to see my family."

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 1               And they weren't responsive.       They kept me in
 2    there.     And then they were pretending to -- it was not
 3    all about medical.      I think this was all a deception.
 4    They just put the stethoscope to get my heart rate.
 5    "I'm okay.    I'm alive.    I want to see any family now."
 6               Then, next thing I know, they say, "Hey,
 7    there's some people in the room that want talk to you."
 8               I'm like, "Okay.     About what?"
 9               I go in there, and there's some uniform army
10    people, and there's two men sitting there that never
11    identified themselves.      I didn't know who they were --
12          Q.   Okay.   So you don't remember ever being told,
13    as part of either of those FBI interviews, that you were
14    under investigation, is that right, or as part of this
15    first interview?
16          A.   No.   I didn't know that they were FBI or why
17    they were questioning me let alone that I was under
18    investigation.     I was in a state of shock.       I have just
19    got out of five years of hard prison time.          I want to
20    see my family.     I -- whatever the hell it is you want
21    from me, hurry up and ask and let me the hell out of
22    here.
23               So I go into this room, and there's people
24    sitting there.     They start asking me, "How was it?        How
25    was" -- and I was explaining, yeah, you know, this, they

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 1    arrested me --
 2          Q.   I'm sorry.    Amir, we did cover this in your
 3    declaration, and so I'm trying to be mindful of the
 4    Special Master, so --
 5          A.   I'm sorry.
 6          Q.   -- we need to not have duplicative testimony.
 7               Just a couple more questions.       I know you get
 8    really emotional when we talk about this.         It is
 9    complete understandable.
10               You were interviewed a second time by the FBI a
11    few months after your return home to Michigan; is that
12    right?
13          A.   Yeah.    Shortly after, you know, I'm just still
14    catching my breath from all this.        I just woke up, I get
15    a knock on the door.      It is two people, a man and a
16    woman.     And they say, "We have more photos."       Because,
17    in Germany, they showed me photos of, like, Robert
18    Levinson and a couple of other people.         "Did you see
19    them in Iran?"      And I said no.
20               And they show up to my house.       "We have more
21    photos.    Can you come down and help us out?"
22               "Okay.   Sure.   But" --
23          Q.   So you don't remember being told, as part of
24    that discussion, that you were under investigation
25    either; is that right?

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 1          A.   No.   I was never told I was under
 2    investigation, and I --
 3          Q.   Before the --
 4          A.   Because they wanted my help, so I was going to
 5    help them look at photos.
 6          Q.   Before the second interview, did you call your
 7    lawyer, Scott Gilbert, with the agents present?
 8          A.   So as I hopped in their car, as we were going
 9    down, I called Scott.      I had retained Scott by then, and
10    he is my lawyer, so I had to let him know.          That's what
11    he is there for.
12               So I call him.    I say, "Hey, Scott.      I'm with
13    the FBI.    We going down to look at some photos.        No big
14    deal.   They just want me to help out and look at
15    photos."
16               And Scott said, "Let me talk to them."        And I
17    handed the phone to the agent, and she talked to Scott.
18    Scott said, "I don't want you talking to him unless I'm
19    there."
20               And she just said, "I'll call you from a
21    landline.    Bye."   And she hands me the phone --
22          Q.   And did the FBI agents ever call your lawyer
23    from the landline?
24          A.   No.   Not only did they not call my lawyer, but
25    they took my cell phone when we got down to the office.

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 1    They said, "For security purposes, we are going to need
 2    your phone."     And then we get in the room, there was no
 3    call to Scott.
 4          Q.   Okay.   Did you ever hear from the FBI after
 5    that interview?
 6          A.   No.   They made -- you know, I sat down and
 7    immediately -- the second I sat down, he starts making
 8    some accusations.      I have no idea what he is talking
 9    about.     I offered some justifications as to why that
10    didn't make any sense.      And then I said, "Look, if you
11    need anything else, call my lawyer," and I left.
12               And he said, "Okay.     We don't need anything
13    else.    Go ahead."
14          Q.   You never heard from them again?
15          A.   Never, ever again, no.
16               MS. GRIM:    Okay.   Thank you.
17               I think those are all of our questions.
18               MR. GILBERT:    Does the Special Master have any
19    additional questions?
20               MS. GRIM:    I think you are on mute.
21               SPECIAL MASTER FEINBERG:      There we go.    I'm
22    sorry.
23               I just have one question here, Amir.        It is a
24    little perplexing.      How does an obviously intelligent
25    guy like you who has accomplished a lot.         You are a CIA

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 1    intelligence analyst.      What are you doing going to Iran
 2    at all?
 3               I mean, did you appreciate the risks or the
 4    danger or the consequences that would lead you to
 5    conclude "I'm done with my work.        I'm about to go to
 6    school.    I think I will go see my family in Iran."           And
 7    in light of your background in the military and the CIA,
 8    I would just like to hear from your own words what
 9    prompts you to quite openly get on the plane and go to
10    Iran?
11               THE WITNESS:    Well, I'm a little perplexed by
12    that, but allow me.
13               One, I never worked for the CIA.       Ever.    I
14    wasn't a CIA intelligence analyst.        The majority of my
15    career was language and cultural training.          And the only
16    time that I was ever in any sort of intelligence
17    profession was for the one and a half months that I
18    worked for Six3.
19               And for the reasons that I mentioned before, my
20    grandmother was there when I was four months to
21    one year.    She came multiple times with her old age and
22    her sickness.     I never had any extended family.        This
23    woman braved war --
24               MR. GILBERT:    He is frozen.
25               THE WITNESS:    -- and I resigned from my

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 1    position, one.
 2               Two, it is not illegal for security clearance
 3    holders to go to Iran.
 4               Three, I didn't have any -- I never worked for
 5    the CIA.    So I think that is misinformation.
 6               But, again, I resigned from my position.         My
 7    grandmother meant a great deal to me, and there's two
 8    million Iranian Americans that travel to Iran every
 9    year, and many of them have government or
10    government-related position.
11               I had never been to Iran.      My mother was in
12    Iran a month before I was.       We had made plans in
13    December of 2010 to go to Iran.        I have multiple uncles
14    and cousins.     I had never seen any of my family.
15               The threat level, Department of State threat
16    level was a Level 2, which means exercise caution.           I
17    was going there, according to them, as an Iranian
18    citizen with family members to vouch for me, to take
19    care of me.
20               We have eight, nine Americans in Iranian prison
21    right now.    And why did they go?      One of them is an
22    American who served in the Navy.        I -- this is my
23    heritage.    My mom, you know -- I have every right to go.
24    I followed all protocols in leaving my job and resigning
25    and checking the state department and contacting a

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 1    lawyer for his guidance.
 2               My mother was there a month before.        And I was
 3    going to go to school and get married and possibly never
 4    go to Iran again, never see my grandmother before she
 5    died.   And I would be a coward if I didn't go and make
 6    at least one attempt to see her on her deathbed.           I lost
 7    both my grandfathers without ever meeting them or -- I
 8    spoke to one of them on the phone on his deathbed.
 9               So, you know, I don't know what else to say.
10    You know, I went there to see my grandmother.          I
11    didn't -- you know, I don't know what other
12    justifications I can provide.       But I hope I have done
13    so.
14               SPECIAL MASTER FEINBERG:      When you were in
15    Afghanistan, who was your -- technically, who was your
16    employer?
17               THE WITNESS:    So I worked for Six3 Systems, but
18    Six3 Systems is an administrative entity that pays me,
19    that liaisons with the unit, and, you know, when you
20    show up, there was no Six3 reps there.         I worked for
21    Six3, but I support -- I'm on loan to the U.S. Army, if
22    that makes sense.
23               I'm paid by Six3, but I work for the U.S. Army
24    in whatever capacity, you know, within my job
25    requirements -- are you there?

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 1               SPECIAL MASTER FEINBERG:      I'm listening.
 2               THE WITNESS:    So Six3 is the contacting entity
 3    that pays me.     They vet my resume, they send my resume
 4    over to the Army, and say, "Hey, do you want this guy?
 5    We'll hire him."     The U.S. Army doesn't go out and find
 6    people.    So Six3 does that part for them.
 7               SPECIAL MASTER FEINBERG:      I'm just trying to
 8    clarify, really.     This is strictly informational.        I'm
 9    not trying to, in any way, be adversarial, please.           I'm
10    just trying --
11               THE WITNESS:    I apologize for cutting you off
12    like that.    I have just been through a lot, and these
13    are topics that I really didn't want to get into, but
14    I'm happy to, you know, go through them with you.
15               SPECIAL MASTER FEINBERG:      You are doing fine.
16    I just have one other question.
17               You testified -- Emily asked you and you
18    testified that you signed a paper when you were in
19    confinement by the Iranians.       You willingly -- not
20    willingly -- you signed a paper saying that you worked
21    for the CIA, and then you testified a few minutes ago,
22    yeah, but then they tried to put another gloss on that
23    and you refused.
24               But you said you did sign that?       What was that
25    about?    Just clarify that for me.

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 1               THE WITNESS:    So after I had gone through this
 2    months of solitary and --
 3               SPECIAL MASTER FEINBERG:      Yes.
 4               THE WITNESS:    -- the abuse and I was just at a
 5    breaking point, I said, "What is it that I need to say?
 6    You keep saying that I'm lying, that I didn't come here
 7    to see my family.     What is it that I need to say to get
 8    out?"
 9               He said, "You are a CIA agent.       Tell us the
10    truth and tell us that you are a CIA agent."
11               Out of desperation, I said, "Okay."
12               SPECIAL MASTER FEINBERG:      That's your answer.
13    That's all I care about.       That's exactly the
14    clarification I wanted.      You are telling me you were
15    never really a CIA employee.       You signed that paper in
16    desperation.
17               THE WITNESS:    I signed that paper in
18    desperation.     I even tried to get out of it.       Like I
19    said, later on at the house, I wrote on a separate piece
20    of paper --
21               SPECIAL MASTER FEINBERG:      I understand.
22               THE WITNESS:    -- but it wasn't a situation that
23    I could get out of.      I mean --
24               SPECIAL MASTER FEINBERG:      Mr. Hekmati, I
25    understand --

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 1               THE WITNESS:     -- I tried to make --
 2               SPECIAL MASTER FEINBERG:      Mr. Hekmati, the only
 3    reason I referenced the CIA as an employer is because of
 4    your testimony.     I misunderstood it, perhaps.       You
 5    clarified it.     Out of desperation.     I have no questions.
 6               Emily, do you have anything else you would like
 7    to add or ask Mr. Hekmati?
 8    BY MS. GRIM:
 9          Q.   Mr. Hekmati, when your family, your mother, or
10    your siblings had visited Iran numerous times over the
11    years, had they run into any safety issues, security
12    issues?
13          A.   Never.   None.
14          Q.   Did you have any concerns that by going to Iran
15    you would somehow jeopardize future career prospects
16    down the road?
17          A.   No.   Because, one, it is not illegal for
18    security clearance holders to go to Iran --
19               SPECIAL MASTER FEINBERG:      Mr. Hekmati, so the
20    answer is no?
21               THE WITNESS:     The answer is no.
22               MR. GILBERT:     Good.
23               MS. GRIM:    Those are all my questions.
24               SPECIAL MASTER FEINBERG:      Scott Gilbert, do you
25    have anything you would like to close on behalf of your

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 1    client?
 2               MR. GILBERT:    No --
 3               SPECIAL MASTER FEINBERG:      And your excellent
 4    co-counsel, I may might add.
 5               Do you have anything you would like to add?
 6               MR. GILBERT:    No.   Nothing to add.     I think
 7    that Mr. Hekmati's testimony speaks for itself.
 8               SPECIAL MASTER FEINBERG:      Department of
 9    Justice, you have observed, as you said you would, Josh.
10    Before I close this hearing officially, do you have
11    anything at all you would like to say?         You have already
12    given us your name and rank, but is there anything you
13    would like to add before we officially close this
14    hearing?
15               MR. SOHN:    No, sir.   I was instructed by my
16    superiors that I should be in listening and observing
17    mode for this hearing, so I'm going to follow those
18    instructions.
19               SPECIAL MASTER FEINBERG:      Thank you very much.
20               And our excellent -- and I do mean excellent --
21    court reporter, under very difficult circumstances, the
22    speed of Mr. Hekmati's answers, and the fact that we are
23    doing this by Zoom technology -- so you get a special
24    vote of thanks from everybody -- do you have anything
25    you want to add?

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 1               (Reporter clarification.)
 2               SPECIAL MASTER FEINBERG:      And let me ask you,
 3    will there come a time sooner rather than later that
 4    there will be an official transcript of this hearing
 5    that will be presented to DOJ, Mr. Hekmati's counsel,
 6    and the Special Master?
 7               (Reporter clarification.)
 8               (Discussion off the record.)
 9               SPECIAL MASTER FEINBERG:      As counsel know, both
10    sides or both parties, I have, under the law, 90 days to
11    render a decision.      So if you can get me the transcript
12    in two weeks, that would be fine.        I think that both
13    sides, the Department and Mr. Hekmati and counsel,
14    deserve an official decision by the Special Master way
15    beyond 90 days, after what has transpired over the
16    years, and I will do that.
17               Once I have the transcript, I will immediately
18    turn my attention to the merits.        I have a relatively
19    narrow decision to make, as counsel know, and I will do
20    so.   So if you can get me that transcript with copies to
21    the parties, I will render a decision as soon as
22    practicable under the circumstances after that -- after
23    I receive the transcript.
24               Does anybody have anything else they would like
25    to add before we officially close this hearing?

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 1               MR. GILBERT:    Just two things.     One is, again,
 2    I would like to thank everyone for taking the time to do
 3    this, especially Amir for whom I know this is extremely
 4    painful.
 5               And then, Josh, you don't know me, but I wanted
 6    simply to say to you what others do know is that our
 7    firm prides itself on constructive consensual resolution
 8    of this matter.     If, as you review this with your
 9    colleagues, you would find it at all useful to talk over
10    the phone or by video about this, we would be more than
11    happy to take the time to do that, so I make that offer.
12               SPECIAL MASTER FEINBERG:      Thank you.    Thank you
13    all, especially our petitioner, Mr. Hekmati.          Amir, we
14    thank you.
15               THE WITNESS:    Thank you.
16               SPECIAL MASTER FEINBERG:      It is very trying.
17               I wish you all a happy holiday, and thank you
18    again for your participation.        This hearing is
19    officially closed.      Thank you.
20               (Hearing adjourned at 2:50 P.M.)
21                                ---oOo---
22
23
24
25

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 1       State of California            )
 2                                      ) ss.
 3       County of Contra Costa         )
 4              I, Sarah Jean Seitz, California Certified
 5    Shorthand Reporter No. 14175, do hereby certify:
 6              That I was present at the time of the above
 7    proceedings;
 8              That I took down in machine shorthand notes of
 9    all proceedings had and testimony given;
10              That I thereafter transcribed said shorthand
11    notes with the aid of a computer;
12              That the above and foregoing is a full, true,
13    and correct transcription of said shorthand notes, and a
14    full, true, and correct transcript of all proceedings
15    had and testimony taken;
16              That I am not a party to the action or related
17    to a party or counsel;
18              That I have no financial or other interest in
19    the outcome of the action.
20    Dated:    April 9, 2020
21
22
23
24                              Sarah Seitz, CSR Number 14175
25

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From:           Ken Feinberg
To:             Dorsey, Sarah (CRM)
Cc:             Connor, Deborah (CRM); Dery, Alice (CRM); Lee, Jane (CRM); gilberts@gilbertlegal.com
Subject:        FW: Hekmati post-hearing procedures
Date:           Friday, April 24, 2020 3:30:28 PM
Attachments:    Proposed Hearing Continuation Procedures to KF 4-24-20 PDF.pdf


Sarah,

I thank you for your email and the attached proposed post-hearing procedures. I find the proposed
procedures acceptable and am taking the liberty of forwarding the attachment to Scott Gilbert,
counsel for Hekmati. These hearing procedures will now be deemed binding on both DOJ and
Hekmati,

Ken



From: Dorsey, Sarah (CRM) <Sarah.Dorsey2@usdoj.gov>
Sent: Friday, April 24, 2020 1:28 PM
To: Ken Feinberg <KFeinberg@feinberglawoffices.com>
Cc: Connor, Deborah (CRM) <Deborah.Connor@usdoj.gov>; Dery, Alice (CRM)
<Alice.Dery@usdoj.gov>; Lee, Jane (CRM) <Jane.Lee3@usdoj.gov>
Subject: Hekmati post-hearing procedures

Dear Ken,

We hope you remain safe and well on this rainy Friday. Please see attached proposed post-hearing
procedures for your consideration, as a follow-up to your conversation with Deb, Jane, and me. As
always, we are available for questions and discussion.



Sarah B. Dorsey

Chief, Policy Unit
Money Laundering and Asset Recovery Section
Criminal Division
U.S. Department of Justice
(she, her, Ms.)
Sarah.Dorsey2@usdoj.gov




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Money Laundering and Asset Recovery Section          Washington, D.C. 20530



               Proposed Hearing Continuation Procedures for the Special Master
                          USVSST Fund Claimant Amir Hekmati
                                       April 24, 2020

        After the conclusion of the portion of the hearing when you received testimony from the
Claimant, you requested that the Department provide a written response to the Claimant’s
testimony. The Department agrees that such a response may be helpful, and will provide it. The
Department proposes that you adopt the following procedures, consistent with the Act, before
issuing your final written decision:

    •        The Department will provide you a written response to the Claimant’s testimony,
             which will include any additional evidence the Department believes is relevant and
             responsive to the Claimant’s testimony. The Department will provide a copy of the
             response to Claimant’s counsel on the same date.
    •        The Claimant may reply to the Department’s submission in a reasonable time. The
             Claimant’s written reply may include any additional evidence the Claimant believes
             is relevant and responsive to the Department’s filing.
    •        After receiving these additional submissions, you can assess whether you require any
             additional facts or written submissions from the Department or the Claimant.
    •        Once you have received all of the submissions, you will declare the hearing complete,
             and the record will be closed.
    •        Within 90 days of the conclusion of the hearing, you will render a “final written
             decision affirming or amending the original decision.” 34 U.S.C. § 20144(b)(4).
             Although not required by law, we recommend that the written decision include an
             explanation supporting your affirmation or amendment of the original decision.

       We propose that you provide the Claimant and the Department with written notice of the
procedures you adopt by April 28, 2020.




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From:            Lee, Jane (CRM)
To:              Ken Feinberg
Cc:              Connor, Deborah (CRM); Tsao, Leo (CRM); Campbell, Stephen (CRM); Dorsey, Sarah (CRM); Dery, Alice (CRM);
                 Gilbert, Scott D
Subject:         USVSST Fund Claim No. 1226
Date:            Friday, June 26, 2020 11:52:00 AM
Attachments:     USVSST Memorandum to SM June 26 2020 .pdf
                 Declaration of Brett M. Kramarsic (e-signed).pdf
                 Exhibit 1 to Declaration of Brett M. Kramarsic (Record).pdf
                 Exhibit 2 to Declaration of Brett M. Kramarsic (Supplemental Record).pdf
                 Exhibits to the Supplemental Record.pdf


Dear Ken:

Pursuant to your April 24, 2020 Hearing Continuation Procedures, please find attached the
Department’s written response to Mr. Hekmati’s testimony. Specifically, please find attached: (1)
the Department’s Memorandum; (2) Declaration of FBI Special Agent Kramarsic, with the original
Record and Supplemental Record as Exhibits 1 and 2, respectively; and (3) Exhibits to the
Supplemental Record.

Mr. Gilbert is being provided the Department’s submission via this email.

Thank you,

Jane K Lee
Attorney Advisor
Money Laundering & Asset Recovery Section
U.S. Department of Justice
1400 New York Avenue, NW
Washington, DC 20005
202-305-4232 (Direct)
202-603-9742 (Cell)
jane.lee3@usdoj.gov




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Money Laundering and Asset Recovery Section                     Washington, D.C. 20530



                                                                June 26, 2020

Kenneth R. Feinberg
Special Master
U.S. Victims of State Sponsored Terrorism Fund

            Re:   Claimant 1226, Amir Hekmati

Dear Special Master Feinberg:

        Pursuant to the process established by the Special Master on April 24, 2020, this
memorandum responds to claimant Amir Hekmati’s (the “Claimant”) appeal of the Special
Master’s reversal of his initial decision finding that the Claimant was eligible for payment from
the United States Victims of State Sponsored Terrorism Fund (the “Fund”). Because the record
as a whole demonstrates that the Claimant traveled to Iran to sell U.S. classified information to
Iranian government officials, the Special Master should affirm his finding that the Claimant’s
application to the Fund was not truthful.

        On January 15, 2020, the Special Master granted a request from the United States
Department of Justice (the “Department”) to reconsider his prior decision finding that the
Claimant was eligible for compensation from the Fund. In reversing the original decision, the
Special Master found that the Claimant was ineligible for compensation from the Fund because
his application “contained material omissions and false statements.” 1 Specifically, the Special
Master determined that “the primary purpose of Mr. Hekmati’s trip to Iran was to sell classified
U.S. national security information to the government of Iran,” which “conflicts with
Mr. Hekmati’s declaration . . . that the primary purpose of his trip to Iran was to visit family for
personal reasons.” 2 The reconsideration decision was based upon a detailed record of evidence
submitted by the Department, which included: (1) the reporting of four reliable sources who
confirmed to the Federal Bureau of Investigation (“FBI”) that the Claimant traveled to Iran and
met with government officials to sell classified information; (2) FBI forensic examination of the
Complainant’s computer search/access logs that revealed over 90% of the hundreds of classified
documents accessed by him were on Iran rather than on his assigned responsibility to analyze
threats within Afghanistan; (3) the Claimant’s highly suspicious actions in abruptly resigning
after only serving for two months on a contract for 6-12 months and then traveling to Iran
1
  Reconsideration Decision at 1 (“I am persuaded that the attached materials demonstrate that Mr. Hekmati’s
application and accompanying documents contained material omissions and false statements; in particular, the
attached materials support the conclusion that the primary purpose of Mr. Hekmati's trip to Iran was to sell classified
U.S. national security information to the government in Iran.”).
2
    Id. at 1.




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without notifying any of his colleagues and friends about his trip; and (4) the evasive, false, and
inconsistent statements that the Claimant gave to the FBI when he was subsequently asked about
his trip to Iran and the events leading up to that trip. 3

        Following the Special Master’s decision, on March 23, 2020, the Claimant submitted a
memorandum and supporting factual record appealing the Special Master’s reconsideration
decision. 4 The Claimant was also afforded a hearing, as provided by statute. By agreement of
the parties, the hearing took place on April 7, 2020 by video teleconference. During the hearing,
the Claimant provided direct testimony in response to questions from his counsel, and a few
questions from the Special Master. A representative from the Department attended the hearing,
but pursuant to the procedures adopted by the Special Master, he did not cross-examine the
Claimant or otherwise participate in the hearing. 5

        The Special Master has asked that the Department respond to the Claimant’s record,
including his hearing testimony. The record provided by the Claimant, including his testimony
at the hearing, is insufficient to rebut the record submitted by the Department. In his testimony,
the Claimant offered blanket denials that he attempted to sell classified information to the Iranian
government, but otherwise did not offer evidence or facts to warrant changing the
reconsideration decision finding him ineligible for compensation from the Fund. In direct
response to the evidence offered by the Claimant, the Department is now providing the Special
Master with additional evidence in the record that further undermines the Claimant’s denials.
This supplemental record evidence is attached as Exhibit 2 to the sworn declaration of FBI
Special Agent Brett M. Kramarsic. 6

        The Claimant has failed to rebut the record evidence that he traveled to Iran to sell U.S.
classified information, and the entire record strongly supports the Special Master’s
reconsideration decision. The Claimant’s appeal should therefore be denied, and the Special
Master should issue a final written decision affirming that the Claimant is not eligible for
payment from the Fund.




3
 This record was not before the Special Master at the time of the initial eligibility and payment determinations in
December 2018, nor was it before the district court at the time of the default judgment order.
4
    Claimant’s Brief dated March 23, 2020.
5
  Claimant’s counsel contends that the facts are “uncontroverted” because the district court made factual findings
supporting its order awarding damages to the Claimant. Counsel further asserts that the Claimant was put “to [his]
proof” in that district court. Hearing Transcript (Apr. 7, 2020) at 6 (hereinafter “Hearing Tr. at __.”). That is
incorrect. As the docket in the proceedings before the district court makes clear, after Iran failed to respond to his
complaint, the court entered a default judgment against Iran based simply upon the facts set forth in the Claimant’s
affidavit.
6
  In the declaration, Special Agent Kramarsic declares under penalty of perjury that the facts contained in the
supplemental record and the original record previously submitted to the Special Master are true and correct.




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                                                DISCUSSION

I.         Four Reliable Sources Reported to the FBI that the Claimant Traveled to Iran to
           Sell U.S. Classified Information to Iranian Government Officials and the FBI
           Investigation Developed Substantial Evidence to Corroborate These Reports

        As the Department explained in its reconsideration request, the record evidence includes
reports by four sources – deemed reliable by the FBI – all of whom confirmed to the FBI that the
Claimant attempted to sell U.S. classified information to Iranian officials. 7 This source
information is strong evidence of the Claimant’s primary reason for traveling to Iran. The fact
that four separate, reliable sources each independently provided the same information to the FBI
– each source corroborating the core information provided by the others – is entitled to
substantial weight.

        Moreover, the source reporting does not stand alone, but is corroborated by the
significant circumstantial evidence developed by the FBI on the Claimant’s suspicious activities
in Afghanistan, i.e., that the Claimant accessed classified reports on Iran to sell this classified
information to the Iranian government. As explained in more detail below, this evidence
includes the following key facts:

                (1) the Claimant obtained an Iranian passport relying upon his Iranian citizenship,
                    even though he knew that he could not hold Iranian citizenship at the same
                    time as holding a U.S. security clearance, and that he had previously renounced
                    his Iranian citizenship in order to receive a U.S. security clearance;

                (2) the Claimant failed to disclose to U.S. authorities as required that he obtained
                    the Iranian passport;

                (3) by using an Iranian passport instead of a U.S. passport with an Iranian visa, the
                    Claimant was able to travel to Iran and minimize the risk of alerting U.S.
                    authorities;

                (4) although the Claimant was specifically assigned to analyze threats in
                    Afghanistan, like the Taliban and Haqqani Network, FBI forensic examination
                    of his search/access logs revealed that over 90% of the documents he accessed
                    were on Iran, and not related to his assigned work on Afghanistan;

                (5) the Claimant concealed his work on Iran. Despite spending the vast majority
                    of his time accessing intelligence documents on Iran, his supervisors were not
                    aware that he was focused on Iranian matters, and he produced no intelligence
                    reports or briefings on Iran;

                (6) the Claimant abruptly resigned by giving two weeks’ notice in late July 2011
                    after less than two months on the job. He then changed his schedule by

7
    Department of Justice Memorandum (Dec. 20, 2019), Exhibit F ¶ 6 (hereinafter “DOJ 12/20/2019 Mem.”).




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                          frequently working late at night and doubled the pace by which he accessed
                          classified documents. During his final eleven days in Afghanistan before he
                          left for Iran, the Claimant accessed almost the same number of classified
                          documents on Iran as he had in the previous twenty days, even viewing such
                          information on the day of his departure only hours before he left Afghanistan
                          for his ultimate destination of Iran;

                  (7) the Claimant did not disclose his intent to travel to Iran, as required by the
                      security briefing he received just weeks earlier as a Department of Defense
                      contractor, and he traveled to Iran without ever mentioning to any of his
                      colleagues that he was doing so, despite the risks of traveling there;

                  (8) during the FBI interviews following his release, the Claimant evaded and
                      essentially refused to answer the FBI’s questions related to whether he had
                      accessed classified information regarding Iran; and

                  (9) during a later FBI interview, after being told that he was being investigated for
                      espionage and confronted with evidence that he had accessed hundreds of
                      classified documents on Iran, the Claimant provided false denials and
                      inconsistent answers to explain his viewing of these Iran-related documents.

This evidence cannot be reconciled with the Claimant’s stated reasons for accessing classified
materials on Iran and traveling to Iran, and makes sense only if one accepts the reporting of the
four sources: that the Claimant traveled to Iran to sell U.S. classified information to Iranian
official.

        The foregoing evidence about the Claimant’s unusual pattern of conduct exists
independent of the source reporting about the Claimant’s later activities in Iran. This evidence
thus corroborates each of the source reports that the Claimant voluntarily traveled to Iran and
approached Iranian government officials offering to sell U.S. classified information. Thus, while
the Claimant’s counsel repeatedly asserts that this case is based upon the “suspicions” of FBI
agents, 8 that claim simply ignores the substantial evidence in the record. The Department
addresses this evidence in more detail in the remainder of the memorandum.

II.        The Claimant’s Actions in Securing an Iranian Passport and His Failure to Report
           His Intent to Travel to Iran Further Corroborate the Source Reporting about the
           Purpose of His Travel to Iran

        In 2011, just months before his assignment to Afghanistan as an Intelligence Analyst with
a U.S. security clearance, the Claimant secretly applied for an Iranian passport that depended
upon his status as an Iranian citizen. In applying for an Iranian passport, the Claimant would
have understood given his prior experience in applying for a security clearance that he could not
simultaneously hold a U.S. security clearance and be an Iranian citizen.


8
    Hearing Tr. at 7-8.




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        During his first application for a security clearance in 2003, the Claimant was advised by
the Department of Defense that he was considered to be a citizen of Iran because his father was
an Iranian citizen. He was informed that he could not be granted a security clearance unless he
renounced his Iranian citizenship. 9 On August 12, 2003, the Claimant sent by certified mail a
sworn formal statement to “renounce and relinquish any and all right, title and interest . . . as a
citizen of Iran” to the Iranian Interest Section in the Embassy of Pakistan, and he provided a
copy of this renunciation document to the Department of Defense. 10

        Despite being on notice that he was prohibited from being an Iranian citizen and
possessing a U.S. security clearance, in January 2011, the Claimant sought the assistance of a
company called Legal Persian to obtain an Iranian passport from the Iranian Interest Section. 11
To be eligible for an Iranian passport, a person must affirm he or she is a citizen of Iran. 12 In
February 2011, in response to Claimant’s request, the Iranian Interest Section issued an Iranian
passport to the Claimant. 13 Despite having recently been issued an Iranian passport reflecting
that he was an Iranian citizen, the Claimant never reported his Iranian passport to U.S. security
officials as required – even though at the time he was serving in a national security position as an
Intelligence Analyst with Top Secret/Sensitive Compartmented Information (TS/SCI)
clearances. 14 Notably, the Claimant was not required to obtain an Iranian passport to travel to
Iran. The Claimant could have traveled to Iran using his U.S. passport with an Iranian visa,
although doing so risked alerting U.S. authorities to his travel. 15 By traveling on an Iranian
passport instead of a U.S. passport, the Claimant could minimize the risk of alerting U.S.
authorities about his travel to Iran. 16

        In addition to his failure to disclose his new Iranian passport to U.S. security officials, the
Claimant also failed to comply with rules requiring him to disclose his intended travel to Iran.
Prior to beginning work in Afghanistan, the Claimant received three standard security briefings
from his Department of Defense contractor for his assignment as an Intelligence Analyst. Under
the category of “Required Reports,” the Department of Defense Initial Briefing mandated that
employees with a clearance are required to report to the security officer any information
pertaining to “Foreign travel to or through a country that is overtly hostile to the US.” 17 In the
Defense Security Measures Briefing, a list identified “ways that an individual can protect oneself
and some responsibilities the individual must assume in order to circumvent the possibility of
becoming a target” of a hostile foreign government. The list includes “Report all foreign travel

9
    Supplemental Record ¶ 1.
10
     Id.
11
     Supplemental Record ¶ 2.
12
     Id.
13
     Id.
14
     Id.
15
     Id.
16
  Id. Evidence that this was an attempt to deceive is further supported by the Claimant’s choice of travel itinerary.
The Claimant waited until he arrived in Dubai before he purchased a ticket to Iran. Hearing Tr. at 70.
17
     Supplemental Record ¶ 3.




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and the intent to travel to criterion countries. To avoid any repercussions, these travel plans must
be reported prior to the trip.” 18 On June 22, 2011, the Claimant signed the form acknowledging
that he had read and understood the security requirements. 19 From those recently briefed
requirements and warnings (and from his prior experience as a clearance holder), the Claimant
would have known that he was required to report his intended travel to Iran – “a country that is
overtly hostile to the US” – as a security precaution. His failure to do so supports that the
Claimant wanted to conceal his travel to Iran.

          The Claimant’s testimony also does not adequately account for the particularly acute
risks he undertook in traveling to Iran. During the hearing, the Claimant testified that he had
been planning his trip to Iran since December 2010 to visit family.20 He stated that it would be a
good time for him to travel to Iran because he was already in the region, and that his mother had
recently been to Iran. 21 He also stated that it was not illegal for him to travel to Iran. Still, while
the Claimant is correct that it was not illegal for him as a security clearance holder to travel to
Iran, 22 it was highly imprudent for him to do so. Indeed, at the time, the U.S. Department of
State had issued a Travel Warning advising on the serious risks of U.S. citizens traveling to
Iran. 23




18
     Id.
19
     Supplemental Record ¶ 3, Exhibit 3 (b).
20
  Hearing Tr. at 96. Even accepting that visiting family was one of the reasons he traveled to Iran, this reason does
not contradict the record evidence that once he arrived, four sources reported that he met with Iranian officials and
offered to sell U.S. classified information, which ultimately led to his arrest and detention.
21
     Hearing Tr. at 96. See also Supplemental Record ¶ 4.
22
  As the Claimant was debriefed from access and had resigned his position, he was legally able to travel to Iran.
Still, as a clearance holder, the Claimant needed to notify authorities of any planned travel to Iran.
23
   The Claimant testified that the “threat level [for Iran] was a Level 2, which means exercise caution.” Hearing Tr.
at 96. The U.S. Department of State issued a Travel Warning for Iran on October 8, 2010, and reissued it again on
October 21, 2011. The terms of the State Department Travel Warning make clear that the warning went well
beyond merely exercising caution. In relevant part, the 2011 Travel Warning stated:
            The Department of State warns U.S. citizens to carefully consider the risks of travel to Iran. Dual
            national Iranian-American citizens may encounter difficulty in departing Iran. U.S. citizens
            should stay current with media coverage of local events and carefully consider nonessential travel
            … Some elements in Iran remain hostile to the United States. As a result, U.S. citizens may be
            subject to harassment or arrest while traveling or residing in Iran. Since 2009, Iranian authorities
            have prevented the departure, in some cases for several months, of a number of Iranian-American
            citizens, including journalists and academics, who traveled to Iran for personal or professional
            reasons. Iranian authorities also have unjustly detained or imprisoned U.S. citizens on various
            charges, including espionage and posing a threat to national security. U.S. citizens of Iranian
            origin should consider the risk of being targeted by authorities before planning travel to Iran.
            Iranian authorities deny the U.S. Interests Section in Tehran access to imprisoned dual national
            Iranian-American citizens because Iranian authorities consider them to be solely Iranian citizens,
            access to U.S. citizens is often denied as well.
Supplemental Record ¶ 5, Exhibit 5 (b).




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         Finally, notwithstanding his stated long-standing desire to travel to Iran, the Claimant
never informed or mentioned to any of his work colleagues that he was traveling to Iran. 24 This
failure to mention his travel to Iran is particularly significant with regard to Colonel Roland Tiso,
Jr., a colleague with whom the Claimant had a close relationship (discussed below) during his
time in Afghanistan. 25

       Overall, considering the circumstances of the Claimant’s secretly obtaining an Iranian
passport in violation of his security clearance, his failing to report his intent to travel to Iran as
required by his security briefings, the risks of traveling to Iran, and the Claimant’s failure to
mention the trip to his colleagues, the evidence in the record supports the conclusion that he was
attempting to conceal his trip. 26

III.       The Claimant’s Pattern of Accessing Classified Information on Iran, Especially in
           the Weeks Leading up to His Travel to Iran, Corroborates the Source Reporting
           About the Purpose of His Travel

           A.       The Claimant Accessed a Substantial Amount of Classified Information that was
                    Outside the Scope of his Work Assignments

        The FBI forensic examination of the Complainant’s computer search/access logs revealed
that over 90% of the hundreds of classified documents he accessed were on Iran — not on his
assigned responsibility to analyze threats within Afghanistan. 27 In his testimony, the Claimant
acknowledges that he accessed highly classified information regarding Iran. 28 He claims that he
did so, however, only because he was not given any direction about the types of projects he


24
   The Claimant admitted during his April 2016 interview with the FBI that he had not told any of his associates or
colleagues in Afghanistan about his intentions to travel to Iran. During that same interview, the FBI asked him why
it was that “everyone to include his colleagues and employer all thought [the Claimant] was traveling directly from
Afghanistan to the U.S. to pursue his graduate degree.” The Claimant did not answer that question, but instead
responded only by clarifying that he intended to attend the University of Michigan in Dearborn, and not in Flint.
Supplemental Record ¶ 12, Exhibit 12 (c) at 2.
25
  Supplemental Record ¶ 6. Colonel Tiso believed that the Claimant was returning home to the United States after
leaving Afghanistan and transiting through Dubai. Id.
26
  The Claimant’s concealment of his travel plans to Iran from Colonel Tiso is especially notable. In his testimony
to the Special Master, the Claimant asserted “everyone knew” of his research on Iran and specifically recalled a
conversation with Colonel Tiso to illustrate this point. Hearing Tr. at 56, 58. The Claimant said he told Tiso that he
wanted to become an expert on Iran, like Tiso was an expert on Pakistan, and Tiso replied that it was a great idea.
Hearing Tr. at 57. Yet, even after he allegedly expressed this interest to become an expert on Iran, the Claimant
never disclosed his imminent trip to Iran to the Colonel. This is even more suspicious considering how close they
were. Colonel Tiso (as well as Captain Molnar) reported to the FBI that he and the Claimant were close friends who
“spent a great deal of time” working next to each other and frequently ate meals and lifted weights together.
Supplemental Record ¶¶ 6, 9. Colonel Tiso gave a plaque and a short speech before the Claimant’s departure and
accompanied him to the airport on his final day in Afghanistan. Supplemental Record ¶ 6.
27
     Supplemental Record ¶ 10, Exhibits 11 (a) and (b).
28
   Hearing Tr. at 28 (testifying that he “used SIPRNet, which is a secret classified system, and [he] accessed
hundreds of reports on Iran-related topics”); Hearing Tr. at 54-55 (acknowledging that he started to look into
Iran-related issues); id at 57 (stating that his research on Iran was a “natural progression” of his work).




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should be working on, and needed to fill his workdays. 29 He also claims that he accessed the
Iran-related classified information because he wanted to become a more effective employee by
developing expertise on Iran. 30 His stated reasons for accessing this information, however, are
not credible because they are contradicted by the clear evidence in the record, and further, they
do not explain the substantial increase in the Claimant’s interest in accessing Iran information
during his last weeks in Afghanistan prior to ending his employment.

        First, the evidence is clear that the Claimant’s designated work during his time in
Afghanistan was focused on topics related to Afghanistan, not Iran. When the Claimant arrived
at Bagram Air Force Base in Afghanistan, he was assigned to work on projects related to the
Afghan Taliban, the core threat to U.S. operations, and the Haqqani Network, an Afghan
guerrilla insurgent group. 31 FBI interviews with the Claimant’s supervisors at the time support
that the focus of his assigned work was on Afghanistan, and not Iran.

        Lt. Colonel (then Major) Christopher Heatherly supervised the Claimant in his role as the
Chief of the Regional Information Fusion Center where the Claimant worked. 32 When
interviewed by the FBI in 2016, Lt. Colonel Heatherly stated that he could not recall any specific
assignments given to the Claimant, but stated that any specific taskings would have been related
to analyzing insurgent communication methods and techniques in relation to Afghanistan and
certain surrounding countries, such as Pakistan. 33 Lt. Colonel Heatherly thought it was highly
unlikely that the Claimant needed to access any information regarding Iran, because Iran’s
influence in Afghanistan was not a prevalent issue at the time. 34 The Claimant’s other
supervisors corroborate Lt. Colonel Heatherly’s information. In an FBI interview in 2011 with
another of the Claimant’s supervisors, Lt. Colonel Pendall, who was the Deputy Chief of Staff
for Intelligence, said that he instructed the Claimant to work on researching the inconsistencies
between what the Taliban and Haqqani Network leaders were saying to their commanders and
what they were saying to the public. 35 Captain Elizabeth Molnar, who was also responsible for
supervising the Claimant, stated in an FBI interview that he was tasked with analyzing
communication techniques and methods used by the Taliban. 36 The Claimant’s intensive time




29
   Hearing Tr. at 55 (stating that he began to research Iran-related issues because he “had 12-hour days” and “had to
fill the time”).
30
   Hearing Tr. at 56 (“I would also try to develop expertise in Iranian influence in Afghanistan and other Iranian-
related topics and being a so-called Iran expert like I had been in some way in Iraq.”).
 In his testimony, the Claimant acknowledged that after he arrived, it was suggested that he “look at Taliban or Al-
31

Qaeda messaging and propaganda.” Hearing Tr. at 46. See also Supplemental Record ¶ 12, Exhibit 12 (c) at 5.
32
     Supplemental Record ¶ 7.
33
     Id.
34
     Id.
35
     Supplemental Record ¶ 8.
36
     Supplemental Record ¶ 9.




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and effort in researching classified materials on Iran thus had no correlation to his actual work
assignment, which focused on communication and messaging techniques in Afghanistan. 37
       The FBI forensic analysis of the Claimant’s classified information computer system audit
revealed that he unilaterally accessed 540 classified documents pertaining to Iran. 38 In fact, as
noted previously, over 90% of the classified products he accessed between early July and early
August 2011 were related to Iranian topics and issues, and included reports on Iranian military,
nuclear, and terrorism topics that were classified at the highest levels, and had no relation to
Afghanistan. 39

        Second, the Claimant’s explanation that he wanted to be more productive by “fill[ing] his
time” and becoming a subject matter expert on Iran also is belied by the record. 40 As the
Claimant admitted in his testimony, his supervisors were most interested in the work product that
he was generating. 41 As an Intelligence Analyst in Afghanistan, the Claimant produced five
intelligence reports, all relating to the Taliban. But, despite focusing over 90% of his classified
product research on Iranian topics/issues and accessing approximately 540 separate documents
on Iran, the Claimant produced no reports on Iran during his time in Afghanistan. 42 The
Claimant’s failure to produce any work product on Iran undermines the credibility of his claim
that his research was for legitimate work-related purposes.

        Third, the Claimant’s explanation is also contradicted by the fact that he actually
increased his focus on Iran research even after he gave notice that he was leaving. According to
the Claimant, his original reason for wanting to access classified information on Iran was
because he wanted to become a more productive employee for the company. After the Claimant
provided his two-weeks’ notice in late July 2011 (after only less than two months on the job), 43
there was ostensibly no further need for the Claimant to develop an expertise on Iran as part of
his effort to become a more productive employee. 44 Despite this, the evidence confirms that not


37
   To support his claim that his supervisors valued initiative, the Claimant repeatedly cites to a telecommunications
analysis project that he took it upon himself to start, and for which he received “praise.” Hearing Tr. at 54; see also
id. at 55. That project, however, was an analysis of Taliban and Al-Qaeda activities related to communications
systems – exactly the focus of the work the Claimant was charged with pursuing. The fact that the Claimant was
praised for taking initiative on this project does not support his assertion that his supervisors approved of his
focusing on Iran. Indeed, as explained below, they did not know that he was focusing on Iran-related topics.
38
     Supplemental Record ¶ 10.
39
     DOJ 12/20/2019 Mem., Exhibit F ¶ 3.
40
     Hearing Tr. at 55.
41
  Hearing Tr. at 58 (“They wanted to know – what they most cared about was “What do you got? What [do] you
have for us? What is the product? What is the solution you have to one of our problems?”).
42
     DOJ 12/20/2019 Mem., Exhibit F ¶¶ 3, 4.
43
     DOJ 12/20/2019 Mem., Exhibit F ¶ 4.
44
  According to the Claimant, he understood that his work over these last two weeks was not even necessary or
important to the company. Hearing Tr. at 70 (“One is that I gave a two-week notice, but I know they didn't need
those two weeks. So I gave them a two-week notice because that’s the right thing to do, but I asked the unit, you
know, ‘I'm totally okay with staying two weeks, giving you enough time, but if you don't need me, you know, I just




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only did the Claimant not cease accessing classified materials on Iran, the pace of his access
increased.

        The FBI’s forensic analysis of his search/access activity during his final two weeks
confirms that over 90% of the classified documents he accessed related to Iran, and an unusually
large percentage of those products were highly classified. 45 Moreover, during these two weeks,
the Claimant nearly doubled the pace at which he accessed classified documents – 301 in the last
11 days compared to 321 documents in the previous 20 days. As a final point, the record
evidence reflects that Hekmati was reading a dozen Iran-related intelligence products all the way
up to and including the day of his departure, only hours before he departed Afghanistan. 46 This
pattern of behavior is not consistent with Claimant’s explanation for his Iran-related research,
and there simply is no credible explanation for the Claimant’s pattern of accessing classified
information on Iran other than that he was reviewing it for an illicit purpose. 47

           B.       The Claimant’s Access of Classified Information on Iran Was Done Secretly

        In his testimony, the Claimant contends that his work on Iran was not a secret because he
informed his colleagues and supervisors about what he was doing, and because everything he did
was in the open for others to see. 48 Indeed, the Claimant asserts that “everyone knew” what he
was working on. 49 In direct response to this testimony, the Department is providing additional
evidence relevant to the Claimant’s assertions.

        First, the evidence is clear that the Claimant’s supervisors and colleagues were not aware
that the Claimant was focusing his work on Iranian matters. As previously noted, the FBI
interviewed three supervising officers in his chain of command (Heatherly, Pendall, and
Molnar). All three officers consistently reported that the Claimant was tasked to work on
Taliban communications in Afghanistan and never mentioned any knowledge of his work on Iran
matters. In his testimony, however, the Claimant relies heavily on his interactions with a retired
Colonel who sat right next to him in the intelligence center to show that he was transparent to
others about his focus on Iran. The FBI has identified this person as Colonel Roland Tiso, Jr.
According to the Claimant, he asked Colonel Tiso, “Hey, you are the Pakistan expert. How does
that work? What do you think about me getting – sort of being like the Iran expert.” 50 The

-- I'll go ahead and get out of here.’”). The Claimant’s pattern of continuing to access classified information on Iran
is inconsistent with his assertion that he should have been transitioning out of the job during these last two weeks.
45
     DOJ 12/20/2019 Mem., Exhibit F ¶ 4.
46
     Supplemental Record ¶ 10.
47
  According to Captain Molnar, the Claimant’s work production declined significantly, and he became even more
quiet and reserved towards the end of his time in Afghanistan. Supplemental Record ¶ 9.
48
  See Hearing Tr. at 56-57 (“Q. Did you tell your colleagues about your research on Iran issues? A. Everyone
knew. The colonel who was on my – we were elbow to elbow. This is a SCIF, and we had limited space. It is
packed. I have analysts on my right; I have analysts on my left. I have one in front of me, one behind me, elbow to
elbow, we can see each other’s screen.”).
49
     Hearing Tr. at 56.
50
     Hearing Tr. at 57.




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Claimant testified that Colonel Tiso responded, “I think that’s great.” This testimony is
contradicted by information provided by Colonel Tiso. In two interviews with the FBI
conducted in 2011 and 2016, Colonel Tiso confirmed that he sat next to the Claimant in the SCIF
(Sensitive Compartmented Information Facility, where classified information is secured). 51 Tiso
understood that the Claimant’s analytic assignment was to examine insurgent communication
methods, although he could not remember any specific work that had been assigned to the
Claimant. 52 Tiso also reported that “of all of the analysts on the JOC [Joint Operations Center]
floor, what people knew the least about was what HEKMATI was doing,” and that the Claimant
never “opened up about what he was working on.” 53

        Second, the evidence also contradicts the Claimant’s testimony about the change in his
work routine after he gave his two-weeks’ notice. 54 According to the FBI forensic analysis of
his search/access logs, the date/time record shows that from July 13, 2011, through July 31,
2011, the Claimant regularly began work between 8 a.m. to 10 a.m. and finished work between 5
p.m. to 7 p.m. local time. Shortly after providing two-weeks’ notice that he was terminating his
contract, however, the Claimant significantly changed his work hours. He began to work
primarily at night, often after midnight. 55 And as discussed above, he doubled the pace at which
he accessed classified documents in the final two weeks. Rather than a sudden personal whim to
work night hours, the Claimant’s decision appears to be a calculated effort to access more
classified documents during hours where he might feel the risk of detection was considerably
reduced.

            C.      The Claimant Never Intended to Stay in Afghanistan for the Duration of His
                    Contract

         First, in January 2011, months before he began his DoD assignment to Afghanistan, the
Claimant began the process of obtaining an Iranian passport for his trip to Iran. 56 The Claimant
later told the passport facilitator that his plan was to travel to Iran in October. 57 The timing of
his travel plans to Iran is suspicious because October was only four or five months after he began
his work as an Intelligence Analyst in Afghanistan. However, in his interview with the FBI in
2016, the Claimant stated that a reasonable period of time to gain experience to obtain a full-time
position as an Intelligence Analyst for the U.S. government in the future was at least one year
and that he was willing to stay in Afghanistan one, two, or even three years if he was receiving a



51
     Supplemental Record ¶ 6.
52
     Id.
53
     Id.
54
  Hearing Tr. at 60-61 (“I never went to any night shift. . . . So there were times maybe when I wasn’t feeling
good in the daytime so I shifted a few hours to the night. I was never on any set night shift where I shifted to the
night shift.”).
55
     Supplemental Record ¶ 10.
56
     Supplemental Record ¶ 2.
57
     Supplemental Record ¶ 12, Exhibit 12 (c) at 6.




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good experience as an analyst. 58 He also testified to the Special Master that he considered this
assignment a “once-in-a-lifetime opportunity.” 59 The Claimant’s statements to the FBI and the
Special Master are not credible as the evidence demonstrates that he had already planned to
travel to Iran only four to five months into his assignment in Afghanistan – and the Claimant
acknowledged to the FBI that travel to Iran could jeopardize his security clearance, which clearly
could preclude his continuing to serve as an Intelligence Analyst in Afghanistan. 60 Contrary to
his claims to the FBI and the Special Master, the Claimant had no intent to serve in his
Afghanistan position for an extended period. The evidence establishes that his intent was to gain
access to classified intelligence on Iran prior to his already planned trip to Iran.

        Second, the Claimant requested that the signing bonus provisions in his contract be
rescinded to avoid any time commitment. 61 It was not the case that contractors in the Claimant’s
position did not enter into time commitments; many accepted signing bonuses, but they had to
commit to stay for a minimum period of time or else the bonus would have to be repaid. The
fact that the Claimant refused a signing bonus from the outset is another indicator that he never
intended to stay longer than 6 months in his contract.

       In sum, the facts and circumstances surrounding the Claimant’s access of classified
information on Iran corroborate the source reporting that he traveled to Iran to sell U.S. classified
information.

IV.         The Claimant’s False, Evasive, and Inconsistent Answers When Questioned on the
            Purpose of His Travel Further Undermine his Credibility and Corroborate both the
            Source Reporting and Evidence Developed by the FBI

        The Claimant does not contest that he made the false and inconsistent explanations set
forth in the FD 302 reports included in the record. Instead, he attempts to minimize the
significance of these evasive answers by suggesting the FBI was motivated by “suspicions,”
employed improper tactics, and exploited the shock of his detention in Iran. 62 These arguments
are contradicted by the facts in the record.




58
     Id.
59
     Hearing Tr. at 38.
60
     Supplemental Record ¶ 12, Exhibit 12 (c) at 6.
61
     Claimant Submission Ex. A ¶ 23.
62
  Claimant’s counsel makes the argument that interview reports were the result of “recollections” of the FBI agents
who interviewed the Claimant. It is standard FBI policy, however, for agents to take contemporaneous notes during
the interview, and then later use those contemporaneous notes to draft the report. Hearing Tr. at 7.




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           A.       The Claimant Gave False, Evasive, and Inconsistent Responses to the FBI’s
                    Questions About Iran

                    1.       The January 2016 FBI Interviews

        The Claimant was interviewed by the FBI in Germany on January 19, 2016 in the
morning and afternoon after he was released from Iran. 63 At the beginning of the both
interviews, the FBI agents identified themselves. 64 They began by asking the Claimant questions
about his arrest and detention and time in Iran. During this portion of the interview, the
Claimant provided fulsome responses to the agents’ questions. For example, the Claimant
provided a detailed description of the circumstances of his arrest and questioning by Iranian
agents. He also provided a detailed description of Evin Prison where he was held, including the
security mechanisms that prevented escape, as well as the types of prisoners who were housed
there. The Claimant also provided a detailed description of the number of prisoners who were
accused of being spies, and in particular his knowledge concerning spies supposedly working for
the Central Intelligence Agency.

        During the course of these interviews, the agents were not confrontational and never
accused him of espionage or any other improper conduct. Once the agents asked the Claimant
about his access to classified reporting regarding Iran in the afternoon interview, however, the
Claimant refused to answer. Instead, he stated that the FBI could find out for itself. The
Claimant’s refusal to answer this simple and direct question is revealing. The Claimant knew
that he had spent most of his time reading classified documents about Iran – over 90% of the
classified documents he had accessed as an Intelligence Analyst in Afghanistan were on Iran –
yet when questioned, he refused to acknowledge this to the FBI. His refusal to answer this
question is also inconsistent with his hearing testimony that his interest and “research” on Iran
was known to “everyone” at the intelligence center. Similarly, when the FBI subsequently asked
the Claimant whether he had ever accessed paper copies of classified reporting on Iran, the
Claimant again avoided the question, stating only that he had top secret security clearance and
explaining that he did not have oversight and did not know what his mission was. 65

        Notably, the context for these questions was the circumstances of his arrest and detention
in Iran, not that the Claimant had engaged in espionage or otherwise improper behavior. The
fact that the Claimant refused to answer any questions about his access of classified information
on Iran while freely answering other questions is telling, and supports the Claimant’s
consciousness of guilt on this issue.



63
     Supplemental Record ¶ 12, Exhibits 12 (a) and (b).
64
   Supplemental Record ¶ 12, Exhibit 12 (a) at 1 (“After being advised of the identity of the interviewing Agents and
the nature of the interview, Hekmati voluntarily provided the following information … Before the interview started,
SA Anderson told Hekmati the FBI appreciated Hekmati agreeing to talk to the FBI. Hekmati stated that he was
happy to help the FBI.” See also Exhibit 12 (b) at 1 (“The FBI SAs identified themselves to HEKMATI during the
previous 1/19/2016 interview … SA Anderson thanked HEKMATI for agreeing to speak with the FBI again ….”).
65
     Supplemental Record ¶ 12, Exhibit 12 (b) at 3-4.




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                    2.       The April 2016 FBI Interview

        The Claimant was again interviewed by FBI agents on April 7, 2016. 66 The interview
took place in Michigan, almost three months after the Claimant had been released from Iran. At
the beginning of the interview, the agents provided the Claimant with a detailed summary of the
FBI’s investigation into his activities, and confronted the Claimant by stating that the FBI knew
that he had traveled to Afghanistan to gain access to classified information regarding Iran, and
that he then traveled to Iran to sell that information to the Iranian government. Throughout this
interview, the Claimant provided false, evasive, and inconsistent responses to the FBI agents’
questions.

       First, with respect to the secrecy of the Claimant’s travel to Iran, the FBI agents asked
him why it was that “everyone to include his colleagues and employer all thought [the Claimant]
was traveling directly from Afghanistan to the U.S. to pursue his graduate degree.” 67 The
Claimant did not address the question, but responded only by clarifying that he intended to attend
the University of Michigan in Dearborn, and not in Flint. Once again, the Claimant deflected the
question. His only answer to a serious question in the context of an espionage investigation was
to make sure the agents understood the correct University of Michigan campus. The Claimant’s
evasive answers to this question support that he did mislead his colleagues into believing that he
was returning to the U.S. after Afghanistan.

        Second, the agents showed the Claimant his June 6, 2011 email to Legal Persian, where
the Claimant wrote: “So I plan on going [to Iran] in October.” 68 The agents noted that this
contradicted the Claimant’s prior statement that he wanted to stay up to three years depending on
the quality of the experience that he was receiving, and that the email showed his clear intent to
spend very little time in Afghanistan before traveling to Iran. In response, the Claimant did not
explain the inconsistency, but denied that he only planned to stay for a short time and stated that
the email meant nothing because he went to Iran in August, not October. The Claimant also
acknowledged that a trip to Iran could mean he would lose his clearance. 69 The agents asked
him to explain the discrepancy between a pre-planned trip to Iran where he could lose his
security clearance, and his statement that he wanted to stay in Afghanistan for up to three years
to obtain later full-time employment with the U.S. government. The Claimant could not explain
the discrepancy.

        Third, the Claimant asserted that he did not need to sell information to the Iranian
government because he did not need any money, and because he had many bonuses coming in.
The Claimant acknowledged to the agents, however, that his assets were not liquid. 70 Also,
when he was told that he did not have any bonuses coming because he had left Afghanistan
before the six-month contract term, the Claimant provided no response.

66
     Supplemental Record ¶ 12, Exhibit 12 (c).
67
     Id.
68
     Supplemental Record ¶ 12, Exhibit 12 (c) at 6.
69
     Id.
70
     Id.




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           B.       The FBI Did Not Act Improperly in Interviewing the Claimant

       In his testimony, the Claimant made numerous incorrect accusations concerning the FBI
agents’ conduct during their interviews of him. Because of the number of false statements the
Claimant has made about the FBI’s conduct, it is necessary to address them one at a time. As the
following discussion demonstrates, the FBI agents at all times acted properly. 71

        The FBI agents identified themselves. The Claimant contends that when he was first
questioned by FBI agents in Germany, the agents did not identify themselves. 72 As reflected in
the FD 302 reports regarding the January 2016 interviews, the agents identified themselves
before speaking to the Claimant. 73 Indeed, the Claimant himself confirmed that he knew he was
speaking with the FBI when, in response to one of their questions about his access to classified
information regarding Iran, he stated that the FBI could figure out that question for itself. 74

         The FBI did not interview the Claimant under the ruse of a medical exam. The Claimant
testified that, during the January 2016 interview, the FBI agents pretended to conduct a medical
examination to speak with him. 75 That is false. The agents interviewed the Claimant only after
he was medically cleared by doctors to speak with the FBI. 76

         The FBI agents identified themselves before the April 2016 interview. The Claimant
testified that the FBI agents showed up at his door in Michigan and asked to show him more
photos. 77 The Claimant omits, however, that the agents first identified themselves as from the
FBI, and that they requested to speak to him on a voluntary basis. 78 The agents drove the




71
  Claimant’s counsel suggests that the FBI agent’s actions were motivated in part by a “paranoia about Muslims.”
Hearing Tr. at 8. Counsel provided no evidence to support this, nor could he. The record demonstrates that the FBI
agents conducted themselves professionally in each and every interaction with the Claimant, and with the others
they interviewed.
72
     Hearing Tr. at 91.
73
   Supplemental Record ¶ 12, Exhibit 12 (a) at 1. See also Exhibit 12 (b), (“This interview … was the second FBI
interview … The FBI SAs identified themselves to HEKMATI during the previous 01/19/2016 interview … SA
Anderson thanked HEKMATI for agreeing to speak with the FBI again…”).
74
   Supplemental Record ¶ 12, Exhibit 12 (b) at 3 (“…HEKMATI was asked if he ever accessed classified reporting
on Iran. HEKMATI refused to answer this question; instead, HEKMATI indicated that the FBI could find out that
information for itself by pulling the log information.”).
75
     Hearing Tr. at 90-91.
76
     Supplemental Record ¶ 12.
77
     Hearing Tr. at 92.
78
  Supplemental Record ¶ 12, Exhibit 12 (c) at 1 (“Interviewing agents approached HEKMATI’s residence … at
which time they identified themselves and advised HEKMATI of the purpose of the interview. HEKMATI
voluntarily agreed to go to the Flint [Resident Agency] to speak with the agents.” At Flint RA, “HEKMATI was
again informed the interview was voluntary and he could leave at anytime.”).




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Claimant to his mother’s place of business so that he could pick up his car. The Claimant then
drove his car, following the agents to the FBI’s offices. 79

        The FBI agents never took the Claimant’s cell phone or denied him an opportunity to
speak to his attorney. As the Claimant testified, before the April 2016 interview, he called his
attorney and spoke with him. 80 The Claimant asserted, however, that he was thereafter unable to
speak with his attorney before the interview. 81 The FBI agent told the Claimant’s counsel that
she would speak to him at a later time from a landline and the Claimant provided the FBI with
his attorney’s contact information. The agents did not take the Claimant’s phone, and he was
free to speak to his attorney during the car ride to the FBI’s offices. Indeed, the agents observed
the Claimant on his phone during the car ride. 82 Once they arrived at the office, both the agents
and the Claimant left their phones outside the interview room because of the sensitive nature of
the interview. The agents again told the Claimant that the interview was voluntary; the Claimant
elected to proceed with the interview. 83

         The FBI told the Claimant that he was under investigation in the April 2016 interview.
The Claimant testified that the FBI never told him he was under investigation. 84 During the
April 2016 interview, the FBI agents informed the Claimant that he was under investigation for
attempted espionage. 85 The FBI also provided the Claimant with the information that the agents
had gathered during the investigation. The Claimant did not stop the interview, nor did he ask to
call his lawyer; he continued to talk to the FBI for approximately three hours.

        The FBI showed Claimant a log of his search activity in Afghanistan. During the
hearing, the Claimant repeatedly stated that the FBI never showed him any logs reflecting his
access of classified information. 86 In their FD 302 report for this interview, however, the FBI
agents recorded that they showed a log of his search activity to the Claimant. Pursuant to FBI
policy, a copy of the actual log shown to the Claimant is attached to the FD 302 report. 87
Moreover, in the report, the agents wrote the following: “[t]he agents also explained to
HEKMATI that approximately 90% of the searches he conducted were about Iran or issues of


79
     Id.
80
     Hearing Tr. at 93.
81
     Id. at 93-94.
82
     Supplemental Record ¶ 12.
83
   Supplemental Record ¶ 12, Exhibit 12 (c) at 1, at the Flint field office, (“HEKMATI was again informed the
interview was voluntary and he could leave at anytime.”).
84
     Hearing Tr. at 92-93 (“I was never told I was under investigation.”).
85
  Supplemental Record ¶ 12, Exhibit 12 (c) at 1-2 (the FBI agent “confronted HEKMATI by telling him the FBI
knew HEKMATI went to Afghanistan to gain access to classified information in order to travel to Iran and sell this
information to the Iranian government.”).
 Hearing Tr. at 48 (“there was some talk about logs that came up, search logs, and I never saw any logs. No logs
86

were ever shown to me, if they exist –”).
87
     Supplemental Record ¶ 12, Exhibit 12 (c) at 4 (“Interviewing agents showed HEKMATI a ‘search log’…”).




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interest to Iran. HEKMATI looked at the search log and denied this was a log of his search
activity.” 88

        The Claimant ended the voluntary interview. As soon as the Claimant stated that he
wanted to end the interview, the agents stopped the questions and he was allowed to leave the
office. The FBI told the Claimant that his lawyer needs a clearance to receive information
regarding this investigation. 89

V.          Conclusion

        The Claimant has failed to rebut the record evidence that he traveled to Iran to sell U.S.
classified information, and the entire record strongly supports the Special Master’s decision.
Taken together, the government’s submission in the original and supplemental record establishes
that the claimant intended to travel to Iran for the purpose of selling U.S. classified information
to a hostile foreign power and state sponsor of terrorism. Indeed, this evidence simply cannot be
reconciled with the Claimant’s stated reasons for accessing classified materials on Iran and
traveling to Iran, and makes sense only if one accepts the source reporting that the Claimant
traveled to Iran to sell U.S. classified information to Iranian officials. The Claimant’s decision to
betray his country directly led to his arrest and detention by the Iranian government.

        The Claimant is asking the Special Master to use millions of dollars of funds specifically
designated to compensate the victims of terrorism to pay him for the results of his own voluntary
decision to travel to Iran to sell secrets to a state sponsor of terrorism. Such an outcome would
truly be a perverse result. Therefore, the Claimant’s appeal should be denied, and the Special
Master should reaffirm his reconsideration decision and issue a final written decision affirming
that the Claimant is not eligible for payment from the Fund.




88
     Id.
89
     Id. at 7.




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            DECLARATION OF BRETT M. KRAMARSIC, SPECIAL AGENT,
                   FEDERAL BUREAU OF INVESTIGATION


       I, Brett M. Kramarsic, hereby declare the following:

       1.      I am submitting this declaration in support of the United States Department of

Justice’s (DOJ) Response to the Application of Amir Hekmati for compensation from the United

States Victims of State Sponsored Terrorism Fund.

       2.      Since October 10, 2000, I have been a Special Agent of the Federal Bureau of

Investigation (FBI). For nineteen years, I have been assigned to conduct espionage and

counterintelligence investigations at the Washington Field Office (WFO) and was assigned as the

lead agent on the espionage investigation of Amir Hekmati. As a result of my involvement in

espionage investigations, I am familiar with the tactics, methods, and techniques of particular

United States persons who possess, or have possessed, a United States security clearance and

who have disclosed or attempted to disclose classified information.

       3.      The matters stated herein are based on my personal knowledge, my review and

consideration of documents and information available to me in my official capacity, and

information obtained from FBI and other personnel in the course of their official duties. My

conclusions have been reached in accordance with these sources.

       4.      I have attached to my declaration as Exhibit 1 the Record for Special Master

(“Record”), which was originally submitted to the Special Master on December 20, 2019.

       5.      I have also attached to my declaration as Exhibit 2 the Supplemental Record for

Special Master (“Supplemental Record”).

       6.      To the best of my knowledge, based upon the sources listed above, the facts

contained in the Record and Supplemental Record are true and correct.




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is

true and correct.

June , 2020
                                                            Brett           Digitally signed by Brett Kramarsic
                                                                            DN cn Brett Kramarsic, o FBI,
                                                                            ou WFO,

                                                            Kramarsic       email                         c US
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                                                            Brett M. Kramarsic
                                                            Special Agent, FBI




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                             RECORD FOR SPECIAL MASTER

1. The FBI opened an espionage investigation on AMIR NEMA HEKMATI on September 21, 2011.
   The FBI investigation has concluded that HEKMATI attempted to pass U.S. classified
   information to the Government of Iran, and this conclusion is corroborated by multiple reliable
   sources. HEKMATI was an Intelligence Analyst contractor for the Department of Defense
   (DOD) in Afghanistan from June 2011 to August 2011. In this position, HEKMATI held a
   security clearance that granted him access to intelligence reports classified at the highest level -
   Top Secret/Sensitive Compartmented Information (TS/SCI).

2. When HEKMATI arrived in Afghanistan, he was told he was reassigned as a Human Terrain
   Systems (religious advisor) member instead of an Intelligence Analyst. HEKMATI became upset
   and indicated that, if he was not given the Intelligence Analyst position, he would immediately
   resign and go home. HEKMATI argued he was hired as an Intelligence Analyst, which would
   require routine access to TS/SCI information, while as a religious advisor he would not.

3. While deployed to Bagram Air Force Base in Afghanistan, HEKMATI was assigned to work on
   projects related to the Afghan Taliban and the Haqqani network. However, forensic analysis of his
   classified information computer system audit revealed that he accessed hundreds of highly
   classified documents pertaining to Iran, which were all well outside the scope of his assigned
   duties. FBI analysis determined that, during the period from early July 2011 to early August 2011,
   over 90% of the classified products he accessed were related to Iranian topics/issues. The topics
   related to Iran included discussion of Iranian military issues, the Iranian nuclear program,
   Hezbollah, and Iranian support to terrorism. The products were classified up to and including the
   TS/SCI level.

4. In late July 2011, HEKMATI unexpectedly provided two weeks’ notice that he intended to
   terminate his employment. Although his original employment agreement was for six to twelve
   months, HEKMATI resigned from his Defense Intelligence Agency contract position within two
   months of his arrival in Afghanistan. During his final two weeks, HEKMATI began working the
   night shift at his request / decision. In those two weeks, FBI analysis indicates that, once again,
   approximately 90% of the products HEKMATI viewed appeared to be outside the scope of his
   assigned duties and an unusually high percentage were highly classified products.

5. In August 2011, HEKMATI took a military charter flight from Bagram Air Force Base in
   Afghanistan to a third country. After he landed in the third country, he purchased an airline
   ticket to Tehran, Iran. HEKMATI did not tell any of his colleagues or associates in
   Afghanistan about his intentions to travel to Iran. HEKMATI later stated to the FBI that he
   had only told his mother about his plan to travel to Iran to visit his grandmother. Records
   indicate that HEKMATI arrived in the third country in the evening around 5 p.m. local time,
   spent the next day there, and flew to Iran the following day.




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6. Throughout the investigation the FBI has received information from four reliable sources. Those
   sources confirm that HEKMATI voluntarily traveled to Iran and approached Iranian government
   officials offering U.S. classified information in exchange for payment.


7. In December 2011, the Iranian government publically released information indicating
   HEKMATI was arrested as a CIA spy for engaging in espionage against Iran. HEKMATI was
   sentenced to death, but open sources reported that HEKMATI had been retried in December
   2013 and sentenced to ten years in prison. The FBI has confirmed that HEKMATI was never
   employed or tasked by the CIA.

8. On January 19, 2016, HEKMATI was released from Iranian custody. Following his release, the
   FBI interviewed HEKMATI at Landstuhl Regional Medical Center near Frankfurt, Germany.
   HEKMATI stated that he had always wanted to travel to Iran to visit his grandmother and other
   relatives. Regarding the time period when HEKMATI worked as an Intelligence Analyst for the
   U.S. government in Afghanistan, HEKMATI was asked if he ever accessed classified reporting
   regarding Iran. HEKMATI refused to answer this question; instead, HEKMATI indicated that
   the FBI could find out that information for itself by pulling the log information. When asked if
   he had ever read paper copies of classified reporting regarding Iran, HEKMATI avoided the
   question, instead saying that he had a “TS” clearance including SI, TK, and Gamma accesses
   [references to SCI programs].

9. Several months later, on April 7, 2016, the FBI interviewed HEKMATI in Flint, Michigan. In this
   interview, the FBI directly confronted HEKMATI, alleging that he went to Afghanistan to gain
   access to classified information in order to travel to Iran and sell it to the Government of Iran. In
   response, HEKMATI only inquired whether the FBI agent was asking a question. Interviewing
   agents showed HEKMATI a “search log” that detailed HEKMATI’S search activity on U.S.
   classified computer systems. The agents also explained to HEKMATI that approximately 90% of
   the searches he conducted were about Iran or issues of interest to Iran, unrelated to his assigned
   work. HEKMATI looked at the search log and denied this was a log of his search activity. When
   it was explained again this was a detailed search log of his searches, HEKMATI stated he did not
   have time to access classified reporting about Iran because he had too much work and was already
   working 12 to 13 hour days.

10. HEKMATI indicated his contractor and the military provided him access to U.S. classified systems
    and the interviewing agents should ask them why HEKMATI searched those topics on Iran.
    Interviewing agents explained that line of logic did not make sense and there was an expectation by
    the granting agency of his security clearance, in this case the U.S. military, he should only access
    information needed for his assignment. HEKMATI reiterated to ask his contractor or the military.
    HEKMATI further stated that his contractor and the military gave him access to U.S. classified
    computer network systems at large and did not restrict his access so he should be allowed to view
    whatever he viewed.




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11. HEKMATI remembered being briefed into the TS/SCI clearance level. When interviewing agents
    asked HEKMATI if he understood he did not have a “need to know” pertaining to classified
    reporting on Iran, HEKMATI deflected and reiterated his contractor and the military gave him “no
    direction.” HEKMATI indicated that his superiors did not know what he was actually supposed to
    do and because of this HEKMATI had to find things to do to fill his day. As a result, HEKMATI
    felt that his Intelligence Analyst position was a waste of time. When interviewing agents pointed
    out the contradiction between HEKMATI having to find things to do to fill his day with
    HEKMATI’S earlier claim he was too busy working 12 to 13 hours a day to search for information
    on Iran, HEMATI did not provide a response.

12. After alternating between not responding and deflecting when interviewing agents asked
    HEKMATI why he accessed classified reporting on Iran, HEKMATI finally responded he
    accessed classified information regarding Iran to become a subject matter expert on Iran.
    HEKMATI stated he is of Iranian descent, was curious, and compared his searches on U.S.
    classified information systems to a “Google” search.

13. When the interviewing agents explained to HEKMATI that he accessed a certain classified
    document regarding the Iranian government’s presence in a certain country twice in August 2011,
    just before he left for the same third party country to continue onward to Iran, HEKMATI did not
    acknowledge accessing the document or doing anything in the third party country other than
    transiting to Iran. HEKMATI said he never purposely met with the Iranian government prior to
    his imprisonment in Iran.

14. HEKMATI said he accepted the Intelligence Analyst position because he wanted to develop
    intelligence analysis experience to be more competitive in obtaining a full-time U.S. government
    job. HEKMATI acknowledged to the interviewing agents that he could potentially lose his
    clearance if he travelled to Iran. HEKMATI could not reconcile the discrepancy between his
    previous statement of wanting to acquire experience as an analyst to obtain a full-time U.S.
    government job and his pre-planned willingness to jeopardize his security clearance by travelling
    to Iran.

15. On May 9, 2016, HEKMATI filed a civil action against Iran in the United States District Court
    for the District of Columbia (USDC). HEKMATI claimed that his treatment while in custody in
    Iran constituted torture and hostage taking in violation of the Foreign Sovereign Immunities Act
    (FSIA), 28 U.S.C. §§ 1602-1611, and he sought compensatory and punitive damages.

16. In support of his civil claim, HEKMATI signed a “Declaration of Amir Hekmati” on September 27,
    2016. At the conclusion of the 23-page document, HEMATI attested “Pursuant to 28 U.S.C. §
    1746, I declare under penalty of perjury that the foregoing is true and correct.” The declaration was
    filed with the USDC on February 10, 2017.

17. In his declaration to the USDC, HEKMATI asserted that “Before returning home from
    Afghanistan to Michigan to start school, I decided to take the opportunity to travel for a few



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   weeks . . . my mother had been encouraging me in particular over the last few months to visit
   my grandmother in Iran . . . .” (¶¶ 24, 25) In fact, this was a false and misleading statement.
   The primary purpose of his trip to Iran was not to visit his grandmother - it was to approach
   Iranian Intelligence officials with an offer to sell U.S. classified information to the Iranian
   government.

18. In his declaration to the USDC, HEKMATI claimed that “Those first few days in Evin [prison] are
    a blur. I was shocked, confused, scared, indignant.” (¶ 35) HEKMATI asserted that, after his arrest
    by the Iranian government, “I had no contact with the outside world. I was not permitted to speak
    to my family” (¶ 45) and that, after a period of months, “I hadn’t spoken to my family since my
    arrest.” (¶ 57). In fact, this was another series of false statements. HEKMATI’s mother in
    interviews with the FBI indicated that HEKMATI made several calls to his uncle from his cellular
    phone over a period of seven to ten days indicating “he was bored ... had nothing to do, but read.”

19. In assessing all the facts and circumstances presented above, the FBI has concluded that the
    purpose of HEKMATI’s trip to Iran was to sell classified U.S. intelligence information to Iran and
    that, in fact, HEKMATI attempted to sell classified information to the Government of Iran when he
    travelled to Tehran in August 2011. The forensic examination of his computer system log clearly
    demonstrates that HEKMATI accessed hundreds of highly classified documents pertaining to Iran
    that were wholly unrelated to his area of responsibility. HEKMATI'S assignment in Afghanistan
    was to analyze the Taliban and Haqqani network - and he had no “need to know” regarding
    sensitive classified reporting on Iranian matters. The suspicious nature of this unauthorized
    conduct is further underscored by HEKMATI'S unexpected two weeks' notice that he was
    terminating his employment months earlier than the terms of his contract. Then HEKMATI
    informed only his mother that he was taking a trip to Iran. Subsequent reporting provide from
    multiple sources corroborate that HEKMATI travelled to Iran to sell U.S. classified information to
    the Iranians in exchange for payment.

20. In addition, HEKMATI's own statements during interviews with FBI agents reveal
    dissembling behavior that reflects a consciousness of guilt. In his initial interview after his
    release from Iran, when the FBI asked him if he had ever accessed classified documents as an
    Intelligence Analyst in Afghanistan, HEKMATI did not answer the question, instead he said
    the FBI could find out itself by pulling the log information. In another interview months later,
    when the FBI directly confronted him alleging he went to Iran to sell classified U.S.
    intelligence information, HEKMATI again did not respond- instead replying only to ask if
    that was a question.

21. Moreover, in his statements to the interviewing agents, HEKMATI provided significantly
    inconsistent answers that show his effort to deflect and evade the FBI’s questions. When the
    FBI showed him the computer search log listing his accessing of numerous classified
    documents regarding Iran, HEKMATI initially denied that it was his log. He further claimed
    he had so much work to do over his 12 to 13 hour shifts that he did not have any time to search
    classified documents on Iran. However, later in the same interview, HEKMATI admitted



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   accessing the classified reports on Iran because he had to find things to do to fill his day. Still
   later in the course of the interview, HEKMATI once again changed his answer - discarding his
   previous assertion that he accessed the documents because he had to fill the time, HEKMATI
   stated that he accessed the classified documents on Iran because he wanted to become a
   subject matter expert on Iran. Finally, when the FBI focused on the fundamental principle of
   “need to know” in accessing intelligence reports, HEKMATI simply remarked that his
   contractor and the military had given him access to the classified computer network and did
   not restrict his access, so he should be allowed to view whatever he viewed.

22. In reviewing the classified intelligence reports on Iran that HEKMATI accessed, the FBI
    found numerous reports on the Iranian government. The Iranian government has a long
    established history of conducting and supporting terrorist operations around the world.


23. The Iranian Revolutionary Guard Corps (IRGC), with the support of the Iranian government, has
    engaged in terrorist activity since its inception 40 years ago. The IRGC - most prominently
    through its Qods Force - has the greatest role among Iran’s actors in directing and carrying out a
    global terrorist campaign.

       •   In recent years, IRGC Qods Force terrorist planning has been uncovered and disrupted in
           many countries, including Germany, Bosnia, Bulgaria, Kenya, Bahrain, and Turkey.

       •   The IRGC Qods Force in 2011 plotted a brazen terrorist attack against the
           Saudi Ambassador to the U.S. on American soil. Fortunately, this plot was
           foiled.

       •   In 2012, IRGC Qods Force operatives were arrested in Turkey for plotting an attack and
           in Kenya for planning a bombing.

       •   In January 2018, Germany uncovered ten IRGC operatives involved in a terrorist plot in
           Germany, and convicted another IRGC operative for surveilling a German-Israeli group.

       •   In September 2018, a U.S. federal court found Iran and the IRGC liable for the 1996
           Khobar towers bombing, which killed 19 Americans.

24. The IRGC continues to provide financial and other material support, training, technology transfer,
    advanced conventional weapons, guidance, or direction to a broad range of terrorist organizations,
    including Hizballah, Palestinian terrorist groups like Hamas and Palestinian Islamic Jihad, Kata’ib
    Hizballah in Iraq, al-Ashtar Brigades in Bahrain, and other terrorist groups in Syria and around the
    Gulf.

25. The FBI assesses that the sensitive intelligence reporting accessed by HEKMATI could be
    exploited by the Iranian government in support of terrorist operations.




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                             SUPPLEMENTAL RECORD


1. In 2003, the Department of Defense (DoD) processed HEKMATI for his initial security
   clearance. HEKMATI was informed that, because his father was a citizen of Iran, he was
   considered to be an Iranian citizen as well. In order for the DoD to grant him a security
   clearance, HEKMATI was required to renounce his Iranian citizenship. HEKMATI
   subsequently provided DoD with a copy of a letter dated August 12, 2003, that was sent
   by certified U.S. mail to the Iranian Interest Section. With the break of diplomatic relations
   between the United States and Iran after the seizure of the U.S. Embassy in Tehran in 1979,
   the Iranian Interest Section has provided de facto consular representation for the Islamic
   Republic of Iran in the United States. It is located at the Embassy of Pakistan in
   Washington, D.C. In the letter, HEKMATI stated in relevant part: “I understand that I may
   have additional citizenship status in the Islamic Republic of Iran (Iran) because my parents
   (who are both US citizens) were born in Iran. I am sending this letter and executing it
   under oath today in order to inform the government of Iran that I am hereby renouncing
   any and all status that I may have in Iran under the laws of that country. . . . Intending to
   be legally bound, irrevocably and forever, I hereby absolutely and unconditionally abjure,
   renounce and relinquish any and all right, title and interest that I may have, whatsoever, as
   a citizen of Iran.”

   EXHIBIT 1 Renunciation Letter

2. In January 2011, HEKMATI requested an Iranian passport through Legal Persian so he
   could travel to Iran in the summer. To be eligible for a passport, a person must affirm he
   or she is a citizen of Iran. Legal Persian is a company that facilitated contact with the
   Iranian Interest Section to procure passports and visas for members of the Iranian
   community in the United States. On January 3, 2011, HEKMATI sent Legal Persian a
   copy of his old Iranian passport, which was issued on July 16, 1999 and expired on
   July 15, 2004, to assist with the application for his new passport. In February 2011, the
   Iranian Interest Section issued an Iranian passport to HEKMATI. In June 2011,
   HEKMATI informed Legal Persian that he planned to travel to Iran in July. In July 2011,
   HEKMATI asked Legal Persian how to get his Iranian passport sent to him overseas.
   Although he held a Top Secret/Sensitive Compartment Information (TS/SCI) clearance,
   HEKMATI never reported to U.S. security officials that he had applied for and been issued
   an Iranian passport. HEKMATI could have traveled to Iran using his U.S. passport with
   an Iranian visa, although doing so risked alerting U.S. authorities to his travel.

   EXHIBIT 2 (a) Iranian Passport Application
   EXHIBIT 2 (b) Hessam Mirzaei (Legal Persian) February 2, 2012 FD 302
   EXHIBIT 2 (c) Hessam Mirzaei (Legal Persian) February 26, 2012 FD 302

3. As an Intelligence Analyst with the DoD contractor Six3Systems, Inc., HEKMATI
   received three standard security briefings prior to his assignment in Afghanistan. The



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   briefings were: 1) “Department of Defense Initial Briefing”; 2) “Threat Awareness”; and
   3) ”Defensive Security Briefing.” In the “Department of Defense Initial Briefing,” a
   section entitled “Required Reports” states “cleared employees are required to report any
   information pertaining to the following events directly to the FSO [Facility Security
   Officer].” The first event listed is “Foreign travel to or through a country that is overtly
   hostile to the US or attendance at international conferences at which representatives of such
   a country were or will be in attendance.” Likewise, in the “Defensive Security Briefing”
   there is a listing of “ways that an individual can protect oneself and some responsibilities
   the individual must assume in order to circumvent the possibility of becoming a target.”
   One of the responsibilities listed is to “Report all foreign travel and the intent to travel to
   criterion countries. To avoid any repercussions, these plans must be reported prior to the
   trip.” On June 22, 2011, HEKMATI signed the form acknowledging that he had read and
   understood the three required security briefings. [Note: According to the DoD Contractor,
   the briefings attached as Exhibit 3 were created in 2010. There were no corresponding
   briefing documents kept with the acknowledgement form signed by HEKMATI in 2011.
   The DoD contractor indicated that these briefing were in sum and substance the same as
   the briefings provided in Exhibit 3 (a) below.] Iran was a country overtly hostile to the
   U.S. and a criterion country, which required reporting in advance of travel. HEKMATI
   never reported his intent to travel to Iran to the security office in disregard of the reporting
   requirements set forth in these briefings.

   EXHIBIT 3 (a) Six3Systems Security Briefings
   EXHIBIT 3 (b) Security Briefing Acknowledgment

4. The FBI interviewed Behnaz M. Hekmati (HEKMATI’s mother) on October 5, 2011.
   Behnaz traveled to Iran with her son Omeed and daughter Leila and arrived in Teharan on
   June 24, 2011. Behnaz cut the trip shorter than planned because she had a heated argument
   with her husband’s side of the family over the inheritance of her husband Ali’s father. Ali’s
   sister threatened to tell the Iranian authorities lies about Behnaz and her family that would
   cause the Iranians to arrest them. After the threat, Behnaz moved her family into a hotel
   until she was able to obtain an earlier flight back to the United States. HEKMATI told his
   family that his contract ran out on August 14, 2011. Therefore, HEKMATI decided that
   he would travel to Iran since he was already in the region. Behnaz tried to talk her son out
   of going to Iran due to her recent troubles with her husband’s family. HEKMATI promised
   that he would not contact his father’s family. Behnaz was worried that the Iranians would
   cause HEKMATI problems because he served in the United States Marine Corps.
   HEKMATI believed that the Iranians would never know that he served in the Marines.

   EXHIBIT 4 Behnaz M. Hekmati FD 302

5. The U.S. Department of State issued a Travel Warning for Iran on October 8, 2010, and
   reissued it again on October 21, 2011. In relevant part, the 2011 Travel Warning stated:
   “The Department of State warns U.S. citizens to carefully consider the risks of travel to



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   Iran. Dual national Iranian-American citizens may encounter difficulty in departing Iran.
   U.S. citizens should stay current with media coverage of local events and carefully consider
   nonessential travel…Some elements in Iran remain hostile to the United States. As a result,
   U.S. citizens may be subject to harassment or arrest while traveling or residing in Iran.
   Since 2009, Iranian authorities have prevented the departure, in some cases for several
   months, of a number of Iranian-American citizens, including journalists and academics,
   who traveled to Iran for personal or professional reasons. Iranian authorities also have
   unjustly detained or imprisoned U.S. citizens on various charges, including espionage and
   posing a threat to national security. U.S. citizens of Iranian origin should consider the risk
   of being targeted by authorities before planning travel to Iran. Iranian authorities deny the
   U.S. Interests Section in Tehran access to imprisoned dual national Iranian-American
   citizens because Iranian authorities consider them to be solely Iranian citizens; access to
   U.S. citizens is often denied as well.”

   EXHIBIT 5 (a) 2010 State Department Travel Warning
   EXHIBIT 5 (b) 2011 State Department Travel Warning

6. The FBI interviewed Colonel Roland Tiso, Jr., United States Army (ret.), on
   September 29, 2011, and on March 14, 2016. In 2011, Tiso was a civilian contract
   employee who served as the senior Pakistan military analyst at the Regional Intelligence
   Fusion Center at Bagram Air Base, Afghanistan. Tiso and HEKMATI’s work stations in
   the Sensitive Compartmented Information Facility (SCIF) were right next to each other,
   they spent a great deal of time together professionally and socially, and they became good
   friends. HEKMATI’s analytical assignment was to examine insurgent communication
   methods, but Tiso did not know the specific work HEKMATI was assigned as an
   Intelligence Analyst. Tiso stated “of all the analyst[s] on the JOC floor what people knew
   the least about was what HEKMATI was doing.” HEMATI never “opened up about what
   he was working on.” Prior to HEKMATI’s departure, Tiso presented HEKMATI with a
   plaque he had purchased and gave a short speech. Tiso accompanied HEKMATI to the
   airport on his last day and believed HEKMATI was traveling to the United States directly
   from Dubai.

   EXHIBIT 6 Tiso FD 302 (September 29, 2011)
   EXHIBIT 7 Tiso FD 302 (March 14, 2016)

7. The FBI interviewed Lt. Colonel Christopher Heatherly, United States Army, on
   April 2, 2016. In 2011, then-Major Heatherly served at Bagram Air Base, Afghanistan as
   Chief of the Regional Information Fusion Center, where HEKMATI was assigned as a
   contract Intelligence Analyst. Heatherly could not recall HEKMATI’s specific tasking but
   stated it would have been related to analyzing insurgent communication methods and
   techniques in relation to Afghanistan and its surrounding countries, e.g., Pakistan, and
   narcoterrorism. Heatherly thought it was highly unlikely that HEKMATI needed to access
   any information regarding Iran, because Iran’s influence in Afghanistan was not a prevalent



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   issue at the time. Heatherly had no idea HEKMATI was travelling to Iran or that he had
   family in Iran, and only learned this information after HEKMATI was incarcerated in Iran.

   EXHIBIT 8 Heatherly FD 302

8. The FBI interviewed Lt. Colonel David W. Pendall, United States Army, on
   October 1, 2011. Pendall served as Deputy Chief of Staff for Intelligence at the Joint
   Operations Center.      Pendall instructed HEKMATI to work on researching the
   inconsistencies between what the Taliban and Haqqani Network leaders are saying to their
   commanders and what they are saying to the public. Pendall wanted HEKMATI to develop
   strategies on how to exploit those inconsistencies.

   EXHIBIT 9 Pendall FD 302

9. The FBI interviewed Captain Elizabeth Molnar, United States Army, on
   September 29, 2011. Molnar served as Deputy Chief of the Regional Information Fusion
   Center and was in HEKMATI’s direct chain of command. HEMATI was tasked with
   analyzing communication techniques and methods used by the Taliban. Molnar did notice
   that towards the end of his employment HEKMATI’s work production declined
   significantly and he became even more quiet and reserved. HEKMATI’s resignation was
   sudden and unexpected. When he resigned, HEKMATI complained of being tired of
   deployment and stated that he wanted to go back to school. Molnar stated that
   HEKMATI’s closest friend was fellow analyst Roland Tiso. HEKMATI worked directly
   adjacent to Tiso, and frequently went to the gym and to meals with Tiso.

   EXHIBIT 10 Molnar FD 302

10. The FBI conducted a forensic audit of the logs corresponding to HEKMATI’s classified
    information computer system. The logs reflected search terms entered and documents
    accessed on the system. Analysis revealed that between July 11 and August 12, 2011,
    HEKMATI accessed 540 separate documents related to Iran and only 47 of those
    documents had a possible nexus to his assigned intelligence duties in Afghanistan. Further
    analysis revealed that from July 11 to July 31, 2011, HEKMATI accessed Iranian
    documents 321 times and from August 1 to August 12, 2011, HEKMATI accessed Iranian
    documents 301 times. Accordingly, in the final 11 days of his assignment compared with
    the previous 20 days, he almost doubled the pace at which he accessed these documents.
    Furthermore, examination of the date/time record on the logs showed from July 13, 2011,
    through July 31, 2011, HEKMATI regularly began work between 8 a.m. to 10 a.m. and
    finished work between 5 p.m. to 7 p.m. local time. However, shortly after providing two-
    weeks’ notice that he was terminating his contract, HEKMATI significantly changed his
    work hours. HEKMATI began to work primarily at night, often after midnight.
    HEKMATI was reading Iran-related intelligence products all the way up to and including
    the day of his departure, only hours before he departed Afghanistan.



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   EXHIBIT 11 (a) Search Term Log
   EXHIBIT 11 (b) Access Document Log

11. The FBI requested from DoD all intelligence products prepared by HEKMATI after his
    assignment in June 2011. DoD replied that HEKMATI produced five intelligence reports
    – each of them related to his assigned area of responsibility. HEKMATI produced no
    intelligence reports on Iran.

12. The FBI conducted two interviews of HEKMATI on January 19, 2016 and a third interview
    on April 7, 2016. At each of the three interviews, the FBI agents identified themselves to
    HEKMATI. During the first interview, the FBI agents questioned HEKMATI after he was
    cleared by medical staff at Landstuhl Regional Medical Center in Germany. Prior to the
    third interview, HEKMATI picked up his car from his mother and followed the agents to
    the FBI Field Office in Flint, Michigan. HEKMATI had possession of his phone, and the
    FBI agents witnessed him talking on his phone. At the FBI Field Office, the agents told
    HEKMATI that he had to leave his phone outside of the interview room due to the sensitive
    nature of the interview. The FBI agents also left their phones outside of the interview
    room. During the interview, the FBI agents continued to advise HEKMATI that the
    interview was voluntary.

   EXHIBIT 12 (a) First Interview (morning) on January 19, 2016

   EXHIBIT 12 (b) Second Interview (afternoon) on January 19, 2016 [previously provided
                  as Exhibit H-1]

   EXHIBIT 12 (c) Third Interview on April 7, 2016 [with unredacted portion of redacted
                  FD 302 previously provided as Exhibit H-2]




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                                                       Exhibit 2 (a)




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                                    and stay for three months. Mirzaei agreed to provide the FBI with
                                    copies of Hekmati's passport application and his email messages if
                                    Hekmati's family granted him permission to share this information.
                                    Behnaz Hekmati wanted Mirzaei to provide her with this information.
                                    However, Mirzaei could not find the documents until recently.



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           Indexing                                                                                           

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           Intelligence                                                                                       




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              Drafted By:




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                                                                                                                             Exhibit 3 (a)


Please read:
DoD Initial Briefing .......................................................................................................................... 3
Defensive Security Measures Briefing .......................................................................................... 12
Threat Awareness and Defensive Security Briefing ...................................................................... 14


 Once you have read the listed briefings above, please sign and return the below documents.


Initial Security Briefing Acknowledgement................................................................................... 22
Privacy Notice ............................................................................................................................... 24
REPORTING RESPONSIBILITIES ...................................................................................................... 26
CLASSIFIED INFORMATION NON-DISCLOSURE AGREEMENT .................................. 28
        ***When completing the Classified Information Non-Disclosure Agreement (SF-312),
                                                 please only sign under #11.***




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                                      DoD Initial Briefing
Introduction:

It is the responsibility of every cleared employee who comes in contact with classified
information to insure its security. Our security program at Six3 Systems is only as effective as
your security consciousness. Security consciousness is nothing more than being aware of your
responsibilities for protecting our nations’ secrets. Security revolves around you, the cleared
employee.

The security information in this briefing is provided to you to familiarize and emphasize your
responsibility to protect classified information and material, whether DoD or Special Program
related. Security is common sense business. The procedures are not complicated, however,
they do require that you be aware and abide by them. If you have questions not addressed in
this briefing, please contact your Six3 Systems Security Officer.

PERSONNEL (Security) CLEARANCE (PCL):
An administrative determination that an individual is eligible, from a security point of view, for
access to classified information of the same or lower category as the level of the personnel
clearance being granted.

ADMINISTRATIVE REQUIREMENTS/CONSIDERATIONS:
How did I get here?
First, your manager and/or Program Manager determined that your skills are required on a
specific contract and/or project and requested the government contract representative, to give
his/her permission for you to be submitted for a clearance.

Next, your Personnel Security Questionnaire was submitted to the government which resulted
in either an extensive background check for Top Secret or a less extensive Secret. Next you
have excellent character and discretion, and must not be subject to influence through
exploitable personal conduct.

Before you are given access to classified information, the following requirements must be met:
          • Read, review, check and sign Non-Disclosure SF-312.
              The SF-312 is a legal, lifetime binding contract between you and the US
              Government, in which, you agree to protect US Classified information from
              unauthorized disclosure. The contract has been tested in court.

GENERAL INFORMATION:
As a Defense Contractor, Six3 is required by the Defense Security Service (DSS), in accordance
with our Security Agreement, to give a security indoctrination to all personnel before allowing
them access to classified information. In accordance with this agreement, our company has



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been granted a facility security clearance at the level of Top Secret. We are required to install
and maintain comprehensive security measures for the protection of classified material
developed by or furnished to us. It is the personal responsibility of every employee who
handles or otherwise comes in contact with classified information to observe at all times our
written company security procedures and other instructions that may be issued by the Security
Office.

NATIONAL INDUSTRIAL SECURITY PROGRAM (NISP) OVERVIEW
The NISP is the US government – industry program designed to safeguard classified information
that has been entrusted to industry in conjunction with defense contracts. It may be viewed as
the three-way partnership, in which the government customer or user agency enters into a
classified contractual agreement with a cleared industrial facility and DSS oversees and
validates compliance with security portions of that contract. The government has established
the DSS to provided advice, assistance, and supervision of program elements, and has
developed a set of rules and requirements contained in the National Industrial Security
Program Operating Manual (NISPOM).

The NISP is commonly administered within each cleared facility by the Facility Security Officer.
The Top management is ultimately responsible for administration of the program but this
authority is generally delegated to the FSO. The office of the FSO (or the individual) is
responsible for all security matters relative to the safeguarding and handling of classified
information. In large facilities, the office is staffed with security professionals who are available
to provide guidance and answers to questions or concerns about the NISP.

The NISPOM, established by Executive Order 12829 dated 06 January 1993, is industry’s
primary reference in the protection of classified information. The manual outlines the proper
procedures for handling and safeguarding information classified pursuant to Executive Order
12958. It provides uniform rules for all industrial firms under the NISP and each firm working
on any government-classified contract must comply with its provisions.

Facilities with classified DoD Contracts require facility security clearances, which are granted
and administered by DSS. DSS is responsible for ensuring compliance with the NISPOM and it
does this principally by conduction regular security reviews at all cleared facilities. These
reviews are normally all encompassing and tend to include a review of the company’s Standard
Practice and Procedures (SPP), information management systems, classified material
accountability and safeguarding and handling of classified information. The level and amount
of classified material possessed at a facility normally determines the frequency and length of
such inspections.

DSS has the authority to suspend or revoke a facility clearance if it finds that the company’s
security procedures are unsatisfactory for handling and safeguarding classified information.
DSS ratings of unsatisfactory will negatively impact the facility’s ability to conduct future
classified work. Consequently, poor security practices are not only detrimental to the national




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security, but they have a direct impact on all employees’ jobs and company’s ability to perform
on classified contracts.

CLASSIFIED INFORMATION DEFINITIONS AND DESCRIPTION
Classified information is official government information that has been determined to require
protection in the interest of national security. All classified information is under sole ownership
of the US Government, and as such employees possess no right, interest, title, or claim to such
information. (An exception to this information developed under an Independent Research &
Development Program.)

Classified information exists in many forms. It may be a piece of hardware, a photograph, a
film, recording tapes, notes, a drawing, a document or spoken words. Classified material is
marked as such upon origination. It comes to industry via DD Form 254 and security
classification guides. The degree of safeguarding required information depends on its
classification category. Three levels have been established based on their criticality to national
interests:

TOP SECRET:           Information or material whose unauthorized disclosure could be
                      expected to cause exceptionally grave damage to the national security.
SECRET:               Information or material whose unauthorized disclosure could be
                      expected to cause serious damage to the national security.
CONFIDENTIAL:         Information or material whose unauthorized disclosure could be
                      expected to cause damage to the national security.

DSS has security cognizance over DoD classified material of information and their three levels of
classification. There are also other categories of classified information that required special
access authorization. The customer will provide information concerning these. You may hear
terms such as Sensitive Compartmented Information (SCI) or Special Access Program (SAP).
Information pertaining to these programs will be provided if you are assigned to work these
programs.

There are other categories of information which, while not classified, also deserve mention. For
Official Use Only (FOUO) is unclassified DoD Information which is exempt from general public
disclosure and must not be given general circulation.

As a minimum, after the determination of the level of classification, classified material shall be
marked with the date or origin, the name and address of the facility responsible for its
preparation, and shall be plainly and conspicuously marked, stamped, or typed with the
appropriate classification at the top and bottom of each page, front and back. Each portion,
section, part, paragraph, or similar portions of a classified document shall be marked to show
the level of classification. The FSO must approve the classified markings prior to submission to
a customer or other agency.




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In addition to government classified information, Six3 produces a large amount of company
private or proprietary information. This information is not to be divulged to individuals outside
of the company. Examples of this information are salary and wage lists, technical and research
data, trade secrets and proposals. Employees should protect this information in such a manner
as to preclude unauthorized access. This information can be marked Company Proprietary.
Caution should be taken to keep this information separate from US government classified
information.

ACCESS REQUIREMENTS AND NEED-TO-KNOW

Access to classified information occurs when a person has the ability and opportunity to obtain
knowledge of classified information. Authorized access to classified information may be
granted only when two conditions are met: First, the recipient must have a valid and current
security clearance at a level at least as high as the information to be released. Second, the
recipient must demonstrate the need for access to the classified information. This is referred to
as Need-To-Know.

Need-To-Know is met when access to classified information by an individual is essential to the
performance of his or her job duties in fulfilling a classified contract. Each individual, regardless
of rank, position, or amount of clearance or accesses, only has a need-to-know for information
pertinent to the performance of his or her specific task or project. Need-to-know is not the
same as want to know. Individuals must always establish a person’s need-to-know before
sharing classified information.

It is the responsibility of the possessor of classified information to ensure the proper clearance
and need-to-know of the recipient. The possessor must also advise the recipient of the
classification of the information disclosed. Need-to-know confirmation should come from a
security department advisor or representative. If there is doubt as to whether or not a person
has need-to-know, the employees should check with the proper authority prior to release of
any classified information. Establishment of need-to-know is essential. It is far better to delay
release to an authorized person than to disclose classified information to an unauthorized
individual.

REMEMBER: If you are in doubt about anyone’s clearance and/or need-to-know, contact
your Security Officer or supervisor for assistance.

SAFEGUARDING CLASSIFIED INFORMATION

One of the most fundamental requirements of the NISP pertains to the proper safeguarding
and storage of classified information. It is essential that classified information be properly
safeguarded or stored in accordance with the requirements of the NISPOM at all times. A
natural way of approaching the subject of safeguarding is to divide it into requirements for
safeguarding when classified materials are in use and when not in use.




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WHEN IN USE

While in use, classified material must never be left unsecured or unattended. An authorized
individual who is able to exercise direct control over the classified material must keep it under
constant surveillance. The authorized individual must have the appropriate clearance and
need-to-know and must take action to prevent access to the material when others who do not
have the appropriate clearance and need-to-know are present.

When working with classified material in an unsecured area, any open curtains or doors should
be closed. It is prudent to also post a sign, declaring “CLASSIFIED WORK IN PROGRESS”. If a
visitor or unauthorized employee is present, a classified document must be protected by either
covering it, turning it face down, or placing it in an approved storage container.

When working on classified material you must lock the documents in an approved storage
container when you leave your desk for lunch or coffee/smoke breaks. They must never be
tucked in a desk drawer, file cabinet, credenza, key-lock file, etc., for even the briefest period.
If you are working on a computer and need to take a break, you must comply with AIS
procedures. You cannot just turn off your computer and expect the classified information to be
safe. Classified information should be stored as soon as possible after is has been used.

WHEN NOT IN USE

When not in use, classified material must be properly secured in an approved container, unless
another properly cleared person with need-to-know is guarding it. The storage of classified
material is anything other than an approved container is strictly prohibited.

Approved storage containers must remain in a locked position unless they are under constant
surveillance and control. The employee should always shield the combination from the sight of
others when opening a classified container. Combination padlocks must be stored inside or
locked on the container when it is open. This prevents tampering or replacement of the
padlock by an unauthorized person.

Combinations to classified storage containers and controlled areas are themselves classified
and must therefore be protected at the same level of the data they are protecting.
Combinations to classified containers must be committed to memory. They cannot be written
down on slips of paper to be kept in desks, wallets, notebooks, etc. In addition, they cannot not
be written down in a coded form, such as backwards, out of order, etc. Only in certain
circumstances can combinations be written down and safeguarded as a piece of classified
material. In choosing a combination, employees should avoid persons, places or things that can
be easily identified with them, such as a birthday, spouses name, favorite sport team, license
place, etc. At many facilities there is a restrict prohibition against sharing safe combinations,
since only those authorized to have access to the container may know the combination.
Combinations must be changed whenever anyone with access leaves the organization or
transfers to another group.



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If circumstances prevent you from storing material in the prescribed container you should
inform security and hold the material until the security officer arrives and takes control of the
material. The security officer will take the material for storage.
TRANSMITTAL OF CLASSIFIED MATERIAL

The transmittal of classified material will generally be performed by the security office. For
questions concerning transmittal you should contact your FSO. No employee or visitor is
allowed to bring classified material in or out of a Six3 facility without first logging in the material
at the security office.

Each cleared facility within Six3 is required to maintain complete records for all classified
material in its possession. All classified information will be logged on the Information
management System. No Top Secret Material is authorized to be stored at the Six3 facility.

Methods for transmittal of classified information depend on the material’s classification and its
destination. The FSO will insure that the material is properly packaged and transmitted in
accordance with the NISPOM.

REPRODUCTION

Prior to reproducing and classifying information, check with the FSO. Each copy made must be
entered into the Information Management System and all waste properly disposed of. No
copying machines are authorized for reproduction of classified.

DESTRUCTION

When it is determined that a piece of classified information is no longer required, it should be
destroyed. Material to be destroyed will be entered on a destruction report and destroyed in a
manner approved by DSS. A witness, while not required for material classified Secret or below,
should be used. Some destruction reports attached to material received from DoD requires a
witness sign the form. The FSO should review material logged on the Information Management
System on a yearly basis and destroy any material no required.

EMPLOYEE REPORTING REQUIREMENTS

The NISP is based to a large extent on individual trust and responsibility and employee-
reporting requirements are a critical element in the program. Employees are required to report
any suspicious occurrences, know security infractions, adverse information and changes in
employee status. Employee reporting requirements are designed to protect the employee and
counter any possible hostile intelligence threat. It is your personal responsibility to understand
and report these conditions to the security officer as circumstances warrant.

SUSPICOUS OCCURENCES



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Employees are required to report any suspicious behavior or occurrences that may occur at any
time. More specifically, employees must report to the FSO any of the following events:

   1. Any efforts, by any individual, regardless of nationality, to obtain illegal or unauthorized
      access to classified or sensitive information.
   2. Any efforts, by any individual, regardless of nationality, to compromise a cleared
      employee.
   3. Any contact by a cleared employee with a known or suspected intelligence officer from
      any country.
   4. Any contact, which suggests the employee concerned, may be the target of any
      attempted exploitation by the intelligence services of another country.

If there is any question as to whether any specific situation is reportable, it too should be
reported.

SECURITY VIOLATIONS OR INFRACTIONS

Employees are required to report known or suspected security violations to the FSO. Reporting
provides employees with an opportunity to extricate them self from a compromising situation
and enhances the protection of national security information. Ideally, Six3’s security posture
should be enhanced as the result of a security infraction because security professionals will
have an opportunity to address and correct any problems that may exist. When an employee
covers up a known security infraction, the security education process is negated because
security is denied the chance to rectify deficiencies. The relationship of mutual trust between
the contractor and DSS is also jeopardized. In addition, not reporting a known security violation
may constitute a major security violation itself, regardless of the severity of the unreported
incident. Some common security violations are:

   1.    Classified material left out or unattended.
   2.    Unsecured, unattended security containers/unsecured combinations.
   3.    Removal of material without approval.
   4.    Lost classified information.
   5.    Unauthorized copying or destroying classified material.
   6.    Unauthorized/improper transmission of classified material.
   7.    Disclosure of/permitting access of an unauthorized person.
   8.    Processing classified material on a non-approved computer.

ADVERSE INFORMATION

The NISPOM requires that cleared defense contractor employees report to their respective
security officer adverse information regarding other cleared employees. As a general rule,
adverse information is that which reflects unfavorable on the trustworthiness or reliability of
the employee and suggests that their ability to safeguard classified information may be



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impaired. Examples of this include: excessive indebtedness or recurring financial problems,
unexplained affluence, use of drugs or excessive use of intoxicants, bizarre behavior, mental or
emotional problems, and criminal behavior. Wage garnishments are considered adverse
information that needs to be reported.

Reporting adverse information on coworkers is one of the most difficult tasks you may have.
Employees find it difficult to be objective in assessing the impact of personal problems on job
performance or continuing clearance eligibility. Many employees feel by reporting such
behavior they are playing a policing role, a role they have no desire to perform. Other
employees may take too zealously to this reporting requirement. Employees are cautioned
against creating an atmosphere of suspicion or intrusiveness in the work place. Employees
should be more concerned with their own work than that of others, but at the same time they
should be vigilant and not turn a blind eye to the questionable behavior of practices of
coworkers.

Employees found to have problems with drugs or intoxicants will be processed in accordance
with legal constraints and policy and procedures relating to employee support.

Adverse information should be reported to protect the individual from being placed in a
position where he or she could be exploited and persuaded to commit a security violation, or
even espionage. Many espionage cases can be cited in which hostile intelligence agents
exploited a human weakness. If you are unsure if certain behavior requires reporting, you
should consult the FSO for guidance.

REQUIRED REPORTS

Cleared employees are required to report any information pertaining to the following events
directly to the FSO.

   1. Foreign travel to or through a country that is overtly hostile to the US or attendance at
      international conferences at which representatives of such a country were or will be in
      attendance
   2. Establishment of residency in an overtly hostile country by an employee’s spouse or
      member of his/her immediate family or the acquisition of relatives, through marriage,
      who live in such a country.
   3. Any loss, compromise, or suspected compromise of classified information in your
      possession or in the possession of another person.
   4. Any association with or intent to represent a foreign interest (RFI).
   5. Change in name, residence, or marital status.
   6. Receipt of classified material not related to a classified contract, project, or program for
      which no safeguarding or disposition instructions have been received.
   7. Any instance in which classified material is out of the control of the custodian or which
      cannot be readily located.




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   8. Any instances in which an employee desires not to perform on classified work accept
       security responsibility or request to terminate clearance or clearance processing.
   9. Any instances in which someone approaches you and requests information pertaining to
       classified information when such person does not have a legitimate “need-to-know”
       and/or is willing to “pay” you for such information.
   10. The experience of grave financial problems or lawsuits.

OTHER REPORTING REQUIREMENTS

In addition to the above, employees are required to report any act of sabotage or possible
sabotage, espionage or attempted espionage, and any subversive or suspicious activity. Your
are also encouraged to report any attempts to solicit classified information, unauthorized
persons on company property, and disclosure of classified information to an unauthorized
person, along with any other condition that would qualify as a security violation or which
common sense would dictate as worth reporting.

HOTLINE

The Defense Security Hotline may be used, if necessary, for reporting matters of national
security significance. Posters are located in the kitchen areas of Six3 DoD Facilities.

                                       Defense Hotline
                                        The Pentagon
                                  Washington DC 20301-1911
                                       (800) 424-9098

SECURITY VIOLATION POLICY

Six3 has established strict disciplinary action procedures for employees knowingly and willingly
commit security violations. The following is the suggested scale of disciplinary action for those
individuals determined to be culpable for a security violation.
1st Violation within a 12-month consecutive period — Written reprimand
2nd violation within a 12-month consecutive period — Written reprimand and other corrective
action deemed appropriate
3rd violation within a 12-month consecutive period — Written reprimand and other action
deemed appropriate as applicable by the FSO and supervisor based upon the current and past
violation.

TERMINATION OF EMPLOYMENT

As a cleared employee, you have a responsibility to surrender all classified material in your
possession to the Security Officer upon termination. In addition, you must sign and date a
debriefing form and return your badges prior to departure.




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                              Defensive Security Measures Briefing

As a member of Six3 Systems, providing support to the DoD Community, remember that you
may be targeted as a potential candidate for contact and exploitation of foreign agents during
international business meetings/conferences/symposia or vacation travels.

Personnel working on DoD contracts are considered to be potential rich source of information
by agents involved in both classified and industrial or economic espionage. Many US Citizens
having access to classified information have been identified by foreign intelligence through
unclassified US sources. Everyone should realize that basic personal information (i.e. name,
areas of expertise/interest and other related facts) about oneself may become known to enemy
agents.

Your increased awareness, when meeting foreign nationals domestically and abroad, or while
vacationing outside the continental US, is essential. Government affiliated individuals are
known to the enemy and we presume ourselves to be targeted when traveling, even in
countries we consider traditional allies. Remember that industrial and economic espionage are
on the increase.

The following are some ways that an individual can protect oneself and some responsibilities
the individual must assume in order to circumvent the possibility of becoming a target are:
• Remain alert.
• Keep your Facility Security Officer advised on any contacts (business, social) with
    representatives of foreign governments.
• Report any attempts to induce you or another individuals to reveal any information
    (classified or not) if disclosure of that information could be harmful to the security and best
    interest of the United States.
• Report any attempt made by residents of criterion countries who try to cultivate
    friendships.
• Advice your Facility Security Officer of any attempts made to assist or harm relatives in
    foreign countries.
• If an indiscretion has been committed, report it immediately. This removes you from any
    possibility of becoming a prime target. Confidentiality will be exercised.
• Report any effort made to obtain US defense information through observations, collections
    of documents or personal contact with US personnel.
• Report offers to provide the US with services or information of intelligence value if the offer
    made by persons, groups, or organizations believed to be in contact with foreign
    intelligence operations.
• Report all foreign travel and the intent to travel to criterion countries. To avoid any
    repercussions, these travel plans must be reported prior to the trip.




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•   Before publication of any material (i.e. books, papers, etc.), the material should be
    submitted to the appropriate office for approval.




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                  Threat Awareness and Defensive Security Briefing

Introduction

The following information is taken from the National Counterintelligence Center report "Annual
Report to Congress on Foreign Economic Collection and Industrial Espionage" and may be
provided to the contractors.

The Foreign Intelligence Threat

The gathering of information by intelligence agents, especially in wartime, is an age-old strategy
for gaining superiority over enemies. Intelligence officers—those individuals working for
government intelligence services—are trained to serve their country by gathering information.
Spies, on the other hand, betray their country by committing espionage. Preventing this kind of
betrayal is the ultimate goal of the entire U.S. personnel security system.

While espionage has existed since countries began to battle, it was the events of the last few
generations (the era of the Cold War) that concern us. During that period we had only one
monolithic enemy, the Soviet Union. Our knowledge of Soviet Cold War espionage began with
the defection of Igor Sergeievitch Gouzenko, a cipher clerk in the Soviet Embassy in Ottawa. In
September 1945, he defected to Canada with documents that eventually led to the arrest of
Klaus Fuchs and, from there, to the apprehension of the Rosenbergs and their accomplices. A
series of arrests and trials in the early 1950s helped set the climate for an anti-Communist
campaign to root out all Communist sympathizers in government and nongovernment areas
alike. Since then, motivations for espionage have changed dramatically. Ideology was
supplanted by financial greed and other motives such as disgruntlement, revenge, wanting to
please others, wanting to spy simply for the thrill, or a combination of all these things.

Nobody knows exactly how many spy incidents have occurred since World War II because so
many have been kept secret or have never even been prosecuted. The research of the Security
Research Center (SRC) (formally known as Personnel Security Research Center [PERSEREC]) has
documented at least 130 cases in the open literature. This classical form of espionage—the
passing of classified information—still continues, though the recipients have changed since the
end of the Cold War. In a recent informal PERSEREC study of espionage cases since 1991 (found
in open sources) six cases were "old" Cold War cases where the Soviet Union or Russia was the
recipient, but the remaining nine involved spies who worked for a variety of countries, some of
which were U.S. allies.

The New Threat




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Classical espionage cases still occur, but now we are seeing an increase in a different kind of
spying—an espionage based on not only the theft of classified information but also on theft of
high-technology information, classified or unclassified. This economic espionage is not a new
phenomenon; its frequency has increased greatly in recent years. Estimates of current yearly
U.S. loss of proprietary business information now range between $20 billion and $100 billion.
This loss, and the loss of other technological information, is especially detrimental to our
economic vitality and may, by extension, have deleterious effects on U.S. security interests,
since economic and national security are so closely linked in our highly competitive new world.

By now everyone understands that the end of the Cold War brought massive changes in the
global economic structure. An intensified struggle for international economic power has taken
the place of military superiority. Currently, a host of foreign governments and individuals
(present adversaries, former foes and traditional friends) are expending considerable resources
in attempting to acquire our technological know-how through economic espionage. Economic
espionage is the acquisition by foreign governments or corporations of U.S. high-technology
information in order to enhance their countries’ economic competitiveness. (Please note that
this discussion is limited to espionage conducted by foreign governments against the U.S.
government or U.S. companies, defense-related or otherwise. We are not discussing
intercorporate or industrial espionage within the United States [i.e., American companies
spying against each other] although sometimes the methods used are similar.)

The FBI believes that nearly 100 countries are now running economic espionage operations
against the United States. Targets are shifting away from the classified military information
sought in the old Cold War days toward basic research and development processes. Such
targets also include the technology and trade secrets of U.S. high-tech companies—everything
from cost analyses, marketing plans, contract bids and proprietary software to the high-tech
data itself. Any information or process—whether classified, unclassified or proprietary—that
leads to cutting-edge technology is plainly in demand. Some products are bought (or stolen) in
this country and then physically smuggled abroad. Often the technology is not a physical
product; it may be a plan, formula or idea that can be transported on computer or fax machine,
or simply carried away inside the minds of scientists.

As suggested above, the economic espionage threat is not confined to America’s traditional
adversaries. Allies can be just as interested in U.S. technological know-how as our traditional
foes from the Cold War. Countries are aggressively targeting American firms at home and
abroad for industrial secrets that are critical to U.S. economic security. American corporations
are now facing several foreign competitors who, backed by their intelligence services, are trying
to steal trade secrets and technical data on a massive scale.

Who are these new spies? How do they present themselves? They may be informal
representatives of their countries or people paid by their countries to spy. They may be visiting
the United States on scientific exchanges, business tours, or with on-site inspection teams. They
may be trade representatives or liaison officers at their embassies here. Some may be foreign
moles placed in American companies by their country’s government, or students doing research



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in the United States who serve as informal conduits to their home governments. They may be
foreign business people who can manipulate the communications systems of U.S. high-tech
companies. They may also be Americans, disgruntled or greedy employees of U.S. companies,
who, having volunteered or been recruited, are willing to sell classified, proprietary or high-tech
information to other countries. (Fifty percent of attempts to misappropriate proprietary
information involve U.S. employees or ex-employees.) Whoever they are, foreign or
homegrown, they are generally well educated and technologically sophisticated, and certainly
well able to navigate in high-tech waters.

Many U.S. high-tech industries have been targeted but, according to a recent government
report, the following areas are the most vulnerable: biotechnology, aerospace,
telecommunications, computer software and hardware, advanced transportation and engine
technology, advanced materials and coatings (including stealth technologies), energy research,
defense and armaments technology, manufacturing processes, and semiconductors. Not yet
classified proprietary business information is aggressively targeted. The industries listed above
are of strategic interest to the United States because they contribute so greatly to leading edge,
critical technologies. A 1995 report by the National Counterintelligence Center adds that
foreign collectors have also exhibited an interest in government and corporate financial and
trade data. Clearly, this list does not cover every high-tech area that is being targeted, but it
provides a sense of some of the areas that are vulnerable.

For more threat information pertinent to the defense industry, refer to the Defense Security
Service’s Web site at (www.dss.mil). The Counterintelligence (CI) office annually publishes its
own list based on an industry survey. Of particular interest to FSOs is the CI office’s
“Recognition of Potential Counterintelligence Issues," published in 1996. This "For Official Use
Only" report is highly recommended to all Facility Security Officers (FSOs). It discusses
awareness of the foreign threat, recognition of potential CI issues and reporting CI issues.

The Methods of Espionage

Economic espionage is often conducted by using basic business intelligence-gathering methods.
The Internet and dozens of commercial databases are widely available, along with such sources
as trade journals and company newsletters and annual reports. So much technical information
is available in the United States in open sources that it hardly would seem necessary to resort
to illegal means; in effect, much of science and technology in this country is here for the taking.
There are vast repositories of technical information with the National Technical Information
Service (NTIS) and the Defense Technical Information Center (DTIC). Foreigners can make direct
requests to the Department of Defense and, of course, a great deal of information is published
in academic and technical journals and in newspapers and trade publications, and thus
available to anyone.
However, employees need to be alert when such activities as extracting information from
executives of competing companies under the guise of job interviews, or hiring away an
employee from a competitor just to acquire that person’s knowledge occur. In a world
becoming more and more interconnected, systems for exchanging information are clearly



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necessary for research and commerce to thrive. The United States invites foreign scientists to
its research institutes and laboratories in programs designed to enhance knowledge through
the cross-fertilization of ideas. And we enter into exchange agreements with other countries to
foster research and development, provide security or technical assistance, and so forth. Less
economically developed countries—both allies and foes—do take advantage of the openness of
our system. Some caution and wariness are thus suggested in order to prevent the disclosure of
too much information.

A major means for foreign governments to obtain information is by sending their
representatives to the United States on fact-finding visits or for training. Participants in
scientific meetings, trade delegations and trade shows can easily obtain useful information
during their stays here. Other arrangements, such as visitor programs, cultural exchanges and
military exchanges, are also used. One fruitful method is sending students and scholars to U.S.
universities or government research laboratories where they are trained and also participate in
research as guests of the U.S. Government. High-tech data, acquired by scientists participating
in such programs, is easily transferred back to home countries through fax, telephone, the
written word, and by memory.

Foreign governments or their representatives often attempt to acquire high-tech information
by establishing joint venture companies with Americans. This allows them direct access to U.S.
know-how not always available in the public domain, especially if the companies conduct
classified work. Other standard business practices in this general category include mergers,
strategic alliances, licensing agreements, and corporate technology agreements. It must be
noted, however, that joint ventures are often encouraged by the United States. For example,
the Bureau of Export Administration in the U.S. Department of Commerce has programs to
encourage such ventures with the newly independent states of the former Soviet Union, as a
way to expand U.S. trade in those areas.

Another way of acquiring high-tech information is to purchase U.S. high-tech companies,
preferably those with government contracts, or for foreigners to set up their own companies in
the U.S. to collect information on certain technologies and to train their own personnel. Related
to establishing companies in the U.S. is the commonly used device of creating front companies.
These are companies set up to undertake "legitimate" business but used by the foreign
government to further its own economic espionage purposes.

Often foreigners acquire proprietary information under the guise of market research, sending
surveys from abroad to ferret out product information. Even personal telephone calls, letters
and fax inquiries from abroad can elicit useful information. Callers may pretend to be someone
other than who they are; in the parlance of the business intelligence fraternity this is known as
pretext calling.

Some economic espionage cases resemble typical old-style espionage operations conducted
with the full panoply of tradecraft. Indeed, the very words used to describe the roles of




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participants in an economic espionage crime are borrowed directly from the classic espionage
lexicon: spies, moles, recruiters, defectors.

The "best" way to acquire information from an organization or company is—in classic spy
style—to recruit a mole on the inside or to send one of your own people in on a ruse, posing as
someone else. Another method is to blackmail vulnerable employees of U.S. companies or to
recruit foreign nationals working in U.S. subsidiaries abroad. Not all spies have been recruited.
Some, perhaps disgruntled or troubled, employees, past or present, of U.S. companies have
stolen materials and then sold them to foreign companies—the volunteer of classic espionage.

Equally as unscrupulous, and also patently illegal, is the outright bribing of employees to steal
plans, reports and other proprietary documents, or hiring so-called consultants to spy on
competitors, a practice that can include bugging competitors’ offices. Other methods include
theft and smuggling of goods, theft of intellectual property, tampering with companies’
electronics, bribery, and so forth.

The Damage

At the industry and company level, the compromise of industrial technology often translates
into lost contracts, loss of trade secrets and loss of technology (in the billions) and loss of
technological edge over our competitors. In this age of shrinking budgets and tighter control
over expenses, economic espionage can be very profitable; the less money a company has to
spend on research, the greater its profit margin.

The Old Threat Still Lingers

All this discussion of economic espionage does not mean that traditional, classical espionage
has ceased. It only means that espionage has shifted to some degree, away from stealing
classified information to a new interest in acquiring high-tech information that might be
advantageous to a foreign country. Classical spy cases continue, the most famous case being
Aldrich Ames, a veteran CIA intelligence officer who volunteered highly secret and sensitive CIA
information to Soviet and Russian intelligence from 1985 to 1994. It is known that at least 11
agents lost their lives and that Ames gave the KGB tens of thousand of classified documents, in
what will surely be the spy case of the century. On the heels of Ames came a second CIA case,
Harold Nicholson, arrested at the end of 1996 on espionage charges that he had sold secrets to
Moscow for 29 months. Nicholson was a CIA operations officer.

There have been several other cases recently; involving individuals who were caught before
they could do any real harm. For example, John Charlton, a retired engineer, was arrested in
May 1995 for trying to sell secret documents stolen from his company at the time of his
retirement. Between July and September 1993 he tried to sell the information for $100,000 to
an FBI agent posing as a representative of a foreign government. In April 1996 he was
sentenced to two years in prison and fined $50,000.




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Another case in 1996 concerns a Navy machinist mate who sold an undercover FBI agent top
secret information on nuclear submarines. The Petty Officer 1st Class, an instructor at the Naval
Nuclear Power School in Orlando, Florida, was charged after he was video taped turning over
documents to an FBI agent posing as a Russian. The young instructor, unbeknownst to him, was
dealing all the time with an FBI agent, not a foreigner. His trial is still pending.

In another recent and aborted attempt, a civilian Navy intelligence official, a naturalized
American was accused of spying for his native country in Asia after he was arrested by the FBI.
This individual is charged with transferring classified information to an agent of a foreign
government.

For materials on new espionage cases for inclusion in security awareness briefings, the DSS
Academy (formally known as the Department of Defense Security Institute [DoDSI]) publishes
the quarterly Recent Espionage Cases, Summaries & Sources, in which articles in the press on
recent espionage cases are abstracted. Losses caused by theft of U.S. military secrets can be
massive. In times of crisis such losses can weaken and even destroy the country’s national
defense by alerting enemies of our military plans and new weaponry. Often the damage that
results from the compromise of military secrets is impossible to repair. The information
supplied to the Russians by John Walker, for example, enabled them to gain access to our
weapons and sensory data, naval tactics, submarine and airborne training, military operations,
and intelligence activities.

In short, it permitted the Russians to measure the true capability and vulnerability of the U.S.
Navy and to improve their own military positions dramatically.

Indicators of Espionage

Studies of traditional espionage cases have revealed a pattern of warning signs displayed by
several of the spies in varying degrees. The most common indicators of an individual’s
espionage activity or potential vulnerability to espionage are mentioned below and should be a
matter of concern to security and supervisory personnel.

Signs that an individual might be involved in espionage include attempts to gain access to
classified information without a valid need-to-know or without the required security clearance.
Other indicators might be unauthorized reproduction or removal of classified material from the
work area and secret destruction of documents. Unexplained affluence can be a possible sign of
ongoing espionage if a legitimate source of increase income cannot be found. Sudden
prosperity might be of particular concern when it follows a period of financial difficulties.

Foreign travel, on a regular basis and without sufficient explanation, might be another sign of
espionage when individuals with access to classified information are involved. Job and career
dissatisfaction or deep grudges against the company or the U.S. Government have also figured
as predisposing elements in some cases.




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Facing the Challenge

In summary, espionage against the United States, both economic and classical, continues to
occur, and the threat it poses to U.S. national security and economic well being is immense.
Increasingly, economic espionage efforts directed against the United States come not only from
present foes but also from friends and allies, all in search of U.S. high-tech and commercial
secrets. With billions of dollars invested in research and development, the United States is a
tempting target for friendly nations, former foes, and traditional adversaries alike.

The current challenge for security professionals is to make employees understand that, despite
the vast political changes around the globe, foreign intelligence activities really do continue to
be directed against the United States. Many people believe that there is no longer the danger
of espionage. Many believe, for example, that it is no longer necessary to restrict the flow of
scientific and technical information to our highly industrialized allies or to newly emerging
democracies. However, experience has shown that the United States often gives away far more
than it gets and that scientific "exchange" is more likely than not to be a one-way street. The
cheapest way to gain access to economic and scientific information is to take what is freely
given (by the U.S.) or to steal it. Employees of the U.S. Government and U.S. industry must be
aware of this still-present danger and be able to recognize all warning signals. Moreover, they
must understand their responsibilities to report any suspicions they may have of workmates or
visitors so that the appropriate authorities can investigate the situation.




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                          Initial Security Briefing Acknowledgement


I have read and understand the HSA, A Six3 Systems Company Initial Security Briefing that
includes the following:




            o Department of Defense Initial Briefing

            o Threat Awareness

            o Defensive Security Briefing




                                   ____
Employee Printed Name


_______________________________                    June 19, 2020
Employee Signature                                 Date


_______________________________                    June 19, 2020
Security Representative Signature                  Date




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                                       Privacy Notice

NOTICE TO INDIVIDUAL OF NISPOM PARA 2-202 SF 86 REVIEW REQUIREMENTS FOR FACILITY
SECURITY OFFICER

Para 2-202a in the National Industrial Security Program Operating Manual (NISPOM) outlines
the following guidance for notifying individuals about review of the SF 86 by the Facility
Security Officer or designee.

“The FSO or designee shall inform the employee that the SF 86 is subject to review and shall
review the application solely to determine it adequacy and to ensure the necessary
information has not been omitted. The FSO or designee shall provide the employee with
written notification that review of the information will be used for no other purpose within
the company, and that the information provided by the employee is protected by Privacy Act
of 1974 US Code 5 U.S.C. § 552a.” It states in part: (b) Conditions of disclosure: No agency
shall disclose any record which is contained in a system of records by any means of
communication to any person, or to another agency, except pursuant to a written request by,
or with the prior written consent of, the individual to whom the record pertains.


                            STATEMENT OF ACKNOWLEDGEMENT

I acknowledge I have received written notification of the requirements as outlined above and in
Para 2-202a of the NISPOM.


       ______________                                     June 19, 2020
Printed Name                                              Date


______________________________________
Signature




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                               REPORTING RESPONSIBILITIES


    AS A CLEARED HSA EMPLOYEE, YOU ARE RESPONSIBLE TO REPORT THE FOLLOWING TO
                                             SECURITY:


•   Any attempt to solicit information: 1) Classified 2) Proprietary
•   Efforts by an individual, regardless of nationality, to obtain illegal or unauthorized access to
    classified or sensitive unclassified information or to compromise a cleared employee
•   Contacts with known or suspected intelligence officers
•   Contact which suggests target of an attempted exploitation by the intelligence services of
    another country
•   Suspected or actual incidents of espionage, sabotage, or subversive activities
•   Loss, compromise, or suspected compromise of classified information
•   Any adverse (derogatory) information
•   Change of name, marital status, or citizenship
•   Change in employment status such as termination, layoff, leave of absence, or transfer to
    another HSA location
•   Change in work location
•   If you no longer desire to work on classified projects, or access is required at a lower level
•   Loss of company issued badge and/or keycard
•   Intention to reside or accept assignment outside the U.S. for a period in excess of 90
    consecutive days
•   If you become representative of a foreign interest or government
•   Any incident which demonstrates willful disregard of security procedures or need for
    attention by the Security Office

       ______________________________
Printed Name of Person Briefed


                                                              June 19, 2020
Signature of Person Briefed                                   Date


                                                              June 19, 2020
Security Representative                                       Date




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            CLASSIFIED INFORMATION NON-DISCLOSURE AGREEMENT
AN AGREEMENT BETWEEN                              AND THE UNITED STATES
                                                     (Name of Individual - Printed or Typed)


1.     Intending to be legally bound, I hereby accept the obligations contained in this Agreement in consideration of my being granted
access to classified information. As used in this Agreement, classified information is marked or unmarked classified information,
including oral communications, that is classified under the standards of Executive Order 12958, or under any other Executive order or
statute that prohibits the unauthorized disclosure of information in the interest of national security; and unclassified information that
meets the standards for classification and is in the process of a classification determination as provided in Sections 1.1, 1.2, 1.3 and
1.4(e) of Executive Order 12958, or under any other Executive order or statute that requires protection for such information in the
interest of national security. I understand and accept that by being granted access to classified information, special confidence and
trust shall be placed in me by the United States Government.

2.    I hereby acknowledge that I have received a security indoctrination concerning the nature and protection of classified
information, including the procedures to be followed in ascertaining whether other persons to whom I contemplate disclosing this
information have been approved for access to it, and that I understand these procedures.

3.     I have been advised that the unauthorized disclosure, unauthorized retention, or negligent handling of classified information by
me could cause damage or irreparable injury to the United States or could be used to advantage by a foreign nation. I hereby agree
that I will never divulge classified information to anyone unless: (a) I have officially verified that the recipient has been properly
authorized by the United States Government to receive it; or (b) I have been given prior written notice of authorization from the United
States Government Department or Agency (hereinafter Department or Agency) responsible for the classification of the information or
last granting me a security clearance that such disclosure is permitted. I understand that if I am uncertain about the classification
status of information, I am required to confirm from an authorized official that the information is unclassified before I may disclose it,
except to a person as provided in (a) or (b), above. I further understand that I am obligated to comply with laws and regulations that
prohibit the unauthorized disclosure of classified information.

4.     I have been advised that any breach of this Agreement may result in the termination of any security clearances I hold; removal
from any position of special confidence and trust requiring such clearances; or the termination of my employment or other
relationships with the Departments or Agencies that granted my security clearance or clearances. In addition, I have been advised
that any unauthorized disclosure of classified information by me may constitute a violation, or violations, of United States criminal
laws, including the provisions of Sections 641, 793, 794, 798, *952 and 1924, Title 18, United States Code, *the provisions of Section
783(b), Title 50, United States Code, and the provisions of the Intelligence Identities Protection Act of 1982. I recognize that nothing in
this Agreement constitutes a waiver by the United States of the right to prosecute me for any security violation.

5.   I hereby assign to the United States Government all royalties, remunerations, and emoluments that have resulted, will result or
may result from any disclosure, publication, or revelation of classified information not consistent with the terms of this Agreement.

6.    I understand that the United States Government may seek any remedy available to it to enforce this Agreement including, but
not limited to, application for a court order prohibiting disclosure of information in breach of this Agreement.

7.     I understand that all classified information to which I have access or may obtain access by signing this Agreement is now and
will remain the property of, or under the control of the United States Government unless and until otherwise determined by an
authorized official or final ruling of a court of law. I agree that I shall return all classified materials which have, or may come into my
possession or for which I am responsible because of such access: (a) upon demand by an authorized representative of the United
States Government; (b) upon the conclusion of my employment or other relationship with the Department or Agency that last granted
me a security clearance or that provided me access to classified information; or (c) upon the conclusion of my employment or other
relationship that requires access to classified information. If I do not return such materials upon request, I understand that this may
be a violation of Section 793 and /or 1924, Title 18, United States Code, a United States criminal law.

8.    Unless and until I am released in writing by an authorized representative of the United States Government, I understand that all
conditions and obligations imposed upon me by this Agreement apply during the time I am granted access to classified information,
and at all times thereafter.

9.    Each provision of this Agreement is severable. If a court should find any provision of this Agreement to be unenforceable, all
other provisions of this Agreement shall remain in full force and effect.

10. These restrictions are consistent with and do not supercede, conflict with or otherwise alter the employee obligations, rights or
liabilities created by Executive Order 12958; Section 7211 of Title 5, United States Code (governing disclosures to Congress); Section
1034 of Title 10, United States Code, as amended by the Military Whistleblower Protection Act (governing disclosure to Congress by
members of the Military); Section 2302(b)(8) of Title 5, United States Code, as amended by the Whistleblower Protection Act of 1982
(50 U.S.C. 421 et seq.) (governing disclosures that expose confidential Government agents), and the statutes which protect against
disclosure that may compromise the national security, including Sections 641, 793, 794, 798, 952 and 1924 of Title 18, United States
Code, and Section 4(b) of the Subversive Activities Act of 1950 (50 U.S.C. , Section 783(b)). The definitions, requirements, obligations,
rights, sanctions and liabilities created by said Executive Order and listed statutes are incorporated into this Agreement and are
controlling.


                                                          (Continue on reverse.)




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11. I have read this Agreement carefully and my questions, if any, have been answered. I acknowledge that the briefing officer has
made available to me the Executive Order and statutes referenced in this Agreement and its implementing regulation (32 CFR Section
2003.20) so that I may read them at this time, if I so choose.

Signature                                                Date                       SOCIAL SECURITY NUMBER
                                                                                    (See Notice Below)


                                                         19-Jun-20

Organization (If Contractor, Licensee, Grantee or Agent, Provide: Name, Address, and if applicable, Federal Supply Code Number)
     (Type or Print)

Harding Security Associates, a Six3 Systems Company
1430 Spring Hill Road, Suite 525
McLean, VA 22102




                       WITNESS                                                            ACCEPTANCE
THE EXECUTION OF THIS AGREEMENT WAS                               THE UNDERSIGNED ACCEPTED THIS AGREEMENT ON
WITNESSED BY THE UNDERSIGNED                                      BEHALF OF THE UNITED STATES GOVERNMENT.
SIGNATURE                                       DATE                 SIGNATURE                                        DATE

                                                19-Jun-20                                                             19-Jun-20



Name and Address (Type or print)                                  Name and Address (Type or print)

Michael Saul                                                      Michael Saul

Harding Security Associates, a Six3 Systems Company               Harding Security Associates, a Six3 Systems Company
1430 Spring Hill Road, Suite 525                                  1430 Spring Hill Road, Suite 525
McLean, VA 22102                                                  McLean, VA 22102




                            SECURITY DEBRIEFING ACKNOWLEDGMENT
I reaffirm that the provisions of the espionage laws, other federal criminal laws and executive orders applicable to the safeguarding of
classified information have been made available to me; that I have returned all classified information in my custody; that I will not
communicate or transmit classified information to any unauthorized person or organization; that I will promptly report to the Federal
Bureau of Investigation any attempt by an unauthorized person to solicit classified information, and that I (have) (have not) (strike out
inappropriate word or words) received a security debriefing.



Signature of Employee                                                                                    Date


Name of Witness (Type or Printed)                                     Signature of Witness



The Privacy Act, 5 U.S.C. 552a, requires that federal agencies inform individuals, at the time information is solicited from them,
whether the disclosure is mandatory or voluntary, by what authority such information is solicited, and what uses will be made of the
information. You are hereby advised that authority for soliciting your Social Security Account Number (SSN) is Executive Order 9397.
Your SSN will be used to identify you precisely when it is necessary to 1) certify that you have access to the information indicated
above or 2) determine that your access to the information indicated has terminated. Although disclosure of your SSN is not
mandatory, you failure to do so may impede the processing of such certifications or determinations, or possibly result in the denial of
your being granted access to classified information.


NOT APPLICABLE TO NON-GOVERNMENT PERSONNEL SIGNING THIS AGREEMENT




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       number of Iranian-American citizens, including
       journalists and academics, who traveled to Iran for
       personal or professional reasons. Iranian authorities
       also have unjustly detained or imprisoned U.S. citizens
       on various charges, including espionage and posing a
       threat to national security. U.S. citizens of Iranian
       origin should consider the risk of being targeted by
       authorities before planning travel to Iran. Iranian
       authorities deny the U.S. Interests Section in Tehran
       access to imprisoned dual national Iranian-American
       citizens because Iranian authorities consider them to be
       solely Iranian citizens; access to U.S. citizens is
       often denied as well.

       3. The Iranian government continues to repress some
       minority religious and ethnic groups, including Baha'i,
       Arabs, Kurds, Azeris, and others. Consequently, some
       areas within the country where these minorities reside,
       including the Baluchistan border area near Pakistan and
       Afghanistan, the Kurdish northwest of the country, and
       areas near the Iraqi border, remain unsafe. U.S.
       citizens who travel to Iran should exercise caution.

       4. The U.S. government does not have diplomatic or
       consular relations with the Islamic Republic of Iran and
       therefore cannot provide protection or routine consular
       services to U.S. citizens in Iran. The Swiss
       government, acting through its Embassy in Tehran, serves
       as protecting power for U.S. interests in Iran. Neither
       U.S. passports nor visas to the United States are issued
       in Tehran. The Iranian government does not recognize
       dual citizenship and will not allow the Swiss to provide
       protective services for U.S. citizens who are also
       Iranian nationals. Iranian authorities have detained
       and harassed U.S. citizens of Iranian origin. Former
       Muslims who have converted to other religions, as well
       as persons who encourage Muslims to convert, are subject
       to arrest and prosecution.

       5. U.S. citizens who travel or reside in Iran are
       strongly encouraged to enroll in the State Department's
       Smart Traveler Enrollement Program. U.S. citizens may
       also enroll in person at the U.S. Interests Section at
       the Swiss Embassy, located at No. 39, Shahid Mousavi
       (Golestan 5th), Pasdaran, Tehran. The telephone numbers
       for the U.S. Interests Section are (+98)(21) 2254-2178
       and (+98)(21) 2256-5273, fax (+98)(21) 2258-0432, email:
       tie.vertretung@eda.admin.ch, website:
       http://www.eda.admin.ch/tehran.

       6. U.S. citizens should also review the Department of
       State's Country Specific Information for Iran and stay
       up to date by bookmarking the Bureau of Consular Affairs
       website, which contains the current Travel Warnings and
       Travel Alerts as well as the Worldwide Caution. Follow
       us on Twitter and the Bureau of Consular Affairs page on
       Facebook as well. If you don't have internet access,
       current information on safety and security can also be
       obtained by calling 1-888-407-4747 toll-free in the
       United States, or for callers from other countries, a
       regular toll line at 1-202-501-4444. These numbers are
       available from 8:00 a.m. to 8:00 p.m. Eastern Time,
       Monday through Friday (except U.S. federal holidays).




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   Amir Hekmati’s Response to the
Government’s June 26, 2020 Submission




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                                           INTRODUCTION

        Mr. Hekmati has been awaiting the payment to which he is entitled from the U.S. Victims

of State Sponsored Terrorism Fund (the “Fund”) for nearly two years. He has now spent over

nine months challenging the Government’s unlawful “reconsideration” of his claim. As

Mr. Hekmati has shown, the Government has made unfounded accusations that Mr. Hekmati

falsely represented that he traveled to Iran to visit his grandmother, when (according to the

Government) the primary purpose of his trip was to sell classified information.

        In March and April of 2020, Mr. Hekmati provided 379 pages of written evidence and

testimony contradicting the Government’s outrageous accusations that he sought a position as an

intelligence analyst with Six Systems (“Six3”) in Afghanistan, secretly accessed classified

information on Iran, and abruptly quit his job to travel to Iran, all to sell information to the

Iranian regime. Specifically, Mr. Hekmati has demonstrated the following:

        •       He had plans to travel to Iran to visit his grandmother long before he learned of

                the Six3 opportunity. 1

        •       He did not seek the Six3 position; it was recommended to him by a co-worker.

                Six3 recruiters affirmatively pursued him for the job based on his previous

                experience. 2

        •       His supervisors at Six3 provided him with access to a wide range of intelligence

                programs in order to support the unit. All Iran-related materials he reviewed were




1
  Decl. of Amir Hekmati ¶ 20 (Mar. 23, 2020) (Ex. A to Opening Br.) (“A. Hekmati Decl.”); Decl. of Behnaz
Hekamti ¶ 9–10 (Mar. 23, 2020) (Ex. B to Opening Br.) (“B. Hekmati Decl.”); E-mail from Amir Hekmati to
Behnaz Hekmati (Dec. 29, 2010, 11:31 AM) (Ex. 9 to A. Hekmati Decl.).
2
  A. Hekmati Decl. ¶ 21; E-mail from Gretchen Klugh to Amir Hekmati (May 19, 2011, 10:12 AM) (Ex. 11 to A.
Hekmati Decl.) (noting that they “would love to get [Mr. Hekmati] on the team”).




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                well within his access credentials. He did not request access to these intelligence

                programs or know beforehand that he would be provided with such access. 3

        •       His access to materials regarding Iran was for a legitimate purpose. His formal

                work assignment did not fill the 12 hours he was required by contract to work

                each day, so he sought to add value to the unit by building a specialty in Iran-

                related issues based on his prior work experience. 4

        •       He did not seek to conceal his Iran-related work from his colleagues and

                supervisors. His work at night was typical of contractors looking to split up their

                long shifts. His office was busy 24 hours a day, meaning that night work

                provided no additional opportunity to access information without supervision. 5

                His computer screen always was in full view of others. 6

        •       He took, and passed, two full-scale polygraphs in the years immediately

                preceding his trip to Iran. 7 He had a steady income from his contracting work, a

                loving family and girlfriend, and no motive to put his life at risk by selling secrets

                to a hostile government. 8

        •       He had reservations about the Six3 job at the outset for personal reasons. He was

                unhappy in the position from the start and left accordingly. 9

        •       He was no longer employed by Six3 at the time he traveled to Iran and thus was

                under no duty to inform his former colleagues about his trip to Iran. 10


3
  Opening Br. at 8; USVSST Fund Hearing Tr. at 49: 6–10, April 7, 2020.
4
  See, e.g., A. Hekmati Decl. ¶ 28; USVSST Fund Hearing Tr. at 55:2–56:19; Opening Br. 9–10.
5
  See, e.g., A. Hekmati Decl. ¶ 30; USVSST Fund Hearing Tr. at 60:13–22.
6
  Opening Br. at 10; USVSST Fund Hearing Tr. at 56:22–57:2.
7
  See, e.g., A. Hekmati Decl. ¶¶ 18, 99; USVSST Fund Hearing Tr. at 49:10–11.
8
  Opening Br. at 30; A. Hekmati Decl. ¶ 23; USVSST Fund Hearing Tr. at 38:4–7
9
  See, e.g., A. Hekmati Decl. ¶¶ 23, 32; see, e.g. Opening Br. at 30.
10
   A. Hekmati Decl. ¶ 32; USVSST Fund Hearing Tr. at 70:3–12.




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        •        He stayed with family during the entirety of his trip to Iran and did not approach

                 any Iranian government officials about selling information, much less sell them

                 any such information. 11

        •        He was imprisoned, tortured, and sentenced to death by the government to which

                 he is alleged to have tried to sell information. 12 Academic experts, international

                 human rights organizations, and our own government have confirmed repeatedly

                 that his imprisonment was politically motivated. 13 The Iranian government held

                 him for more than four years and released him only as part of a broader hostage

                 deal. 14

        •        His purportedly evasive or inconsistent answers when the FBI interrogated him

                 without his lawyer present—twice—shortly after his release from prison were the

                 result of the severe PTSD he was suffering at the time and the shock of being

                 accused of treason and espionage after enduring over four years of imprisonment

                 and torture at the hands of the government to which he supposedly sought to sell

                 information. 15

        Mr. Hekmati also provided substantial legal precedent demonstrating that the

Government’s purported “evidence” was misleading, conclusory, unreliable, and constitutionally

infirm and that reconsideration of Mr. Hekmati’s claim was not permitted under the statute

establishing the Fund. 16


11
   A. Hekmati Decl. ¶ 38; USVSST Fund Hearing Tr. at 73: 3–14; Decl. of M. Maleki ¶¶ 2, 4 (March 23, 2020) (Ex.
C to Opening Br.).
12
   See generally Opening Br. at 12–21.
13
   See Letter from Victoria M. Lopakiewicz, Division Chief, Office of American Citizen Services and Crisis
Management, to Consulate of Spain, Chicago (May 23, 2017) (Ex. H to Opening Br.) (noting injustice of Mr.
Hekmati’s detention and confirming that Mr. Hekmati’s contact with the outside world was “extremely limited”).
14
   A. Hekmati Decl. ¶ 84.
15
   Id. ¶¶ ¶ 93, 94, 96.
16
   Opening Br. at 36, 39.




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            After three months of virtual silence, the Government has submitted a supplemental

memorandum (the “Reply”) containing what it deems to be new and conclusive evidence of

Mr. Hekmati’s alleged misrepresentations. This “evidence,” however, is neither new nor

persuasive. The Government merely re-hashes the same arguments from its first submission to

the Special Master. The Government does not undercut, or in some cases even address, the

evidence Mr. Hekmati provided in support of his case. Nor does the Government even bother to

contest the legal infirmities of the evidence, the reconsideration decision, or the reconsideration

process writ large.

            Stating unsupported, and indeed unsupportable, accusations twice does not make them

true. Mr. Hekmati will address each of the Government’s arguments for purposes of creating a

comprehensive record on this matter, but Mr. Hekmati respectfully requests that the Special

Master put an end to this matter and reinstate the award to Mr. Hekmati.

                                                ARGUMENT

            The Government argues that the following “facts” contradict Mr. Hekmati’s testimony

regarding the circumstances of his trip to Iran, his access of classified information as an

intelligence analyst in Afghanistan, and his conduct during the FBI interviews:

            •        Four unidentified “sources” (presumably the same sources referenced in the

                     Government’s initial submission to the Special Master) allegedly can corroborate

                     that Mr. Hekmati sought to sell information to the Iranian government. 17

            •        An uncompleted Iranian passport application and an FD-302 from the FBI’s

                     interview with a U.S.-based law firm specializing in travel to Iran that assisted




17
     Reply at 1, 3, 4.




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                  Mr. Hekmati with procuring the necessary travel documents for his trip to Iran

                  show that Mr. Hekmati sought to travel to Iran in “secret.” 18

         •        Department of Defense briefing documents from Six3 demonstrate that

                  Mr. Hekmati was required to disclose his Iran trip to his former employers. 19

         •        Iran travel advisories by the U.S. Department of State from 2010 and 2011

                  demonstrate that Mr. Hekmati undertook “acute risk” in traveling to Iran, and thus

                  could only have been traveling there to sell information to the Iranian

                  government. 20

         •        FD-302s from FBI interviews with Mr. Hekmati’s supervisors and colleague

                  show that Mr. Hekmati’s accessing of Iran-related materials was covert and

                  outside the scope of his formal work assignment, and that he sought to conceal his

                  trip from his colleagues. 21

         •        Previously-cited search logs show that Mr. Hekmati worked more at night and

                  increased his accessing of Iran-related materials during the last two weeks of his

                  employment. 22

         •        Correspondence between Mr. Hekmati and his U.S.-based travel consultant and

                  evidence that Mr. Hekmati declined a signing bonus (both also cited in the

                  Government’s first submission) show that Mr. Hekmati did not intend to stay in

                  the Afghanistan position long-term. 23




18
   Id. at 4–5; Iranian Passport Application (Ex. 2(a) to Gov’t Suppl. R.).
19
   Reply at 4; (citing Gov’t Suppl. R. ¶ 3).
20
   Reply at 6; Travel Warning – Iran (Oct. 9, 2010) (Ex. 5(a) to Gov’t Suppl. R.); Travel Warning – Iran (Oct. 21,
2011) (Ex. 5(b) to Gov’t Suppl. R.).
21
   Reply at 7.
22
   Id. at 4.
23
   Id. at 12.




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         •        The same FD-302s from the FBI’s interrogations of Mr. Hekmati cited in the

                  Government’s original submission, this time with a declaration from the author of

                  the 302s stating that they are accurate, demonstrate that Mr. Hekmati displayed a

                  “consciousness of guilt” during these interviews. 24

Mr. Hekmati will address each argument in turn.

I.       THE GOVERNMENT HAS FAILED TO SET FORTH A LEGAL BASIS FOR
         THE SPECIAL MASTER’S DECISION OR ITS RECONSIDERATION OF
         MR. HEKMATI’S CLAIM.

         At the outset, it bears emphasis that the Government has not responded to any of

Mr. Hekmati’s legal arguments regarding the Special Master’s decision or the reconsideration

process. As noted in Mr. Hekmati’s opening brief, “reconsideration” of a claimant’s prior

eligibility determination is expressly prohibited by the authorizing statute for the USVSST

Fund. 25 Even if such reconsideration were permitted, neither the Special Master nor the

Government has legal or constitutional authority to rescind Mr. Hekmati’s payment rights based

on statements he made in a submission to a federal district court, outside the context of his

application to the Fund. 26 And, even if the Special Master did have such authority, Mr.

Hekmati’s statement regarding his intent to visit family cannot serve as a basis to terminate his

payment rights. 27 Mr. Hekmati’s statement in his declaration to the court that he visited Iran to

see his grandmother is unquestionably true. Indeed, the Government does not contend otherwise.

Even assuming he failed to disclose some other intent (a proposition that we refute below), that

does not make his statement false. 28


24
   Id. at 13.
25
   Opening Br. at 36 (citing 81 Fed. Reg. 45,535).
26
   Opening Br. at 3.
27
   Id.
28
   See id. at 41 (citing Bronston v. U.S., 409 U.S. 352, 354–58 (1973) (holding that, although witness’s omission was
purposefully misleading, it did not constitute an actionable falsehood because witness’s statement was literally
true)).




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        The Government offers no response to any of these arguments, and thus has failed to

establish any legal basis on which the Special Master may rescind Mr. Hekmati’s right to

payment. Mr. Hekmati is entitled to reinstatement of his award on these grounds alone.

II.     THE REPLY PROVIDES NO NEW EVIDENCE OF MR. HEKMATI’S
        ACTIVITIES IN IRAN.

        Even if the Government could establish a legal basis for rescinding Mr. Hekmati’s right

to payment from the Fund, it has yet to provide a sufficient factual basis for doing so. The

centerpiece of the Government’s Reply—and indeed the only direct evidence of Mr. Hekmati’s

activities in Iran that the Government has provided to date—is another reference to four

unidentified “sources” that the Government cited in its original submission to the Special

Master. 29 The Government contends (again) that these “sources” corroborate that Mr. Hekmati

sought to sell information to the Iranian government while in Iran. 30

        Mr. Hekmati already has demonstrated that these “sources,” without more, do not

constitute credible evidence of his alleged activities in Iran and cannot provide a legal basis for

termination of his payment rights. 31 The Government does not address these arguments in its

Reply. The Government provides no new information regarding the identity of these “sources”

or the basis for their accusations. The Government merely states that the Special Master should

accept these sources as conclusive evidence of Mr. Hekmati’s alleged crimes, because they were

“deemed reliable by the FBI.” 32




29
   See Reply at 1, 3, 5.
30
   Id. at 1, 3, 4.
31
   See Opening Br. at 37–38
32
   Id. at 3.




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        “Because I said so” is not enough. The Government cannot lawfully terminate

Mr. Hekmati’s payment rights without providing him with an opportunity to confront and

challenge the credibility of these sources and any information they purportedly have provided.

III.    THE REPLY PROVIDES NO EVIDENCE SUPPORTING EVEN AN
        INFERENCE THAT MR. HEKMATI TRAVELED TO IRAN TO SELL
        INFORMATION.

        A.       The Record Shows That Mr. Hekmati Traveled to Iran Openly and Legally.

                 1.      Mr. Hekmati Did Not “Secretly” Apply for an Iranian Passport in
                         Order to Conceal His Trip From U.S. Authorities.

        The Government argues that Mr. Hekmati “secretly” procured an Iranian passport,

purportedly in violation of his security clearance, so that he could “minimize the risk of alerting

U.S. authorities to his travel.” 33 According to the Government, Mr. Hekmati could have, and

should have, traveled to Iran on his U.S. passport with an Iranian visa. 34 The Government’s own

evidence contradicts these allegations.

        First, the record shows that Mr. Hekmati contacted Legal Persian, a U.S.-based law firm

specializing in Iranian travel, about procuring the necessary travel documents for a trip to Iran

with his family in January 2011—five months before he even became aware of the job opening

with Six3. 35 The Government admits to the timing of these events in its Reply but fails to

explain how Mr. Hekmati could have sought to plan a secret trip to Iran to sell classified

information months before learning he would have access to such information. 36

        Second, the record shows that Mr. Hekmati’s procurement of an Iranian passport was not

“secret,” as the Government contends. The Government acknowledges that Mr. Hekmati



33
   Id. at 5.
34
   Id.
35
   Opening Br. at 6; A. Hekmati Decl. ¶ 20; E-mail from Legal Persian to Amir Hekmati (Jan. 3, 2011, 8:58 AM)
(Ex. 10 to A. Hekmati Decl.).
36
   Reply at 4.




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procured the passport, along with all other necessary documentation for his trip to Iran, via

official government channels with the assistance of U.S.-based Legal Persian. 37 Indeed, the

record shows that Mr. Hekmati’s mother handled much of the paperwork for the passport—

hardly a covert action by Mr. Hekmati. 38

         Third, the Government’s assertion that Mr. Hekmati “could have traveled to Iran using

his U.S. passport” is false. 39 It is well-established that individuals born to Iranian fathers are

required to use an Iranian passport to enter and exit Iran. 40 This is true regardless of the fact that

Mr. Hekmati renounced his Iranian citizenship in 2003, as Iran does not recognize such

renunciations. 41 The notion that Mr. Hekmati somehow rescinded his renunciation of his Iranian

citizenship by applying for a passport is meritless—and in any event, does not support a logical

leap that he intended to travel to Iran in secret to sell information.




37
   Id. at 5.
38
   H. Mirzaei Interview at 3 (Feb. 2, 2012) (Ex. 2(b) to Gov’t Suppl. R.) (noting “Behnaz Hekmati, filled out
Hekmati’s passport application and sent all of the paperwork to Mirzaei”).
39
   Id.
40
   See, e.g., Entry Requirements for Iran, GOV.UK, https://www.gov.uk/foreign-travel-advice/iran/entry-
requirements (last visited July 24, 2020) (“Under Iranian law, all Iranian nationals must travel to and from Iran using
an Iranian passport. Even if you don’t consider yourself to be Iranian, you may be regarded as an Iranian national
by the Iranian authorities—e.g., if your father is Iranian, or if you’re married to an Iranian man.”); Decision, Dep’t
of Defense, Defense Office of Hearings and Appeals, ISCR No. 08-06559 (Aug. 25, 2010)
https://ogc.osd mil/doha/industrial/08-06559.h1.pdf (noting that Iranian law does not recognize dual citizenship and
requires the use of an Iranian passport); Esphahanian v. Bank Tejarat, AWD 31-157-2, 2 IRAN U.S. C.T.R. at 166-
67 (Mar. 29, 1983) (“Once Esphahanian had emigrated to the United States and become an American citizen, the
only way he could return lawfully to Iran was as an Iranian national, using an Iranian passport.”); Travelers with
Dual Nationality, U.S. Dep’t of State, https://travel.state.gov/content/travel/en/international-travel/before-you-
go/travelers-with-special-considerations/Dual-Nationality-Travelers.html (last updated Dec. 4, 2019) (noting that,
when traveling to a country where a U.S. citizen has a second nationality, “you may be required to enter and depart
on a passport from that country or present a valid identity document from that country,” and that individuals may be
a national of another country unknowingly, simply by virtue of being born to a parent that is a national of that
country).
41
   See id.; see also Iran: Requirements and procedures for a former Iranian citizen by birth, who renounced their
citizenship, to reacquire Iranian citizenship, including circumstances that may bar someone from re-acquiring
Iranian citizenship (2015-August 2017), Immigration and Refugee Board of Canada (Aug. 22, 2017)
https://www refworld.org/docid/5a840b5c4 html (noting that Iran’s Council of Ministers has full discretion over
requests to abandon citizenship, and that “practically speaking,” such renunciations are never effective).




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        Finally, the record shows that Mr. Hekmati did, in fact, seek to travel to Iran using his

U.S. passport with a visa, as the Government suggests he could and should have done if he were

not planning to commit espionage. In correspondence with Legal Persian in January 2011

regarding his trip, Mr. Hekmati requested assistance with procuring a visa to travel to Iran with

his U.S. passport. 42 As noted above, however, this is not the approach recommended by legal

professionals.

                 2.      Mr. Hekmati Was Not Required to Disclose His Iran Trip to His
                         Former Employer.

        The Government contends that Department of Defense briefing documents from Six3

demonstrate that Mr. Hekmati was required to disclose his Iran trip to his supervisors, and that

his failure to do so proves that he sought to travel to Iran in secret. 43

        The Government mischaracterizes the evidence on this point. The briefing documents

state expressly that any travel reporting requirements (and indeed, any of the rules, requirements,

or restrictions set forth therein) apply only to current employees of Six3. Mr. Hekmati was not a

Six3 employee or a government employee of any kind when he traveled to Iran. 44 He had no

obligation to report his travel to his former employer. The Government has yet to identify any

other reason why an individual would find it necessary or appropriate to inform a former

employer of plans for personal travel.

                 3.      Mr. Hekmati Was Not Required to Disclose His Iran Trip to a Co-
                         Worker.

        Similarly, the Government argues that the fact that Mr. Hekmati did not disclose his Iran

trip to his colleague in Afghanistan, Mr. Roland Tiso, renders the purpose of the trip suspect. 45


42
   A. Hekmati Decl. ¶ 20; E-mail from Legal Persian to Amir Hekmati (Jan. 3, 2011, 8:58 AM) (Ex. 10 to A.
Hekmati Decl.).
43
   Reply at 5.
44
   A. Hekmati Decl. ¶ 32; USVSST Fund Hearing Tr. at 70:3–12.
45
   Reply at 7.




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However, the Government provides no basis as to why Mr. Hekmati would discuss the details of

a personal trip with Mr. Tiso. Mr. Hekmati and Mr. Tiso were co-workers for less than two

months. 46 Mr. Tiso was 60 years old at the time; Mr. Hekmati was 28. While Mr. Hekmati and

Mr. Tiso were friendly, they did not typically discuss their personal lives. In the 302s

summarizing the FBI’s interviews with Mr. Tiso, Mr. Tiso himself notes that Mr. Hekmati was

reserved. 47 The fact that Mr. Hekmati did not mention his post-employment travel plans to

Mr. Tiso does not support a conclusion that he traveled to Iran to sell information.

                  4.       Iran Travel Advisories From the U.S. Department of State
                           Corroborate Mr. Hekmati’s Testimony.

         The Government cites Iran travel advisories by the U.S. Department of State from 2010

and 2011 as evidence that Mr. Hekmati undertook “acute risk” in traveling to Iran, and thus

could only have been traveling there to sell information to the Iranian government.

         The Government is correct that these travel advisories noted that Americans may face

risks in traveling to Iran. However, they also note, consistent with Mr. Hekmati’s testimony on

this issue, that the threat level for traveling to Iran at the time of his trip was Level 2 (travelers

should “consider the risks of travel to Iran”), whereas today it is Level 4 (“do not travel”). 48

Travel to a country with a Level 2 threat advisory is hardly evidence of an intent to sell classified

information. Countries that currently have Level 2 travel advisories (which do not take into

account any risks relating to the COVID-19 pandemic) include Denmark, Belgium, Germany,

and France. 49


46
   See Reply at 2, 3, 9.
47
   R. Tiso FBI Interview at 2 (May 4, 2016) (Ex. 7 to Gov’t Suppl. R.) (“R. Tiso Interview”)
48
   Reply at 6; USVSST Fund Hearing Tr. at 96: 15–16.
49
   Denmark Travel Advisory, U.S. Dep’t of State,
https://travel.state.gov/content/travel/en/traveladvisories/traveladvisories/denmark-travel-advisory html#. (last
visited July 27, 2020); Belgium Travel Advisory, U.S. Dep’t of State,
https://travel.state.gov/content/travel/en/traveladvisories/traveladvisories/belgium-travel-advisory.html (last visited
July 27, 2020); Germany Travel Advisory, U.S. Dep’t of State,




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         Mr. Hekmati was not ignorant of the risks of traveling to Iran. His testimony

demonstrates that he made a reasoned judgment about those risks based on the fact that his

family had been traveling there for his entire life without incident. 50 The Government fails to

show how a Level 2 travel advisory supports a logical leap that Mr. Hekmati traveled to Iran to

sell information.

         B.       The Record Shows That Mr. Hekmati’s Access of Iran-Related Materials
                  Was Authorized.

                  1.       FD-302s from the FBI’s Interviews with Mr. Hekmati’s Supervisors
                           and Colleague Corroborate His Testimony.

         The Government contends that Mr. Hekmati’s accessing of classified information on Iran

was improper because FD-302s from FBI interviews with Mr. Hekmati’s supervisors and

Mr. Tiso demonstrate that “the focus of his assigned work was on Afghanistan, and not Iran.” 51

         Mr. Hekmati does not disagree that the “focus of his assigned work” was not Iran.

Indeed, as the Government acknowledges, Mr. Hekmati provided the same description of his

formal work assignment as his supervisors in his opening brief and testimony. 52 As Mr. Hekmati

has explained, however, he began researching Iran-related materials because that formal work

assignment was insufficient to fill his 12-hour shifts, and he felt pressure to add value to the

unit. 53 Nothing in the 302s contradicts these assertions or otherwise indicates that the documents

he accessed were outside the bounds of his security authorizations.



https://travel.state.gov/content/travel/en/traveladvisories/traveladvisories/germany-travel-advisory html (last visited
July 27, 2020); France Travel Advisory, U.S. Dep’t of State,
https://travel.state.gov/content/travel/en/traveladvisories/traveladvisories/france-travel-advisory html (last visited
July 27, 2020).
50
   A. Hekmati Decl. ¶ 33; Opening Br. at 11; USVSST Fund Hearing Tr. at 100:9–13.
51
   Reply at 8.
52
   Compare id. at 8 n.31 (“In his testimony, the Claimant acknowledged that after he arrived, it was suggested that
he ‘look at Taliban or Al-Qaeda messaging and propaganda.’”) with Opening Br. at 9 (describing formal work
assignment to “monitor and interpret anti-U.S. propaganda by the Taliban, Haqqani network, and Al-Qaeda, and to
devise strategies for countering those propaganda efforts.”); USVSST Fund Hearing Tr. at 46:15–18.
53
   A. Hekmati Decl. ¶ 28; USVSST Fund Hearing Tr. at 55:2–56:19; Opening Br. 9–10.




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                   2.      Mr. Hekmati’s Lack of Work Product on Iran-Related Issues
                           Corroborates His Testimony.

           The Government argues that Mr. Hekmati’s lack of work product on Iran-related issues

also undermines his claim that his research was legitimate. However, Mr. Hekmati has never

claimed that he was able to generate substantive work product on Iran-related issues. Indeed, his

lack of success in generating work product on these issues corroborates his statement that he

chose to leave the position in part because he felt he was not adding value to the unit. 54 The fact

that he was unable to educate himself, identify leads, develop analysis, and generate formal work

product on Iran-related threats from scratch in less than two months is hardly evidence of an

intent to commit espionage.

                   3.      Search Logs From Mr. Hekmati’s Work Computer Corroborate His
                           Testimony.

           The Government argues that redacted search logs purportedly showing that Mr. Hekmati

increased his accessing of Iran-related materials during the last two weeks of his employment

undermine his claims that he was researching Iran in order to be a productive employee. 55

           The record does not support this assertion. The search logs the Government has provided

show no increase in Iran-related searches during the last two weeks of Mr. Hekmati’s

employment. Regardless, any such increase would corroborate Mr. Hekmati’s testimony, as it

would demonstrate that Mr. Hekmati was trying to remain productive while his formal

assignments were winding down.




54
     USVSST Fund Hearing Tr. at 65:11–66:2.
55
     Reply at 9.




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        C.       The Record Shows That Mr. Hekmati’s Accessing of Iran-Related Materials
                 Was Not Secret.

                 1.       FD-302s from the FBI’s Interviews with Mr. Hekmati’s Supervisors
                          and Colleague Corroborate His Testimony.

        The Government argues that the same 302s cited above from interviews with

Mr. Hekmati’s supervisors and colleague provide conclusive evidence that they were not aware

of his focus on Iran. 56 The Government also contends (as it did in its first submission) that

Mr. Hekmati worked more at night during the last two weeks of his employment in order to

conceal his searches. 57

        As an initial matter, Mr. Hekmati already has demonstrated that courts consistently reject

FD-302s as non-credible and inadmissible hearsay, as they consist solely of the impressions and

conclusions of the FBI agents who authored the reports. 58 The Government fails to address this

precedent or explain why these particular 302s should be viewed as any more credible than the

others it has submitted in support of its case.

        Putting credibility issues aside, the 302s do not contradict Mr. Hekmati’s testimony.

With respect to the 302s from interviews with Mr. Hekmati’s supervisors, they address only

Mr. Hekmati’s formal work assignment while in Afghanistan. They provide no indication that

the FBI ever asked whether Mr. Hekmati had mentioned an interest in building an Iran-related

expertise.

        The 302s from the FBI’s interview with Mr. Tiso are similarly insufficient to support the

Government’s narrative. According to the FBI, Mr. Tiso purportedly stated (in a 2016

interview—five years after he worked with Mr. Hekmati) that “people knew the least about []



56
   Reply at 10.
57
   Id. at 11.
58
   Hon. Katherine B. Forrest, Guidelines Regarding Appropriate Use of 302 Forms in Criminal Trials, at 5 (June 11,
2018), https://blog federaldefendersny.org/wp-content/uploads/2018/06/Forrest-on-302s.pdf (“Judicial Guidelines”).




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what H[ekmati] was doing” and that he never “opened up about what he was working on.” 59

Again, there is no indication in these 302s that the FBI asked Mr. Tiso whether Mr. Hekmati had

expressed an interest in building an Iran-related expertise. Moreover, the remainder of the

paragraph cited by the Government reflects that any lack of knowledge by others of

Mr. Hekmati’s work was attributable to the fact that, as Mr. Hekmati testified, he had no team

and largely was on his own—not because he was seeking to conceal a conspiracy to commit

espionage against the United States. 60

        Various other aspects of each of these 302s provide additional support for Mr. Hekmati’s

testimony:

        •    Nowhere do they reference any subject matter restrictions on Mr. Hekmati’s access

             credentials.

        •    Consistent with Mr. Hekmati’s statement that he had little day-to-day direction from

             his supervisors regarding work assignments, nearly all of his supervisors admitted

             that they could not recall what, exactly, they had tasked Mr. Hekmati with

             researching. 61

        •    Mr. Hekmati’s supervisors and colleagues note that Mr. Hekmati was required to

             work long days (14–16 hours), and that he, along with many others, often worked at

             night to split up those hours. 62




59
   Reply at 11 (citing to R. Tiso Interview at 1).
60
   R. Tiso Interview at 1 (noting that “HEKMATI did not have the same requirements as other IA’s at SOJFT-A to
coordinate with others.”).
61
   See, e.g., C. Heatherly FBI Interview at 1 (April 19, 2016) (Ex. 8 to Gov’t Supp. R.) (“HEATHERLY could not
recall HEKMATI’s specific tasking . . .”) (“C. Heatherly Interview”); see also R. Tiso Interview at 1 (“TISO did not
know what specific work HEKMATI was assigned to as an IA in support of SOJFT-A.”).
62
   See C. Heatherly Interview at 3 (describing how Lieutenant Colonel Heatherly provided leeway for employees to
go to the gym during the day, as long as they worked the required number of hours overall); R. Tiso Interview at 2.




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         •   Mr. Hekmati’s supervisors note that there were always at least 15 people in the SCIF

             at any time, meaning that night work provided no additional opportunity to engage in

             any illicit behavior. 63

         •   No one observed Mr. Hekmati copying, writing, saving, or printing any

             information. 64

         •   Mr. Hekmati was not permitted to bring a cell phone into the SCIF, and his

             colleagues never recalled seeing Mr. Hekmati with a personal cell phone or laptop

             computer. 65

         •   Mr. Tiso “always had a view of” Mr. Hekmati’s computer screen, and never observed

             Mr. Hekmati viewing anything unusual or inappropriate. 66

         •   No one observed Mr. Hekmati engaging in behavior that was suspicious or otherwise

             caused them to question his loyalty to the United States. 67

                  2.       Other Evidence From Mr. Hekmati’s Colleagues Corroborates His
                           Testimony.

         Attached is a letter of recommendation from Gabriel Serrano, an individual identified by

Mr. Tiso in the 302s as a colleague and friend of Mr. Hekmati’s while in Afghanistan. In the

letter, Mr. Serrano notes expressly that Mr. Hekmati researched Iran-related matters as part of his




63
   C. Heatherly Interview at 2.
64
   R. Tiso Interview at 2.
65
   Id. at 3.
66
   Id. at 1.
67
   See, e.g., D. Pendall FBI Interview at 2 (Oct. 2, 2011) (Ex. 9 to Gov’t Supp. R.) (“LTC Pendall [] never noticed
any unusual or suspicious behavior by HEKMATI, nor is he aware of HEKMATI violating any security
procedures.”); E. Molnar FBI Interview at 2 (Sept. 30, 2011) (Ex. 10 to Gov’t Reply) (“CPT Molnar never noticed
any unusual or suspicious behavior by HEKMATI. CPT Molnar is not aware of any security violations by
HEKMATI, nor did she ever notice him searching or inquiring about intelligence outside the purview of his duties
and assignments.”); R. Tiso Interview at 2 (“Tiso has never observed any suspicious or unusual activity by
HEKMATI.”).




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work in Afghanistan. 68 Such evidence demonstrates that Mr. Hekmati’s colleagues were aware

of his Iran-related research and far outweighs any hearsay from the FBI.

        D.       The Record Shows That Mr. Hekmati Left the Six3 Job Early for Personal
                 Reasons.

        The Government argues that Mr. Hekmati’s correspondence with Legal Persian and

refusal to accept a signing bonus with a corresponding time commitment proves that he did not

intend to stay in the Six3 position for the long term, and therefore that he must have taken the job

only to obtain information that he could later sell to the Iranian government. 69

        The Government made this exact same argument in its first submission. Mr. Hekmati

already has explained that he had reservations about the Six3 job at the outset for personal

reasons and was not certain he would stay long-term. 70 Given these reservations, he declined a

signing bonus to avoid any time commitment or tax obligations if he determined once he arrived

that the position was not worth the toll that another deployment would put on his family and

relationship with his girlfriend. 71 He was unhappy in the position from the start, tired of being

deployed, and left accordingly. 72 His mother has attested to this under penalty of perjury. 73

        The Government’s evidence corroborates these points. According to the 302s provided

by the Government, one of Mr. Hekmati’s supervisors told the FBI that he observed Mr. Hekmati

looking upset shortly before he gave his notice, and that Mr. Hekmati said it was due to the fact

that he was tired of the challenges of being deployed. 74 The Government fails to reconcile this

evidence with its narrative regarding Mr. Hekmati’s reasons for leaving the Six3 position.


68
   See Letter of Recommendation from Gabriel A. Serrano, Staff Officer, Dep’t of Def., U.S. Transportation
Command (June 26, 2020) (attached as Ex. A to Decl. of E. Grim).
69
   Reply at 11–12.
70
   Opening Br. at 30.
71
   A. Hekmati Decl. ¶ 23.
72
   B. Hekmati Decl. ¶ 12.
73
   Id. at 4.
74
   C. Heatherly Interview at 3.




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           E.      Mr. Hekmati’s Conduct During FBI Interviews Is Not Evidence of a
                   “Consciousness of Guilt.”

           Finally, the Government cites the same FD-302s memorializing the FBI’s interviews with

Mr. Hekmati from its first submission to the Special Master, this time with a declaration from

their author stating that they are accurate. According to the Government, Mr. Hekmati’s

purportedly “inconsistent” and “evasive” behavior during these interviews demonstrates a

“consciousness of guilt.” See R. for Special Master ¶¶ 20, 21 ; Reply at 13.

           In his opening brief and testimony, Mr. Hekmati demonstrated that any purported

inconsistencies or defensiveness he exhibited during the two interviews were attributable to the

severe PTSD he was suffering at the time and the shock of being accused of seeking to sell

information to a government that had just imprisoned and tortured him for four-and-a-half

years. 75 In addition, Mr. Hekmati already has provided substantial legal authority rejecting the

credibility not just of 302s generally, but also of information derived from interrogations of those

suffering from PTSD. 76

           The Government addresses none of this evidence or legal precedent. The Government

does not deny that Mr. Hekmati was suffering from PTSD at the time of the interviews or that

Mr. Hekmati’s lawyer was not present during either interrogation. The Government does not

provide legal support for its assertion that such 302s are credible evidence of any kind. Rather,

the Government quibbles with what was or wasn’t said during the interviews, and whether the

FBI followed proper procedures during the interview process. Such quibbles do not change the

key facts on record or the law on this issue.




75
     A. Hekmati Decl. ¶ 40.
76
     Opening Br. 32–35.




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                                         CONCLUSION

       Mr. Hekmati has endured over four years of torture and wrongful imprisonment in Iran.

He now has had to endure over four years of abuse and intimidation by his own Government.

The Government has trampled Mr. Hekmati’s constitutional and administrative rights, falsely

and recklessly accused him of treason and espionage, and put Mr. Hekmati and his family

through hell. It is past time to close, once and for all, this disgraceful chapter. Mr. Hekmati

respectfully requests that the Special Master reinstate his claim and award him the payments to

which he is entitled.




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                           DECLARATION OF EMILY P. GRIM

       I, Emily P. Grim, do hereby state the following facts based on my personal knowledge:

       1.      Along with my colleagues, I represent Amir Hekmati in these proceedings before

Special Master Kenneth R. Feinberg regarding the reconsideration of Mr. Hekmati’s award from

the United States Victims of State Sponsored Terrorism Fund.

       2.      I practice law in Washington, D.C. I am an associate at the law firm Gilbert LLP.

I am a member of the Bars of the District of Columbia, Pennsylvania, and Illinois.

       3.      Attached hereto as Exhibit A is a true and correct copy of a letter from Gabriel A.

Serrano, Staff Officer at DoD, USTRANSCOM, J2X, FEV, to Amir Hekmati, dated June 26,

2020, as produced to me by Mr. Hekmati on June 26, 2020.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.



Executed On: July 27, 2020


                                             /s/ Emily P. Grim
                                             Emily P. Grim




                                                                                         DA775
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             EXHIBIT A




                                                                DA776
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June 26, 2020

Gabriel A. Serrano
Staff Officer
Department of Defense
U.S. Transportation Command
Scott AFB, IL 62225

Re: Reference Letter for Amir Hekmati

To Whom It May Concern:

        I had the pleasure of working with Amir Hekmati at Bagram Air Base in Afghanistan
between June 2011 and August 2011 in support of Regional Command-East where Amir supported
the unit as an All-Source Intelligence Analyst. During Amir’s time with the unit he conducted
research in support of the unit, and with little direction provided valuable insight into the following
topics:

-Attacks on Cellphone towers inside Afghanistan by the Taliban, and made recommendations on
addressing those attacks to Afghan infrastructure.
-Amir would monitor Extremist media propaganda, and deliver written suggestions for countering
said propaganda.
-Geo-spatial analysis of attack patterns on US Army ground forces by extremist entities operating in
the RC-East AO.
-Iranian influence in Afghanistan, and aid to Taliban forces against US Troops.
-A written plan to engage with Afghan Radio, and TV outlets such as Ariana TV to fund, and develop
Afghan media content that would promote democracy, peace, and stability to the Afghan people.

        During the period I worked with Amir I considered him effective, professional, dependable,
and motivated about his role, and contributions to the organization. He continuously provided
expedient, accurate, and reliable results to the Command. His outstanding work ethic made him
one of the most trusted and reliable team members. I would recommend Amir as a capable
member of any team/organization.



Respectfully,

Gabriel A. Serrano
Staff Officer, DoD, USTRANSCOM, J2X, FEV




                                                                                              DA777
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From:                Ken Feinberg
To:                  Grim, Emily P.
Cc:                  Gilbert, Scott D; Connor, Deborah (CRM); Lee, Jane (CRM); Dery, Alice (CRM); Tsao, Leo (CRM); Campbell,
                     Stephen (CRM); Dorsey, Sarah (CRM)
Subject:             RE: USVSST Fund Claim No. 1226
Date:                Tuesday, July 28, 2020 11:09:57 AM
Attachments:         image001.png


Emily,

Receipt confirmed. I will review the attached and render an Opinion.

Ken


From: Grim, Emily P. <grime@gilbertlegal.com>
Sent: Monday, July 27, 2020 9:48 PM
To: Ken Feinberg <KFeinberg@feinberglawoffices.com>
Cc: Gilbert, Scott D <gilberts@gilbertlegal.com>; deborah.connor@usdoj.gov; Jane.Lee3@usdoj.gov;
Dery, Alice (CRM) <Alice.Dery@usdoj.gov>; Leo.Tsao@usdoj.gov; Stephen.Campbell@usdoj.gov;
Dorsey, Sarah (CRM) <Sarah.Dorsey2@usdoj.gov>
Subject: RE: USVSST Fund Claim No. 1226

Ken,

Please find attached Amir Hekmati’s response to the Government’s June 26th submission.

Thank you,
Emily




Emily P. Grim        ​




grime@gilbertlegal.com
O 202.772.3926
C 610.737.3191

​Please Note My New Address:

​700 Pennsylvania Ave, SE
 ​Suite 400
  ​Washington, DC 20003
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From: "Lee, Jane (CRM)" <Jane.Lee3@usdoj.gov>



                                                                                                                       DA778
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Date: Friday, June 26, 2020 at 11:55 AM
To: Kenneth Feinberg <KFeinberg@feinberglawoffices.com>
Cc: "Connor, Deborah (CRM)" <Deborah.Connor@usdoj.gov>, "Tsao, Leo (CRM)"
<Leo.Tsao@usdoj.gov>, "Campbell, Stephen (CRM)" <Stephen.Campbell@usdoj.gov>,
"Dorsey, Sarah (CRM)" <Sarah.Dorsey2@usdoj.gov>, "Dery, Alice (CRM)"
<Alice.Dery@usdoj.gov>, Scott Gilbert <gilberts@gilbertlegal.com>
Subject: USVSST Fund Claim No. 1226

Dear Ken:

Pursuant to your April 24, 2020 Hearing Continuation Procedures, please find attached the
Department’s written response to Mr. Hekmati’s testimony. Specifically, please find attached: (1)
the Department’s Memorandum; (2) Declaration of FBI Special Agent Kramarsic, with the original
Record and Supplemental Record as Exhibits 1 and 2, respectively; and (3) Exhibits to the
Supplemental Record.

Mr. Gilbert is being provided the Department’s submission via this email.

Thank you,

Jane K Lee
Attorney Advisor
Money Laundering & Asset Recovery Section
U.S. Department of Justice
1400 New York Avenue, NW
Washington, DC 20005
202-305-4232 (Direct)
202-603-9742 (Cell)
jane.lee3@usdoj.gov




                                                                                            DA779
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September 15, 2020

VIA U.S. MAIL & ELECTRONIC MAIL

Scott D. Gilbert, Esq.
Gilbert LLP
700 Pennsylvania SE Suite 400
Washington, DC 20003


       Re:     Amir Hekmati, Claim No. 1226


Dear Mr. Gilbert:

       Pursuant to 34 U.S.C. § 20144(b)(4) (hearings), (b)(2)(A) (Federal Register
publication of procedures), and 81 Fed. Reg. 45535, Part X.2 (July 14, 2016) (Special
Master determines hearing procedures), on April 24, 2020 I provided hearing
continuation procedures to both you and the Department of Justice allowing for further
submissions in the above-captioned matter. Pursuant to these procedures, both you and
the Department provided additional responses and submissions. On July 28, 2020, I
communicated to you and the Department that I would review these additional
submissions. I have done so.

        According to these procedures, I have the authority to request additional
information or written submissions from the Department or the Claimant. Before I render
a final decision in this matter, I request that you provide – no later than Friday, October
16, 2020 - additional information addressing the following five questions:

       1) The Claimant obtained an Iranian passport relying upon his Iranian
          citizenship. Did this decision to obtain Iranian citizenship violate the terms
          and conditions of his US security clearance?

       2) Did the Claimant ever disclose to United States officials at any time his
          intention to travel to Iran as required as a DOD contractor?

       3) Can the Claimant credibly refute the fact that, while employed as a United
          States intelligence analyst in Afghanistan – and possessing a Top Secret
          government security clearance - over 90% of hundreds of highly classified
          documents he accessed focused on the subject of Iran rather than on his
          assigned responsibility to analyze terrorist threats in Afghanistan? Did the
          Claimant prepare any written reports or oral summaries of his examination of
          such Iranian topics?

       4) How does the Claimant respond to the Department of Justice assertion that
          four reliable individual confidential sources independently maintain that the
          Claimant traveled to Iran primarily for reasons unrelated to a family visit?

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       5) Finally, how does the Claimant respond to the Department of Justice assertion
          that he provided evasive, false and inconsistent statements to the FBI when
          interviewed on three separate occasions by FBI agents concerning his trip to
          Iran and the circumstances surrounding that trip?

        Barring any need for additional DOJ information, once you respond to this letter,
I will declare the hearing closed and will promptly issue a final written decision.


                                            Sincerely,


                                            Kenneth R. Feinberg
                                            Special Master
                                            U.S. Victims of State Sponsored Terrorism Fund

CC:    Department of Justice:
       Sarah B. Dorsey
       Jane K. Lee
       Joshua L. Shon




                                                                                     DA781
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From:            Ken Feinberg
To:              Gilbert, Scott D
Cc:              Lee, Jane (CRM); Dorsey, Sarah (CRM); Connor, Deborah (CRM)
Subject:         RE: Amir Hekmati
Date:            Tuesday, October 13, 2020 2:02:08 PM
Attachments:     image001.png


Scott,

I am in receipt of your email detailing a request for a 30 day extension in the above captioned
matter. In light of the circumstances referenced in your email I will grant you and your client a 30
day extension until the close of business on Friday, November 20, 2020.

Ken

From: Gilbert, Scott D <gilberts@gilbertlegal.com>
Sent: Tuesday, October 13, 2020 12:28 PM
To: Ken Feinberg <KFeinberg@feinberglawoffices.com>
Subject: Amir Hekmati

Ken,

Although, as you well know, I believe all of the questions you have posed have been amply answered
in our pleadings and attached factual exhibits, and during the April hearing, I do want to ensure that
we have the opportunity to address your most recent questions as you have posed them. In this
regard, I am requesting a 30-day extension to provide our answers for the following reason.

Amir’s father has been in an acute state for most of the last month. Amir and his family have been
with his father throughout this period, and last week Amir and his family had to make the wrenching
decision to take him off the ventilator. His father passed away this morning.

As a result of the foregoing, our ability to work with Amir and get him to focus on this has been, and
at least in the near term will continue to be, limited, to say the least. This is exacerbated by the fact
that the family, including Amir, believes that Amir’s father’s serious health issues were brought on by
Iran’s imprisonment and torture of Amir for nearly five years. By the time Amir was released and
returned to the US, his father was on a one-way road. Having had to confront DOJ’s conduct over
the last year has certainly increased the stress and pain not only for Amir but for his mother and the
rest of the family.

In view of the repeated DOJ-related extensions and delays since our hearing nearly six months ago,
another 30 days should not cause you or they any concern. Please confirm that a 30-day extension
is acceptable. Thanks.

sdg




                                                                                                DA782
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Scott D. Gilbert       ​




gilberts@gilbertlegal.com
O 202.772.2277
C 202.669.2966

​Please Note My New Address:

​700 Pennsylvania Ave, SE
 ​Suite 400
  ​Washington, DC 20003
GilbertLegal.com
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                                                                                                                 DA783
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                                                                                         700 Pennsylvania Avenue, SE
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                                                                                         Washington, DC 20003
                                                                                         O 202.772.2200
                                                                                         F 202.772.3333
                                                                                         GilbertLegal.com



Scott D. Gilbert
202.772.2277
gilberts@gilbertlegal.com


November 20, 2020

VIA ELECTRONIC MAIL

Kenneth R. Feinberg
Special Master
U.S. Victims of State Sponsored Terrorism Fund
P.O. Box 10299
Dublin, OH 43017
kfeinberg@feinberglawoffices.com

Re:       Amir Hekmati, Claim No. 1226

Ken:

We write in response to the five questions posed in your letter of September 15, 2020, regarding
assertions by the Department of Justice (“DOJ”) that our client, Amir Hekmati, misrepresented the
purpose of his trip to Iran on his application to the U.S. Victims of State Sponsored Terrorism Fund
(“USVSST Fund” or “the Fund”), and that his entitlement to payment from the Fund therefore should be
rescinded.

At the outset, the legal implications of your January 12, 2020, decision to rescind Mr. Hekmati’s prior
eligibility determination bear repeating:

1)        Reconsideration of Mr. Hekmati’s prior eligibility determination is expressly prohibited by
          the authorizing statute for the USVSST. Your decision to do so is in violation of federal law.1

2)        Even if such reconsideration were permitted, it would not be justified here, as Mr. Hekmati
          made no representations in his application or supporting materials regarding the purpose
          of his trip to Iran. Pursuant to USVSST regulations, Mr. Hekmati’s eligibility for payment
          from the Fund is determined solely by whether he holds a final judgment issued by a United




1
 34 U.S.C. 20144(b)(3) (decisions by the Special Master are “final and, except as provided in paragraph (4) [concerning
denials], not subject to administrative or judicial review”); see, e.g., Opening Br. at 28–29; 35–36.




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        States district court against a state sponsor of terrorism arising from an act of international
        terrorism.2 It is uncontroverted that Mr. Hekmati holds such a judgment.

3)      Neither you nor DOJ has legal authority to challenge the validity Mr. Hekmati’s judgment
        against Iran. Your January 15, 2020 reconsideration decision rescinded Mr. Hekmati’s right to
        payment on the basis that the judgment he submitted from the District Court contained “material
        omissions and false statements,” and therefore was not “true and accurate.” However, the
        judgment is final and non-appealable—it cannot, by definition, be deemed “inaccurate.” The
        District Court reviewed the evidence before it, made credibility determinations, and issued
        factual findings regarding the nature and circumstances of Mr. Hekmati’s trip to Iran. If DOJ
        had grounds to challenge the evidence submitted to the District Court, it had every opportunity to
        participate in those proceedings—the case was highly publicized, and the government already
        had the information it has proffered to you in its possession. DOJ chose to do nothing. Neither
        you nor DOJ may now simply deem the District Court’s judgment inaccurate or invalid. Such
        encroachment is a clear violation of the separation of powers doctrine.3

4)      Even if you did have such authority over the judicial branch, Mr. Hekmati’s statement in
        his declaration that he traveled to Iran to see his grandmother is unquestionably true. DOJ
        has never asserted that Mr. Hekmati did not intend to visit his grandmother in Iran. Even
        assuming he failed to disclose some other intent (which, as demonstrated by the evidentiary
        record, he did not), any omission of that intent from his declaration would not constitute a
        misrepresentation under federal law and thus cannot constitute grounds for rescinding his right to
        payment.4

5)      The government cannot legally deprive Mr. Hekmati of his right to payment based on the
        current record. As discussed herein, DOJ’s case rests entirely on hearsay and unsubstantiated
        suspicions, primarily in the form of unexplained “corroboration” by unidentified “sources” that
        Mr. Hekmati sought to sell information to the Iranian government, and conclusions by FBI
        agents that Mr. Hekmati acted suspiciously when he was interrogated without his lawyer present
        (twice) shortly after his release from years of imprisonment and torture in Iran. Courts have held
        uniformly that such undisclosed “sources” and one-sided FBI conclusions cannot be used to
        prove the truth of any matter asserted, and certainly cannot provide a sufficient factual basis to
        deprive an individual of a right to payment. The very purpose of our Constitution is to protect
        citizens from such lack of due process.5



2
  See USVSST Fund, USVSST Fund Frequently Asked Questions§2 (2017),
http://www.usvsst.com/docs/USVSST%20Website%20FAQS%205.19.17%20FINAL%20130pm.pdf.
3
  See Opening Br. at 39–40.
4
  See id. at 41–42, Reply Br. at 6 (citing Bronston v. U.S., 409 U.S. 352, 354–58 (1973) (holding that, although witness’s
omission was purposefully misleading, it did not constitute an actionable falsehood because witness’s statement was literally
true)).
5
  Infra at 10–13.




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You have stated throughout these proceedings that you are not making a judgment as to whether Mr.
Hekmati sought to sell information in Iran; you are simply determining whether he misrepresented the
primary purpose of his trip on his application. However, in order to conclude that Mr. Hekmati
misrepresented the purpose of his trip to Iran, you are, by definition, concluding that Mr. Hekmati
sought to sell information to the Iranian government—a charge tantamount to treason. You, who are not
a judge, would be ruling on Mr. Hekmati’s alleged guilt without providing to Mr. Hekmati any of the
protections of a criminal proceeding, including, but not limited to, Mr. Hekmati’s right to confront
witnesses and address the basis for their accusations against him, the prohibition on use of FD-302s to
prove the fact of any matter asserted, and a standard of proof requiring DOJ to show “beyond a
reasonable doubt” that Mr. Hekmati—a young man born and raised in the U.S. by a tight-knit and loving
family, who served his country honorably as a U.S. Marine—sought to commit espionage. Such a
decision would constitute a gross violation Mr. Hekmati’s most basic administrative and constitutional
rights.

The USVSST Fund is intended to compensate individuals who, like Mr. Hekmati, have been tortured by
terrorist nations. It is not a tool for DOJ to harass victims of terrorism via back-door criminal
proceedings, when DOJ otherwise has insufficient evidence to charge such individuals with a crime. If
you were to rescind Mr. Hekmati’s right to payment based on the record provided to date, you would be
perpetuating the abuse and manipulation of an administrative process whose integrity you were
appointed to protect.

Answers to your questions are provided below.



                                           *      *       *




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II.      Even if Mr. Hekmati Could Be Said to Have “Obtained” Iranian Citizenship by Applying
         for an Iranian Passport, This Would Not Constitute a Violation of the Terms and
         Conditions of His U.S. Security Clearance.

         A.       The National Security Adjudicative Guidelines for Determining Eligibility for Access to
                  Classified Information or Eligibility to Hold a Sensitive Position (the “Guidelines”) set
                  forth the standards for evaluating whether an individual’s conduct constitutes an
                  actionable violation of clearance rules.12 The Guidelines state expressly that obtaining
                  foreign citizenship does not constitute a violation of security clearance standards:

                           By itself, the fact that a U.S. [citizen] is also a citizen of another country is
                           not disqualifying without an objective showing of such conflict [with
                           national security interests] or attempt at concealment. The same is true for
                           a U.S. citizen’s exercise of any right or privilege of foreign citizenship and
                           any action to acquire or obtain recognition of a foreign citizenship.13

         B.       Here, no such attempt at concealment occurred, and the timing and circumstances of Mr.
                  Hekmati’s procurement of the passport, as well as his personal and professional
                  background, mitigate any concerns of an allegiance to Iran that could conflict with
                  national security interests.

                  1.       The record shows that Mr. Hekmati did not seek to conceal his procurement of an
                           Iranian passport. DOJ does not dispute that Mr. Hekmati procured the passport,
                           along with all other necessary documentation for his trip to Iran, via official
                           channels with the assistance of U.S.-based law firm Legal Persian (and his
                           mother—hardly a covert action).14

                  2.       Mr. Hekmati contacted Legal Persian about procuring the necessary travel
                           documents for a trip to Iran with his family to see his ailing grandmother in
                           January 2011—five months before he even became aware of the job opening with
                           Six3.15 DOJ has yet to explain how Mr. Hekmati could have sought to plan a
                           secret trip to Iran to sell classified information months before learning he would
                           have access to such information.


12
   National Security Adjudicative Guidelines at 5, Office of the Dir. of Nat’l Intel. (2017),
https://www.dni.gov/files/NCSC/documents/Regulations/SEAD-4-Adjudicative-Guidelines-U.pdf. (“The [] Guidelines [] are
established as the single common criteria for all U.S. Government civilian and military personnel, consultants, contractors,
licensees, certificate holders or grantees and their employees, and other individuals who require initial or continued eligibility
for access to classified information or eligibility to hold a sensitive position.”).
13
   Id. at 10.
14
   Reply Br. at 8–9 (citing H. Mirzaei Interview at 3 (Feb. 2, 2012) (Ex. 2(b) to Gov’t Suppl. R.) (noting “Behnaz Hekmati,
filled out Hekmati’s passport application and sent all of the paperwork to Mirzaei”)); Gov’t Br. at 5.
15
   Opening Br. at 6; Reply Br. at 8; A. Hekmati Decl. ¶ 20; E-mail from Legal Persian to Amir Hekmati (Jan. 3, 2011, 8:58
AM) (Ex. 10 to A. Hekmati Decl.).




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 I.      Mr. Hekmati Was Not Required to Disclose His Intent to Travel to Iran Post-Employment.

         A.       Mr. Hekmati was not required to disclose his intent to travel to Iran to his employer
                  because he was not a DOD contractor when the travel occurred.25

         B.       Nowhere do the DOD briefing materials provided by DOJ state that employees must
                  report travel that they undertake (or intend to undertake) post-employment.26 Indeed, the
                  materials state expressly that any travel reporting requirements—and indeed, any of the
                  rules, requirements, or restrictions set forth therein—apply only to cleared employees of
                  Six3.27 DOJ again has yet to identify any reason why an individual would find it
                  necessary or appropriate to inform a former employer of plans for personal travel.

II.      Even if Mr. Hekmati Were Required to Disclose His Travel Plans, Such Failure to Report
         Would Not Support a Conclusion That He Intended to Commit Espionage.

         A.       Even if DOJ could show that Mr. Hekmati was required to disclose his post-employment
                  travel plans, Mr. Hekmati’s belief that no such reporting was required was not
                  unreasonable under the circumstances, and certainly does not support a conclusion that he
                  was conspiring to commit espionage. Mr. Hekmati was traveling to Iran to visit his ailing
                  grandmother, when he was no longer working in any capacity for the U.S. government.28
                  After ten years of deployments, he had no plans to return to defense contracting in the
                  near term, if ever, and was looking forward to starting a new chapter in his life—graduate
                  school, marriage, and starting a family.29 He followed what he believed (and continues to
                  believe) to be all appropriate security protocols: he had resigned from his position before
                  traveling30; he had received all standard security briefings about safeguarding classified
                  information as part of his separation from Six3; and he consulted a U.S.-based law firm
                  to avoid violating any Iranian travel requirements and unnecessary attention by Iranian
                  government officials.31

         B.       Mr. Hekmati determined that any potential risks of traveling to Iran were far outweighed
                  by the regret he would feel by not visiting his grandmother before she died—particularly
                  given that he already was in a country neighboring Iran and likely would never be in such
                  close proximity again in his grandmother’s lifetime.32 Regardless of whether the Special

25
    Id.
26
    Six3Systems Security Briefing at 26 (Ex. 3(a) to Gov’t Suppl. R.); Reply Br. at 10.
27
    Six3Systems Security Briefing at 26 (Ex. 3(a) to Gov’t Suppl. R.) (noting that “[c]leared employees are required to report .
. . [f]oreign travel”); id. at 12 (encouraging “[p]ersonnel working on DoD contracts” to undertake defensive security measures,
including “[r]eport[ing] all foreign travel and the intent to travel to criterion countries.”).
28
    See, e.g., USVSST Fund Hr’g Tr. 66:15–17, 68:1–6.
29
    E.g., Opening Br. at 5–6; USVSST Fund Hr’g Tr. 97:2–5.
30
    Opening Br. at 31.
31
    See Opening Br. at 6; E-mail from Legal Persian to Amir Hekmati (Jan. 3, 2011, 8:58 AM) (Ex. 10 to A. Hekmati Decl.);
Reply Br. at 8–10.
32
    Opening Br. at 11, 25; USVSST Fund Hr’g Tr. 69:1–10.




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                 report regarding propaganda by the Taliban, Haqqani network, and Al-Qaeda.35 Mr.
                 Hekmati has addressed these baseless suspicions repeatedly.36 His supervisors
                 encouraged him to be proactive in pursuing any leads that might help the unit. Because
                 his formal assignment was insufficient to fill the 12-hour shifts required by his contract,
                 he sought to add value to the unit by building a specialty in Iran-related issues based on
                 his prior work experience.37

        D.       All Iran-related materials that Mr. Hekmati reviewed were well within his access
                 credentials. Mr. Hekmati conducted his searches via Intelink, which is akin to Google for
                 classified information.38 Search results would include a mix of classified and
                 unclassified information and would display only documents to which he had access
                 rights.39 He also clicked on links that were emailed to him as part of a daily digest. He
                 had no way of accessing information that was not previously authorized by his
                 supervisors.40

        E.       Mr. Hekmati did not (and could not, given the layout of his work station) conceal this
                 research from others.41 As proof, Mr. Hekmati has provided a letter of recommendation
                 from Gabriel Serrano, a former colleague, which notes expressly that Mr. Hekmati
                 researched Iran-related matters as part of his work for Six3.42

II.     Mr. Hekmati’s Lack of Work Product on Iran-Related Matters Corroborates His
        Testimony.

        A.       Mr. Hekmati has stated from the beginning of these proceedings that he was unable to
                 generate useful work product on Iran-related issues during his brief tenure at Six3.43 His
                 inability to do so corroborates his statement that he ultimately left the position in part
                 because, despite his best efforts, he was struggling to find his place and add value to the
                 unit.44

        B.       In any event, the fact that he was unable to become an expert in Iranian influence in
                 Afghanistan, identify leads, develop analysis, and generate formal work product on Iran-



35
   Gov’t Br. at 8.
36
   E.g., Opening Br. at 30; USVSST Fund Hr’g Tr. 47:17–22.
37
   A. Hekmati Decl. ¶ 28; USVSST Fund Hr’g Tr. 55:2–56:19; Opening Br. at 9–10; Reply Br. at 12.
38
   Opening Br. at 8.
39
   A. Hekmati Decl. ¶ 28; Opening Br. at 8.
40
   A. Hekmati Decl. ¶25; USVSST Fund Hr’g Tr. 49:4–18, 50:10–12, 52:6–10; Opening Br. at 8, 30.
41
   A. Hekmati Decl. ¶ 29; USVSST Fund Hr’g Tr. 56:22–57:2; Opening Br. at 10.
42
   Letter of Recommendation from Gabriel A. Serrano , Staff Officer, Dep’t of Def., U.S. Transportation Command (June 26,
2020) (Ex. A to Decl. of E. Grim, July 27, 2020).
43
   E.g. A. Hekmati Decl. ¶ 27; Opening Br. at 9.
44
   See A. Hekmati Decl. ¶ 32; USVSST Fund Hr’g Tr. 65:11–66:2; Opening Br. at 10, 30; Reply Br. at 13.




                                                                                                          DA792
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                  their credibility.46 Therefore, the Special Master may not legally consider these alleged
                  sources or their accusations in determining whether to terminate Mr. Hekmati’s payment
                  rights.

         B.       As also demonstrated in prior briefing, Mr. Hekmati is entitled to these protections even
                  if such information is classified or confidential.47 It is well-established both in the
                  criminal and administrative context that the government cannot rely on the use of
                  classified or confidential materials as a basis for depriving a claimant of a right unless the
                  government discloses such materials to the claimant or produces a substitute of those
                  materials that “provide[s] the defendant with substantially the same ability to present a
                  defense and do[es] not otherwise violate his constitutional rights,” including the right “to
                  be confronted with the witnesses against him.”48 DOJ has provided no such materials or
                  a remotely permissible substitute here.

II.      Mr. Hekmati Has Provided Credible Evidence That He Traveled to Iran to Visit His
         Grandmother.

         A.       In contrast to DOJ’s failure to provide any evidence whatsoever of Mr. Hekmati’s
                  activities in Iran, Mr. Hekmati has submitted substantial evidence supporting a
                  conclusion that he traveled to Iran to visit his grandmother.

         B.       Mr. Hekmati has explained, in detail and under oath, his activities during the trip and the
                  purpose of the trip: to visit his ailing grandmother for a final time.49 He has submitted
                  signed declarations, under penalty of perjury, from two identified individuals
                  corroborating his testimony, as well as email correspondence with his mother from
                  months before he ever learned of the Six3 job, in which they discuss such a trip.50



46
   Opening Br. at 38.
47
   Id. at 38–39.
48
   Edward C. Liu & Todd Garvey, Cong. Rsch. Serv., RL41742, Protecting Classified Information and the Rights of Criminal
Defendants: The Classified Information Procedures Act (2012), https://fas.org/sgp/crs/secrecy/R41742.pdf. See also, e.g.,
Kwong Hai Chew v. Colding, 344 U.S. 590 (1953) (finding that procedural due process barred the use of undisclosed classified
evidence against a resident alien in deportation proceedings); Joint Anti-Fascist Refugee Comm., 341 U.S. at 170 (Frankfurter,
J., concurring) (“democracy implies respect for the elementary rights of men . . . [and] must therefore practice fairness; and
fairness can rarely be obtained by secret, one-sided determination of the facts decisive of rights.”).
49
   See Opening Br. at 11–12.
50
   Decl. of Behnaz Hekmati ¶¶ 9–10, 14 (Ex. B to Opening Br.) (detailing how Mr. Hekmati’s grandmother’s health was
“steadily declining” and “it was especially important to me [Mr. Hekmati’s Mother] that Amir make the trip [to Iran],” how
Mr. Hekmati was “excited to go to Iran, see his grandmother and other family, experience that place where I was born, and
visit the cemetery where his grandfather was buried . . . I was grateful to hear that he was enjoying himself and spending time
with my mother.”); Decl. of Mohamed Reza Maleki ¶¶ 3–4 (Ex. C to Opening Br.) (“I, along with Amir’s grandmother and
cousins, spent every day with Amir . . . [i]n all our time together, I did not see Amir meet with anyone I knew who worked for
the Iranian Government. Indeed, I did not see him meet with anyone that wasn’t a family member or close friend. I never
noticed him disappearing for long stretches of time.”).




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II.     Any Perceived Defensiveness or Inconsistent Answers on Mr. Hekmati’s Do Not Support
        an Inference of Guilt.

        A.       Even if the FBI could provide credible evidence of any evasiveness or confusion on Mr.
                 Hekmati’s part during the interviews, the circumstances of the interviews would have
                 justified such conduct. The interviews were conducted shortly after Mr. Hekmati was
                 released from years of torture, interrogations, and solitary confinement in a brutal Iranian
                 prison. Mr. Hekmati was understandably shocked, confused, and upset when agents
                 began hurling accusations at him.55 Even under the best of circumstances, suggestions
                 that Mr. Hekmati attempted to sell secrets to a government that had sentenced him to
                 death and tortured him for four-and-a-half years would be incomprehensible and utterly
                 non-sensical to any reasonable person, much less a decorated U.S. Marine.

        B.       Further, it is well-established that individuals suffering from PTSD and similar mental
                 illnesses are more susceptible to giving cues that interrogators may perceive as
                 indicating guilt or deception.56 As a result, they are more likely to make inaccurate but
                 potentially damaging statements under questioning.57 For this reason, courts treat
                 information gleaned from interviews with those suffering from mental illness as
                 suspect.58

        C.       The fact that Mr. Hekmati was suffering from severe PTSD upon his return from Iran is
                 well-documented. At the time of the interviews, he was dealing with constant insomnia,
                 flashbacks, and panic attacks.59 He could barely leave his childhood room or keep track
                 of the days, let alone withstand yet another interrogation.60 Dr. Stuart Grassian, an expert
                 on the effects of PTSD on prisoners who have suffered protracted trauma, confirmed as
                 part of his report to the District Court that, in the months following Mr. Hekmati’s release
                 from prison, he was experiencing, among other symptoms, “physiologic reactions (heart
                 pounding, sweating, dizziness, etc.) to stimuli reminiscent of the event [his time in Evin];
                 increased arousal (a constant state of vigilance, anxiety and tension, irritability,
                 jumpiness)”; and “difficulty with concentration and memory.”61 The fact that he was



55
   See id. at 34.
56
    See generally Allison D. Redlich, Mental Illness, Police Interrogations, and the Potential for False Confession, 55
Psychiatric Servs. 19, 19–21 (2004), https://ps.psychiatryonline.org/doi/pdf/10.1176/appi.ps.55.1.19.
57
   Saul M. Kassin et al., Police-Induced Confessions: Risk Factors and Recommendations, 34 Law Human Behavior 3, 20–22
(2009), https://web.williams.edu/Psychology/Faculty/Kassin/files/White%20Paper%20-%20LHB%20(2010).pdf.
58
   See, e.g., United States v. Hallford, 756 F. App’x 1 (D.C. Cir. 2018) (upholding a motion to suppress evidence, finding it
relevant that the defendant was suffering from mental illness in determining that the interview took place in a “coercive
environment”).
59
   Opening Br. at 34.
60
   Id.
61
   Expert Rep. of Dr. Stuart Grassian at 10, 15, Hekmati v. Islamic Republic of Iran, No. 16-0875 (ESH) (D.D.C. Feb. 6, 2017)
(FILED UNDER SEAL) (Ex. D to Opening Br.).




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               suffering from such symptoms at the time he was interrogated by the FBI renders any
               conclusions based on those interviews inherently suspect.


                                            *       *       *

As a citizen of this country, Mr. Hekmati is entitled to certain fundamental rights of due process. We
urge you to safeguard those rights and the integrity of these proceedings by ruling based solely on the
evidence before you—not on vague accusations, unsupported suspicions, and hearsay. Thank you for
your consideration in this matter.

Sincerely,




Scott D. Gilbert




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December 7, 2020

VIA U.S. MAIL & ELECTRONIC MAIL

Scott Gilbert, Esq.
Gilbert LLP
700 Pennsylvania SE Suite 400
Washington, DC 20003

       Re:    Final Decision re: Amir Hekmati, Claim No. 1226

Dear Mr. Gilbert:

       Pursuant to 34 U.S.C. § 20144(b)(4)(B), this letter provides you my final written
decision regarding the claim of Mr. Amir Hekmati (“the Claimant”) to the United States
Victims of State Sponsored Terrorism Fund (“USVSST Fund”). For the reasons set forth
below, I have determined that the Claimant is not eligible to receive payment from the
USVSST Fund, and therefore affirm my prior reconsideration decision denying the
Claimant’s application for payment.
       I.     Claim Review Procedure
        On December 6, 2017, the Claimant filed a timely application with the USVSST
Fund, in accordance with the USVSST Fund’s governing statute, 34 U.S.C. § 20144, and
the procedures set forth in the USVSST Fund’s Federal Register Notice, which provide
that, “any payment made by the [USVSST] Fund is expressly conditioned upon the
truthfulness and accuracy of the information and documentation submitted in support of
the claim.” Justice for United States Victims of State Sponsored Terrorism, 81 Fed. Reg.
45,535, 45,539 (July 14, 2016). The USVSST Fund’s procedures and the Application
Form require every claimant to certify, under oath and subject to penalty of perjury, the
truth and accuracy of the application. The Claimant certified that his application,
including the accompanying documents such as the judgment he obtained in Hekmati
v. Islamic Republic of Iran, Case No. 1:16-cv-00875-ESH (D.D.C.), was true and
accurate to the best of his knowledge.
        Based on the application, I determined that the Claimant had secured a judgment
from a federal district court that met the USVSST Fund’s statutory requirements. See
34 U.S.C. § 20144(c). On December 28, 2017, the USVSST Fund issued an eligibility
letter informing the Claimant that he was eligible to receive distributions from the
USVSST Fund based on his compensatory damages amount. On December 13, 2018, the
Claimant was informed of his allocated payment amount. However, he has not received
any payment from the USVSST Fund.
       On October 24, 2019, the Department of Justice (“Department”) informed you
that the Department intended to seek reconsideration of my prior eligibility and
compensation decisions. On January 15, 2020, I informed you that I had determined that
the Claimant was not eligible for compensation based upon all the information the
Claimant submitted in his application and additional information the Department
provided, which was not before me at the time of my original decision. Copies of the


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Department’s materials were provided to you on the same day. This reconsideration
decision was based upon a preponderance of the evidence standard.
        On February 12, 2020, you requested a hearing pursuant to the USVSST Fund’s
governing statute, 34 U.S.C. § 20144(b)(4). On March 19, 2020, I confirmed a hearing
date of April 7, 2020. On March 23, 2020, you submitted a brief along with exhibits in
advance of the hearing.
       On April 7, 2020, I conducted a hearing during which the Claimant provided
sworn testimony. On April 24, 2020, I provided hearing continuation procedures to you
and the Department allowing for further submissions. Pursuant to these procedures, on
June 26, 2020, the Department provided a written response, with exhibits, to the
Claimant’s testimony. On July 27, 2020, the Claimant submitted through counsel a reply
to the Department’s response. On July 28, 2020, I communicated to you and to the
Department that I would review the submissions and render an opinion. On
September 15, 2020, I requested additional information from you and your client
addressing five questions posed in my letter. You responded by letter dated
November 20, 2020 thus closing the record of the hearing.
       This letter is my final written decision, in accordance with 34 U.S.C.
§ 20144(b)(4)(B). I have considered the Claimant’s application and supporting
documentation, testimony he provided, and arguments his distinguished and able counsel
offered at the hearing, and the additional materials referenced above provided to me by
both the Department and the Claimant. For the reasons set forth below, based upon a
preponderance of the evidence, I find that the Claimant is not eligible to receive
payments from the USVSST Fund because his USVSST Fund application contained
material omissions and false statements.

       II.     Decision
        In its written submissions to the Special Master, the United States Department of
Justice focuses on various reasons why the Claimant was not truthful in submitting his
application for payment from the Fund. In his USVSST Fund application, the Claimant
maintained that he traveled to Iran to visit family for personal reasons. But the
circumstantial evidence, when viewed in its totality, indicates that this statement was
false, that the Claimant traveled to Iran for primary purposes other than to visit his
family. There is substantial evidence in the hearing record to corroborate this assertion by
the Department of Justice.
       Based upon the cumulative evidence submitted by the Department of Justice, and
the rebuttal testimony and evidence submitted by the Claimant, including his oral
Hearing testimony, I reaffirm my finding denying the Claimant payment based upon the
following:
       1) The Claimant obtained an Iranian passport relying upon his Iranian
          citizenship. But this decision to obtain Iranian citizenship violated the terms
          and conditions of his US security clearance. The Claimant had previously
          renounced such citizenship in order to receive the required US security
          clearance and failed to disclose to US authorities, as required, that he had
          obtained an Iranian passport. Claimant was on notice that he was prohibited
          from maintaining Iranian citizenship while possessing a US security
          clearance.


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       2) The Claimant never disclosed to United States officials at any time his
          intention to travel to Iran as required as a DOD contractor.
       3) The Claimant is unable to credibly refute the fact that, while employed as a
          United States intelligence analyst in Afghanistan – and possessing a Top
          Secret government security clearance - FBI forensic examination of his
          computer/search access logs reveals that over 90% of hundreds of highly
          classified documents he accessed focused on the subject of Iran rather than on
          his assigned responsibility to analyze terrorist threats in Afghanistan. FBI
          forensic examination corroborates that the Claimant accessed highly classified
          information pertaining to Iranian military, nuclear and terrorism topics. This
          was accomplished without the knowledge or permission of the Claimant’s
          supervisors. Nor did the Claimant prepare any written reports or oral
          summaries of his examination of such Iranian topics.
       4) In support of its position, the Department of Justice asserts that four reliable
          individual confidential sources independently maintain that the Claimant
          traveled to Iran primarily for reasons unrelated to a family visit. The
          Department of Justice asserts that these four different, independent and
          reliable sources each arrived at this same conclusion, reinforcing each other.
       5) Finally, the Hearing record details evasive, false and inconsistent statements
          that the Claimant provided the FBI when interviewed on three separate
          occasions by FBI agents concerning his trip to Iran and the circumstances
          surrounding that trip.
        The Claimant attempts to refute the conclusions reached by the Department of
Justice. The Claimant offers explanations as to each of the arguments advanced by the
Department of Justice. But each of these separate circumstances – when reviewed
cumulatively and in a comprehensive fashion based upon a review of the entire Hearing
record – results in my conclusion that the Department has met the required
preponderance of the evidence standard in asserting that the Claimant’s application was
untruthful. The Claimant has been unable to come forward with sufficient evidence to
rebut the totality of the evidence and arguments advanced by the Department of Justice.
       In sum, I conclude that the Claimant’s appeal should be denied and that my prior
reconsideration decision denying the Claimant’s application for payment under the
USVSST Fund is affirmed.
                                           Sincerely,


                                           Kenneth R. Feinberg
                                           Special Master
                                           U.S. Victims of State Sponsored Terrorism Fund
Department Of Justice:
      Sarah B. Dorsey
      Jane K. Lee
      Joshua L. Shon
      Deborah Connor




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